Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 1 of 517
DH.,.,.
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: dslf44


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..



           I             Options: 01-ROSE

                         u s $39.30 I Piece                                      +     Piece
                                                                                                           us $39.30            China Post SAL
                                                                                                                               Free Ship ping

                                                                                                                               Estimated delivery time:
                                                                                                                               May 23 and Jun 15



      Ad d remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 115
Seller Name: ecmuyn
Marketplace: DHGate
       Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 3 of 517
                                                                                                                                                                                                                                Subtotal
                                                                                                                                                                                                                               us $0.00
                                                                                                                                                                                ~ United Scates/ USO v     «) English v

                        ecmuyn Store     Chat v                                                                                                                                          o• Hi,             ~
DHJ{ate                 100.0% Positive Feedback
                                                                      designer sandals
                                                                                                                                                                                     ~       My DHgate v    •• Cart
                                                                                                                                                                                                                               Go to Cart




Store Home            Products          Limited Time Sale            TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                 Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                 Sonic Face Silicone Clean Beauty Foreoing Ma225Z
                                                                                                 US $32.98 - 39.3 I Piece


                                                                                                 USO V          $39.3                        $34.18                            $32.98

                                                                                                                1 Piece+                     9 Pieces+                         31 Pieces+



                                                                                                 Sale Detail:
                                                                                                                           Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                        Nei.v Buyer Coupon Pack

                                                                                                                        $25 OFF □Hcoupori
                                                                                                                                       $230fF
                                                                                                                                                     This st°'e ooty
                                                                                                                                                     $20FF
                                                                                                                                                                           -



                                                                                                                        Store Coupon Save $2        v




                                                                            Simi lar Items
                                                                                                  Options:



                                                                                                                           ••                                                  02-PINK
                                                                                                                                                                                                                    More+




                                                                                                  Quanti ty                                             +    Piece             Maxim um 50 Piece(s)



                                                                                                  Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                        Estimated delivery time: Jun. 3 and Jun. 26


                                                                                                  Total cost:           $39.3 ©

                                                                                                                                  Buy it Now                       Add to Cart


                                                                                                  Buyer Protection:     @ Return Policy         (31 Refund for No DeHvery           @ Secure Pay m ent


                                                                                                   Product Feature

                                                                                                     Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Number :
                                                                                                     MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                         l

                                                                                                                               ~ 1Jui1
                                                                                                                                                                               H I il


   Selling Electric Razor
   Rechargeable Beard Trimmer
                                          Leisure Compu ter Chair
                                          Household Office Student
                                                                                  2018 Salon Hai r I ron Hair
                                                                                  Straight ening Escova Alisadora
                                                                                                                           Electri c Hair Dryer Blow Dryer
                                                                                                                           Curling Iron Rotating Brush
                                                                                                                                                                                  llllti
                                                                                                                                                                       Hai r Curlers Straigh teners New
                                                                                                                                                                       Arrival professional 19mm
                                                                                                                                                                                                           Hair Clippers Dro
                                                                                                                                                                                                           Cortar Cabello To
   US $18.4S - 21.99 / Piece              US $13.13-18.68 / Piece                 US $5.S8 - 27.41 / Piece                 US $1S3.36 -182.7S / Piece                  US $21.95-27.91 / Piece             US $23.56- 3S.43




                         •                                    •                                          •                                        •                                           •
                                                                                   $2OFF $50+                                                                           $2OFF 550+




Customers Often Bought With



    GREEN     •--
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 4 of 517
DH.,.,.
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                               (United States)                                                                               t2_     Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: ecmuyn


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 02-PINK                                                                 us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 5 of 517



DOE Number: 116
Seller Name: edmki
Marketplace: DHGate
       Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 6 of 517



                       edmki Store
                                                                                                                                                                                                                     ~
                                       Chat v                                                                                                                                             ( ) Hi,
DHJ{ate                100.0% Positive Feedback
                                                                    bag                                                                                              lnthl r     re
                                                                                                                                                                                          ~ MyDHgate v               •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                   Face Silicone Clean Beauty Foreoing Ma269U
                                                                                                  US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                      $34.18                      $32.98

                                                                                                                  1 Piece+                   9 Pieces+                   31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                       New Buyer DHcoupon Pack
                                                                                                                          $23 OFF
                                                                                                                                                              - -




                                                                                 Similar Items
                                                                                                    Options:



                                                                                                                             •• •
                                                                                                    Quantity:                                         + Piece             Maximum 50 Piece(s)



                                                                                                    Shipping·             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated delivery time: May. 23 and Jun., 5


                                                                                                   Total cost             $39.3 0

                                                                                                                                        Buy it Now                     Add to Cart


                                                                                                    Buyer Prot ection:    ® Return Policy       (§1 Refund for No Delivery      ~ Secure Payment



                                                                                                    Product Fea ture

                                                                                                        Origin: CN{Origin) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02

                                                                                                        Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


                                                                                                                     BEARD STRAIGHTENINGCOMB




   Xiaomi Mijia Electric Vacuum          Nano spray water repl enishing      Oud silk wood Rose Rouge 540            Hair Iron Heat Straightener             Hai r Curlers Straighteners Mini
   Foot Grinder Ardf acc Automa{ic       evaporator ins{rumen{ Face          Aqua Universalis Amyris femme           Seyler Men Curling Curler               Plancha De Cabello Portable            Massagers Array Music
   US $90.4S-107.78 / Piece              US $31.84- 37.95 / Piece            US $39.31 - 5264 / Piece                US $12.67-17.n / Piece                  US $12.78-15.23 / Piece                US $213.32 - 270.43 I Piece

                                          $20FF SSO+                                                                  $20FF SSO+




Customers Often Bought With



    GRID     M                                                                                                                                                                                                   I
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 7 of 517
DH.,.,.
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                    Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: edmki


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 03-PINK                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 23 and Jun 15



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 8 of 517



DOE Number: 117
Seller Name: eloif69
Marketplace: DHGate
       Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 9 of 517



                        elo if69 Store   Chat     v
DHJ{ate                 80.0% Positive Feedback
                                                                     design er bag                                                                                           lnthl r    re           ( ) Join/ Si gn In
                                                                                                                                                                                                    ~ My DHgate v             \:I
                                                                                                                                                                                                                               •• Cart       v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma302m
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                      USO V          $39.3                       $34.18                            $32.98

                                                                                                                     1 Piece+                    9 Pieces+                         31 Pieces+



                                                                                                      Sale Detail:
                                                                                                                                Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                           New Buyer Coupon Pack

                                                                                                                              $25 O FF DHcoupoo
                                                                                                                                       S230H
                                                                                                                                                            This swre ooty
                                                                                                                                                            SZOFF
                                                                                                                                                                               -



                                                                                                                              St ore Coup on Save $2     v




                                                                                     Similar Items
                                                                                                      Options:



                                                                                                                                •• • (i)                                                        02-ROSE




                                                                                                      Quantity·                                         f   + Piece                Maximum 50 Piece(s)



                                                                                                      Shi pping:             Free Shipping co United States Via China Post SAL                   More Options v
                                                                                                                             Estimated del ivery time: May. 31 and Jun. 23


                                                                                                      Total cost:            $39.3 CD

                                                                                                                                           Buy it Now                         Add to Cart


                                                                                                      Buyer Prot ection:     @ Return Policy       [§I Refund for No Delivery           @ Secure Paymem


                                                                                                       Product Fea ture

                                                                                                           Origin: CN(Origin ) Commodity Quality Certifica tion : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                           Type : Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                                  ••


   Black electri c shaver for men         Hai r Clip pers WMARK NG-2021        Electric Hair Dryer Professional         Oem Pro fessional Portab le                 2 in 1 360 degree rotating Hair          Electri c Hair Dryer 3200
   beard hair trim mer electrical         Eleccri c Trimmer For Men            Power Styling Tools Blow Hot             Folding Blue Ligh t Stan d                  Cu rler Fast Heating Mini                Pro fessi onal Hair Dryer HocCold
   US $44.19 - 57.23 / Piece              US $56.64- 68.98 / Piece             US $18.28 - 21.78 / Piece                US $29.68- 35.37 I Piece                    US $36.31 - 43.26 / Piece                US $10.62-13.71 / Piece

    $2OFF $50 +                                                                                                                                                                                               $2 OFF $25+




Customers Often Bought With


      .,,
                                                                                      ••
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 10 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $38.30

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: eloif69




         •
                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 2 3



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 118
Seller Name: emnru230
Marketplace: DHGate
            Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 12 of
                                                 517                                        Subtotal
                                                                                                                                                                                                                                             us $0.00
                                                                                                                                                                                        ~ United Scates/ USO v        «) English v

                         emnru230 Store
                                                                                                                                                                                                                       ~
                                             Chat    V                                                                                                                                              ( ) Hi,
DHJ{ate                  100.0% Positive Feedback
                                                                       designer shoes
                                                                                                                                                                                                ~       My DHgate v    •• Cart
                                                                                                                                                                                                                                             Go to Cart




DHgate > Household Appliances > Personal care > Elecuic Face Scrubbers > Skin Care Tools Electric Face Scrubbe.••


                                                                                                       Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                       Sonic Face Silicone Clean Beauty Foreoing Ma247L
                                                                                                       US $32.98 - 39.3 / Piece


                                                                                                       USO V          $39.30                      $34.18                               $32.98

                                                                                                                      1 Piece+                    9 Pieces+                            31 Pieces+



                                                                                                       Sale Detail:
                                                                                                                                 Enjoy fast refund service if your first ord er exceeds Promised Dispatch Date

                                                                                                                             Nev.., Buyer Coupon Pack
                                                                                                                                     □Hcoupori
                                                                                                                             $25 OFF $230fF                  This st°'e ooty
                                                                                                                                                             $20FF
                                                                                                                                                                                   -



                                                                                                                             Store Cou pon Save $2         v
                                                                               Simi lar Items



                                                                                                       Options:



                                                                                                                                 •• •                                                                                            More+




                                                                                                       Quantity                                                +     Piece             Maximum 50 Piece(s)



                                                                                                       Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: Jun. 3 and Jun. 26



                                                                                                                                        Buy it Now                         Add to Cart


                                                                                                       Buyer Protection:     ® Return Policy         1§1 Refund for No Delivery             lg) Secure Pay m ent


                                                                                                        Produce Feature
                                                                                                          Origin: CN(Origin) Commodity Quality Certification: ce Power Source: Rechargeable Battery Model Number :
                                                                                                          MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                         I
                        ..                                                              Duol Vottoge



                             ..                                                                                                                                                                                               I
                                                                                        "
                      , l


   Home Painless Laser Hair                Electri c Shaver For Man               Hai r Curlers Straighteners                    Skin Care Tools El ectric Face                Steam ers Cleaning Cleaner             Electri c Hair CurlE
   Removal Depilat or IPL Epilator         Stainless Steel Shaving Machine        LISAPRO Dual Voltage Air Brush                 Scrubbers Mini Vibrator                       Beauty Face Steaming Device            Dryer StraighcenE
   US $83.73 - 110.86 / Piece              US $41.69- 56.07 / Piece               US $56.36- 67.15 / Piece                       US $32.98 - 39.30 / Piece                     US $33.30 - 39.68 / Piece              us $27.87 • 33.22




                             •                                   •                                             •                                        •                                                •
    $2. 0 FF $50 +                          $2. 0 FF $50+                          $2. 0 FF $50+                                                                                $2. 0 FF 550+




   emnru230 Store >                                 Item Description     Company overview                                                                                                                             Report Item




   ... Chat      @1                                   Specifications

   100.0% Positive Feedback
                                                                             Voltage:     DC3.7V
   On-time Delivery Rate:            ...                                      Origin:     CN(Origin)
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 13 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                               (United States)                                                                               t2_     Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: emnru230


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 03-BLUE                                                                 us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 14 of
                                      517


DOE Number: 119
Seller Name: erinog
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 15 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                  us $0.00
                                                                                                                                                                              ~ United Scates / USO v         «) English v

                         erinog Store
                                                                                                                                                                                                               ~
                                         Chat   v                                                                                                                                         ( ) Hi,
DHJ{ate                  50.0% Positive Feedback
                                                                        louise vuitton bag
                                                                                                                                                                                      ~       My DHgate v      •• Cart
                                                                                                                                                                                                                                  Go to Cart




Store Home            Products           Limited Time Sale             TopSelllng            Review            About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma233u
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                        $34.18                       $32.98

                                                                                                                  1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                       Nei.v Buyer OHcoupon Pack
                                                                                                                          $23 OFF
                                                                                                                                                                - -




               9 Share to be par tner                                          Simi lar Items
                                                                                                    Op tions:



                                                                                                                             •• •                                                                   03-BLUE
                                                                                                                                                                                                                       More+




                                                                                                    Quan tity:                                         +       Piece        Maximum 50 Piece(s)



                                                                                                    Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                    Total cost            $39.3 ©

                                                                                                                                    Buy it Now                     Add to Cart


                                                                                                    Buyer Protection:     ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                      Produ ce Feature

                                                                                                        Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                        MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                           !
                                                                                                                                                                              ...."

                                                                                                                                 ~tu~ llllti                                 H I il


   Selling Electric Razor                  Leisure Compu ter Chair                  2018 Salon Hair I ron Hair               Electri c Hair Dryer Blow Dryer           Hai r Curlers Straighteners New        Hair Clippers Dro
   Rechargeable Beard Trimmer              Household Office Studen t                Straight ening Escova Alisadora          Curling Iron Rotating Brush               Arrival professional 19mm              Cortar Cabello To
   US $18.45 • 21 .99 / Piece              US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                 US $153.36 -182.75 / Piece                US $21.95 • 27.91 / Piece              us $23.56 - 35.43




                          •                                      •                                         •                                        •                                          •
                                                                                     S2 OFF $50+                                                                        S2 OFF $50+




   erinog Store >                                   Item Description      Company o verview                                                                                                                   Report Item

   !Cl
   ll!l chat    @o                                    Specifications
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 16 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):             us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                       ussooo
          Pay with a card                                                                                                                                               Discounts:                          -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                     us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: erinog


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 03-BLUE                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 120
Seller Name: eurj18
Marketplace: DHGate
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                                               517


                        eurj18Store     Chat v
DHJ{ate                 100.0% Positive Feedback
                                                                     sunglasses                                                                                            lnthl r       re       ( ) Join/ Sign In
                                                                                                                                                                                                  ~ My DHgate v              \:J
                                                                                                                                                                                                                              •• Cart      v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma313V
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.30                       $34.18                            $32.98

                                                                                                                    1 Piece+                     9 Pieces+                         31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                            New Buyer Coupon Pack

                                                                                                                            $25 O FF DHcoupoo
                                                                                                                                     S230H
                                                                                                                                                          This swre ooty
                                                                                                                                                          SZOFF
                                                                                                                                                                               -



                                                                                                                            St ore Coupon Save $2      v




                                                                                     Similar Items
                                                                                                     Options:



                                                                                                                               •• •
                                                                                                     Quantity·                                        f   + Piece                   Maximum 50 Piece(s)



                                                                                                     Shipping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                           Estimated delivery time: May. 31 and Jun. 23



                                                                                                                                          Buy it Now                         Add to Cart


                                                                                                     Buyer Protection:     ® Return Policy         ~ Refund for No Delivery              ~ Secure Payment



                                                                                                      Product Fea ture

                                                                                                         Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                         Type: Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                           •• •I
                                                                                                                                                                                                           f'
   8148 Magi c Metal Hair Clipper
   Electric Razor Electric Push
   US $56.55 • 58.30 / Piece
                                          2018Salon Hair Iron Hair
                                          Straightening Escova Alisadora
                                          US $5.82 -16.07 / Piece

                                           $2. 0 FF $50 +
                                                                              Epacket KM-1409 Carbon Steel
                                                                              Men Beard Shaver Head Hair
                                                                              US $16.09 -19.17 / Piece

                                                                                  $2. 0 FF $50 +
                                                                                                                       3 in 1KEMEI KM-1407
                                                                                                                       Multifunctional Hair Trimmer
                                                                                                                       US $8.11 -10.50 / Piece

                                                                                                                        $5 OFF $99+
                                                                                                                                                                  Abdominal Muscle Training
                                                                                                                                                                  Stimulator Device Wireless EMS
                                                                                                                                                                  US $13.48 • 21.42 / Piece

                                                                                                                                                                   $2. 0 FF $50 +
                                                                                                                                                                                                                                '
                                                                                                                                                                                                          KEMEI KM-1407 Multi functional
                                                                                                                                                                                                          Hair Trimmer Rechargeable
                                                                                                                                                                                                          US $17.69- 27.07 / Piece

                                                                                                                                                                                                           $2. 0 FF $ 50 +




Customers Often Bought With
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 19 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                     CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                                t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                          n   ~

                                                                                                                                                                          Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                          Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                                 Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                      Grand Total:                        us $38.30

                                                                                                                                                                                                 Pay now



    Review & Confirm Your Order                                                                                                                                        « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                    r.-, GeoTn.15 t



                                              Product Detail                                                Subtotal                  Shipping Method


      Seller: eurj18


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 01-YELLOW                                                                 us $39.30             China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                     Free Shipping
                                                                                                                                 Estimated delivery time:
                                                                                                                                 May 31 and Jun 2 3



      Ad d remark to seller
                                                                                                             u s $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                    Item Subtotal:                  us $39.30
                                                                                                                   Shipping Cost:                       us S0.00
                                                                                                                        DHcoupon:                        -US $1

                                                                                                                      Order Total:                  us $38.30




                                     ®          Buyer Protection                 @      Secure Payment                   @        Return Polley                  @   Refund for no Delivery


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DOE Number: 121
Seller Name: fasr87
Marketplace: DHGate
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                                               517                                        Subtotal
                                                                                                                                                                                                                                 us $0.00
                                                                                                                                                                              ~ United Scates / USO v        «) English v

                        fasrS7 St ore
                                                                                                                                                                                                              ~
                                        Chat   V                                                                                                                                          ( ) Hi,
DHJ{ate                 95.2% Positive Feedback
                                                                       shoes
                                                                                                                                                                                      ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                 Go to Cart




Store Home            Products          Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools El ectric Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma195j
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.30                       $34.18                       $32.98

                                                                                                                  1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast ref und service if your first order exceeds Promised Dispatch Dace

                                                                                                                         Nei.v Buyer OHcoupon Pack              - -
                                                                                                                         $23 OFF




                                                                               Simi lar Items
                                                                                                   Options:



                                                                                                                                        • •                                                                           More+




                                                                                                   Quan tity:                                          +       Piece        Maxim um 50 Piece(s)



                                                                                                   Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                         Estimated delivery time: Jun. 3 and Jul. 1



                                                                                                                                    Buy it Now                     Add to Cart


                                                                                                   Buyer Protect ion:    ® Return Policy         I§ Refund for No Delivery         ~ Secure Pay m em



                                                                                                    Product Feature

                                                                                                      Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Number :
                                                                                                      MINI 02 Type Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


                                                                                                                                                                              .....
                                                                                                                                           !
                                                                                                                                                                             fr ill
                                                                                                                                 ~t 11i1
   Selling Electric Razor
   Rechargeable Beard Trimmer
                                          Leisure Computer Chair
                                          Household Office Studen t
                                                                                   2018 Salon Hair I ron Hair
                                                                                   Straightening Escova Alisadora
                                                                                                                             Electri c Hair Dryer Blow Dryer
                                                                                                                             Curling Iron Rotating Brush
                                                                                                                                                                                lllli1
                                                                                                                                                                       Hai r Curlers Straighteners New
                                                                                                                                                                       Arrival professional 19mm
                                                                                                                                                                                                             Hair Clippers Dro
                                                                                                                                                                                                             Corcar Cabello To
   us $18.45 - 21.99 / Piece              us $13.13 -1 8.68 / Piece                us $5.58 • 27.41 / Piece                  us $153.36 -182.75 / Piece                us $21.95 • 27.91 / Piece             us $23.56 - 35.43
                                                                                    S2 OFF SS0 +                                                                        S2 OFF $SO+




   fasr87 Store >                                  Item Description      Co mpany overview                                                                                                                   Report Item

   II
   l9l chat    @s                                    Specifications

   95.2% Posi tive Feedback
                                                                           Voltage·     DC3.7V
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DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):             us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                       ussooo
          Pay with a card                                                                                                                                               Discounts:                          -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                     us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: fasr87


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..



           I             Options: 01-ROSE

                         u s $39.30 I Piece                                      +     Piece
                                                                                                           us $39.30            China Post SAL
                                                                                                                               Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 122
Seller Name: femf95f
Marketplace: DHGate
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                                                   517                                        Subtotal
                                                                                                                                                                                                                                             us $0.00
                                                                                                                                                                                        ~ United Scates / USO v       «) Engl ish v

                         femf95f Store
                                                                                                                                                                                                                       ~
                                          Chat v                                                                                                                                                   ()   Hi,
DHJ{ate                  100.0% Positive Feedback
                                                                        louise vuitton
                                                                                                                                                                                               ~        My DHgate v    •• Cart
                                                                                                                                                                                                                                             Go to Cart




Store Home              Products         Limited Time Sale             TopSelllng            Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                        Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush
                                                                                                        Sonic Face Silicone Clean Beauty Foreoing Ma213a
                                                                                                        US $32.98 - 39.3 I Piece


                                                                                                        USO V          $39.3                       $34.18                              $32.98

                                                                                                                       1 Piece+                    9 Pieces+                           31 Pieces+



                                                                                                        Sale Detail:
                                                                                                                                  Enjoy fast ref und service if your first order exceeds Promised Dispatch Dace

                                                                                                                               Nei.v Buyer Coupon Pack

                                                                                                                               $25 OFF □Hcoupori
                                                                                                                                              $230fF
                                                                                                                                                             This st°'e ooty
                                                                                                                                                             $20FF
                                                                                                                                                                                   -



                                                                                                                               Store Coupon Save $2         v




                                                                               Simi lar Items
                                                                                                        Options:



                                                                                                                                  •                      01-PINK
                                                                                                                                                                                                                                 More+




                                                                                                        Qu anti ty                                              +    Piece             Maximum 50 Piece(s)



                                                                                                        Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                               Estimated delivery time: Jun. 3 and Jun. 26


                                                                                                        Total cosc:            $39.3 ©

                                                                                                                                         Buy it Now                        Add to Cart


                                                                                                        Buyer Protect ion:     @ Return Policy         (31 Refund for No DeHvery            @ Secu re Pay m ent


                                                                                                         Product Feature

                                                                                                           Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Num ber :
                                                                                                           MINI 02 Type : Facial Cl eansi ng Brush Vibration : 6000RPM Vibration Stren gth : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                         buol Vottoge




                                                                                                                                                                                                                              I
   Home Pain less Laser Hair
   Removal Depilat or IPL Epilator
   US $83.73 - 110.86 / Piece
                                           Electric Shaver For Man
                                           Stainless Steel Shaving Machine
                                           US $41.69- 56.07 / Piece
                                                                                         "
                                                                                    Hai r Curlers Straighteners
                                                                                    LISAPRO Dual Voltage Air Bru sh
                                                                                    US $56.36 - 67.15 / Piece
                                                                                                                                  Skin Care Tools El ectric Face
                                                                                                                                  Scru bbers Min i Vibrator
                                                                                                                                  US $32.98- 39.30 / Piece
                                                                                                                                                                               Steam ers Cleaning Cleaner
                                                                                                                                                                               Beau ty Face Steami ng Device
                                                                                                                                                                               US $33.30 - 39.68 / Piece
                                                                                                                                                                                                                      Electri c Hair CurlE
                                                                                                                                                                                                                      Dryer Straigh renE
                                                                                                                                                                                                                      us $27.87 - 33.22




                          •                                      •                                              •                                        •                                               •
       $2 0 FF $50 +                        $2 0 FF $50+                             $2 0 FF $50+                                                                               $2 0 FF 550+




   femf95f Store >                                  Item Description      Company Overview                                                                                                                            Rep orc Item

   !Cl
   •      Chat     @1                                 Specifications
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DH.,.,.                                517
                                Buy Now                                                                                                                                                 CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_     Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                   Grand Total:                      us $38.30

                                                                                                                                                                                             Pay now



    Review & Confirm Your Order                                                                                                                                     « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                              Product Detail                                              Subtotal                 Shipping Method


      Seller: femf95f


                         Skin Care Tools Electric Face Scrubbers Mini Vibra..
                         Options: 01-PINK                                                                 us $39.30            China Post SAL
                         u s $39.30 I Piece                                     +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jun 26



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                 us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                        -US $1

                                                                                                                   Order Total:                  us $38,30




                                     ®          Buyer Protection                @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 123
Seller Name: fitzgerald2
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 27 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                      us $0.00
                                                                                                                                                                                  ~ United Scates/ USO v        «) English v

                        fitzgerald2 Store
                                                                                                                                                                                                                 ~
                                               Chat v                                                                                                                                          ( ) Hi,
DHJ{ate                 100.0% Positive Feedback
                                                                         sunglasses
                                                                                                                                                                                           ~       MyDHgate v    •• Cart
                                                                                                                                                                                                                                      Go to Cart




Store Home            Products              Limited Time Sale           TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                       Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                       Sonic Face Silicone Clean Beauty Foreoing Ma2014
                                                                                                       US $32.98 - 39.3 I Piece


                                                                                                       USO V          $39.3                       $34.18                        $32.98

                                                                                                                      1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                       Sale Detail:
                                                                                                                                 Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                              Nei.v Buyer OHcoupon Pack            - -
                                                                                                                              $23 OFF




               9 Share to be partner                                           Simi lar Items
                                                                                                       Options:



                                                                                                                                            •                                    02-PINK
                                                                                                                                                                                                                          More+




                                                                                                       Quantity:                                             +    Piece         Maximum 50 Piece(s)



                                                                                                       Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                              Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                       Total cost             $39.3 ©

                                                                                                                                        Buy it Now                    Add to Cart


                                                                                                       Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                        Produce Feature

                                                                                                          Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                          MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                        Duol Voltoge




   Home Painless Laser Hair
   Removal Oepilator IPL Epilator
   US $83.73 . 110.86 / Piece
                                             Electri c Shaver For Man
                                             Stainless Steel Shaving Machine
                                             US $41.69· 56.07 / Piece
                                                                                        "
                                                                                     Hai r Curlers Straighteners
                                                                                     LISAPRO Dual Voltage Air Brush
                                                                                     US $56.36 • 67.15 / Piece
                                                                                                                                 Skin Care Tools El ectric Face
                                                                                                                                 Scrubbers Mini Vibrator
                                                                                                                                 US $32.98 • 39.30 I Piece
                                                                                                                                                                           Steam ers Cleaning Cleaner
                                                                                                                                                                           Beauty Face Steaming Device
                                                                                                                                                                           US $33.30 • 39.68 / Piece
                                                                                                                                                                                                                        I
                                                                                                                                                                                                                Electric Hair CurlE
                                                                                                                                                                                                                Dryer StraighcenE
                                                                                                                                                                                                                us $27.87 - 33.22




                         •                                        •                                            •                                        •                                           •
    S2 0 FF $50 +                             $2. 0 FF $50+                           S2 0 FF $50+                                                                          S2 0 FF $SO+




   fitzgerald2 Store >                             Item Description        Company overview                                                                                                                     Report Item

   !Cl
   ll!I Chat    @2                                     Specifications
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DH.,.,.                                517
                                   Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                                 (United States)                                                                                t2_      Change        Summary
                                        Boca Raton, Florida, United States, 33433
                                                                                                                                                                              Enter code here


                                                                                                                                                                           Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                           Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                                  Discounts:                           -US $1.00


                Pay with a New card                VISA 1
                                                        ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                                 Pay now



    Review & Confirm Your Order                                                                                                                                         « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                     r.-, GeoTn.15t



                                                 Product Detail                                               Subtotal                 Shipping Method


      Seller: fitzgerald2


                            Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                            Options: 02-PINK                                                                  us $39.30            China Post SAL
                            u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                                  Estimated delivery time:
                                                                                                                                  Jun 3 and Jul 1



      Add remark to seller
                                                                                                               us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                      Item Subtotal:                us $39.30
                                                                                                                     Shipping Cost:                     us S0.00
                                                                                                                          DHcoupon:                       -US $1

                                                                                                                       Order Total:                 us $38.30




                                        ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 124
Seller Name: fmmaoe2
Marketplace: DHGate
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                                                517


                        fmmaoe2 Store
                                                                                                                                                                                                                            ~
                                           Chat v                                                                                                                                                 ( ) Join / Sign In
DHJ{ate                 75.0% Positive Feedback
                                                                     slides                                                                                                 lnthl r    re
                                                                                                                                                                                                  ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                    Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                    Face Silicone Clean Beauty Foreoing Ma219H
                                                                                                    US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                       $34.18                            $32.98

                                                                                                                    1 Piece+                    9 Pieces+                         31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                             New Buyer Coupon Pack

                                                                                                                             $25 O FF DHcoupoo
                                                                                                                                      S230H
                                                                                                                                                           This swre ooty
                                                                                                                                                           SZOFF
                                                                                                                                                                              -



                                                                                                                             St ore Coup on Save $2     v




                                                                                 Similar Items
                                                                                                     Options:



                                                                                                                               ••                                                 02-PINK




                                                                                                     Quantity·                                         f   + Piece                Maximum 50 Piece(s)



                                                                                                     Shi pping:             Free Shipping co United States Via China Post SAL                  More Options v
                                                                                                                            Estimated del ivery time: May. 31 and Jun. 23


                                                                                                     Total cost:            $39.3 CD

                                                                                                                                           Buy it Now                        Add to Cart


                                                                                                     Buyer Prot ection:     @ Return Policy        [§I Refund for No Delivery          @ Secure Paymem


                                                                                                      Product Fea t u re

                                                                                                          Origin: CN(Origin ) Commodity Quality Certifica tion : ce Power Source: Rechargeable Battery Model Number: MINI 02
                                                                                                          Type : Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                                ••



   Black electri c shaver for men         Hai r Clip pers WMARK NG-2021       Electric Hair Dryer Professional         Oem Profession al Portab le                 2 in 1 360 degree rotating Hair        Electri c Hair Dryer 3200
   beard hair trimmer electrical          Eleccri c Trimmer For Men           Power Styling Tools Blow Hot             Folding Blue Ligh t Stand                   Curler Fast Heating Mini               Pro fessi onal Hair Dryer HocCold
   US $44.19 - 57.23 / Piece              US $56.64- 68.98 / Piece            US $18.28 - 21.78 / Piece                US $29.68- 35.37 I Piece                    US $36.31 - 43.26 / Piece              US $10.62 - 13.71 / Piece

    $2 OFF $50 +                                                                                                                                                                                           $2 OFF $25+




Customers Often Bought With




     ••••
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 31 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                            (United States)                                                                                 t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       ne   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                             -US $1.00


               Pay with a New card            VISA 1
                                                   ~ 1a           __                                                                                                   Grand Total:                         us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                          Product Detail                                                  Subtotal                 Shipping Method


     Seller: fmmaoe2


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                 us $39.30            China Post SAL
                        us $39.30 I Piece                                       +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 2 3



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®        Buyer Protection                   @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 125
Seller Name: foigj55
Marketplace: DHGate
              Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 33 of
                                                   517                                        Subtotal
                                                                                                                                                                                                                                              us $0.00
                                                                                                                                                                                          ~ United Scates/ USO v       «) Engl ish v

                          foigj55 St ore
                                                                                                                                                                                                                        ~
                                           Chat v                                                                                                                                                    ( ) Hi,
DHJ{ate                   100.0% Positive Feedback
                                                                         shoes
                                                                                                                                                                                                 ~       My DHgate v    •• Cart
                                                                                                                                                                                                                                              Go to Cart




Store Home               Products          Limited Time Sale            TopSelllng            Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                         Skin Care Tools Elec tric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                         Sonic Face Silicone Clean Beauty Foreoing Ma195E
                                                                                                         US $32.15 - 38.3 I Piece


                                                                                                         USO V          $38.30                      $33.32                               $32.15

                                                                                                                        1 Piece+                    1 o Pieces+                          32 Pieces+



                                                                                                         Sale Detail:
                                                                                                                                   Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                               Nei.v Buyer Coupon Pack

                                                                                                                               $25 OFF □Hcoupori
                                                                                                                                               $230fF
                                                                                                                                                               This st°'e ooty
                                                                                                                                                               $20FF
                                                                                                                                                                                     -



                                                                                                                               Store Coupon Save $2          v




                                                                                 Simi lar Items
                                                                                                         Options:



                                                                                                                                   •• •                                                                                           M ore+




                                                                                                         Qu anti ty                                              +     Piece             Maximum 50 Piece(s)



                                                                                                         Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                               Estimated delivery time: Jun. 3 and Jun. 26



                                                                                                                                          Buy it Now                         Add to Cart


                                                                                                         Buyer Protection:     ® Return Policy          ~ Refund for No Delivery              lg! Secu re Pay m ent


                                                                                                          Produ ct Featu re

                                                                                                            Origin: CN(Origin) Commodity Quality Certification: ce Power Source: Rechargeable Battery Model Num ber:
                                                                                                            MINI 02 Type : Facial Cl eansi ng Brush Vibration : 6000RPM Vibration Stren gth : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                          [Nol Vottogc




   Home Pain less Laser Hair
   Removal Oepilat or IPL Epilator
                                            Electri c Shaver For Man
                                            Stainless Steel Shaving Machine
                                                                                          R
                                                                                     Hai r Curlers Straighteners
                                                                                     LISAPRO Dual Voltage Air Brush
                                                                                                                                   Skin Care Tools El ectric Face
                                                                                                                                   Scrubbers Min i Vibrator
                                                                                                                                                                                 Steam ers Cleaning Cleaner
                                                                                                                                                                                 Beau ty Face Steami ng Device
                                                                                                                                                                                                                               I
                                                                                                                                                                                                                       Electri c Hair CurlE
                                                                                                                                                                                                                       Dryer Straigh cenE
   US $83.73. 110.86 / Piece                US $41.69- 56.07 / Piece                 US $56.36 • 67.15 / Piece                     US $32.98 • 39.30 I Piece                     US $33.30 • 39.68 / Piece             us $27.87 - 33.22




                           •                                      •                                              •                                        •                                                •
       $2 0 FF $50 +                         $2 0 FF $50+                             $2 0 FF $50+                                                                                $2 0 FF $50+




   foigjSS Store >                                   Item Description      Company overview                                                                                                                            Report Item

   !Cl
   .      Chat     @ 4                                 Specifications

   100.0% Positive Feedback
                                                                              Vnlt ;mp·     nc~ 7V
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 34 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                             (United States)                                                                                 t2_     Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $38.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a c ard                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $37.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: foigj55


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..



           I              Options: 01-ROSE

                         u s $38.30 I Piece                                      +     Piece
                                                                                                           us $38.30            China Post SAL
                                                                                                                               Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $38.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $37.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 126
Seller Name: fploikk
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 36 of
                                               517


                        fploikk Store
                                                                                                                                                                                                                              ~
                                         Chat v                                                                                                                                                     ( ) Hi,
DHJ{ate                 92..9% Positive Feedback
                                                                      sandal                                                                                                  lnthl r    re
                                                                                                                                                                                                    ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma262S
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                       $34.18                              $32.98

                                                                                                                    1 Piece+                    9 Pieces+                           31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                           New Buyer Coupon Pack

                                                                                                                             $25 O FF DHcoupoo
                                                                                                                                      S230H
                                                                                                                                                             This swre ooty
                                                                                                                                                             SZOFF
                                                                                                                                                                                -


                                                                                                                             St ore Coupon Save $2       v




                                                                                  Similar Items
                                                                                                      Options:



                                                                                                                                          • • (i)                                                02-ROSE




                                                                                                      Quantity·                                          f   + Piece                Maximum 50 Piece(s)



                                                                                                      Shi pping:             Free Shipping co United States Via China Post SAL                    More Options v
                                                                                                                             Estimated delivery time: May. 23 and Jun. 15


                                                                                                      Total cost:            $39.3 CD

                                                                                                                                           Buy it Now                          Add to Cart


                                                                                                      Buyer Protection:      @ Return Policy         [§I Refund for No Delivery          @ Secure Paymem


                                                                                                       Product Feature

                                                                                                           Origin: CN(Origin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                           Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




   2 in 1 Electric Comb                   8148 Magic Metal Hair Clipper        Hai r Clippers Professional              Home Painless Laser Hair                     longmada Glowcore Quart                 men electric shaver razor Type-
   Straight ener wand Hair Curling        Electri c Razor Men Steel Head       Digi tal LCD Display Adjustable          Removal Depilator IPL Epilator               Boiler Primary Wax Heater               c USB rechargeable 3 blades
   US $10.41 - 26.03 / Piece              US $33.20- 50.72 I Piece             US $15.80 - 19.81 / Piece                US $83.73 - 110.86 / Piece                   US $9.17 - 13.66/ Piece                 US $34.37 - 43.11 / Piece

    $2OFF $50 +                             $3 OFF $49+                                                                                                               $7OFF 5159+                             $2 OFF $50+




Customers Often Bought With



                                                                                                                                                                               I              J-1
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DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $38.30

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: fploikk




         •
                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 23 and Jun 15



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 127
Seller Name: fswnn33
Marketplace: DHGate
            Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 39 of
                                                 517                                        Subtotal
                                                                                                                                                                                                                                  us $0.00
                                                                                                                                                                                  ~ United Scates / USO v     «) Engl ish v

                        fswnn33 Store
                                                                                                                                                                                                               ~
                                          Chat     v                                                                                                                                       ( ) Hi,
DHJ{ate                 100.0% Positive Feedback
                                                                        decals
                                                                                                                                                                                       ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                  Go to Cart




Store Home            Products          Limited Time Sale             TopSelllng            Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma240Y
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                        $34.18                            $32.98

                                                                                                                  1 Piece+                     9 Pieces+                         31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                       Nei.v Buyer Coupon Pack

                                                                                                                          $25 OFF □Hcoupori
                                                                                                                                         $230fF
                                                                                                                                                       This st°'e ooty
                                                                                                                                                       $20FF
                                                                                                                                                                             -



                                                                                                                          Store Coupon Save $2         v




                                                                                 Simi lar Items
                                                                                                    Options:



                                                                                                                             •• •                                                            02-ROSE
                                                                                                                                                                                                                        More+




                                                                                                    Qu anti ty                                             +    Piece            Maxim um 50 Piece(s)



                                                                                                    Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated del ivery time: Jun. 3 and Jun. 26


                                                                                                    Total cosc:           $39.3 ©

                                                                                                                                    Buy it Now                       Add to Cart


                                                                                                    Buyer Protect ion:    @ Return Policy         (31 Refund for No DeHvery           @ Secu re Pay m ent


                                                                                                     Product Feature

                                                                                                       Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Num ber :
                                                                                                       MINI 02 Type : Facial Cl eansi ng Brush Vibration : 6000RPM Vibration Stren gth : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                           l

                                                                                                                                 ~ 1Jui1
                                                                                                                                                                                 HIil


   Selling Electric Razor
   Rechargeable Beard Trimmer
                                          Leisure Compu ter Ch air
                                          Household Office Student
                                                                                    2018 Salon Hair I ron Hair
                                                                                    Straight en ing Escova Alisadora
                                                                                                                             Electri c Hai r Dryer Blow Dryer
                                                                                                                             Cu rlin g Iron Ro ta ting Brush
                                                                                                                                                                                    llllti
                                                                                                                                                                         Hai r Cu rlers Straighteners New
                                                                                                                                                                         Arrival professional 19mm
                                                                                                                                                                                                              Hair Clippers Oro
                                                                                                                                                                                                              Cortar Cabello To
   US $18.4S - 21.99 / Piece              US $13.13-18.68 / Piece                   US $5.S8 - 27.41 / Piece                 US $1S3.36 -182.75 / Piece                  US $21.95 - 27.91 / Piece            US $23.56- 3S.43




                         •                                       •                                         •                                        •                                            •
                                                                                     $2OFF $50+                                                                           $2OFF 550+




   fswnn33 Store >                                 Item Description       Company Overview                                                                                                                    Rep orc Item

   !Cl
   .     Chat   @ 3                                    Specifications
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 40 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                               (United States)                                                                               t2_     Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: fswnn33




         •
                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 02-ROSE                                                                 us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 41 of
                                      517


DOE Number: 128
Seller Name: fuvlkb
Marketplace: DHGate
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                                               517


                        fuvlkb Store
                                                                                                                                                                                                                             ~
                                        Chat v                                                                                                                                                     ( ) Join/ Si gn In
DHJ{ate                 83.3% Positive Feedback
                                                                     sunglasses                                                                                              lnthl r    re
                                                                                                                                                                                                   ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                    Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                    Face Silicone Clean Beauty Foreoing Ma21 1A
                                                                                                    US $32.98 - 39.3 I Piece


                                                                                                    USO V          $39.3                          $34.18                           $32.98

                                                                                                                   1 Piece+                       9 Pieces+                        31 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                          New Buyer Coupon Pack

                                                                                                                            $25 O FF DHcoupoo
                                                                                                                                     S230H
                                                                                                                                                            This swre ooty
                                                                                                                                                            SZOFF
                                                                                                                                                                               -



                                                                                                                            St ore Coup on Save $2      v




                                                                                    Similar Items
                                                                                                     Options:



                                                                                                                              •• •                                                                                 03-PINK




                                                                                                     Quantity·                                          f   + Piece                Maximum 50 Piece(s)



                                                                                                     Shi pping:             Free Shipping co United States Via China Post SAL                   More Options v
                                                                                                                            Estimated del ivery time: May. 31 and Jun. 23


                                                                                                     Total cost:            $39.3 CD

                                                                                                                                          Buy it Now                          Add t o Cart


                                                                                                     Buyer Protect ion:     @ Return Policy         [§I Refund for No Delivery          @ Secure Paymem


                                                                                                     Product Fea ture

                                                                                                          Origin: CN(Origin ) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                          Type: Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                            ••
   8148 Magi c Me tal Hair Clipper
   Electric Razor Electric Pu sh
                                          20 18 Salon Hair Iron Hair
                                          Straightening Escova Alisadora
                                                                              Epacket KM-1409 Carbon Steel
                                                                              Men Beard Shaver Head Hair
                                                                                                                       3 in l KEMEI KM-1407
                                                                                                                       Multifunctional Hair Trimmer
                                                                                                                                                                    Abdominal Muscle Training
                                                                                                                                                                    Stimulator Device Wireless EMS
                                                                                                                                                                                                            f'
                                                                                                                                                                                                           KEMEI KM-1407 Multi functional
                                                                                                                                                                                                           Hair Trimmer Rechargeable
   US $56.55 - 58.30 I Piece              US $5.82 - 16.07 / Piece            US $16.09 - 19.17 / Piece                US $8.11 - 10.50 / Piece                     US $13.48-21.42 / Piece                US $17.69 - 27.07 I Piece

                                           $2 0 FF $50+                           $20FF $50+                            $5 OFF $99+                                  $20FF $SO+                             $2 0 FF $50+




Customers Often Bought With



                                                                                                                          an
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 43 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: fuvlkb


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 03-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 31 and Jun 2 3



      Ad d remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 129
Seller Name: hftfcn
Marketplace: DHGate
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                                                   517                                        Subtotal
                                                                                                                                                                                                                                          us $0.00
                                                                                                                                                                                       ~ United Scates/ USO v       «) Engl ish v

                         hftfcn Store
                                                                                                                                                                                                                     ~
                                        Chat   V                                                                                                                                                  ( ) Hi,
DHJ{ate                  100.0% Positive Feedback
                                                                        decals
                                                                                                                                                                                              ~       My DHgate v    •• Cart
                                                                                                                                                                                                                                          Go to Cart




Store Home              Products         Limited Time Sale             TopSelllng           Review              About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                       Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                       Sonic Face Silicone Clean Beauty Foreoing Ma2251
                                                                                                       US $32.98 - 39.3 I Piece


                                                                                                       USO V          $39.3                       $34.18                              $32.98

                                                                                                                      1 Piece+                    9 Pieces+                           31 Pieces+



                                                                                                       Sale Detail:
                                                                                                                                 Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                              Nei.v Buyer Coupon Pack

                                                                                                                              $25 OFF □Hcoupori
                                                                                                                                             $230fF
                                                                                                                                                            This st°'e ooty
                                                                                                                                                            $20FF
                                                                                                                                                                                  -



                                                                                                                              Store Coupon Save $2         v




                                                                                 Simi lar Items
                                                                                                       Options:



                                                                                                                                 ••                                                   02-PINK
                                                                                                                                                                                                                              M ore+




                                                                                                       Quantity                                                +    Piece             Maximum 50 Piece(s)



                                                                                                       Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                              Estimated del ivery time: Jun. 3 and Jun. 26


                                                                                                       Total cosc:            $39.3 ©

                                                                                                                                        Buy it Now                        Add to Cart


                                                                                                       Buyer Protection:      @ Return Policy         (31 Refund for No DeHvery            @ Secu re Pay m ent


                                                                                                        Product Feature

                                                                                                          Origin: CN(Origin) Commodity Quality Certification: ce Power Source: Rechargeable Battery Model Number :
                                                                                                          MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                        buol Vottoge




                                                                                                                                                                                                                            I
   Home Painless Laser Hair
   Removal Depilacor IPL Epilator
   US $83.73 - 110.86 / Piece
                                           Electric Shaver For Man
                                           Stainless Steel Shaving Machine
                                           US $41.69- 56.07 / Piece
                                                                                        "
                                                                                    Hai r Curlers Straighteners
                                                                                    LISAPRO Dual Vo ltag e Air Bru sh
                                                                                    US $56.36 - 67.15 / Piece
                                                                                                                                 Skin Care Tools El ectric Face
                                                                                                                                 Scrubbers Min i Vibrator
                                                                                                                                 US $32.98- 39.30 / Piece
                                                                                                                                                                              Steam ers Cleaning Cleaner
                                                                                                                                                                              Beauty Face Steaming Device
                                                                                                                                                                              US $33.30 - 39.68 / Piece
                                                                                                                                                                                                                    Electric Hair CurlE
                                                                                                                                                                                                                    Dryer StraighrenE
                                                                                                                                                                                                                    us $27.87 - 33.22




                          •                                      •                                             •                                        •                                               •
       $2 0 FF $50 +                        $2 0 FF $50+                             $2 0 FF $50+                                                                              $2 0 FF $SO+




   hftfcn Store >                                   Item Description      Company Overview                                                                                                                          Rep orc Item

   !Cl
   .      Chat     @z                                 Specifications
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 46 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                 t2_     Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                 Pay with a New card            VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: hftfcn


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 130
Seller Name: hgwdf625
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 48 of
                                               517


                        hgwdf625 Store
                                                                                                                                                                                                                              ~
                                           Chat v                                                                                                                                                     ( ) Hi,
DHJ{ate                 100.0% Positive Feedback
                                                                       traps.tar                                                                                                 lnthl r    re
                                                                                                                                                                                                      ~ MyDHgate v            •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                          Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                           Face Silicone Clean Beauty Foreoing Ma243s
                                                                                                          US $32.98 - 39.3 I Piece


                                                                                                           USO V          $39.30                     $34.18                            $32.98

                                                                                                                          1 Piece+                   9 Pieces+                         31 Pieces+



                                                                                                           Sale Detail:
                                                                                                                                     Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                               New Buyer Coupon Pack

                                                                                                                                  $25 O FF DHcoupoo
                                                                                                                                           S230H
                                                                                                                                                                This swre ooty
                                                                                                                                                                SZOFF
                                                                                                                                                                                   -



                                                                                                                                  St ore Coupon Save $2      v




                                                                                       Similar Items
                                                                                                            Options:



                                                                                                                                                • •
                                                                                                            Quantity·                                       f   + Piece                Maximum 50 Piece(s)



                                                                                                            Shipping:            Free Shipping co United States Via China Post SAL More Options v
                                                                                                                                 Estimated delivery time: May. 24 and Jun. 16



                                                                                                                                                Buy it Now                        Add to Cart


                                                                                                            Buyer Protection:    ® Return Policy        ~ Refund for No Delivery            ~ Secure Payment



                                                                                                            Product Fea ture

                                                                                                               Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                               Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




                                                                                                                                       TT
                                                                                                                                       TT
   Brand Designer Electric Hair
   Clipper Mini Hair Trimmer
                                          Electric toothbrush adult
                                          magnetic levit ation sonic
                                                                                   2021 Hair Dif fusers In telligent
                                                                                   frequency conversi on
                                                                                                                                            •
                                                                                                                             New Buddha Head Electric Hair
                                                                                                                             Clippers Rechargeable Retro Oil
                                                                                                                                                                        T9 Hair Trimmer Barber Hair
                                                                                                                                                                        Clipper Cordless Cu tcing            Xiaomi Mijia Tl OO Toothbrush
   US $16.57 • 21.94 / Piece              US $18.70- 21.30 / Piece                 US $22.57 • 30.38 / Piece                 us $25.14-40.20 1 Set                      US $10.50 • 20.88 / Piece            US $9.50 • 11.91 / Piece

                                                                                    $2 OFF $50+                               $2 OFF $50+                                $2 OFF $25+




Customers Often Bought With




-                                                         11
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 49 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                       n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


               Pay with a New card              VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                       « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


     Seller: hgwdf 625


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 24 and Jun 16



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 131
Seller Name: hover8
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 51 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                          us $0.00
                                                                                                                                                                                 ~ United Scates/ USO v            «) Engl ish v

                        hover8 Store
                                                                                                                                                                                                                    ~
                                         0,at   V
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DHJ{ate                 100.0% Positive Feedback
                                                                        lululemen womens
                                                                                                                                                                                          ~        My DHgate v      •• Cart
                                                                                                                                                                                                                                          Go to Cart




Store Home            Products          Limited Time Sale              TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                      Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                      Sonic Face Silicone Clean Beauty Foreoing Ma2293
                                                                                                      US $32.98 - 39.3 I Piece


                                                                                                      USO V          $39.3                       $34.18                        $32.98

                                                                                                                     1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                      Sale Detail:
                                                                                                                                Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                          Nei.v Buyer OHcoupon Pack
                                                                                                                             $23 OFF
                                                                                                                                                                  - -




                                                                              Simi lar Items
                                                                                                      Options:



                                                                                                                                           • •                                                           03-BLUE
                                                                                                                                                                                                                              More+




                                                                                                      Quantity:                                             +    Piece         Maximum 50 Piece(s)



                                                                                                      Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                      Total cost             $39.3 ©

                                                                                                                                       Buy it Now                     Add to Cart


                                                                                                      Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Payment



                                                                                                       Produce Feature
                                                                                                         Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                         MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                       Duol Voltoge




   Home Painless Laser Hair
   Removal Oepilat or IPL Epilator
   US $83.73 . 110.86 / Piece
                                          Electri c Shaver For Man
                                          Stainless Steel Shaving Machine
                                          US $41.69· 56.07 / Piece
                                                                                       "
                                                                                    Hai r Cu rlers Straighteners
                                                                                    LISAPRO Dual Voltage Air Bru sh
                                                                                    US $56.36 • 67.15 / Piece
                                                                                                                                Skin Care Tools El ectric Face
                                                                                                                                Scrubbers Min i Vibrator
                                                                                                                                US $32.98 • 39.30 I Piece
                                                                                                                                                                          Steam ers Cleaning Cleaner
                                                                                                                                                                          Beauty Face Steaming Device
                                                                                                                                                                          US $33.30 • 39.68 / Piece
                                                                                                                                                                                                                           I
                                                                                                                                                                                                                   Electri c Hair CurlE
                                                                                                                                                                                                                   Dryer StraighcenE
                                                                                                                                                                                                                   us $27.87 - 33.22




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    S2 0 FF $50 +                          $2 0 FF $50+                              S2 0 FF $50+                                                                          S2 0 FF $50+




   hovers Store >                                   Item Description      Company o verview                                                                                                                        Report Item

   !Cl
   ll!I Chat    @2                                    Specifications
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DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: lloverS


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 03-BLUE                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jul 1



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 132
Seller Name: jade86
Marketplace: DHGate
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                                               517


                        jade86 Store   Ill Chat v
DHJ{ate                 100.0% Positive Feedback
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                                                                                                                                                                                                        ( ) Hi,
                                                                                                                                                                                                            MyDHgate v          \:J
                                                                                                                                                                                                                                 •• Car t     v




DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > use Charging Waterproof Electrtc SIii...


                                                                                                          USB Charging Waterproof Electric Silicone Facial Cleansing Brush Sonic Vibration Massage
                                                                                                          Blackhead Remover Pore Cleaning Tools
                                                                                                          US $34.18 - 40.72 / Piece


                                                                                                          USO V          $40.72                      $35.42                        $34.18

                                                                                                                         1 Piece+                    9 Pieces+                     30 Pieces+



                                                                                                          Sale Detail:
                                                                                                                                    Enjoy fast refund service if you r first ord er exceed s Promised Dispatch Dace

                                                                                                                                 New Buyer DHcoupon Pack            : - -
                                                                                                                                 $23 OFF                            !


                                                                                                           Options:


                                                                                                                                     Pink

                                                                                                           Quantity·                                          + Piece                 Maximum 100000 Piece(s)


             -    Share co be partner                                                   Similar Items
                                                                                                           Shi pping:           Free Shipping co United States Via ePacket More Opti ons v
                                                                                                                                Estimated delivery time: May. 24 and Jun. 1S


                                                                                                           Total cost:          $40.72 CD

                                                                                                                                                Buy it Now                      Add to Cart


                                                                                                           Buyer Protection:     @ Return Policy        [§I Refund for No Delivery         @ Secure Payment


                                                                                                           Product Fea ture

                                                                                                           1. Waterproof design, easy to use. 2. The material i s food grade silicone, soft and comfortable. 3. Two colors for choosing. 4.
                                                                                                           OEM is accepted, strong packing.




Customers Who Bought This Item Also Bought


                                              Anti-freezing
                                               Membrane
                      ~        ••              Slllli..btieforAISkl'I~
                                                _.._......,
                       I       0
                      ·-~,                                                                                                                                                                                             •
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   Cl eaning Tools Accessori es            Cleani ng Accessories Cryo                Face Care Devices EMS Electric         Face Care Devices Min i HIFU 2           Cl eaning Tools Accessori es             Face Care Devices Vacuum Pore
   Silicone Face Washing Machin e          Antif reeze Membrane For                  Beauty In stru ment Micro-             Mach ine Ultrasound RF                   Manual Electric Cleansing                Cl eaner Electric Blackhead
   us $12.24 - 14.74 / Piece               us $1.18 - 3.86 I Piece                   US $16.39-19.53 / Piece                us $67.91 • 80.92 / Piece                us $10.08-12.69 / Piece                  us $11 .47 -14.10 / Piece
    $4 OFF $69+                             Sl OFF $50 +                                                                     S2 0 FF $ 50+                              $4 OFF $69+                               $4 OFF $69+




Customers Often Bought With




   ~1111                                                                                                                                                                       I
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 55 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                   Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $40.72
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        us sooo
          Pay with a c ard                                                                                                                                             Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $39.72

                                                                                                                                                                                             Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: jade86


                        USB Charging Waterproof Electric Silicone Facial C.

                        Options: Pink                                                                     US $40.72            ePacket
                        u s $40.72 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 24 and Jun 15



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $40.72
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $39.72




                                    ®          Buyer Protection               @        Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 133
Seller Name: jguyhxz10
Marketplace: DHGate
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                                                517                                        Subtotal
                                                                                                                                                                                                                                          us $0.00
                                                                                                                                                                                 ~ United Scates/ USO v            «) Engl ish v

                         tQuyhxz10 Store     Chat   V
                                                                                                                                                                                              o• Hi,                ~
DHJ{ate                  100.0% Positive Feedback
                                                                        lululemen womens
                                                                                                                                                                                          ~       MyDHgate v        •• Cart
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Store Home            Products             Limited Time Sale           TopSelllng           Review              About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                       Skin Care Tools El ectric Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush
                                                                                                       Sonic Face Silicone Clean Beauty Foreoing Ma268Z
                                                                                                       US $32.98 - 39.3 I Piece


                                                                                                       USO V          $39.30                      $34.18                        $32.98

                                                                                                                      1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                       Sale Detail:
                                                                                                                                 Enjoy fast ref un d service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                          Nei.v Buyer OHcoupon Pack
                                                                                                                             $23 OFF
                                                                                                                                                                    - -




             9 Share to be par tner                                           Simi lar Items
                                                                                                       Options:



                                                                                                                                            • •                                                                               More+




                                                                                                       Quantity:                                             +    Piece         Maximum 50 Piece(s)



                                                                                                       Shipping:            Free Shipping to United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: Jun. 3 and Jul. 1



                                                                                                                                        Buy it Now                     Add to Cart


                                                                                                       Buyer Protection:     ® Return Policy         I§ Refun d for No Delivery       ~ Se cu re Pay mem



                                                                                                        Product Feature

                                                                                                          Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Number :
                                                                                                          MINI 02 Type Facial Cl eansi ng Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                       ..I
                                                                                       -R
                                                                                        Dual Vottott




                          •
                     ' I...


   Home Pain less l aser Hair
   Removal Depilator IPL Epilator
                                            Electri c Shaver For Man
                                            Stainless Steel Shaving Machine
                                                                                    Hai r Curlers Straighteners
                                                                                    LISAPRO Dual Voltage Air Bru sh
                                                                                                                                 Skin Care Tools El ectric Face
                                                                                                                                 Scrubbers Min i Vibrator
                                                                                                                                                                          Steam ers Cleaning Cleaner
                                                                                                                                                                          Beauty Face Steami ng Device
                                                                                                                                                                                                                           I
                                                                                                                                                                                                                   Electri c Hair CurlE
                                                                                                                                                                                                                   Dryer StraightenE
   u s $83.73 -11 0.86 / Piece              us $41.69- 56.07 / Piece                u s $56.36 - 67 .15 / Piece                  us $32.98 - 39.30 I Piece                us $33.30 - 39.68 / Piece                us $27.87 - 33.22
    S2 0 FF SSO+                             S2 0 FF $SO+                            S2 0 FF $SO+                                                                          S2 0 FF $SO+




                                                                                                                                                                                  ._
Customers Often Bought With




                                                                                     Mall
                                                                                                                                                                           GR
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 58 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                              (United States)                                                                               t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card              VISA 1
                                                     ~ 1a         __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                              Product Detail                                              Subtotal                 Shipping Method


     Seller: jguyhxz10


                         Skin Care Tools Electric Face Scrubbers Mini Vibra..
                         Options: 01-YELLOW                                                               us $39.30            China Post SAL
                         u s $39.30 I Piece                                     +      Piece                                  Free Ship ping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jul 1



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                     ®          Buyer Protection                @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 134
Seller Name: jlyx
Marketplace: DHGate
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                                                517


                         jlyxStore
                                                                                                                                                                                                                          ~
                                       Chat v                                                                                                                                                   ( ) Hi,
DHJ{ate                  87 .S% Positive Feedback
                                                                      lululemen womens                                                                                    lnthl r     re
                                                                                                                                                                                                ~ MyDHgate v              •• Cart v




DHgate > Home & Garden > Bath > Bathroom Accessories > Bath Brushes, Sponges & Scrubbers > Ultrasonic SIiicone Electric Facial Clea ...


                                                                                                        Ultrasonic Silicone Electric Facial Cleansing Brush Sonic Face Cleanser Cleansi ng Skin Mini
                                                                                                        Washing Massager Brush Rechargeable Y13464900

                                                                                                        US $11.3 - 12.88 /Piece


                                                                                                        USO V           $12.88                      $ 11.74                        $ 11.33


                                                                                                                        1 Piece+                    26 Pieces+                     89 Pieces+



                                                                                                        Sal e Detail:
                                                                                                                                   Enjoy fasc , etund service if your first order exceeds Promised Dispatch Dare

                                                                                                                                New Buyer Coupon Pack                          :

                                                                                                                                $29 OFF DHcoupon
                                                                                                                                        S23       OFF
                                                                                                                                                             Th!s smre only
                                                                                                                                                             Sti OFF
                                                                                                                                                                               :
                                                                                                                                                                               :
                                                                                                                                                                                   - -



                                                                                                                                Store Coupon Save $2        v




                                                                                                        Options:




                                                                                                        Quantity:



                                                                                                        Shipping:
                                                                                                                                     r                              •
                                                                                                                                                                + Piece
                                                                                                                                                                         Red

                                                                                                                                                                                   Maximum 10000 Piece(s)



                                                                                                                                Free Shipping to United States v ,a ePacket More Options v
                                                                                                                                Estimated delivery time: May. 18 and Jun. 9



      [i]                                                                                               Total cost:             $12.88 CD

                                                                                     Si milar Items                                          Buy it Now                        Add to Cart


                                                                                                        Buyer Protection:       @ Ret u rn Policy       1§1 Refund for No Delivery         @ Secure Pay m ent


                                                                                                         Product Feature

                                                                                                        welcome to my store




Customers Who Bought This Item Also Bought




   Toilet Supplies Smart Heated            Natural Loofah Slices              Bath Ball Mesh Brushes                    16 color Five finger wash bath           Creative Walt Mount Automatic
   Toilet Seat Instant Hot WC Si tz        Handmade DIV Loofah Soap           Sponges Bath Accessories Body             gloves Household thickened               Toothpaste Dispenser and                Bathroom Lotion Bottle
   us $140.34-159.59 / Piece               us $0.16 . 0.16 / Piece            us $2.05 • 2.33 I Piece                   us $0.73 . 0.77 1 Piece                  us $1.70. 2.20 I Piece                  us $15.85- 30.01 / Piece
                                                                                                                         $5 OFF $499+                             $5 OFF $99+




Customers Often Bought With
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 61 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                               Miami, Florida, United States, 33138.
                                                                                                                                                                                                       n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $12.88
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                 Pay with a New card            VISA 1
                                                     ~ 1a          __                                                                                                   Grand Total:                       us $11 .88

                                                                                                                                                                                              Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: jlyx


                         Ultrasonic Silicone Electric Facial Cleansing Brus ..
                         Options: Red                                                                      us $12.88            ePacket
                         u s $12.88 I Piece                                      +     Piece                                   Free Ship ping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 18 and Jun 9



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                u s $12.88

                                                                                                                  Shipping Cost:                     u s S0.00

                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                  U S S11 .88




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 135
Seller Name: kiki2
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 63 of
                                               517                                        Subtotal
                                                                                                                                                                                                                               us $0.00
                                                                                                                                                                            ~ United Scates/ USO v         «) English v

                       kiki2Score
                                                                                                                                                                                                            ~
                                     Cha t v                                                                                                                                            ( ) Hi,
DHJ{ate                95.8% Positive Feedback
                                                                      lululemen womens
                                                                                                                                                                                    ~       My DHgate v     •• Cart
                                                                                                                                                                                                                               Go to Cart




Store Home           Products          Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                 Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                 Sonic Face Silicone Clean Beauty Foreoing Ma334s
                                                                                                 US $32.98 - 39.3 I Piece


                                                                                                 USO V          $39.30                       $34.18                       $32.98

                                                                                                                1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                 Sale Detail:
                                                                                                                           Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                        Nei.v Buyer OHcoupon Pack            - -
                                                                                                                        $23 OFF




                                                                            Simi lar Items
                                                                                                  Options:



                                                                                                                                      • •                                                                           More+




                                                                                                  Quantity:                                         +       Piece         Maximum 50 Piece(s)



                                                                                                  Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                        Estimated delivery time: Jun. 3 and Jul. 1



                                                                                                                                  Buy it Now                    Add to Cart


                                                                                                  Buyer Protection:     ® Return Policy        I§ Refund for No Delivery         ~ Secure Paym em



                                                                                                   Product Feature

                                                                                                     Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Number :
                                                                                                     MINI 02 Type Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                         l
                                                                                                                                                                            ...."
                                                                                                                               ~ \lui1
                                                                                                                                                                           fr ill


   Selling Electric Razor
   Rechargeable Beard Trimmer
                                         Leisure Compu ter Chair
                                         Household Office Studen t
                                                                                  2018 Salon Hair I ron Hair
                                                                                  Straight ening Escova Alisadora
                                                                                                                           Electric Hair Dryer Blow Dryer
                                                                                                                           Curling Iron Rotating Brush
                                                                                                                                                                              llllll
                                                                                                                                                                     Hai r Curlers Straighteners New
                                                                                                                                                                     Arrival professional 19mm
                                                                                                                                                                                                           Hair Clippers Dro
                                                                                                                                                                                                           Corcar Cabello To
   us $18.45- 21.99 / Piece              us $13.13-18.68 / Piece                  us $5.58 • 27.41 / Piece                 us $153.36 -182.75 / Piece                us $21.95 • 27.91 / Piece             us $23.56 - 35.43
                                                                                   S2 OFF $SO+                                                                        S2 OFF $SO+




   kiki2 Store >                                 Item Description       Company overview                                                                                                                   Report Item

   II
   l9l chat   @s                                   Specifications

   95.8% Posi tive Feedback
                                                                          Voltage·     DC3.7V
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 64 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: kiki2


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 01-YELLOW                                                               us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jul 1



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 136
Seller Name: kun6
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 66 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                        us $0.00
                                                                                                                                                                                 ~ United Scates/ USO v           «) Engl ish v

                        kun6Store      Chat   v                                                                                                                                               o• Hi,               ~
DHJ{ate                 100.0% Positive Feedback
                                                                      louise vuitton
                                                                                                                                                                                          ~       My DHgate v      •• Cart
                                                                                                                                                                                                                                        Go to Cart




Store Home            Products          Limited Time Sale            TopSelllng            Review              About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                      Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                      Sonic Face Silicone Clean Beauty Foreoing Ma280z
                                                                                                      US $32.98 - 39.3 I Piece


                                                                                                      USO V          $39.3                       $34.18                        $32.98

                                                                                                                     1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                      Sale Detail:
                                                                                                                                Enjoy fast ref und service if your first order exceeds Promised Dispatch Dace

                                                                                                                             Nei.v Buyer OHcoupon Pack            - -
                                                                                                                             $23 OFF

                                                                             Simi lar Items


                                                                                                      Options:



                                                                                                                                           • •                                                          03-BLUE
                                                                                                                                                                                                                            More+




                                                                                                      Quantity:                                             +    Piece         Maximum 50 Piece(s)



                                                                                                      Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                      Total cost             $39.3 ©

                                                                                                                                       Buy it Now                    Add to Cart


                                                                                                      Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                       Produce Feature
                                                                                                         Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                         MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                       Duol Vottoge




   Home Painless Laser Hair
   Removal Oepilat or IPL Epilator
   US $83.73 . 110.86 / Piece
                                          Electri c Shaver For Man
                                          Stainless Steel Shaving Machine
                                          US $41.69· 56.07 / Piece
                                                                                       "
                                                                                  Hai r Curlers Straighteners
                                                                                  LISAPRO Dual Voltage Air Brush
                                                                                  US $56.36 • 67.15 / Piece
                                                                                                                                Skin Care Tools El ectric Face
                                                                                                                                Scrubbers Min i Vibrator
                                                                                                                                US $32.98 • 39.30 I Piece
                                                                                                                                                                          Steam ers Cleaning Cleaner
                                                                                                                                                                          Beauty Face Steaming Device
                                                                                                                                                                          US $33.30 • 39.68 / Piece
                                                                                                                                                                                                                          I
                                                                                                                                                                                                                  Electric Hair CurlE
                                                                                                                                                                                                                  Dryer StraighcenE
                                                                                                                                                                                                                  us $27.87 - 33.22




                         •                                     •                                              •                                        •                                           •
    S2 0 FF $50 +                          $2 0 FF $50+                            S2 0 FF $50+                                                                            S2 0 FF $SO+




Customers Often Bought With
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 67 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: kun6


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 03-BLUE                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38,30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 137
Seller Name: ldsf26
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 69 of
                                               517                                        Subtotal
                                                                                                                                                                                                                                us $0.00
                                                                                                                                                                                ~ United Scates/ USO v      «) Engl ish v

                        ldsf2.6 Store   Chat   V
                                                                                                                                                                                          o• Hi,             ~
DHJ{ate                 100.0% Positive Feedback
                                                                       lululemen womens
                                                                                                                                                                                      ~       MyDHgate v     •• Cart
                                                                                                                                                                                                                                Go to Cart




Store Home            Products          Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                  Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                  Sonic Face Silicone Clean Beauty Foreoing Ma2584
                                                                                                  US $32.98 - 39.3 I Piece


                                                                                                  USO V          $39.30                       $34.18                           $32.98

                                                                                                                 1 Piece+                     9 Pieces+                        31 Pieces+



                                                                                                  Sale Detail:
                                                                                                                            Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace


[I]                                                                                                                      Nei.v Buyer Coupon Pack

                                                                                                                         $25 OFF □Hcoupori
                                                                                                                                        $230fF
                                                                                                                                                     This st°'e ooty
                                                                                                                                                     $20FF
                                                                                                                                                                           -



                                                                                                                         Store Coupon Save $2        v




                                                                             Simi lar Items
                                                                                                   Options:



                                                                                                                            •• •                                                                                     M ore+




                                                                                                   Quantity                                              +   Piece             Maximum 50 Piece(s)



                                                                                                   Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                         Estimated delivery time: Jun. 3 and Jun. 26



                                                                                                                                   Buy it Now                      Add to Cart


                                                                                                   Buyer Protection:     ® Return Policy         ~ Refund for No Delivery           lg! Secu re Paym ent


                                                                                                    Product Feature

                                                                                                      Origin: CN(Origin) Commodity Quality Certification: ce Power Source: Rechargeable Battery Model Number :
                                                                                                      MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                          l
                                                                                                                                                                                ...."
                                                                                                            tuai llll,i         g                        1
                                                                                                                                                                               fr lil


   Selling Electric Razor                 Leisure Compu ter Chair                  2018 Salon Hair I ron Hair               Electric Hair Dryer Blow Dryer             Hai r Cu rlers Straighteners New     Hair Clippers Oro
   Rechargeable Beard Trimmer             Household Office Studen t                Straightening Escova Alisadora           Cu rling Iron Rotating Brush               Arrival professional 19mm            Cortar Cabello To
   US $18.45 • 21.99 / Piece              US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                 US $153.36 -182.75 / Piece                 US $21.95 • 27.91 / Piece            us $23.56- 35.43




                         •                                     •                                          •   •        •
                                                                                    $2 OFF $50+                                                                         $2 OFF $SO+




Customers Often Bought With




-
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 70 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                 t2_     Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: ldsf26


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jun 26



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                 us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                        -US $1

                                                                                                                   Order Total:                  us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 138
Seller Name: liliooo
Marketplace: DHGate
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                                               517


                        liliooo Store
                                                                                                                                                                                                                         ~
                                        Chat   V                                                                                                                                              ( ) Hi,
DHJ{ate                 86.7% Positive Feedback
                                                                    lululemen womens                                                                                      lnthl r    re
                                                                                                                                                                                              ~ My DHgate v              •• Car t v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Too ls Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush Sonic
                                                                                                   Face Silicone Clean Beauty Foreoing Ma251N
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V           $39.3                      $34.18                            $32.98

                                                                                                                   1 Piece+                   9 Pieces+                         31 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                         New Buyer Coupon Pack

                                                                                                                           $25 O FF DHcoupoo
                                                                                                                                    S230H
                                                                                                                                                         This swre ooty
                                                                                                                                                         SZOFF
                                                                                                                                                                            -



                                                                                                                           St ore Coupon Save $2      v




                                                                                 Similar Items
                                                                                                    Options:



                                                                                                                              •• •                                                                    03-BLUE




                                                                                                    Quantity·                                        f   + Piece                Maximum 50 Piece(s)



                                                                                                    Shi pping:             Free Shipping co United States Via ePacket More Opti ons v
                                                                                                                           Estimated delivery time: May. 27 and Jun. 18


                                                                                                    Total cost:            $39.3 CD

                                                                                                                                         Buy it Now                        Add to Cart


                                                                                                    Buyer Protect ion:     @ Return Policy       [§I Refund for No Delivery          @ Secure Paymem


                                                                                                       Product Fea t ure

                                                                                                         Origin: CN(Origin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                         Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought



                                                                                                                                            -
I
   8148 Magi c Metal Hair Clipper
                                               .,, . ..
                                                     ~
                                                          ~




                                          Abdominal Muscle Trai ning
                                                                                  H t'; =


                                                                             3 in 1KEMEI KM- 1407                     Epacket KM-1409 Car bon Steel              Generic Replacem ent Brush
   Electric Razor Electric Push           Stimulator Device Wireless EMS     Mul tifunctional Hair Trim mer           Men Beard Shaver Head Hair                 Heads For ORab electric                Straigh tening Brush Comb Mi ni
   US $56.55 - 58.30 I Piece              US $13.48-21.42 / Piece            US$8.11 - 10.SO / Piece                  US $16.09-19.17 / Piece                    US $4.43 - 4.S9 / Piece                US $3.28- 4.20 / Piece

                                           $2 0 FF $50+                       $5 OFF $99+                              $2 0 FF $50+                               $20FF $SO+




Customers Often Bought With
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 73 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                            (United States)                                                                                 t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       ne   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                             -US $1.00


                Pay with a New card           VISA 1
                                                   ~ 1a           __                                                                                                   Grand Total:                         us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                          Product Detail                                                  Subtotal                 Shipping Method


     Seller: liliooo


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 03-BLUE                                                                 us $39.30            ePacket
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 27 and Jun 18



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®        Buyer Protection                   @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 139
Seller Name: lsclot
Marketplace: DHGate
            Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 75 of
                                                 517                                        Subtotal
                                                                                                                                                                                                                                      us $0.00
                                                                                                                                                                                ~ United Scates/ USO v          «) English v

                        lsclot Store
                                                                                                                                                                                                                 ~
                                       0,at   V
                                                                                                                                                                                             ( ) Hi,
DHJ{ate                 100.0% Positive Feedback
                                                                       lululemen womens
                                                                                                                                                                                         ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                      Go to Cart




Store Home            Products          Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                     Sonic Face Silicone Clean Beauty Foreoing Ma1582
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                       $34.18                        $32.98

                                                                                                                    1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                         Nei.v Buyer OHcoupon Pack
                                                                                                                            $23 OFF
                                                                                                                                                                 - -




                                                                             Simi lar Items
                                                                                                     Options:
                                                                                                                                        (i)
                                                                                                                                          01 -ROSE
                                                                                                                                                                  •                                                       More+




                                                                                                     Quantity:                                             +    Piece         Maximum 50 Piece(s)



                                                                                                     Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                     Total cost             $39.3 ©

                                                                                                                                      Buy it Now                     Add to Cart


                                                                                                     Buyer Protection:      ® Return Policy          ~ Refund for No Delivery        ~ Secure Pay m ent



                                                                                                      Produ ce Feature

                                                                                                        Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                        MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                      Duol Vottoge




   Home Painless Laser Hair
   Removal Oepilat or IPL Epilator
   US $83.73 . 110.86 / Piece
                                          Electri c Shaver For Man
                                          Stainless Steel Shaving Machine
                                          US $41.69· 56.07 / Piece
                                                                                      "
                                                                                   Hai r Curlers Straighteners
                                                                                   LISAPRO Dual Voltage Air Brush
                                                                                   US $56.36 • 67.15 / Piece
                                                                                                                               Skin Care Tools El ectric Face
                                                                                                                               Scrubbers Mini Vibrator
                                                                                                                               US $32.98 • 39.30 I Piece
                                                                                                                                                                         Steam ers Cleaning Cleaner
                                                                                                                                                                         Beauty Face Steaming Device
                                                                                                                                                                         US $33.30 • 39.68 / Piece
                                                                                                                                                                                                                        I
                                                                                                                                                                                                                Electric Hair CurlE
                                                                                                                                                                                                                Dryer StraighcenE
                                                                                                                                                                                                                us $27.87 - 33.22




                         •                                      •                                            •                                         •                                          •
    S2 0 FF $50 +                          $2 0 FF $50+                             S2 0 FF $50+                                                                          S2 0 FF $50+




   lsclot Store >                                  Item Description      Company o verview                                                                                                                      Report Item

   !Cl
   111111 Chat   @1                                  Specifications
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 76 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: lsclol


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..



          I              Options: 01-ROSE

                        u s $39.30 I Piece                                      +      Piece
                                                                                                          us $39.30            China Post SAL
                                                                                                                              Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jul 1



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 77 of
                                      517


DOE Number: 140
Seller Name: mark776
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 78 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                   us $0.00
                                                                                                                                                                               ~ United Scates/ USO v          «) English v

                         mark776 Store
                                                                                                                                                                                                                ~
                                           Chat    v                                                                                                                                        ( ) Hi,
DHJ{ate                  95.8% Positive Feedback
                                                                        louise vuitton bag
                                                                                                                                                                                        ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                   Go to Cart




Store Home            Products           Limited Time Sale             TopSelllng            Review            About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                    Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                    Sonic Face Silicone Clean Beauty Foreoing Ma257P
                                                                                                    US $32.98 - 39.3 I Piece


                                                                                                    USO V          $39.3                        $34.18                       $32.98

                                                                                                                   1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                           Nei.v Buyer OHcoupon Pack             - -
                                                                                                                           $23 OFF




                                                                               Simi lar Items
                                                                                                    Options:



                                                                                                                              ••                                              02-PINK
                                                                                                                                                                                                                        More+




                                                                                                    Quantity:                                           +       Piece        Maximum 50 Piece(s)



                                                                                                    Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                           Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                    Total cost             $39.3 ©

                                                                                                                                     Buy it Now                     Add to Cart


                                                                                                    Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                      Produce Feature
                                                                                                        Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                        MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                            !
                                                                                                                                                                               .... "

                                                                                                                                  ~tu~ llllti                                 HIil


   Selling Electric Razor                  Leisure Compu ter Chair                  2018 Salon Hair I ron Hair                Electri c Hair Dryer Blow Dryer           Hai r Curlers Straighteners New        Hair Clippers Dro
   Rechargeable Beard Trimmer              Household Office Studen t                Straight ening Escova Alisadora           Curling Iron Rotating Brush               Arrival professional 19mm              Cortar Cabello To
   US $18.45 • 21 .99 / Piece              US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                  US $153.36 -182.75 / Piece                US $21.95 • 27.91 / Piece              us $23.56 - 35.43




                          •                                      •                                          •                                        •                                           •
                                                                                     S2 0 FF $50+                                                                        S2 0 FF $50+




   mark776 Store >                                 Item Description       Company o verview                                                                                                                    Report Item

   !Cl
   ll!I Chat   @4                                      Specifications
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 79 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: mark776


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 141
Seller Name: meyanbeautymachine2
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 81 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                 us $0.00
                                                                                                                                                                          ~ United Scates/ USO v           «) English v

                        meyanbeautymachine...        Chat v _
                                                                                                                                                                                                            ~
                                                                                                                                                                                    ( ) Hi,
DHJ{ate                 100.0% Positive Feedback
                                                                         lululemen womens
                                                                                                                                                                                ~       My DHgate v         •• Cart
                                                                                                                                                                                                                                 Go to Cart




Store Home            Products          Limited Time Sale             TopSelllng           Review           About Us


DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > faclal cleansing brush massager 3In1 •..


                                                                                                   facial cleansing brush massager 3in1 rechargeable electric silicone exfoliating face
                                                                                                   brush
                                                                                                   US $16.09 - 25.1 3 / Piece


                                                                                                   USO V          $25.13                      $22.12                    $20.11                      $16.09

                                                                                                                  50 Pieces+                  100 Pieces+               200 Pieces+                 500 Pieces+



                                                                                                   Sale Detail:
                                                                                                                           Enjoy fast ref und service if your first order exceeds Promised Dispatch Date

                                                                                                                         Nev.., Buyer OHcoupon Pack         !--
                                                                                                                         $23 OFF                            !


                                                                                                   Options:                Pink


                                                                                                   Quantity:                             50           + Pieces           1000 in Stock { Stock in: a CN)
                                                                               Simi lar Items

                                                                                                   Shipping:            Free Shipping to United States Via UPS More Options v
                                                                                                                         Estimated delivery time: May. 14 and May. 19


                                                                                                   Total cost            $1 ,256.5 0

                                                                                                                                    Buy it Now                   Add to Cart


                                                                                                   Buyer Protection:     ® Ret u rn Policy       1§1 Refund for No Delivery    ~ Secure Pay m ent



                                                                                                    Product Feature
                                                                                                    vibration frequency 7500 rpm mi noperation time 3 minutes time duration per full charge 90 minutes suitable
                                                                                                    areas face neck hand battery capacity 3 7v160mah




Customers Who Bought This Item Also Bought




   Face Care Devices Top 04mm
   Pink Mini Air Com pressor Kit
                                                       I
                                          Professi onal laser Plasma Pen
                                          Blue&Red Remove Ta ttoo Laser
                                                                                  Face Care Devices Ul trasonic
                                                                                  Women Skin Car e Whitening
                                                                                                                                             0
                                                                                                                           Epacket Household thermal
                                                                                                                           spray face steamer nano
                                                                                                                                                                   Beau ty Microneedle roller A6
                                                                                                                                                                   Dermapen profissional original
                                                                                                                                                                                                           Personal Care Ap
                                                                                                                                                                                                           Oxygen Jet Peel t-.
   us $15.82- 25.97 I Piece               us $1 22.60 - 265.62 I Piece             us $28.11 • 33.49 I Piece               USS26.64·31 .74 / Piece                 us $68.75 • 81 .92 / Piece              US$317.66-598.




                          •                                     •                                          •                                       •                                      •
    $4 OFF $69+                            $2 OFF $25+                              S4 O FF $69+                               $2 OFF $50+                                                                  $2 OFF $25+




   meyanbeautymachine2 ...                         Item Description        Company overview                                                                                                                Report Item




   IIIII Chat   @122                                 Specifications

   100.0% Posittve Feedback
                                                                          Item Code:    592848388
   Response Time:
                                                                           Category·    Cl eaning Tools & Accessories

   Business Information
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 82 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                               t2_      Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                         Enter code here
                                                                                                                                                                                                         ~
                                                                                                                                                                      Item Subtotal(1 items):           us $1 ,256.50
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                      Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                             Discounts:                           -US $7.00


               Pay with a New card             VISA 1
                                                    ~ 1a            __                                                                                                Grand Total:                    us $1,249.50

                                                                                                                                                                                            Pay now



                                                                                                                                                                   « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                r.-, GeoTn.15t



                                             Product Detail                                              Subtotal                 Shipping Method


     Seller: meyanbeautymachine2


                        facial cleansing brush massager 3in1 rechargeable ..
                        Options: Pink                                                                 us S1,256.50            UPS
                        u s $25.13 / Piece                               50    +       Pieces                                Free Shipping
                                                                                                                             Estimated delivery time:
                                                                                                                             May 14 and May 19



      Add remark to seller
                                                                                                          u s $7 DHcoupon
       Please add remark:(e.g. color, size ..), Do not ente r <>&
                                                                                                                 Item Subtotal:            us $1,256.50
                                                                                                                Shipping Cost:                     us S0.00
                                                                                                                     DHcoupon:                       -US $ 7

                                                                                                                  Order Total:             us $1 ,249.50




                                     ®         Buyer Protection                @        Secure Payment               @        Return Polley                @     Refund for no Delivery


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                                      517


DOE Number: 142
Seller Name: ngyhe
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 84 of
                                                517                                        Subtotal
                                                                                                                                                                                                                                        us $0.00
                                                                                                                                                                                     ~ United Scates/ USO v         «) English v

                            ngyhe Store   l9I Chat v                                                                                                                                          o• Hi,
DHJ{ate                     100.0% Positive Feedback
                                                                           slides
                                                                                                                                                                                          ~       My DHgate v        ~
                                                                                                                                                                                                                     •• Cart
                                                                                                                                                                                                                                        Go to Cart




Store Home             Products              Limited Time Sale            TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                      Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush
                                                                                                      Sonic Face Silicone Clean Beauty Foreoing Ma239o
                                                                                                      US $32.15 - 38.3 I Piece


                                                                                                      USO V          $38.3                        $33.32                            $32.15

                                                                                                                     1 Piece+                     1 o Pieces+                       32 Pieces+



                                                                                                      Sale Detail:
                                                                                                                                Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace

                                                                                                                             Nei.v Buyer Coupon Pack

                                                                                                                             $25 OFF □Hcoupori
                                                                                                                                            $230fF
                                                                                                                                                          This st°'e ooty
                                                                                                                                                          $20FF
                                                                                                                                                                                -



                                                                                                                             1st Order Store Coupon Save $2       v
                                                                                    Simi lar Items



                                                                                                       Options:



                                                                                                                                •• •                                                                      03-BLUE
                                                                                                                                                                                                                             M ore+




                                                                                                       Qu anti ty                                         +       Piece             Maximum 50 Piece(s)



                                                                                                       Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: Jun. 3 and Jun. 26


                                                                                                       Total cosc:           $38.3 ©

                                                                                                                                       Buy it Now                       Add to Cart


                                                                                                       Buyer Protect ion:    @ Return Policy         (31 Refund for No DeHvery           @ Secure Pay m ent


                                                                                                        Produ ct Feature

                                                                                                          Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Num ber :
                                                                                                          MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                              l

                                                                                                                                    ~ 1Jui1
                                                                                                                                                                                    HIil


   Selling Electric Razor
   Rechargeable Beard Trimmer
                                               Leisure Compu ter Ch air
                                               Household Office Student
                                                                                       2018 Salon Hai r I ron Hair
                                                                                       Straight ening Escova Alisadora
                                                                                                                                Electri c Hair Dryer Blow Dryer
                                                                                                                                Curling Iron Rotating Brush
                                                                                                                                                                                      llllti
                                                                                                                                                                            Hai r Curlers Straighteners New
                                                                                                                                                                            Arrival professional 19mm
                                                                                                                                                                                                                    Hair Clippers Dro
                                                                                                                                                                                                                    Cortar Cabello To
   US $18.4S - 21.99 / Piece                   US $13.13-18.68 / Piece                 US $5.S8 - 27.41 / Piece                 US $1S3.36 -182.7S / Piece                  US $21.9S-27.91 / Piece                 US $23.56- 3S.43




                            •                                        •                                        •                                        •                                           •
                                                                                        $2OFF $50+                                                                           $2OFF 550+




Customers Often Bought With



                                                        a                                                                                                                                              -
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 85 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                             (United States)                                                                                 t2_     Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $38.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a c ard                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $37.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: ngyhe


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 03-BLUE                                                                 us $38.30            China Post SAL
                         u s $38.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $38.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $37.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                      517


DOE Number: 143
Seller Name: Ofunuobeautymachine
Marketplace: DHGate
             Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 87 of
                                                  517                                        Subtotal
                                                                                                                                                                                                                                      us $0.00
                                                                                                                                                                                    ~ United Scates/ USO v        «) English v

                         Ofunuobeautymachin...         Chat v _
                                                                                                                                                                                                                   ~
                                                                                                                                                                                             ( ) Hi,
DHJ{ate                  100.0% Positive Feedback
                                                                         designer sunglasses
                                                                                                                                                                                         ~       MyDHgate v        •• Cart
                                                                                                                                                                                                                                      Go to Cart




Store Home             Products          Li mited Time Sale             TopSel hng          Review          About Us


DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > faclal cleansing brush massager 3In1 •..


                                                                                                   facial cleansing brush massager 3in1 rechargeable electric silicone exfoliating face
                                                                                                   brush
                                                                                                   US $20 .46 - 24.38 I Piece


                                                                                                   USO V




                                                                                                   Sale Detail:
                                                                                                                  $24.38

                                                                                                                  1 Piece+



                                                                                                                          19% O FF
                                                                                                                                              $21.21
                                                                                                                                              $z&-\1l

                                                                                                                                              12 Pieces+                           -
                                                                                                                                                                                   $20.46

                                                                                                                                                                                   4 0 Pieces+

                                                                                                                                                                                                    t]APP Only $20.21 - S24.08 v



                                                                                                                             Enjoy fast refund service if your first order exceeds Promised Dispatch Date.

                                                                                                                           New Buyer Coupon Pack                           :
                                                                                                                                         DHcoupofl       This smre only    :   -
                                                                                                                           $32 OFF       S23 OFF         59 OFF            :



                                                                                                                           Store Coupon Save $2          v




                                                                                                     Options:                Choose an Option                v



                9 Share to be partner                                          Simi lar Items
                                                                                                     Quantity:                                           +        Piece            Maximum 10000 Piece{s)



                                                                                                     Shipping:                                       I
                                                                                                                           $81.38 ] Cost-effective to United States Via OHL-HK More Options v
                                                                                                                          Estimated delivery time: May. 25 and Jun. 8



                                                                                                                                     Buy it Now                       Add to Ca rt


                                                                                                     Buyer Protection:     ® Return Policy         I§ Refund for No Delivery            ~ Secure Paym ent




                                                                                                     Product Feature

                                                                                                     • none




Customers Who Bought This Item Also Bought




I
   Skin Care 540 Roller Needle             Face Care Devices lif ting                Face Care Devices Product 40K           tOpcs lot New Tanning Mitt wi th             Face Care Devices Mole                 SPCS Stainless Bl,
   Black Matte Handle Instrument           Firming Mask Home Com fort                Ultrasound Cavitation Slimming          thumb for self tanners tan                   Removal Pen Wart Plasma                Comedone Remo
   US $3.72 - 6.82 / Piece                 US $10.65-12.69 1 Piece                   us $279.22- 289.40 I Piece              US $1.59 - 2.15 / Piece                      US $33.04 - 42.31 I 5et                US$1.29 - 1.65 11




                          •                                       •                                        •                                         •                                            •
       S10OFFS100..-                        $4 OFF $69+                                                                       $2OFF SS0+                                   $2OFF $ 50+                            S2OFF SS0+




   Ofunuobeautymachine ...                          I tem Description      Company Overview                                                                                                                      Reporc Item

   !Cl       1"-,ea,


   •     Chat    @48                                  Specificat ions

   100.0% Positive Feedback
                                                                          Item Code:      768129569
   On-time Delivery Rate·
                                                                           Category:      Cl eaning Tools & Accessories
   Response Time:
   Repurchase rate·

   Business Information
                                                      Return policy details
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DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                            (United States)                                                                                 t2_      Change        Summary
                                     Miami, Florida, United States, 33133 .
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $24.38
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        US $81.38

          Pay with a c ard                                                                                                                                             Discounts:                            -US $1.00


               Pay with a New card           VISA 1
                                                  ~ 1a            __                                                                                                   Grand Total:                     us $104.76

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                          Product Detail                                                  Subtotal                 Shipping Method


     Seller: oufunuo123


                        facial cleansing brush massager 3in1 rechargeable ..
                          Options: Blue                                                                   us $24.38            OHL-HK

                        u s $24.38 I Piece                                      +      Piece                                  us $81.38
                                                                                                                              Estimated delivery time:
                                                                                                                              May 25 and Jun 8



      Add remark to seller
                                                                                                           us $1 DHcoupon
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                 us $24.38
                                                                                                                 Shipping Cost:                  US $81.38

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:               us $104,76




                                     ®       Buyer Protection                  @       Secure Payment                 @        Return Polley                @     Refund for no Delivery


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                                      517


DOE Number: 144
Seller Name: okif0fe
Marketplace: DHGate
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                                                517


                        okifOfe Store
                                                                                                                                                                                                                             ~
                                        Chat v                                                                                                                                                    ( ) Hi,
DHJ{ate                 94.3% Positive Feedback
                                                                     airpods                                                                                                lnthl r      re
                                                                                                                                                                                                  ~ My DHgate v              •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma230L
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.30                      $34.18                             $32.98

                                                                                                                    1 Piece+                    9 Pieces+                          31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                           New Buyer Coupon Pack

                                                                                                                             $25 O FF DHcoupoo
                                                                                                                                      S230H
                                                                                                                                                           This swre ooty
                                                                                                                                                           SZOFF
                                                                                                                                                                               -



                                                                                                                             St ore Coupon Save $2      v




                                                                                  Similar Items
                                                                                                      Options:



                                                                                                                                          • •
                                                                                                      Quantity·                                        f   + Piece                  Maximum 50 Piece(s)



                                                                                                      Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: May. 23 and Jun. 15



                                                                                                                                           Buy it Now                        Add to Cart


                                                                                                      Buyer Protection:      ® Return Policy       ~ Refund for No Delivery              ~ Secure Payment



                                                                                                      Product Feature

                                                                                                           Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                           Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


   liill                                                                                                                BEARD STRAIGHTENINGCDMB




I u
   Xiaomi Miji a Electric Vacuum          Nano spray water repl enishing       Oud silk wood Rose Rouge 540             Hair Iron Heat Straighcener                Hai r Curlers Straigh teners Mini
   Foot Grinder Arcifacc Au tomatic       evaporator inscrument Face           Aqua UniVersalis Amyris femme            Styler Men Curling Curler                  Plancha De Cabello Portable            Massagers Array Music
   US $90.45. 107.78 / Piece              US $31.84- 37.95 I Piece             US $39.31 • 52.64 / Piece                US $12.67-17.n I Piece                     US $12.78 -15.23 / Piece               US $213.32. 270.43 / Piece

                                           $2. 0 FF $50+                                                                 $2. 0 FF $50+                              $2. 0 FF $50+




Customers Often Bought With




-
    df.zl

                                                     I
                                                                                                                                                                                                              Mintrol Blue
                                                                                                                                                                                                                                ~
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 91 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                    Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: okifOfe


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 02-PINK                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 23 and Jun 15



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 145
Seller Name: oklkuz
Marketplace: DHGate
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                                                517


DHJ{ate                 oldkuz Store   Chat   V
                                                                    sandal                                                                                                 lnthl r    re         ( ) Join / Sign In
                                                                                                                                                                                                 ~ My DHgate v            "\:..I
                                                                                                                                                                                                                            •• Cart      v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                   Face Silicone Clean Beauty Foreoing Ma2512
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                    USO V          $39.3                       $34.18                            $32.98

                                                                                                                   1 Piece+                    9 Pieces+                         31 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                            New Buyer Coupon Pack

                                                                                                                            $25 O FF DHcoupoo
                                                                                                                                     S230H
                                                                                                                                                          This swre ooty
                                                                                                                                                          SZOFF
                                                                                                                                                                             -



                                                                                                                            St ore Coup on Save $2     v




                                                                                 Similar Items
                                                                                                    Options:



                                                                                                                              •• •                                                                     03-BLUE




                                                                                                    Quanti ty·                                        f   + Piece                Maximum 50 Piece(s)



                                                                                                    Shi pping:             Free Shipping co United States Via China Post SAL                  More Options v
                                                                                                                           Estimated delivery time: May. 31 and Jun. 23


                                                                                                    Total cost:            $39.3 CD

                                                                                                                                          Buy it Now                        Add to Cart


                                                                                                    Buyer Prot ection:     @ Return Policy        [§I Refund for No Delivery          @ Secure Paymem


                                                                                                     Product Fea ture

                                                                                                         Origin: CN(Origin ) Commodity Quality Certifica tion : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                         Type : Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                               ••


   Black electri c shaver for men       Hai r Clip pers WMARK NG-2021        Electric Hair Dryer Professional         Oem Pro fession al Portab le                2 in 1 360 degree rotating Hair        Electri c Hair Dryer 3200
   beard hair trimmer electrical        Eleccri c Tri mmer For Men           Power Styling Tools Blow Hot             Folding Blue Ligh t Stan d                  Cu rler Fast Heating Mini              Pro fessi onal Hair Dryer HocCold
   US $44.19 - 57.23 / Piece            US $56.64- 68.98 / Piece             US $18.28 - 21.78 / Piece                US $29.68- 35.37 I Piece                    US $36.31 - 43.26 / Piece              US $10.62 - 13.71 / Piece

    $2OFF $50 +                                                                                                                                                                                           $2 OFF $25+




Customers Often Bought With


                                                                                  M.inuo1 Blue
  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 94 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                            (United States)                                                                                 t2_      Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                        ne   ~

                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                             -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                    Grand Total:                         us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                           Product Detail                                                  Subtotal                 Shipping Method


      Seller: oklkuz


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 03-BLUE                                                                 us $39.30            China Post SAL
                         us $39.30 I Piece                                       +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 31 and Jun 2 3



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®        Buyer Protection                   @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 146
Seller Name: perpv94
Marketplace: DHGate
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                                               517


                        perpv94 Store     Chat     V
                                                                                                                                                                                                      o• Hi,                 \:J
DHJ{ate                 100.0% Positive Feedback
                                                                     hoodie                                                                                                lnthl r       re
                                                                                                                                                                                                  ~       MyDHgate v          •• Cart       v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                    Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                    Face Silicone Clean Beauty Foreoing Ma255Q
                                                                                                    US $32.98 - 39.3 I Piece


                                                                                                    USO V           $39.30                     $34.18                              $32.98

                                                                                                                    1 Piece+                   9 Pieces+                           31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                             New Buyer Coupon Pack

                                                                                                                             $25 O FF DHcoupoo
                                                                                                                                      S230H
                                                                                                                                                          This swre ooty
                                                                                                                                                          SZOFF
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                                                                                                                             St ore Coupon Save $2     v




                                                                                 Similar Items
                                                                                                     Options:



                                                                                                                               •• •
                                                                                                     Quantity·                                        f   + Piece                   Maximum 50 Piece(s)



                                                                                                     Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: May. 31 and Jun. 23



                                                                                                                                          Buy it Now                         Add to Cart


                                                                                                     Buyer Protection:      ® Return Policy       ~ Refund for No Delivery               ~ Secure Payment



                                                                                                        Product Fea ture

                                                                                                          Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                          Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I
   8148 Magi c Metal Hair Clipper        Abdominal Muscle Trai ning           3 in 1KEMEI KM- 1407                     £packet KM-1409 Carbon Steel               Generic Replacem ent Brush
   Electric Razor Electric Push          Stimulator Device Wireless EMS       Mul tif unctional Hair Trimmer           Men Beard Shaver Head Hair                 Heads For ORab electric                  Straighcening Brush Comb Mi ni
   US $56.55 • 58.30 / Piece              US $13.48- 21.42 / Piece            US $8.11 -10.50 I Piece                  US $16.09-19.17 / Piece                    US $4.43 • 4.59 I Piece                  US $3.28 • 4.20 I Piece

                                           $2. 0 FF $50 +                      $5 OFF $99+                              $2. 0 FF $ 50 +                            $2. 0 FF $50 +




Customers Often Bought With




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  Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 97 of
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                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: perpv94


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 01-PINK                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 2 3



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 147
Seller Name: ploik
Marketplace: DHGate
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                                               517                                        Subtotal
                                                                                                                                                                                                                                us $0.00
                                                                                                                                                                             ~ United Scat es / USO v       «) English v

                       plofkStore
                                                                                                                                                                                                             ~
                                      Chat v                                                                                                                                             ( ) Hi,
DHJ{ate                96.9% Positive Feedback
                                                                      sunglasses
                                                                                                                                                                                     ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                Go to Cart




Store Home           Products          Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                  Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                  Sonic Face Silicone Clean Beauty Foreoing Ma268s
                                                                                                  US $32.98 - 39.3 I Piece


                                                                                                  USO V          $39.30                       $34.18                       $32.98

                                                                                                                 1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                  Sale Detail:
                                                                                                                            Enjoy fast ref und service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                     Nei.v Buyer OHcoupon Pack
                                                                                                                        $23 OFF
                                                                                                                                                               - -




                                                                            Simi lar Items
                                                                                                  Op tions:



                                                                                                                                       • •                                                                           More+




                                                                                                  Quan tity:                                          +       Piece        Maxim um 50 Piece(s)



                                                                                                  Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                        Estimated delivery time: Jun. 3 and Jun. 26



                                                                                                                                   Buy it Now                     Add to Cart


                                                                                                  Buyer Protect ion:    ® Return Policy         I§ Refund for No Delivery         ~ Secure Paym em



                                                                                                   Product Feature

                                                                                                     Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Num ber :
                                                                                                     MINI 02 Type Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


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                                                                                                                                          !
                                                                                                                                                                            frill
                                                                                                                                ~t 11i1
   Selling Electric Razor
   Rechargeable Beard Trimmer
                                         Leisure Compu ter Chair
                                         Household Office Studen t
                                                                                  2018 Salon Hair I ron Hair
                                                                                  Straight ening Escova Alisadora
                                                                                                                            Electri c Hair Dryer Blow Dryer
                                                                                                                            Curling Iron Rotating Brush
                                                                                                                                                                               lllli1
                                                                                                                                                                      Hai r Curlers Straighteners New
                                                                                                                                                                      Arrival professional 19mm
                                                                                                                                                                                                            Hair Clippers Dro
                                                                                                                                                                                                            Corcar Cabello To
   us $18.45- 21.99 / Piece              us $13.13-18.68 / Piece                  us $5.58 • 27.41 / Piece                  us $153.36 -182.75 / Piece                us $21.95 • 27.91 / Piece             us $23.56 - 35.43
                                                                                   S2 OFF SS0 +                                                                        S2 OFF $SO+




   ploik Store >                                 Item Description       Company overview                                                                                                                    Report Item

   II
   l9l chat   @4                                   Specifications

   96.9% Posi tive Feedback
                                                                          Voltage·     DC3.7V
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 100 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                               (United States)                                                                               t2_     Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                 Pay with a New card            VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                               Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: ploik


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..



           I              Options: 01-ROSE

                         u s $39.30 I Piece                                      +     Piece
                                                                                                           us $39.30            China Post SAL
                                                                                                                               Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jun 26



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                 us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                        -US $1

                                                                                                                    Order Total:                  us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 148
Seller Name: plpaa
Marketplace: DHGate
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                                               517


                       plpaa Store
                                                                                                                                                                                                                     ~
                                      Chat v                                                                                                                                              ( ) Hi,
DHJ{ate                90.0% Positive Feedback
                                                                    sunglasses                                                                                       lnthl r     re
                                                                                                                                                                                          ~ MyDHgate v               •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                   Face Silicone Clean Beauty Foreoing Ma259b
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                      $34.18                      $32.98

                                                                                                                  1 Piece+                   9 Pieces+                   31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                       New Buyer DHcoupon Pack
                                                                                                                          $23 OFF
                                                                                                                                                              - -




                                                                                 Similar Items
                                                                                                    Options:



                                                                                                                             ••                                             02-PINK




                                                                                                    Quan tity:                                        + Piece               Maximum 50 Piece(s)



                                                                                                    Shipping·             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated delivery time: May. 23 and Jun., 5


                                                                                                   Total cost             $39.3 0

                                                                                                                                        Buy it Now                     Add to Cart


                                                                                                    Buyer Prot ect ion:   ® Return Policy       (§1 Refund for No Delivery       ~ Secure Payment



                                                                                                    Produ ct Fea ture

                                                                                                        Origin: CN{Origin) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                        Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


                                                                                                                     BEARD STRAIGHTENINGCOMB




   Xiaomi Mijia Electric Vacuum          Nano spray water repl enishing      Oud silk wood Rose Rouge 540            Hair Iron Heat Straightener             Hai r Curlers Straighteners Mini
   Foot Grinder Ardfact Automa{ic        evaporator ins{rumen{ Face          Aqua Universalis Amyris femme           Seyler Men Curling Curler               Plancha De Cabello Portable            Massagers Array Music
   US $90.4S-107.78 / Piece              US $31.84- 37.95 / Piece            US $39.31 - 5264 / Piece                US $12.67-17.n / Piece                  US $12.78-15.23 / Piece                US $213.32 - 270.43 I Piece

                                                                                                                      $2 OFF $50+                             $2 OFF $50+




Customers Often Bought With



              a                                                                                                                                                             I                        6IID     M
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 103 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                     Miami, Florida, United States, 33133 .
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: plpaa


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 02-PINK                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 23 and Jun 15



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38,30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 149
Seller Name: pvbwcc
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 105 of
                                               517


                        pvbwcc St ore
                                                                                                                                                                                                                               ~
                                         Chat v                                                                                                                                                      ( ) Join/ Si gn In
DHJ{ate                 100.0% Positive Feedback
                                                                     traps.tar                                                                                                 lnthl r    re
                                                                                                                                                                                                     ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                       Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                       Face Silicone Clean Beau ty Foreoing Ma242W
                                                                                                       US $32.98 - 39.3 I Piece


                                                                                                        USO V          $39.3                       $34.18                            $32.98

                                                                                                                       1 Piece+                    9 Pieces+                         31 Pieces+



                                                                                                        Sale Detail:
                                                                                                                                  Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                             New Buyer Coupon Pack

                                                                                                                                $25 O FF DHcoupoo
                                                                                                                                         S230H
                                                                                                                                                              This swre ooty
                                                                                                                                                              SZOFF
                                                                                                                                                                                 -



                                                                                                                                St ore Coup on Save $2     v




             9 Share co be par tner                                                 Similar Items
                                                                                                        Options:
                                                                                                                               (i) .
                                                                                                                                  0 1-BLUE
                                                                                                                                                                        •
                                                                                                        Quantity·                                         f   + Piece                Maximum 50 Piece(s)



                                                                                                        Shi pping:             Free Shipping co United States Via China Post SAL                  More Options v
                                                                                                                               Estimated delivery time: May. 31 and Jun. 23


                                                                                                        Total cost:            $39.3 CD

                                                                                                                                              Buy it Now                        Add to Cart


                                                                                                        Buyer Prot ection:     @ Return Policy        [§I Refund for No Delivery          @ Secure Paymem


                                                                                                         Product Fea ture

                                                                                                             Origin: CN(Origin ) Commodity Quality Certifica tion : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                             Type : Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                                   ••



   Black electri c shaver for men         Hai r Clip pers WMARK NG-2021          Electric Hair Dryer Professional         Oem Pro fession al Portab le                2 in 1 360 degree rotating Hair        Electri c Hair Dryer 3200
   beard hair trim mer electrical         Eleccri c Tri mmer For Men             Power Styling Tools Blow Hot             Folding Blue Ligh t Stan d                  Cu rler Fast Heating Mini              Pro fessi onal Hair Dryer HocCold
   US $44.19 - 57.23 / Piece              US $56.64- 68.98 / Piece               US $18.28 - 21.78 / Piece                US $29.68- 35.37 I Piece                    US $36.31 - 43.26 / Piece              US $10.62 - 13.71 / Piece

    $2OFF $50 +                                                                                                                                                                                               $2 OFF $25+




Customers Often Bought With


      .,,
                                                                                                                                                                                                                   ••
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 106 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                     Miami, Florida, United States, 33133 .
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: pvbwcc


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 01-BLUE                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 23



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38,30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 150
Seller Name: quak11
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 108 of
                                               517


DHJ{ate
                        quak11 Store   Chat   V
                                                                    traps.tar                                                                                            lnthl r     re        ( ) Join / Sign In
                                                                                                                                                                                               ~ My DHgate v             \:J
                                                                                                                                                                                                                          •• Cart      v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                      Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                      Face Silicone Clean Beauty Foreoing Ma211v
                                                                                                      US $32.98 - 39.3 I Piece


                                                                                                       USO V          $39.30                     $34.18                      $32.98

                                                                                                                      1 Piece+                   9 Pieces+                   3 1 Pieces+



                                                                                                       Sale Detail:
                                                                                                                                 Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                           New Buyer DHcoupon Pack
                                                                                                                              $23 OFF
                                                                                                                                                                  - -




                                                                                   Similar Items
                                                                                                       Options:



                                                                                                                                 •• •
                                                                                                       Quantity:                                          + Piece             Maximum 50 Piece{s}



                                                                                                       Shi pping:            Free Shipping co United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: May. 31 and Jun. 28



                                                                                                                                            Buy it Now                     Add to Cart


                                                                                                       Buyer Protection:      ® Ret urn Policy      [§I Refund for No Delivery      ~ Secure Paymem



                                                                                                        Produ ct Feature

                                                                                                            Origin: CN(Origin) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                            Type : Facial Cleansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                            ••


   Black electri c shaver for men       Hair Clippers WMARK NG-2021             Electric Hair Dryer Professional         Dem Professional Portable               2 in 1 360 degree rotating Hair        Electri c Hair Dryer 3200
   beard hair trimmer electrical        Electri c Tri mmer For Men              Power Styling Tools Blow Hot             Folding Blue Lighc Stand                Curler Fast Heating Mi ni              Professi onal Hair Dryer HocCold
   us $44.19- 57.23 / Piece             us $56.64 - 68.98 / Piece               us $18.28 - 21.78 / Piece                us $29.68- 35.37 I Piece                us $36.31 -43.26 / Piece               us $10.62-13.71 / Piece

    S2OFF SS0+                                                                                                                                                                                           S2OFF $25+




Customers Often Bought With
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 109 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: quak11




         •
                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 31 and Jun 28



      Ad d remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 151
Seller Name: quanbai66
Marketplace: DHGate
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                                               517


                        quanbat66 Store
                                                                                                                                                                                                                            ~
                                            0,at    V
                                                                                                                                                                                                 ( ) Join/ Si gn In
DHJ{ate                 100.0% Positive Feedback
                                                                     sunglasses                                                                                            lnthl r      re
                                                                                                                                                                                                 ~ My DHgate v              •• Car t v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cl eansing Br ush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma238p
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                         $34.18                       $32.98

                                                                                                                    1 Piece+                      9 Pieces+                    31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                          New Buyer DHcoupon Pack
                                                                                                                             $23 OFF
                                                                                                                                                               : - -
                                                                                                                                                               !




             9 Share co be partner                                                   Similar Items
                                                                                                     Options:



                                                                                                                               ••                                  01-YELLOW




                                                                                                     Quantity:                                           + Piece                   Maximum 50 Piece{s}



                                                                                                     Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: May. 31 and Jun. 28


                                                                                                     Total cost:            $39.3 0

                                                                                                                                          Buy it Now                        Add to Cart


                                                                                                     Buyer Prot ection:     ® Return Policy         1§1 Refund for No Delivery          ~ Secure Payment



                                                                                                      Product Fea ture

                                                                                                          Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                          Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I
                                                                                                                                                                                                           ,.
   8148 Magi c Metal Hair Clipper
   Electric Razor Electric Push
                                          20 18Salon Hair Iron Hair
                                          Straightening Escova Alisadora
                                                                              Epacket KM· 1409 Carbon Steel
                                                                              Men Beard Shaver Head Hair
                                                                                                                       3 in 1KEMEI KM· 1407
                                                                                                                       Mul tifunctional Hair Trimmer
                                                                                                                                                               Abdominal Muscle Training
                                                                                                                                                               Stimulator Device Wireless EMS
                                                                                                                                                                                                          f'
                                                                                                                                                                                                         KEMEI KM· l 407 Mul ti functional
                                                                                                                                                                                                         Hair Trimmer Rechargeable
   US $56.55 • 58.30 / Piece              US $5.82 • 16.07 / Piece            US $16.09 • 19.17 / Piece                US $8.11 • 10.50 / Piece                US $13.48 • 21.42 / Piece                 US $17.69· 27.07 / Piece

                                           $2. 0 FF $50 +                         S2. 0 FF $50 +                        $5 OFF $99+                                S2. 0 FF SSO+                          $2. 0 FF $ 50 +




                                                                                                                                                                        .. .
Customers Often Bought With



                                                                                                                                         rr
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 112 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         us sooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


               Pay with a New card              VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



   Review & Confirm Your Order                                                                                                                                       « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


     Seller: quanbai66


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 01-YELLOW                                                                us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 31 and Jun 28



      Add remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30

                                                                                                                  Shipping Cost:                     us S0.00

                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 152
Seller Name: ruiqi06
Marketplace: DHGate
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                                               517                                       Subtotal
                                                                                                                                                                                                                                             us $0.00
                                                                                                                                                                                           ~ United Scates/ USO v        «) English v

                        rufqi06 Store
                                                                                                                                                                                                                          ~
                                          Chat     V                                                                                                                                                ( ) Hi,
DHJ{ate                  98.4% Positive Feedback
                                                                            louise vuitton bag
                                                                                                                                                                                                ~       My DHgate v       •• Cart
                                                                                                                                                                                                                                             Go to Cart




Store Home            Products           Limited Time Sale                 TopSelllng            Review          About Us


DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > Cleanlng Tools Accessories Mini Ultra ..•


                                                                                                        Cleaning Tools Accessories Mini Ultrasonic Cleansing Brush Silicone Electric Some Face
                                                                                                        Skin Washing Massager USB Rechargeable Blackhead Remover 230327
                                                                                                        US $11.88 - 14.1 5 I Piece


                                                                                                        USO V




                                                                                                        Sale Detail:
                                                                                                                       $14.15

                                                                                                                       1 Piece+



                                                                                                                              38% O FF
                                                                                                                                                       -
                                                                                                                                                       $12.31

                                                                                                                                                       1 6 Pieces+
                                                                                                                                                                                          $11 .88
                                                                                                                                                                                          WI,\;;
                                                                                                                                                                                          53 Pieces+

                                                                                                                                                                                                           t]APP Only S11.69 - S13.93 v



                                                                                                                                     Enjoy fast ref und service if your first order exceeds Promised Dispatch Date.

                                                                                                                                   New Buyer Coupon Pack                          :
                                                                                                                                                 DHcoupofl      This smre only    :   -
                                                                                                                                   $32 OFF       S23 OFF        59 OFF            :



                                                                                                                                   Store Coupon Save $4         v




              9 Share to be par tner                                               Simi lar Items
                                                                                                        Options:




                                                                                                        Quantity:
                                                                                                                                    •                           Blue

                                                                                                                                                                 + Piece                  Maxim um 1000 Piece(s)



                                                                                                        Shipping:                                           I
                                                                                                                                   $8.38 1 Cost-effeccive to United States Via ePacket More Options v
                                                                                                                                   Estimated delivery time: May. 30 and Jun. 21


                                                                                                        Total cost                 $22.53 CD

                                                                                                                                            Buy it Now                       Add to Cart


                                                                                                        Buyer Protection:          ® Ret u rn Policy       1§1 Refund for No Delivery          ~ Secure Pay m ent



                                                                                                          Product Featu re




Customers Who Bought This Item Also Bought




I
   Skin Care 540 Roller Needle             Face Care Devices lif tin g                  Face Care Devices Produce40K                 tOpcs lot New Tanning Mite wi th            Face Care Devices Mole                 SPCS Stainless Bl,
   Black Matte Handle Instrumen t          Firming Mask Hom e Com fort                  Ultrasound Cavitation Slim ming              thum b for self canners tan                 Removal Pen Wart Plasma                Comedone Remo
   US $3.72 - 6.82 / Piece                 US $10.65 ♦ 12.69 / Piece                    US $279.22- 289.40 / Piece                   US $1.59-2.15 I Piece                       US $33.04 - 42.31 I Set                US$1.29 - 1.65 11




                           •                                        •                                           •                                               •                                        •
    S10OFFS100·                             $4 OFF $69+                                  $4 OFF $69+




   ruiqi06 Store >                                     I tem Description      Compan y Overview                                                                                                                         Report Item




       Chat    @86                                       Specifications

   98.4% Posi tive Feedback
                                                                                   Type:     electric f acial cleanser eleccricl
   On-time Delivery Rate:
                                                                                Gender:      Women
   Repurchase rate:
                                                                             Plugs Type:     brush us

   Business In formation                                                         Oriqin:     mainland china
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 115 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                            (United States)                                                                                 t2_      Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $14.15
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         us 58.38
          Pay with a c ard                                                                                                                                              Discounts:                            -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                    Grand Total:                       us $21 .53

                                                                                                                                                                                               Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                             Product Detail                                                Subtotal                 Shipping Method


      Seller: ruiqi06


                         Cleaning Tools Accessories Mini Ultrasonic Cleansi...
                          Options: Blue                                                                    us $14.15            ePacket
                         U SS14.15 / Piece                                       +     Piece                                   us $8.38
                                                                                                                               Estimated delivery time:
                                                                                                                               May 30 and Jun 2 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $14.15
                                                                                                                  Shipping Cost:                     us S8.38
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $21,53




                                     ®         Buyer Protection                  @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 153
Seller Name: sbisnc
Marketplace: DHGate
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                                               517


                         sbisnc Store
                                                                                                                                                                                                                                ~
                                         Chat   V
                                                                                                                                                                                                    ( ) Join/ Si gn In
DHJ{ate                  100.0% Positive Feedback
                                                                       sandal                                                                                                  lnthl r    re
                                                                                                                                                                                                   ~ My DHgate v                •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                      Skin Care Too ls Electric Face Scrubbers Mini Vibrator Massager Facial Cl eansing Brush Sonic
                                                                                                      Face Silicone Clean Beauty Foreoing Ma256u
                                                                                                      US $32.98 - 39.3 I Piece


                                                                                                      U SO V         $39.3                          $34.18                           $32.98

                                                                                                                     1 Piece+                       9 Pieces+                        31 Pieces+



                                                                                                      Sale Detail:
                                                                                                                                 Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                               New Buyer Coupon Pack

                                                                                                                               $25 O FF DHcoupoo
                                                                                                                                        S230H
                                                                                                                                                              This swre ooty
                                                                                                                                                              SZOFF
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                                                                                                                               St ore Coup on Save $2     v




                                                                                   Similar Items
                                                                                                       Options:



                                                                                                                                ••                                                   02-PINK




                                                                                                       Quantity·                                          f   + Piece                Maximum 50 Piece(s)



                                                                                                       Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                              Estimated delivery time: May. 31 and Jun. 23


                                                                                                       Total cost:            $39.3 CD

                                                                                                                                             Buy it Now                         Add to Cart


                                                                                                       Buyer Protection:      @ Return Policy         [§I Refund for No Delivery          @ Secure Paymem


                                                                                                       Product Fea ture

                                                                                                            Origin: CN(Origin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                            Type : Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adj u




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                             •• •I
                                                                                                                                                                                                             f'
   8148 Magi c Me tal Hair Clipp er
   Electric Razor Electric Pu sh
   US $56.55 - 58.30 I Piece
                                           20 18 Salon Hair Iron Hair
                                           Straighten ing Escova Alisadora
                                           US $5.82 - 16.07 / Piece

                                            $2 0 FF $50+
                                                                                Epacket KM-1409 Carbon Steel
                                                                                Men Beard Shaver Head Hair
                                                                                US $16.09 - 19.17 / Piece

                                                                                 $20FF $50+
                                                                                                                         3 in l KEMEI KM-1407
                                                                                                                         Multifun ctional Hair Trimmer
                                                                                                                         US $8.11 - 10.50 / Piece

                                                                                                                          $5 OFF $99+
                                                                                                                                                                      Abdominal Muscle Training
                                                                                                                                                                      Stimulator Device Wireless EMS
                                                                                                                                                                      US $13.48-21.42 / Piece

                                                                                                                                                                       $20FF $SO+
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                            KEMEI KM-1407 Multi functional
                                                                                                                                                                                                            Hair Trimmer Rechargeab le
                                                                                                                                                                                                            US $17.69 - 27.07 I Piece

                                                                                                                                                                                                             $2 0 FF $50+




Customers Often Bought With




                                                                                                                                ••                                                                                          A
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 118 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: sbisnc


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 2 3



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 154
Seller Name: slf51gs
Marketplace: DHGate
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                                               517


                        stf51gs Store
                                                                                                                                                                                                                             ~
                                         Chat v                                                                                                                                                     ( ) Join/ Si gn In
DHJ{ate                 83.3% Positive Feedback
                                                                      lululemen womens                                                                                      lnthl r    re
                                                                                                                                                                                                   ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                   Face Silicone Clean Beauty Foreoing Ma275I
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                          $34.18                           $32.98

                                                                                                                  1 Piece+                       9 Pieces+                        31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                        New Buyer Coupon Pack

                                                                                                                           $25 O FF DHcoupoo
                                                                                                                                    S230H
                                                                                                                                                           This swre ooty
                                                                                                                                                           SZOFF
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                                                                                                                           St ore Coup on Save $2      v




                                                                                 Similar Items
                                                                                                    Options:



                                                                                                                             •• • (i)                                                          02-ROSE




                                                                                                    Quantity·                                          f   + Piece                Maximum 50 Piece(s)



                                                                                                    Shi pping:            Free Shipping co United States Via China Post SAL                     More Options v
                                                                                                                          Estimated delivery time: May. 31 and Jun. 23


                                                                                                    Total cost:           $39.3 CD

                                                                                                                                         Buy it Now                          Add to Cart


                                                                                                    Buyer Prot ection:     @ Return Policy         [§I Refund for No Delivery          @ Secure Paymem


                                                                                                    Product Fea ture

                                                                                                         Origin: CN(Origin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                         Type: Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                             •• •I
                                                                                                                                                                                                             f'
   8148 Magi c Me tal Hair Clipper
   Electric Razor Electric Pu sh
   US $56.55 - 58.30 I Piece
                                          20 18 Salon Hair Iron Hair
                                          Straighten ing Escova Alisadora
                                          US $5.82 - 16.07 / Piece

                                           $2 0 FF $50+
                                                                              Epacket KM-1409 Carbon Steel
                                                                              Men Beard Shaver Head Hair
                                                                              US $16.09- 19.17 / Piece

                                                                               $20FF $50+
                                                                                                                      3 in l KEMEI KM-1407
                                                                                                                      Multifunctional Hair Trimmer
                                                                                                                      US $8.11 - 10.50 / Piece

                                                                                                                       $5 OFF $99+
                                                                                                                                                                   Abdominal Muscle Trainin g
                                                                                                                                                                   Stimulator Device Wireless EMS
                                                                                                                                                                   US $13.48-21.42 / Piece

                                                                                                                                                                    $20FF $SO+
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                            KEMEI KM-1407 Multi functional
                                                                                                                                                                                                            Hair Trimmer Rechargeable
                                                                                                                                                                                                            US $17.69 - 27.07 I Piece

                                                                                                                                                                                                             $2 0 FF $50+




Customers Often Bought With



                                                                                 an
                                                                                                                             ••
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 121 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                 Pay with a New card            VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: slf5 ~gs




         •
                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 31 and Jun 2 3



      Ad d remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 155
Seller Name: smyy9
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 123 of
                                                517                                       Subtotal
                                                                                                                                                                                                                                      us $0.00
                                                                                                                                                                               ~ United Scates / USO v           «) Engl ish v

                            smyy9 Store
                                                                                                                                                                                                                  ~
                                            Chat v                                                                                                                                          ()   Hi,
DHJ{ate                     97.4% Positive Feedback
                                                                          design er sh oes
                                                                                                                                                                                        ~        My DHgate v      •• Cart
                                                                                                                                                                                                                                      Go to Cart




Store Home                 Products         Limited Time Sale            TopSelhng           Review          About Us


DHgate > Home & Garden > Bath > Bathroom Accessories > Bath Brushes, Sponges & Scrubbers > Bath Brushes, Sponges & Scrubbers ..•


                                                                                                    Bath Brushes, Sponges & Scrubbers Silicone Facial Cleansing Brush Electric Face Clean
                                                                                                    Device Facial Massager Skin Cleaner Sonic Vibration Deep Pore Cleaning Brush
                                                                                                    US $2.91 - 4.24 I Piece

                                                                                                    Stock        Cu stomise ;:3!!J


                                                                                                    USO V          $4.24                           $3.87                     $3.53                        $3.4

                                                                                                                   35 Pieces+                      78 Pieces+                100 Pieces+                  295 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast refund service if your first order exceeds Promised Dispatch Date.

                                                                                                                             Nevi,, Buyer OHcoupon Pack         !-
                                                                                                                             $23 O FF                           ;




                                                                                                    Op tion s·                                                                          mix

                                                                                                                                            blue

                                                                                                    Quan tity:                              35             +    Pieces       Maximum 100000 Piece(s)



                                                                                                    Shipping:               Free Shipping to United States Via UPS More Options v
                                                                                                                            Estimated del ivery time: May. 24 and May. 29
                                                                                 Similar Items
                                                                                                    Total cost              $148.4 0

                                                                                                                                      Buy it Now                     Add to Cart


                                                                                                    Buyer Pro tection:      ® Return Policy          @I Refund for No Delivery      ~ Secu re Pay m em



                                                                                                     Product Feature

                                                                                                       You can mix with our o ther items for CHEAPER combine freight cost.For single orders greater than US s 100 Get
                                                                                                       Free freight DHL,EMS,UPS,TNT or FedEx etc
                                                                                                       All issu es will be reply within 6 hours .
                                                                                                       Pis contact us for photo with out watermark. thanks, Have a n ice shopping.




Customers Who Bought This Item Also Bought



                 n    n     n     n
                                                      V                                                                                                                                                                       •
   Whi te Blank Neopren e                     Bathroom Sh elves Floating on          Robe Hooks Shower Curtain                 Fashion Nice Natural Ramie             Reusable Scrubber Shower                   Wooden Soap Di~
   Rectangular Hand Sani tizer                Wall Without Drill Room Decor          Hooks Rings Brass Decorative              Shower Exfoliator Sponge               Exfoliat ing Soap Pouch Soap               Soap s Tray Soap I
   US $0.62 • 0.70 I Piece                    US$9.28-18.90 / Piece                  US $12.39 -14.09 / Piece                  US $0.52 • 0.74 / Piece                US $0.63 • 0.80 I Piece                    US$1.17-1.94 /I




                             •                                     •                                        •                                          •                                          •
    $ 25 O!=F S499·                            S4 OFF $69+                            $4 OFF 569+                               S2 OFF $ 50 +                            SS OFF 550 +                             S2 OFF $ 50 +




   smyy9 Store >                                      Item Description        Company overview                                                                                                                   Report Item

   !Cl 1, , ......
   111111 Chat       @29                                Specifications
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 124 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                               t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):            us $148.40
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $3.00


                Pay with a New card           VISA 1
                                                   ~ 1a           __                                                                                                   Grand Total:                    us $145.40

                                                                                                                                                                                             Pay now



                                                                                                                                                                    « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                            Product Detail                                                Subtotal                 Shipping Method


      Seller: smyy9


                         Bath Brushes, Sponges & Scrubbers Silicone Facial ..
                         Options: blue                                                                   us S148.40            UPS
                         u s $4.24 1Piece                               35      +      Pieces                                 Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 24 and May 29



      Add remark to seller
                                                                                                           us $3 DHcoupon
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:              us $148.40
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $3

                                                                                                                   Order Total:               us $145.40




                                    ®         Buyer Protection                  @       Secure Payment                @        Return Polley                @     Refund for no Delivery


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                                       517


DOE Number: 156
Seller Name: szzas
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 126 of
                                               517


                        szzas Store    Chat   V
                                                                                                                                                                                                 o•
                                                                                                                                                                                                 Hi,
                                                                                                                                                                                                                       \:J
DHJ{ate                 81.S% Positive Feedback
                                                                      designer bag                                                                                      lnthl r     re
                                                                                                                                                                                               ~ My DHgate v            •• Car t   v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Br ush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma279r
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                       $34.18                       $32.98

                                                                                                                    1 Piece+                    9 Pieces+                    31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace



[I]                                                                                                                           New Buyer DHcoupon Pack
                                                                                                                              $23 OFF
                                                                                                                                                                  - -




                                                                                     Similar Items
                                                                                                      Options:



                                                                                                                                          • •                                               02-ROSE




                                                                                                      Quantity:                                          + Piece             Maximum 50 Piece{s}



                                                                                                      Shipping:              Free Shipping co United States Via ePacket More Options v
                                                                                                                             Estimated delivery time: May. 27 and Jun. 18


                                                                                                      Total cost:            $39.3 0

                                                                                                                                           Buy it Now                     Add to Cart


                                                                                                      Buyer Protection:      ® Return Policy       1§1 Refund for No Delivery      ~ Secure Payment



                                                                                                      Product Feature

                                                                                                           Origin : CNrOrigin) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                           Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I
   Electric Shaver Geely JLL033           Winter Hair Dryer Negative           Electric Hair Dryer 3200                 110V 220V 1800W Electric Hair           Electric Hair Dryer Professional      Dem Professional Portable
   electric charging razor Men's          Lonie Ham mer Blower Electric        Professional Hair Dryer HotCold          Dryer Professional Blow Dryer           Power Styling Tools Blow Hot          Folding Blue Light Stand
   US $11.56 • 14.62 / Piece              US $45.65 • 54.40 / Piece            US $10.62 • 13.71 / Piece                US $36.12· 43.47 / Piece                US $18.28 • 21.78 / Piece             US $29.68 • 35.37 / Piece

                                                                                S2 OFF $25+                              S2 OFF $50+




Customers Often Bought With



                    rr                                                                                                                                                                                   ----
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 127 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                                                        n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                        us $38.30

                                                                                                                                                                                               Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: szzas




         •
                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                  us $39.30            ePacket
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               May 27 and Jun 18



      Ad d remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 157
Seller Name: takelovehome
Marketplace: DHGate
             Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 129 of
                                                   517                                       Subtotal
                                                                                                                                                                                                                                 us $0.00
                                                                                                                                                                             ~ United Scates/ USO v          «) English v

                          takelovehom e Store
                                                                                                                                                                                                                 ~
                                                    Chat   V                                                                                                                              ( ) Hi,
DHJ{ate                   100.0% Positive Feedback
                                                                         designer bag
                                                                                                                                                                                      ~       My DHgate v        •• Cart
                                                                                                                                                                                                                                 Go to Cart




Store Home             Products           Limited Time Sale             TopSelllng           Review             About Us


DHgate > Health & Beauty > Massage > Face Massager > S!Hcone Facial Cleansing Brush • EleCL ..


                                                                                                       Silicone Facial Cleansing Brush - Electric Face Scru bber Massager for Gentle
                                                                                                       Exfoliating, Deep Cleanse, Ski n Care
                                                                                                       us $138.08 - 176.05 I Set

                                                                                                       USD V          $176.05                      $162.88                     $144.69                             .08

                                                                                                                      1 Set+                       2 Sets+                     3 Sets+




                                                                                                       Sale Detail:
                                                                                                                                  Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                                New Buyer DHcoupon Pack          : - -
                                                                                                                                $23 OFF                          :




        ••
                                                                                                        Options:                     with Safety
                                                                                                                                      package
-   Share co be partner                                                              Si milar Items


                                                                                                        Quantity:                                            + Set              Maximum 5 Set(s)



                                                                                                        Shipping:              Free Shipping to United States Via DHL More Options v
                                                                                                                               Estimated delivery time: May. 25 and May. 28


                                                                                                        Total cost:            $176.05 CD

                                                                                                                                       Buy it Now                    Add to Cart


                                                                                                        Buyer Protection:      @ Ret u rn Policy     [§I Refund for No Delivery           @ Secure Payment


                                                                                                         Produ ct Feat ure

                                                                                                        order exclude custom fee.Normally we mark low amount i n invoice for custom clearance.Please remark the
                                                                                                        amount in invoice for custom use. Buyer also can inform us the product name & total amount i n Invoice for
                                                                                                        custom cl earance for different country different custom policy. In order to avoid goods hold in custom or
                                                                                                        return back for custom clearance issue, buy can l eave message for total amount for custom invoice and
                                                                                                        product name .




Customers Who Bought This Item Also Bought



                                                                                                                                                          ,11,                 -~..,..___, ,__
                                                                                                                                                                          .........,
                                                                                                                                                                                                                 ~



    Xiaomi Youpin ooco 801
    Electric Deep Face Cleansing
    us $23.1 3 - 27.29 / Piece
                                            22ss Sex toys Massagers
                                            Manno Man Nuo Hera Tongue
                                            u s $35.53- 41.91 / Piece
                                                                                  Y Shape 3D Jade Roller Face
                                                                                  Massager Beauty Tools Natural
                                                                                     us $9.22 - 15.53 / Piece
                                                                                                                               35 Raw Wooden Foot Rol ler
                                                                                                                               Wood Care Massage
                                                                                                                               US $8.95 • 12.93 / Piece
                                                                                                                                                                      Ir
                                                                                                                                                                     JD018 Rose Quartz pink facial
                                                                                                                                                                     Roller massager Oongling
                                                                                                                                                                      us $7.48 • 10.39 / Piece
                                                                                                                                                                                                             -~




                                                                                                                                                                                                             Sex Toy Massage•
                                                                                                                                                                                                             Machine Thrust in
                                                                                                                                                                                                             us $129.38 - 190.




                                                                                                                                                     •                                           •
     $2. OFF $ SO+                              $2. OFF $25+                          $2. OFF $2.5+                             $4 OFF $69+                            $ 1 OFF SS0+                              S2.OFF $ 15+




    takelovehome Store >                             Item Description      Co mp any overview                                                                                                                Report Item




    IIIII Chat   @ 17                                   Specifications
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DH.,.,.                                517
                               Buy Now                                                                                                                                                 CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                            (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                         Enter code here


                                                                                                                                                                      Item Subtotal(1 items):            US $176.05
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                      Shipping Cost·                        ussooo
          Pay with a c ard                                                                                                                                            Discounts:                           -US $3.00


               Pay with a New card            VISA 1
                                                   ~ 1a           __                                                                                                  Grand Total:                    us $173.05

                                                                                                                                                                                            Pay now



                                                                                                                                                                   « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                r.-, GeoTn.15t



                                            Product Detail                                               Subtotal                 Shipping Method


     Seller: takelovehome


                        Silicone Facial Cleansing Brush - Electric Face Sc...
                        Options: with Safety package                                                    us $176.05            OHL
                        U S $176.05 / Set                                         +     Set                                  Free Shipping
                                                                                                                             Estimated delivery time:
                                                                                                                             May 25 and May 28



      Add remark to seller
                                                                                                          u s $3 DHcoupon
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                 Item Subtotal:              us $176.05
                                                                                                                Shipping Cost:                     us S0.00
                                                                                                                     DHcoupon:                       -US $3

                                                                                                                  Order Total:               us $173.05




                                    ®         Buyer Protection                  @      Secure Payment                @        Return Polley                @     Refund for no Delivery

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DOE Number: 158
Seller Name: vmxixhs300
Marketplace: DHGate
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                                               517


                        vmxixhs300 Store
                                                                                                                                                                                                                          ~
                                              Chat    V
                                                                                                                                                                                                ( ) Join/ Si gn In
DHJ{ate                 100.0% Positive Feedback
                                                                      slides                                                                                             lnthl r      re
                                                                                                                                                                                                ~ My DHgate v             •• Cart v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma208w
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                          $34.18                    $32.98

                                                                                                                    1 Piece+                       9 Pieces+                 31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace

                                                                                                                              New Buyer DHcoupon Pack             - -
                                                                                                                              $23 OFF




             9 Share co be par tner                                                Similar Items
                                                                                                      Options:



                                                                                                                               •• •                                                         02-ROSE




                                                                                                      Quantity:                                           + Piece                Maximum 50 Piece{s}



                                                                                                      Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                             Estimated delivery time: May. 31 and Jun. 28


                                                                                                      Total cost:            $39.3 0

                                                                                                                                           Buy it Now                     Add to Cart

                                                                                                      Buyer Protection:      ® Return Policy         1§1 Refund for No Delivery       ~ Secure Payment



                                                                                                      Product Fea ture

                                                                                                           Origin: CNrOrigin) Commodity Quality Certification : ce Power Source: Rechargeable Battery Model Number : MINI 02
                                                                                                           Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                        ••
   8148 Magi c Metal Hair Clipper
   Electric Razor Electric Push
                                           2018 Salon Hair Iron Hair
                                           Straightening Escova Alisadora
                                                                               Epacket KM· 1409 Carbon Steel
                                                                               Men Beard Shaver Head Hair
                                                                                                                        3 in 1KEMEI KM· 1407
                                                                                                                        Mul tifunctional Hair Trimmer
                                                                                                                                                                Abdominal Muscle Training
                                                                                                                                                                Stimulator Device Wir eless EMS
                                                                                                                                                                                                        f'
                                                                                                                                                                                                       KEMEI KM· l 407 Mul ti functional
                                                                                                                                                                                                       Hair Trimmer Rechargeable
   US $56.55 • 58.30 / Piece               US $5.82 • 16.07 / Piece            US $16.09 • 19.17 / Piece                US $8.11 • 10.50 / Piece                US $13.48 • 21.42 / Piece              US $17.69· 27.07 / Piece

                                            $2. 0 FF $50 +                      S2. 0 FF $50 +                           $5 OFF $99+                             S2. 0 FF SSO+                          $2. 0 FF $ 50 +




        .. .
Customers Often Bought With



                                                                                  If)              rr
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 133 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         us sooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $38.30

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: vmxixhs300




         •
                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                          Options: 02-ROSE                                                                us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 28



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 159
Seller Name: wedswty68
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 135 of
                                               517                                       Subtotal
                                                                                                                                                                                                                                     0.00
                                                                                                                                                                             ~ United Scates / USO v         «) English v

                        wedswty68 Store   l9I Chat v                                                                                                                                      o• Hi,
DHJ{ate                 87 .1 % Positive Feedback
                                                                       designer shoes
                                                                                                                                                                                      ~       My DHgate v     \J
                                                                                                                                                                                                               •• Cart
                                                                                                                                                                                                                                    Go to Cart




Store Home           Products             Limited Time Sale           TopSelllng           Review           About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma252a
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.30                      $34.18                       $32.98

                                                                                                                  1 Piece+                    9 Pieces+                    31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast refund service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                      Nei.v Buyer OHcoupon Pack
                                                                                                                         $23 OFF
                                                                                                                                                               - -




                                                                             Simi lar Items
                                                                                                   Options:



                                                                                                                                        • •                                                                             More+




                                                                                                   Quantity:                                            +     Piece        Maxim um 50 Piece(s)



                                                                                                   Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                         Estimated delivery time: Jun. 3 and Jul. 1



                                                                                                                                    Buy it Now                    Add to Cart


                                                                                                   Buyer Protect ion:    ® Return Policy         I§ Refund for No Delivery        ~ Secure Paym em



                                                                                                    Product Feature

                                                                                                      Origin: CN(Origin) Commodity Quality Certification: ce Power Source : Rechargeable Battery Model Num ber :
                                                                                                      MINI 02 Type Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                      ..I
                         •
                    ' I...


   Home Painless l aser Hair
   Removal Depilator IPL Epilator
                                           Electri c Shaver For Man
                                           Stainless Steel Shaving Machine
                                                                                   Hai r Curlers Straighteners
                                                                                   LISAPRO Dual Voltage Air Brush
                                                                                                                             Skin Care Tools El ectric Face
                                                                                                                             Scrubbers Mini Vibrator
                                                                                                                                                                      Steam ers Cleaning Cleaner
                                                                                                                                                                      Beauty Face Steaming Device
                                                                                                                                                                                                                     I
                                                                                                                                                                                                             Electri c Hair CurlE
                                                                                                                                                                                                             Dryer StraightenE
   us $83.73-110.86 / Piece                us $41.69- 56.07 / Piece                us $56.36 - 67.15 / Piece                 us $32.98- 39.30 I Piece                 us $33.30 - 39.68 / Piece              us $27.87 - 33.22
    S2 0 FF SSO+                            S2 0 FF $SO+                            S2 0 FF $SO+                                                                       S2 0 FF $SO+




Customers Often Bought With




                                                                                                                             ~
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 136 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                               Discounts:                            -US $1.00


               Pay with a New card              VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $38.30

                                                                                                                                                                                               Pay now



   Review & Confirm Your Order                                                                                                                                       « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15 t



                                              Product Detail                                               Subtotal                 Shipping Method


     Seller: wedswty68


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30

                                                                                                                  Shipping Cost:                     us S0.00

                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 160
Seller Name: wedswty998
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 138 of
                                               517


                         wedswty998 Store        Chat v
DHJ{ate                  88.9% Positive Feedback
                                                                        designer bag                                                                                      lnthl r     re           ( ) Join/ Si gn In
                                                                                                                                                                                                  ~ My DHgate v             "\:..I
                                                                                                                                                                                                                              •• Cart     v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                        Skin Care Too ls Electr ic Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                        Face Silicone Clean Beauty Foreoing Ma232n
                                                                                                        US $32.98 - 39.3 I Piece


                                                                                                        U SO V         $39.3                      $34.18                       $32.98

                                                                                                                       1 Piece+                   9 Pieces+                    31 Pieces+



                                                                                                        Sale Detail:
                                                                                                                                  Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                             New Buyer DHcoupon Pack
                                                                                                                                $23 OFF
                                                                                                                                                                    - -




             9 Share co be partner                                                     Similar Items
                                                                                                        Options:



                                                                                                                                  •• •                                                        02-ROSE




                                                                                                        Quantity:                                          + Piece             Maximum 50 Piece{s}



                                                                                                        Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                               Estimated delivery time: May. 31 and Jun. 28


                                                                                                        Total cost:            $39.3 0

                                                                                                                                             Buy it Now                     Add to Cart


                                                                                                        Buyer Protection:      ® Return Policy        1§1 Refund for No Delivery     ~ Secure Payment



                                                                                                         Product Fea ture

                                                                                                             Origin: CNrOrigin) Commodity Quality Certification : ce Power Source : Rechargeable Battery Model Number : MINI 02
                                                                                                             Type: Facial Cl eansing Brush Vib ration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                                                                                               ••


   Black electri c shaver for men           Hai r Clippers WMARK NG·2021         Eleccric Hair Dryer Professional         Dem Professional Ponable                2 in 1 360 degree rocating Hair          Electri c Hair Dryer 3200
   beard hair crimmer electrical            Electri c Tri mmer For Men           Power Styling Tools Blow Hot             Folding Blue Lighc Sland                Cu rler Fast Hea ting Mi ni              Professi onal Hair Dryer HocCold
   US $44.1 9 • 57.23 / Piece               US $56.64 • 68.98 / Piece            US $18.28 • 21.78 / Piece                US $29.68 • 35.37 / Piece               US $36.31 • 43.26 / Piece                US $10.62· 13.71 / Piece

    S2 OFF $50 +                                                                                                                                                                                            S2 OFF $25+




Customers Often Bought With



                                                                 II ... ---                                                                       •
                                            1~   l 1Allff                               M.iMrol Blut.
                                             J2fJB/41/'8JffClt                                                                1'0
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 139 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                     Miami, Florida, United States, 33133 .
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: wedswty998




        •
                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 02-ROSE                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 28



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38,30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 161
Seller Name: xcxbeauty
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 141 of
                                               517                                       Subtotal
                                                                                                                                                                                                                                           us $0.00
                                                                                                                                                                                ~ United Scates I USO v              «) English v
                        xcxbeauty Store
                                                                                                                                                                                                                      ~
                                            Chat   V                                                                                                                                        ( ) Hi,
DHJ{ate                100.0% Positive Feedback
                                                                        running shoes
                                                                                                                                                                                        ~       My DHgate v           •• Cart
                                                                                                                                                                                                                                           Go to Cart




Store Home            Products            Limited Time Sale          TopSelllng           Review          About Us


DHgate > Health & Beauty > Beauty Equipment > Other Beauty Equipment > Electrlc face cleansing brush smcone ..


                                                                                                 Electric face cleansing brush Silicone USB facial cleansing brush Skin care cleanine
                                                                                                 machine waterproof

[!]                                                                                              US $25.03 - 29.53 I Piece


                                                                                                 USO V          $29.53                     $26.23                              $25.03

   I                                                                                                            1 Piece+
                                                                                                                                           $3&86

                                                                                                                                           1 o Pieces+
                                                                                                                                                                               $z9,45

                                                                                                                                                                               34 Piece s+

                                                                                                                                                                                                   t]APP Only $24.74 - S29.18 v

 I:                                                                                              Sale Detail:        15% O FF
                                                                                                                           Enjoy fast refund service if your first order exceeds Promised Dispatch Date.

                                                                                                                       New Buyer Coupon Pack                           :

                                                                                                                       $31 OFF DHcoupofl
                                                                                                                               S23         OFF
                                                                                                                                                     This smre only
                                                                                                                                                     SB OFF
                                                                                                                                                                       :
                                                                                                                                                                       :
                                                                                                                                                                           -



                                                                                                                       Store Coupon Save $3          v



                                                                                                 Quantity:                                           +        Piece            200 in Stock ( Stock in: liiill CN)



              9 Share to be par tner                                           Similar Items     Shipping:             Free Shipping to United States Vi a ePacket More Options v
                                                                                                                       Estimated delivery time: May. 20 and Jun. 11


                                                                                                 Total cost            $29.53 0

                                                                                                                                  Buy it Now                      Add to Cart


                                                                                                 Buyer Protection:     (!) Return Policy         ~ Refund for No DeHvery             ~ Secure Pay m em



                                                                                                   Product Feature

                                                                                                   Features:Deep cleaning.I mprove oily skin.Remove blackhead.Improve acne.Shrink pores, Remove makeup
                                                                                                   residue;USB charging ;Warranty:1 Year




Customers Who Bought This Item Also Bought




   SOK Ultrasonic Liposucti on
   Cavi tation Vacuum RF Slim ming
   US $1 ,314.10-1397.97 / Piece
                                           Ultrasonic Cavi tation Radio
                                           Frequency Face Lift Slim ming
                                           US $3,316.25 - 6029.54 I Piece
                                                                                  7 in 1 Hydra Dermabrasion RF
                                                                                  Bio-lifting Spa Facial Machine
                                                                                  US $338.76 - 376.941 Piece
                                                                                                                           portable spa salon clinic use
                                                                                                                           vacuum pressotherapy
                                                                                                                           US $4S1.78-473.41 / Piece
                                                                                                                                                                      newest spa salon clinic use ems
                                                                                                                                                                      slim ems muscle stimulation
                                                                                                                                                                      US $1,598.99 - 1598.99 / Piece
                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                     newest 6 in t ul tr
                                                                                                                                                                                                                     cavitation slimmi '
                                                                                                                                                                                                                     us $753.30 - 789.




                          •                                      •                                       •                                         •                                             •
    S20FF $25+                              Sl OFF $50+                            S3 OFF $49+




   xcxbeauty Store >                              Item Description          Company Overview                                                                                                                         Reporc Item




       Chat    @ 9                                     Specifications

   100.0% Positive Feedback
                                                                               Type:    SV50 1
   On-time Delivery Rate·
                                                                     Charging time:     4 rated working hours
   Business Information                                                     Use time:   20 raced working hours
                                                                     Rated voltage·     DC 5.0V, 1.0A
   Top 3 Markets                                                               Color:   Pink
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DH.,.,.                                517
                                 Buy Now                                                                                                                                                CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                               (United States)                                                                              t2_      Change        Summary
                               Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):              us $29.53
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


                Pay with a New card              VISA 1
                                                      ~ 1a        __                                                                                                   Grand Total:                      us $28.53

                                                                                                                                                                                             Pay now



                                                                                                                                                                    « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                               Product Detail                                             Subtotal                 Shipping Method


      Seller: xcxbeauty


                          Electric face d eansing brush Silicone USB facial
                          u s S29.53 I Piece                                    +      Piece              us $29.5 3           ePacket
                                                                                                                              Free Ship ping
                                                                                                                              Estimated delivery time:
                                                                                                                              May 20 and Jun 11



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $29.53

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                       DHcoupon:                      -US $1

                                                                                                                   Order Total:                 us $28.53




                                      ®          Buyer Protection             @        Secure Payment                  @       Return Polley                  @   Refund for no Delivery

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DOE Number: 162
Seller Name: xovke
Marketplace: DHGate
           Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 144 of
                                                 517                                       Subtotal
                                                                                                                                                                                                                                  us $0.00
                                                                                                                                                                              ~ United Scates / USO v         «) English v

                         xovke Store
                                                                                                                                                                                                               ~
                                        Chat   v                                                                                                                                          ( ) Hi,
DHJ{ate                  50.0% Positive Feedback
                                                                        slides
                                                                                                                                                                                      ~       My DHgate v      •• Cart
                                                                                                                                                                                                                                  Go to Cart




Store Home            Products           Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools Elec tric Face Scrubbers Mini Vibra tor Massager Facial Cleansing Brush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma230o
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                        $34.18                       $32.98

                                                                                                                  1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                       Nei.v Buyer OHcoupon Pack
                                                                                                                          $23 OFF
                                                                                                                                                               !--
                                                                                                                                                               !




                                                                                 Simi lar Items
                                                                                                    Options:



                                                                                                                                        •                      Q)
                                                                                                                                                                01-YELLOW
                                                                                                                                                                                                                       More+




                                                                                                    Quantity:                                          +       Piece        Maximum 50 Piece(s)



                                                                                                    Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                    Total cost            $39.3 ©

                                                                                                                                    Buy it Now                     Add to Cart


                                                                                                    Buyer Protection:     ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay m ent



                                                                                                     Produ ce Feature

                                                                                                       Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Num ber :
                                                                                                       MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                                                                           !
                                                                                                                                                                              .... "

                                                                                                                                 ~tu~ llllti                                 HIil


   Selling Electric Razor                  Leisure Compu ter Chair                  2018 Salon Hai r I ron Hair              Electri c Hair Dryer Blow Dryer           Hai r Curlers Straighteners New        Hair Clippers Dro
   Rechargeable Beard Trimmer              Household Office Studen t                Straight ening Escova Alisadora          Curling Iron Rotating Brush               Arrival professional 19mm              Cortar Cabello To
   US $18.45 • 21 .99 / Piece              US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                 US $153.36 -182.75 / Piece                US $21.95 • 27.91 / Piece              us $23.56 - 35.43




                          •                                     •                                          •                                        •                                          •
                                                                                     S2 OFF $50+                                                                        S2 OFF $50+




   xovke Store >                                   Item Description       Company overview                                                                                                                    Report Item

   !Cl
   111111 Chat   @1                                  Specifications
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 145 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                     Boca Raton, Florida, United States, 33433
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: xovke


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 01-YELLOW                                                                us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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DOE Number: 163
Seller Name: xxlb
Marketplace: DHGate
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                                               517


                        xxlbStore     Chat
DHJ{ate
                                              V


                        100.0% Positive Feedback
                                                                     sunglasses                                                                                         lnthl r      re       ( ) Join/ Si gn In
                                                                                                                                                                                              ~ My DHgate v                \:I
                                                                                                                                                                                                                            •• Cart         v




DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Too ls Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush Sonic
                                                                                                     Face Silicone Clean Beauty Foreoing Ma189f
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                         $34.18                    $32.98

                                                                                                                    1 Piece+                      9 Pieces+                 31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast refund service if your first order exceeds Promised Dispatch Dace


[I]                                                                                                                         New Buyer DHcoupon Pack
                                                                                                                            $23 OFF
                                                                                                                                                                 - -




             9 Share co be partner                                                   Similar Items
                                                                                                     Options:



                                                                                                                               •• •                                                                   03-BLUE




                                                                                                     Quantity:                                           + Piece                Maximum 50 Piece{s}



                                                                                                     Shi pping:             Free Shipping co United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: May. 31 and Jun. 28


                                                                                                     Total cost:            $39.3 0

                                                                                                                                          Buy it Now                     Add to Cart


                                                                                                     Buyer Protection:      ® Return Policy         1§1 Refund for No Delivery       ~ Secure Payment



                                                                                                      Product Feature

                                                                                                          Origin: CNrOrigin) Commodity Quality Certification: ce Power Source: Rechargeable Battery Model Number: MINI 02
                                                                                                          Type: Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




I                                                                                                                                                                                                         ••
   8148 Magi c Metal Hair Clipper
   Electric Razor Electric Push
                                          2018Salon Hair Iron Hair
                                          Straightening Escova Alisadora
                                                                              Epacket KM· 1409 Carbon Steel
                                                                              Men Beard Shaver Head Hair
                                                                                                                       3 in 1KEMEI KM· 1407
                                                                                                                       Mul tifunctional Hair Trimmer
                                                                                                                                                               Abdominal Muscle Training
                                                                                                                                                               Stimulator Device Wireless EMS
                                                                                                                                                                                                         f'
                                                                                                                                                                                                        KEMEI KM· l 407 Mul ti functional
                                                                                                                                                                                                        Hair Trimmer Rechargeable
   US $56.55 • 58.30 / Piece              US $5.82 • 16.07 / Piece            US $16.09 • 19.17 / Piece                US $8.11 • 10.50 / Piece                US $13.48 • 21.42 / Piece                US $17.69· 27.07 / Piece

                                             $2. 0 FF $50 +                       S2. 0 FF $50 +                        $5 OFF $99+                             S2. 0 FF $SO+                            $2. 0 FF $ 50 +




                                                                                                                                                                     .. .
Customers Often Bought With
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 148 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                                    Boca Raton, Florida, United States, 33433
                                                                                                                                                                                                      n   ~

                                                                                                                                                                       Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                              Discounts:                           -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                             Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: xxlb


                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                        Options: 03-BLUE                                                                  us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Ship ping

                                                                                                                              Estimated delivery time:
                                                                                                                              May 31 and Jun 28



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30
                                                                                                                 Shipping Cost:                     us S0.00
                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 164
Seller Name: yao07
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 150 of
                                                517


                       yao07 Sto re
                                                                                                                                                                                                                                  ~
                                        Chat v                                                                                                                                                           ( ) Hi,
DHJ{ate                96.3% Positive Feedback
                                                                         tote bag                                                                                                lnthl r       re
                                                                                                                                                                                                       't:::) MyDHgate v          •• Car t v




DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > Cleanlng Tools Accessories Mini Ultra ..•


                                                                                                          Cleaning Tools Accessories Mini Ultrasonic Cleansing Brush Silico ne Elec tric Sonic Face Skin
                                 Baby Level Safety Silicone
                           Food grade silicone for gentle protection of all skin types,
                                                                                                          Washing Massager USB Rechargeable Blackhead Remover 230208
                                           Suitable for all skin types
                                                                                                          US $11 .84 - 14.1 I Piece



                                      G 0
                                 Sote silicone   Gellnfont grode
                                                                     8
                                                                    Sof t touch
                                                                                                          USO V




                                                                                                          Sale Detail:
                                                                                                                         $14.1

                                                                                                                         1 Piece+



                                                                                                                                58% OFF
                                                                                                                                                    $12.26
                                                                                                                                                    $z9cz

                                                                                                                                                    11 Pieces+                            -
                                                                                                                                                                                          $11.84

                                                                                                                                                                                          36 Pieces+

                                                                                                                                                                                                                   [DAppOnly S1L 55 - S13.76 v



                                                                                                                                    Enjoy fast refund service if your first order exceeds Promised Dispatch Date.

                                                                                                                                  New Buyer Coupon Pack                          :

                                                                                                                                  $32 OFF DHcou~
                                                                                                                                          S23      OFF
                                                                                                                                                              This Store onty
                                                                                                                                                              S9 OFF
                                                                                                                                                                                 :
                                                                                                                                                                                 :
                                                                                                                                                                                      -



                                                                                                                                  Store Coupon Save $4        v




                                                                                        Sim ilar Items
                                                                                                           Options:




                                                                                                           Quantity:
                                                                                                                                    •                        Blue

                                                                                                                                                              + Piece                     Maximum 1000 Piece(s)



                                                                                                           Shi pping:            $8.38 1 Cost-effectiVe ] to Un it ed States Via ePacket More Options v
                                                                                                                                 Estimated delivery time: May, 27 and Jun. 18


                                                                                                           Total cost:           $22.48 CD

                                                                                                                                               Buy it Now                            Add to Cart


                                                                                                           Buyer Prot ection:    ® Return Policy         (§1 Refu nd for No Delivery           @ Secure Paymem


                                                                                                           Product Fea ture




Customers Who Bought This Item Also Bought




                                                            ;        •

   Personal Care Dark Spot Freckle        Personal Care Laser Pl asma               Personal Care Hot Plasma Pen            Electri c Plasma Pen Mole                  NXY Face Care Devices New                  l 2pcsbox 8ml BB Cream Korea
   Mole Removal Eyelid Ufting             Pen Laser Machine Tattoo                  Dark Spot Remover Skin                  Removal Dark Spot Rem over                 Mini Hifu Machine Ultrasound               Serum Microneedling Roller
   US $SSS,90- 1010.72 / Piece            US $122.60 • 265.62 I Piece               US $122,60 • 265.62 I Piece             US $40.99 • 48.84 / Piece                  US $87.01 - 103.68 / Piece                 US$33,1 6-39.51 / Piece

    s 2 o i:i: $25+                        s2 o i:i: $25+                            s2 o i:i: $25+                          s2 o i:i: $SO+                             s2 o i:i: $50•




Customers Often Bought Wi th
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 151 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                        Item Subtotal(1 items):              us $14.10
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        us 58.38
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                       us $21 .48

                                                                                                                                                                                              Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: yao07


                         Cleaning Tools Accessories Mini Ultrasonic Cleansi...
                         Options: Blue                                                                     us $14.10            ePacket
                         U S S14.10 / Piece                                      +     Piece                                   us $8.38
                                                                                                                               Estimated delivery time:
                                                                                                                               May 27 and Jun 18



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                u s $14.10

                                                                                                                  Shipping Cost:                     u s S8.38

                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $21,48




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 152 of
                                               517


                        yao07Store      Chat v
DHJ{ate                 96.3% Positive Feedback
                                                                       slides                                                                                                   lnthl r        re       ( ) Hi,
                                                                                                                                                                                                       't:::) MyDHgate v          \:I
                                                                                                                                                                                                                                   •• Cart         v




DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > Cleanlng Tools Accessories Househol••.




[i]                                                                                                   Cleaning Tools Accessories Household Electric ultrasonic Vibration Cleansing Brush Skin Pore
                                                                                                      Cleanser Silicone Face Massage 230324




 •
                                                                                                      US $14.64 - 17.45 / Piece


                                                                                                      USO V




                                                                                                      Sale Detail:
                                                                                                                       $17.45

                                                                                                                       1 Piece+



                                                                                                                               58% OFF
                                                                                                                                                   $15.17
                                                                                                                                                   "3&-H
                                                                                                                                                   9 Pieces+                             -
                                                                                                                                                                                         $14.64

                                                                                                                                                                                         2 9 Pieces+

                                                                                                                                                                                                                  [DAPP On ly $14.29 - S17.03 v



                                                                                                                                  Enjoy fast refund service if your first ord er exceed s Promised Dispatch Date.

                                                                                                                                New Buyer Coupon Pack                           :

                                                                                                                                $32 OFF DHcou~
                                                                                                                                        S23        OFF
                                                                                                                                                              This Store onty
                                                                                                                                                              S9 OFF
                                                                                                                                                                                :
                                                                                                                                                                                :
                                                                                                                                                                                     -



                                                                                                                                Store Coupon Save $4         v




                                                                                                          Options:                Choose an Option               v


                                                                                                          Quantity:                                           +        Piece             Maximum 1000 Piece(s)



                                                                                   Similar Items
                                                                                                          Shi pping:           $8.38 1 Cost-effective ] to United States Via ePack et More Options v
                                                                                                                               Estimated delivery time: May. 27 and Jun. 18



                                                                                                                                              Buy it Now                            Add to Cart


                                                                                                          Buyer Prot ection:    ® Return Policy          (§ Refund for No Delivery            ®] Secure Payment


                                                                                                          Product Fea ture




Customers Who Bought This Item Also Bought


                                            Anti-freezing
                                             Membrane
                       m
                       I
                                  ••
                                  C
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                                              sutt.llbtitfOfAl~TypeJ




                       ·-                                                                                                                                                                                              •
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                       0       (c l
                                  =

   Cl eaning Tools Accessori es           Cleani ng Accessories Cryo            Face Care Devices EMS Electric            Face Care Devices Min i HIFU 2               Cl eani ng Tools Accessori es             Face Care Devices Vacuum Pore
   Silicone Face Washing Machin e         Amifreeze Membrane For                Beauty In strument Micro -                Machine Ultrasoun d RF                       Manual Electric Cleansin g                Cl eaner Electric Blackhead
   us SH.24- 14.74 / Piece                us $1.18 - 3.86 / Piece               us $16.39-19.53 / Piece                   us $67.91 - 80.92 / Piece                    us $10.08-12.69 / Piece                   us $11.47-14.10 / Piece

    $4 OFF $69+                            $ 1 OFF SSO+                                                                    $20FF SSO+                                   $4 OFF $69+                               $4 OFF $69+




Customers Often Bought With




   6pcs longlasting eyebrow pen...        Tem porary Tattoos Women Se...        Tem porary Tattoos Rocooarc B...          wholesale black makeup b ru s...
                                                                                                                                                                                I
                                                                                                                                                                       Tattoo Inks 1p c 40ml Bott1e Cl. ..       Airbrush Tactoo Supplies Top ..
   US $21.43 - 24.12 / Piece              US $10.12-11.39 / Lot                 US $12.25 - 13.78 / Lot                   us $20.63- 23.24 / Set                       US $15.77-17.76 / Piece                   US $49.21 - 55.40 / Piece
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DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




    ~                                           (United States)                                                                                 t2_      Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                                                       ne   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $17.45
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         us 58.38
          Pay with a c ard                                                                                                                                             Discounts:                             -US $1.00


                Pay with a New card           VISA 1
                                                   ~ 1a           __                                                                                                   Grand Total:                         us $24.83

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                           Product Detail                                                 Subtotal                 Shipping Method


      Seller: yao07




         •
                         Cleaning Tools Accessories Household Electric unr...
                          Options: Pink                                                                   US $17.4 5           ePacket
                         u s $17.45 / Piece                                     +      Piece                                  us $8.38
                                                                                                                              Estimated delivery time:
                                                                                                                              May 27 and Jun 18



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $17.45
                                                                                                                 Shipping Cost:                     us S8.38
                                                                                                                       DHcoupon:                      -US $1

                                                                                                                   Order Total:                 us $24,83




                                     ®        Buyer Protection                  @      Secure Payment                  @       Return Polley                  @   Refund for no Delivery


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         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 154 of
                                               517                                       Subtotal
                                                                                                                                                                                                                                          us $0.00
                                                                                                                                                                                      ~ United Scates/ USO v         «) English v

                         yao07Store
                                                                                                                                                                                                                      ~
                                         Cha t   v                                                                                                                                               ( ) Hi,
DHJ{ate                  96.3% Positive Feedback
                                                                          running shoes
                                                                                                                                                                                             ~       My DHgate v      •• Cart
                                                                                                                                                                                                                                          Go to Cart




Store Home            Products           Limited Time Sale               TopSelllng          Review            About Us


DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > Cleanlng Tools Accessories Mini Ultra ..•


                                                                                                      Cleaning Tools Accessories Mini Ultrasonic Cleansing Brush Silicone Electric Some Face
                                                                                                      Skin Washing Massager USB Rechargeable Blackhead Remover 230324
                                                                                                      US $22.73 - 27.09 I Piece


                                                                                                      USO V          $27.09                      $23.56                              $22.73
                                                                                                                                                 $56ct                               S54+3
                                                                                                                     1 Piece+                    6 Pieces+                           19 Pieces+

                                                                                                                                                                                                        t]APP Only $2219 - S26.45 v

                                                                                                      Sale Detail:        58% O FF
                                                                                                                                Enjoy fast refund service if your first order exceeds Promised Dispatch Date.

                                                                                                                            New Buyer Coupon Pack                            :
                                                                                                                                            DHcoupofl      This smre only    :   -
                                                                                                                            $32 OFF         S23 OFF        59 OFF            :



                                                                                                                            Store Coupon Save $4           v




                                                                                Simi lar Items
                                                                                                      Options:




                                                                                                      Quantity:
                                                                                                                                Blue                       •
                                                                                                                                                           + Piece                   Maxim um 1000 Piece(s)



                                                                                                      Shipping:                                        I
                                                                                                                            $8.38 1 Cost-effeccive to United States Via ePacket More Options v
                                                                                                                           Estimated delivery time: May. 30 and Jun. 21


                                                                                                      Total cost           $35.47 CD

                                                                                                                                       Buy it Now                       Add to Cart


                                                                                                      Buyer Protection:     ® Ret u rn Policy         1§1 Refund for No Delivery          ~ Secure Pay m ent



                                                                                                       Product Featu re




Customers Who Bought This Item Also Bought




I
   Skin Care 540 Roller Needle             Face Care Devices lif ting                 Face Care Devices Produce 40K             tOpcs lot New Tanning Mite wi th            Face Care Devices Mole                   SPCS Stainless Bl,
   Black Matte Handle Instrument           Firming Mask Home Comfort                  Ultrasound Cavitation Slim ming           thumb for self tanners tan                  Removal Pen Wart Plasma                  Comedone Remo
   US $3.72 - 6.82 / Piece                 US $10.65 ♦ 12.69 / Piece                  US $279.22- 289.40 / Piece                US $1.59 - 2.15 I Piece                     US $33.04 - 42.31 I Set                  US$1.29 - 1.65 11




                           •                                      •                                           •                                            •                                          •
                                                                                       $4 OFF $69+




   yao07 Store >                                     I tem Description      Com pan y Overview                                                                                                                       Report Item




       Chat    @9                                      Specifications

   96.3% Posi tive Feedback
                                                                                Type:      dry & re-chargeab1e1
   On-time Delivery Rate:
                                                                              Gender:      Women
   Repurchase rate:
                                                                           Plugs Type:     brush us

   Business In formation                                                       Oriqin:     mainland china
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 155 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                               (United States)                                                                               t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $27.09
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        us 58.38
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card            VISA 1
                                                    ~ 1a          __                                                                                                    Grand Total:                      us $34.47

                                                                                                                                                                                              Pay now



                                                                                                                                                                     « Back to Cart
    Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                             Product Detail                                                Subtotal                 Shipping Method


      Seller: yao07


                         Cleaning Tools Accessories Mini Ultrasonic Cleansi...
                         Options: Blue                                                                     US $27.09            ePacket
                         us $27.09 / Piece                                       +     Piece                                   us $8.38
                                                                                                                               Estimated delivery time:
                                                                                                                               May 30 and Jun 2 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $27.09
                                                                                                                  Shipping Cost:                     us S8.38
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $34.47




                                     ®         Buyer Protection                  @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 156 of
                                       517


DOE Number: 165
Seller Name: you07
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 157 of
                                                517


                       yoU07 Store     Chat v                                                                                                                                                                o• Hi,                   ~
DHJ{ate                90.6% Positive Feedback
                                                                       bracelet                                                                                                      lnthl r       re
                                                                                                                                                                                                           ~ MyDHgate v               •• Cart v




DHgate > Health & Beauty > Skin Care Tools & Devices > Cleaning Tools & Accessories > Cleanlng Tools Accessories Mini Ultra ..•


                                                                                                             Cleaning Tools Accessories Mini Ultrason ic Cleansing Brush Silicone Elec tric Sonic Face Skin
                                                                                                             Washing Massager USB Rechargeable Blackhead Remover 230202
                                                                                                             US $11 .84 - 14.1 I Piece


                                                                                                             USO V




                                                                                                             Sale Detail:
                                                                                                                            $14.1

                                                                                                                            1 Piece+



                                                                                                                                  58% OFF
                                                                                                                                                        $12.26
                                                                                                                                                        $z9cz

                                                                                                                                                        11 Pieces+                            -
                                                                                                                                                                                              $11.84

                                                                                                                                                                                              36 Pieces+

                                                                                                                                                                                                                       [DAppOnly S1L55 - S13.76 v




Jl                                                                                                                                     Enjoy fast refund service if your first ord er exceed s Promised Dispatch Date.

                                                                                                                                     New Buyer Coupon Pack                           :

                                                                                                                                     $32 OFF DHcou~
                                                                                                                                             S23       OFF
                                                                                                                                                                  This Store onty
                                                                                                                                                                  S9 OFF
                                                                                                                                                                                     :
                                                                                                                                                                                     :
                                                                                                                                                                                          -



                                                                                                                                     Store Coup on Save $4       v




                                                                                     Similar Items
                                                                                                              Options:




                                                                                                              Quantity:
                                                                                                                                       •                         Blue

                                                                                                                                                                  + Piece                     Maximum 1000 Piece(s)



                                                                                                              Shi pping:            $8.38 1 Cost-effectiVe ] to United States Via ePacket More Options v
                                                                                                                                    Estimated delivery time: May. 27 and Jun. 18


                                                                                                             Total cost:            $22.48 CD

                                                                                                                                                   Buy it Now                            Add to Cart


                                                                                                             Buyer Proteccion:      ® Return Policy          (§1 Refund for No Delivery            @ Secure Paymem


                                                                                                              Product Fea ture




Customers Who Bought This Item Also Bought


                                            Anti-freezing
                                             Membrane                              EMSINl!nddght.tnf'a;i'I

                      !.!!    ••                 ......
                                             ~bteforAl~lYflf'l
                                                          ~   ......               ===--- bi ~
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                      ·-                                                                                                                                                                                                    •
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                      ( .    lei
                             =

   Cl eaning Tools Accessori es          Cleani ng Accessories Cryo               Face Care Devices EMS Electric               Face Care Devices Min i HIFU 2              Cl eaning Tools Accessori es               Face Care Devices Vacuum Pore
   Silicone Face Washing Machin e        Antif reeze Membrane For                 Beauty In stru ment Micro-                   Machine Ultrasound RF                       Manual Electric Cleansing                  Cl eaner Electric Blackhead
   US $12.24-14.74 / Piece               US $1 .18 - 3.86 / Piece                 US $16.39-19.53 / Piece                      US $67.91 - 80.92 / Piece                   US $10.08-12.69 / Piece                    US $11,47-14,10 / Piece

    S4 o i:i: $69•                        Sl o i:i: $50+                                                                        s2 o i:i: $50•                              sa o i:i: $69•                             S40!=!= $69+




Customers Often Bought Wi th
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 158 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138 .
                                                                                                                                                                                                       n   ~

                                                                                                                                                                       Item Subtotal(1 items):               us $14.10
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         us 58.38
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                        us $21 .48

                                                                                                                                                                                              Pay now



                                                                                                                                                                    « Back to Cart
   Review & Confirm Your Order
   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: you07


                        Cleaning Tools Accessories Mini Ultrasonic Cleansi...
                         Options: Blue                                                                    us $14.10            ePacket
                        U S S14.10 / Piece                                      +      Piece                                  us $8.38
                                                                                                                              Estimated delivery time:
                                                                                                                              May 27 and Jun 18



      Add remark to seller
                                                                                                           u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                u s $14.10

                                                                                                                 Shipping Cost:                     u s S8.38

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $21.48




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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DOE Number: 166
Seller Name: youe
Marketplace: DHGate
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                                               517                                       Subtotal
                                                                                                                                                                                                                                      us $0.00
                                                                                                                                                                               ~ United Scates / USO v         «) English v

                        youeStore      Chat   V
                                                                                                                                                                                            o• Hi,              ~
DHJ{ate                 93.S% Positive Feedback
                                                                      purse
                                                                                                                                                                                        ~       My DHgate v     •• Cart
                                                                                                                                                                                                                                      Go to Cart




Store Home            Products          Limited Time Sale            TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                    Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                    Sonic Face Silicone Clean Beauty Foreoing Ma297o
                                                                                                    US $32.98 - 39.3 I Piece


                                                                                                    USO V          $39.3                       $34.18                        $32.98

                                                                                                                   1 Piece+                    9 Pieces+                     31 Pieces+



                                                                                                    Sale Detail:
                                                                                                                              Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                        Nei.v Buyer OHcoupon Pack
                                                                                                                           $23 OFF
                                                                                                                                                                - -




                                                                              Simi lar Items
                                                                                                    Options:



                                                                                                                              •• •                                                            02-ROSE
                                                                                                                                                                                                                          More+




                                                                                                    Quantity:                                             +    Piece         Maxim um 50 Piece(s)



                                                                                                    Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                           Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                    Total cost             $39.3 ©

                                                                                                                                     Buy it Now                     Add to Cart


                                                                                                    Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                     Produ ce Feature

                                                                                                       Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Num ber :
                                                                                                       MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




                                                                                     Duol Voltoge




   Home Painless Laser Hair
   Removal Oepilat or IPL Epilator
   US $83.73 . 110.86 / Piece
                                          Electri c Shaver For Man
                                          Stainless Steel Shaving Machine
                                          US $41.69· 56.07 / Piece
                                                                                     "
                                                                                  Hai r Curlers Straighteners
                                                                                  LISAPRO Dual Voltage Air Brush
                                                                                  US $56.36 • 67.15 / Piece
                                                                                                                              Skin Care Tools El ectric Face
                                                                                                                              Scrubbers Mini Vibrator
                                                                                                                              US $32.98 • 39.30 I Piece
                                                                                                                                                                        Steam ers Cleaning Cleaner
                                                                                                                                                                        Beauty Face Steaming Device
                                                                                                                                                                        US $33.30 • 39.68 / Piece
                                                                                                                                                                                                                       I
                                                                                                                                                                                                               Electri c Hair CurlE
                                                                                                                                                                                                               Dryer StraighcenE
                                                                                                                                                                                                               us $27.87 - 33.22




                         •                                     •                                            •                                        •                                           •
    S2 0 FF $50 +                          $2 0 FF $50+                            S2 0 FF $50+                                                                          S2 0 FF $SO+




Customers Often Bought With



                                -
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 161 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust ·
Buy Globally · Sell Globally




   ~                                              (United States)                                                                                t2_      Change        Summary
                                      Miami, Florida, United States, 33133 .
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):              us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                        ussooo
          Pay with a card                                                                                                                                               Discounts:                           -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                      us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: youe




         •
                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38,30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 167
Seller Name: zaneo
Marketplace: DHGate
         Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 163 of
                                               517                                       Subtotal
                                                                                                                                                                                                                                  us $0.00
                                                                                                                                                                              ~ United Scates / USO v         «) English v

                         zaneoStore
                                                                                                                                                                                                               ~
                                         Chat v                                                                                                                                           ( ) Hi,
DHJ{ate                  66.7% Positive Feedback
                                                                        sunglasses
                                                                                                                                                                                      ~       My DHgate v      •• Cart
                                                                                                                                                                                                                                  Go to Cart




Store Home            Products           Limited Time Sale             TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                   Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                   Sonic Face Silicone Clean Beauty Foreoing Ma264A
                                                                                                   US $32.98 - 39.3 I Piece


                                                                                                   USO V          $39.3                        $34.18                       $32.98

                                                                                                                  1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                   Sale Detail:
                                                                                                                             Enjoy fast ref und service if your first ord er exceeds Promised Dispatch Dace



[I]                                                                                                                       Nei.v Buyer OHcoupon Pack
                                                                                                                          $23 OFF
                                                                                                                                                                - -




                                                                              Simi lar Items
                                                                                                    Options:



                                                                                                                                        • •                                                 02-ROSE
                                                                                                                                                                                                                       More+




                                                                                                    Quan tity:                                         +       Piece        Maxim um 50 Piece(s)



                                                                                                    Shipping:             Free Shipping to United States Via China Post SAL More Options v
                                                                                                                          Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                    Total cost            $39.3 ©

                                                                                                                                    Buy it Now                     Add to Cart


                                                                                                    Buyer Protection:     ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay m ent



                                                                                                     Produ ce Feature

                                                                                                       Origin : CN(Origin) Commodity Quality Certification : ce Power Source Rechargeable Battery Model Number :
                                                                                                       MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought




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   Selling Electric Razor                  Leisure Compu ter Chair                  2018 Salon Hair I ron Hair               Electri c Hair Dryer Blow Dryer           Hai r Curlers Straighteners New        Hair Clippers Dro
   Rechargeable Beard Trimmer              Household Office Studen t                Straight ening Escova Alisadora          Curling Iron Rotating Brush               Arrival professional 19mm              Cortar Cabello To
   US $18.45 • 21 .99 / Piece              US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                 US $153.36 -182.75 / Piece                US $21.95 • 27.91 / Piece              us $23.56 - 35.43




                          •                                     •                                          •                                        •                                          •
                                                                                     S2 OFF $50+                                                                        S2 OFF $50+




   zaneo Store >                                   Item Description       Company o verview                                                                                                                   Report Item

   !Cl
   ll!l chat   @o                                    Specifications
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 164 of
DH.,.,.                                517
                               Buy Now                                                                                                                                                   CJ" Buyer Protection ~ GeoTrust ·
Buy Globally· Sell Globally




   ~                                             (United States)                                                                                t2_      Change        Summary
                              Miami, Florida, United States, 33138.
                                                                                                                                                                          Enter code here


                                                                                                                                                                       Item Subtotal(1 items):               us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                       Shipping Cost·                         ussooo
          Pay with a card                                                                                                                                              Discounts:                            -US $1.00


               Pay with a New card             VISA 1
                                                    ~ 1a          __                                                                                                   Grand Total:                       us $38.30

                                                                                                                                                                                              Pay now



   Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                 r.-, GeoTn.15 t



                                             Product Detail                                               Subtotal                 Shipping Method


     Seller: zaneo




         •
                        Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-ROSE                                                                 us $39.30            China Post SAL
                        u s $39.30 I Piece                                      +      Piece                                  Free Shipping
                                                                                                                              Estimated delivery time:
                                                                                                                              Jun 3 and Jul 1



      Add remark to seller
                                                                                                           us $1 DHcoupon                                 V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                  Item Subtotal:                us $39.30

                                                                                                                 Shipping Cost:                     us S0.00

                                                                                                                      DHcoupon:                       -US $1

                                                                                                                   Order Total:                 us $38.30




                                    ®          Buyer Protection                 @      Secure Payment                 @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 168
Seller Name: zhucai33
Marketplace: DHGate
          Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 166 of
                                                517                                       Subtotal
                                                                                                                                                                                                                                   us $0.00
                                                                                                                                                                                ~ United Scates/ USO v         «) English v

                          zhucai33 Store
                                                                                                                                                                                                                ~
                                            Chat v                                                                                                                                           ( ) Hi,
DHJ{ate                   66.7% Positive Feedback
                                                                         decals
                                                                                                                                                                                         ~       My DHgate v    •• Cart
                                                                                                                                                                                                                                   Go to Cart




Store Home              Products           Limited Time Sale            TopSelllng           Review             About Us


DHgate > Household Appliances > Personal care > Electric Face Scrubbers > Skin care Tools Electric Face Scrubbe.••


                                                                                                     Skin Care Tools Electric Face Scrubbers Mini Vibrator Massager Facial Cleansing Brush
                                                                                                     Sonic Face Silicone Clean Beauty Foreoing Ma308S
                                                                                                     US $32.98 - 39.3 I Piece


                                                                                                     USO V          $39.3                        $34.18                       $32.98

                                                                                                                    1 Piece+                     9 Pieces+                    31 Pieces+



                                                                                                     Sale Detail:
                                                                                                                               Enjoy fast ref und service if your first order exceeds Promised Dispatch Dace

                                                                                                                            Nei.v Buyer OHcoupon Pack            - -
                                                                                                                            $23 OFF




                 9 Share to be partner                                            Simi lar Items
                                                                                                     Options:



                                                                                                                                          •                                    02-PINK
                                                                                                                                                                                                                        More+




                                                                                                     Quantity:                                          +       Piece         Maximum 50 Piece(s)



                                                                                                     Shipping:              Free Shipping to United States Via China Post SAL More Options v
                                                                                                                            Estimated delivery time: Jun. 3 and Jul. 1


                                                                                                     Total cost             $39.3 ©

                                                                                                                                      Buy it Now                    Add to Cart


                                                                                                     Buyer Protection:      ® Return Policy        ~ Refund for No Delivery          ~ Secure Pay ment



                                                                                                      Produce Feature

                                                                                                        Origin: CN(Origin) Commodity Quality Certification: ce Power Source Rechargeable Battery Model Number :
                                                                                                        MINI 02 Type : Facial Cl eansing Brush Vibration : 6000RPM Vibration Strength : 5 levels adju




Customers Who Bought This Item Also Bought


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                                                                                                                                                                               frl il


   Selling Electric Razor
   Rechargeable Beard Trimmer
                                            Leisure Computer Chair
                                            Household Office Studen t
                                                                                     2018 Salon Hair I ron Hair
                                                                                     Straightening Escova Alisadora
                                                                                                                               Electric Hair Dryer Blow Dryer
                                                                                                                               Curling Iron Rotating Brush
                                                                                                                                                                                  llllti
                                                                                                                                                                         Hai r Curlers Straighteners New
                                                                                                                                                                         Arrival professional 19mm
                                                                                                                                                                                                               Hair Clippers Dro
                                                                                                                                                                                                               Cortar Cabello To
   US $18.45 • 21 .99 / Piece               US $13.13-18.68 I Piece                  US $5.58 • 27.41 / Piece                  US $153.36 -182.75 / Piece                US $21.95 • 27.91 / Piece             us $23.56 - 35.43




                           •                                     •                                           •                                       •                                            •
                                                                                      S2 0 FF $50+                                                                        S2 0 FF $50+




   zhucai33 Store >                                 Item Description       Company overview                                                                                                                    Report Item

   !Cl
   111111 Chat    @1                                  Specifications
 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 167 of
DH.,.,.                                517
                                Buy Now                                                                                                                                                  CJ" Buyer Protection ~ GeoTrust·
Buy Globally · Sell Globally




   ~                                                (United States)                                                                              t2_      Change        Summary
                                  Palm beach, Florida, United States, 33480
                                                                                                                                                                           Enter code here


                                                                                                                                                                        Item Subtotal(1 items):             us $39.30
   ~      Payment Method 100% Secure Payment
                                                                                                                                                                        Shipping Cost·                       ussooo
          Pay with a card                                                                                                                                               Discounts:                          -US $1.00


                Pay with a New card             VISA 1
                                                     ~ 1a         __                                                                                                    Grand Total:                     us $38.30

                                                                                                                                                                                              Pay now



    Review & Confirm Your Order                                                                                                                                      « Back to Cart


   !'J Enjoy fast refund service if your first order exceeds Promised Dispatch Date.                                                                                                  r.-, GeoTn.15t



                                              Product Detail                                               Subtotal                 Shipping Method


      Seller: zhucai33


                         Skin Care Tools Electric Face Scrubbers Mini Vibra ..

                         Options: 02-PINK                                                                  us $39.30            China Post SAL
                         u s $39.30 I Piece                                      +     Piece                                   Free Shipping
                                                                                                                               Estimated delivery time:
                                                                                                                               Jun 3 and Jul 1



      Add remark to seller
                                                                                                            u s $1 DHcoupon                                V
       Please add remark:(e.g. color, size ..), Do not enter<>&
                                                                                                                   Item Subtotal:                us $39.30
                                                                                                                  Shipping Cost:                     us S0.00
                                                                                                                       DHcoupon:                       -US $1

                                                                                                                    Order Total:                 us $38.30




                                     ®          Buyer Protection                 @     Secure Payment                  @        Return Polley                  @   Refund for no Delivery


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                                       517


DOE Number: 169
Seller Name: zwgf
Marketplace: DHGate
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                                      517
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 170 of
                                      517
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                                       517


DOE Number: 170
Seller Name: 12pegleg
Marketplace: eBay
              Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023         Page    172 of
             v  Dai ly Deals Brand O utle t Hel p & Contact
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                                                                                                      Sell Watc hlist v MyeBay v
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ebay                            Shop by v
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                                                      Q Search for anything                                                                                                                   All Categ or ies       V

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 (      8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                          Shar e I Add to Watchlist




[li]]                                                                                                                     Forever Lina Mini T Sonic Facial Cleansing Device
                                                                                                                                                                                                                 Shop w ith confidence
                                                                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                              C ondition: Used
                                                                                                                                            "Light shop wear. Scratches in bone. See photos for
                                                                                                                                            condition."
                                                                                                                                                                                                                  8 Get the item you ordered or get
                                                                                                                                                                                                                    your money back.
                                                                                                                                                                                                                           Learn more


                                                                                                                               Price: $39.99                                  Buy It Now                         Seller information
                                                                                                                                                                                                                 gRJlg~g (20050 -tj
                                                                                                                                                                                                                 100% posit iv e feedback
                                                                                                                                                                              Acldtocart

                                                                                                                                                                                                                 0       Saveseller
                                                                                                                               Best                                                                              Contact seller
                                                                                                                                                                              Make offer
                                                                                                                              Offer:                                                                             Visit store
                                                                                                                                                                                                                 See other items
                                                                                                                                                                 ( ___o_ A_d_d_t_o_w
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                                                  FOREVER
                                                        LINA.      rr:,n,
                                                                                                                          Additional service available

                                                                                                                          0     !:year Rrotect ion Rian from Allstate - $4.99



                                                                                                                              ~     Breathe easy. Free returns.
                                                                                                                                                                                                                  Shop related items
                                                                                                                                                                                                                  278K items sold

                                                                                                                              ~     Fast and reliable. Ships from United States.
                                          $ Have one to sell?            Sell now                                                                                                                                 ,.j:<>- eaud e luxe            ( Shop now)
                                                                                                                                                                                                                          In e Bay Stores
                                                                                                                                                                                                                          Sponsored
                                                                                                                               Shipping:    us $6.25 Economy Shipping. See details
                                                                                                                                            Located in: Eli zabeth, Colorado, United States


                                                                                                                               Delivery: Est imated between Fri, Apr 21 and Mon, Apr 24 0

                                                                                                                                Returns: 30 day returns. Seller pays for return shipping.
                                                                                                                                         See details

                                                                                                                              Payments:     l~ IGPayl§.11• 1-                    ~ I
                                                                                                                                            PayPa/ CREDIT
                                                                                                                                            Special f inancing available. See t erms and BRR!¥
                                                                                                                                            now

                                                                                                                                                    Earn up to 5x points when you use your
                                                                                                                                                    eBay Mastercard®. Learn more

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     Similar sponsored items                                                                                                                                                                                                          Feedback on our suggestions




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     Sonic Fac ial Cleansing Brush                         FOREVER LINA T-So nic mi ni Facial                     Proactiv Pore Cleansing Charcoal             FOREO LUNA mini 2 Silicone Dual-                  FOREO Luna Mini 2 T-Sonic Facial               Si
     YUNCHI Food G rade Silic one                         C leansing Device                                       Infused Brush                                Sided Fac ial Cleansing Brush                     Clea nsing Brush - Pink                        Br
     Waterproof BLU E WC02_B                                                                                                                                                                                                                                    H,
     New                                                  New                                                     New                                          Pre-owned                                         Pre-owned                                      N,

     $13.95                                               $12.99                                                  $11.30                                        $34.99                                           $27.99                                         $
                                                                                                                  0bids
     Fr ee shippi ng                                      +shipping                                                                                            SH-9:9971% off                                    Free shipping                                  F,,
     Seller with a 99.9% positive feedback                Sel ler with a 100% positive feedback                   + shipping                                   Fr ee shi ppi ng                                  Sel ler w ith a 100% positive feedback         Se
                                                                                                                  Seller with a 100% positive feedback         ~ Top Rated Plus




     Sponsored items inspired by your vie ws                                                                                                                                                                                          Feedback on our sug~stions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 173 of
         el::>ay  Checkout            517
                                                                                                                                      How do you liKe our checkout? Give us reedbacK

                                                                                                                                                             To add more items, go to cart


            Pay with                                                                                                                   Subtotal (1 item)                             $39.99
                                                                                                                                       Shipping                                        S6.25
                   Add new card                                                                                                        Tax*                                            S3.24
            0
                    §1 ~         -     ~                                                                                               Order total                                  $49.48

            @       PayPa/                                                                                                                By placing your order, you agree to eBay's
                                                                                                                                          User Agreement and Prtva~ Notice.
                                                                                                                                          ~w e're required by Jaw to collect sales tax and
                    ~~r;;                                                                                                                 applicable fees for certain tax authorities.
                                                                                                                                          Learn more
            0       Special financing available.
                   Apply now See terms
                                                                                                                                                       Pay wilh PayPal


            0       IG Pov l Google Pay                                                                                                        You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: 12pegleg         Message to seller

                                     Forever Lina Mini T Sonic Facial Cleansing Device
                                     $39.99
                                     Quantity 1


                                     Delivery

                                     @      Est delivery: Apr 21 - Apr 24
                                            USPS Parcel Select Ground
                                            S6.25

                                     O Est delivery: Apr 21 - Apr 24
                                            USPS Priority Mail
                                            S12.97

                                     0      Est delivery Apr 21 - Apr 24
                                            USPS First Class
                                            S3.97




            Gift cards, coupons, eBay Bucks



           [~
            E nte_
                 r code: _ _]                              -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductibka. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 174 of
                                       517


DOE Number: 171
Seller Name: 2016dani86
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023        Page  175 of
          v     Daily Deals Brend Outlet Help & Co ntac t
                                                                         517
                                                                                                    Sell Watchlistv MyeBayv
                                                                                                                            D                                                                                                                                    E
ebay                           Shop by v
                               category
                                                 I   Q Search for anything                                                                                                                       All Categories       V

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(      8.aick t o ho m e page I Listed in cat egory· Health & Seavty )   Sk in C are )   C lean sers & To ners                                                                                                                            Shar e I Add to Watchlist


                                                                                                                                 Electric Silicone Clean Facial Cleansing Brush
                                                                                                                                                                                                                  Shop w ith conf idence
                                                                                                                                 Super Face Washing Machine
                           SMALL BODY, BIG ENERGY                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                                 It Last item available
                  It can be charged once every day for 60 days.
                                                                                                                                                                                                                  8 Get the item you ordered or get
                                                                                                                                                                                                                    your money back.
                                                                                                                                      Condition: New                                                                        Learn more

                                                                                                                                       Quantity:   LJ            Last One / l sold
                                                                                                                                                                                                                  Seller information
                                                                                                                                                                                                                  2016dani86 @ID * l




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                                                                                                                                       Price: $29.99                                  Buy It Now                  99.5% positive feedback



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                                                                                         about 1 hour full
                                                                                                                                    ~      Fast a nd re liable. Ships from United States.


                                                                                                                                    ~      Breat he easy. Returns accepted.


                                                                                                                                                                                                                   Discover related items
                                                                                                                                       Shipping: Free Economy Shipping. See details
                                                                                                                                                                                                                  115K items sold
                                                                                                                                                   Located in: Miami, Florida, United States

                                                                                                                                       Delivery:   GI Estimated between Mon, May 8 and Sat, May                             lovelydeals2012      (   Visit store )
                                                                                                                                                   13(i)                                                                    In eBay Stores
                                         $ Have one to sell?             Sell now
                                                                                                                                                                                                                            Sponsored
                                                                                                                                                   This item has an extended handling time and a delivery
                                                                                                                                                   estimate greater than 11 business days.

                                                                                                                                       Returns:    14 day ret urns. Buyer p ays for return shipping. See
                                                                                                                                                   details

                                                                                                                                      Payments:    I IG 1
                                                                                                                                                       PayPaf     Pay VISA     11~ • 1°'~ I
                                                                                                                                                   PayPal CREDIT
                                                                                                                                                   Special f inancing available. See terms and BRR!Y.
                                                                                                                                                   now

                                                                                                                                                                Earn up to 5x points when you use your
                                                                                                                                                                eBay Mastercard®. Learn m o re


                                                                                                                                                   -


    Similar sponsored items                           Seeall >                                                                                                                                                                         Feedback on our suggestions




    Super Face Washing Machine                            Super Face Washing Machine                                     facial t urmeric toner+ VC                      Super Face Washing Machine               2 Pack Face Washing Machine                     5
    Ele ctric Soft Silicone Facial Brush                  Electric Soft Silicone Facial Brush                                                                            Electric Soft Silicone Facial Brush      Electric Sof t Silicone Facial Brush            Fa
    Cleanser Massage                                      C leanser Massage                                                                                              C leanser Massage                        C lea nser Massage                              M
    New                                                   New                                                            New                                             New                                      New                                             N,

    $17.59                                                $17.59                                                         $13.99                                          $8.98                                    $9.99                                           $
                                                                                                                         0bids
    Free shipping                                         Free shipping                                                                                                 $9:9810%off                               Free shipping                                   $1<
    5 watchers                                                                                                           + shipping                                     Free shipping                             a  Top Rated Plus                               F,,
                                                                                                                                                                         EiJ
                                                                                                                                                                           Top Rated Plus                         Seller with a 99.5% positive feedback           55




    Sponsored items inspired by your views                                          See all >                                                                                                                                          Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 176 of
         el::>ay  Checkout            517
                                                                                                                                     How do you like our checkout? Give us feedback




            Pay with                                                                                                                  Subtotal (1 item)                            $29.99
                                                                                                                                      Shipping                                        Free
                   Add new card                                                                                                       Tax•                                            S2.10
            0
                    ~~          -      [51
                                                                                                                                      Order total                                 $32.09

            @       PayPa/                                                                                                               By placing your order, you agree to eBay's
                                                                                                                                         User Agreement and Prtva91: Notice.
                                                                                                                                         *We're required by law to collect sales tax and


                    ·~~
                                                                                                                                         applicable fees for certain tax authorities
                                                                                                                                         Learn more
            0       Special financing available.
                   Apply now. See terms
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                                                                                                                                           ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                        See details




            Miami, FL 33138-4055
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: 2016dani86

                         A           Electric Silicone Clean Facial Cleansing Bnush Super Face Washing
                        ~"!"         Machine

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                                     $29.99
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                                     Delivery
                                     Est. delivery: May 8 - May 13
                                     Economy Shipping
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Soles4Souls. Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid_PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
            end of the month in which the donation is made. Donations are non-refundable and typically
            lax deductible. PPGF may be unable to grant funds lo a charity if the charrty has lost lax
            exempt status, has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 177 of
                                       517


DOE Number: 172
Seller Name: 9enjoyshopping
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    178 of
          v     Daily Dea ls Brend O utlet He lp & Contact
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0 SAVE UPTO 15% WHEN YOU BUY MORE
                                                                                                                                   Silicone Electric Facial Cleansing Brush Vibration
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                                                                                                                                         Shipping: Free Standard Shipping. See details
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    C leanser Massager                                    Heated Massager                                                  Hyd ration US                                   Massager                                     Massager                                         M
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 179 of
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            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                 Bill
            Changf                                                                                                                                                                                ?

            Review item and shipping

            Seller: 9enjoyshopping            Message to seller

                                      Silicone Electric Facial Cleansing Brush Vibration Face Cleaner SKin
                                      Care Tool J
                                      Coloc Blue
                                      $12.91
                                     52848


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                                      Delivery
                                      Est. delivery: A pr 26 - Apr 29
                                      Standard Shipping
                                      Free



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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            status. has closed. or no longer accepts funds from PPGF.


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                                                                                                                                            Located in: New Jersey, United States


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    Brush Sonic Facial Skin Cleaner
    Heated Massager
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                                                          Massager
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    Seller with a 100% positive feedback                  Free shipping                                           + $1.95 shipping                              Seller with a 99.4% positive feedback             Free shipping
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            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                 Bill
            Changf



            Review item and shipping

            Seller: 9enjoyshopping           Message to seller

                                      Silicone Electnc Facial Cleansing Brush Vibration Face Cleaner Skin
                                      Care Tool J
                                      Coloc Blue
                                     $12.91
                                     52848


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                                      Delivery
                                      Est. delivery: A pr 17 - Apr 19
                                      Standard Shipping
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            Donate to charity (optional) 0

            Nova Ukraine
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            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
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                                       517


DOE Number: 173
Seller Name: acost6169
Marketplace: eBay
              Case     1:23-cv-23631-RNS                     Document 20-2 Entered on FLSD Docket 11/13/2023          Page   183 of
          v     Daily Deals Brend O utlet He lp & C o ntac t
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                                                                                                                                        Price:    $9.50                                  Buy It Now                     acost6169 (Q)


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            Pay with                                                                                                                       Subtotal (1 item)                               $9.50
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            Palm Beach, FL 33480
            United States
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            Changf



            Review item and shipping

            Seller: acosl6169             Message to seller

                                      Silicone Electric Face Cleansing Brush Ultra Sonic Facial Skin Cleaner
                                      Massager
                                      $9.50


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            Donate to charity (optional) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
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    C leansing Brush Sonic Face                               Son ic Facial Skin Silicone C leaner                     Infused Brush                                              Brush Sonic Facial Skin C leaner                            YUNCHI Food Grade Silicone                        Br
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    $12.93                                                    $7.49                                                    $11.30                                                     $19.98                                                      $13.95                                            $
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    Sffi:6f 5% off                                            Free shipping                                                                                                       Free shipping                                               Free shipping                                     F,,
    Free shipping                                             6watchers                                                + shipping                                                 Seller with a 100% positive feedback                        Seller with a 99.9% positive feedback             21
    9watchers                                                                                                          Seller with a 100% positive feedback




    Sponsored items inspired by your views                                                                                                                                                                                                                           Feedback on our suggestions




    Forever Lina Mini T Son ic Facial                         Super Face Washing Machine                               2 Pack Face Washing Machine                                Facial C le ansing Bru sh Silicone                          Pulsaderm SONIC WASHCLOTH 2                       El•
    C leansing Device                                         Electric Soft Silicone Facial Brush                      Electric Soft Silicone Facial Brush                        Face Scru b Brush Manual                                    speed Sil icone Face Bru sh PINK                  FE
                                                              C leanser Massage                                        C leanser Massage                                          Extoliat ing Brush                                          waterproof                                        Pi
    Pre-owned                                                 New                                                      New                                                        New                                                         New(Other}                                        N,

    $39.99                                                    $9.98                                                    $9.99                                                      $14.95                                                      $9.50                                             $
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 186 of
         el::>ay  Checkout            517
                                                                                                                                         How do you liKe our checkout? Give us reedbacK




            Pay with                                                                                                                      Subtotal (1 item)                               $9.50
                                                                                                                                          Shipping                                        $6.45
                    Add new card                                                                                                          Tax•                                            $1.12
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                                                                                                                                          Order total                                 $17.07

            @       PayPa/                                                                                                                   By placing your order, you agree to eBay's
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            0       Special financing available.
                    Apply now. See terms
                                                                                                                                                           Pay with PayPal


            0       I G Pav l GoogtePay                                                                                                           You'll nnrsh checkout on PayPal



                                                                                                                                               ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                            See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                  Bill
            Changf



            Review item and shipping

            Seller: acost6169             Message to seller

                                      Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                      Massager
                                      $9.50


                                      [    ~uantify




                                      Delivery
                                      Est. delivery: Apr 21 - Apr 24
                                      USPS First Class
                                      S6.45



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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              Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 187 of
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(     8-ack to ho m e page I List ed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                           Shar e I Add to Watchlist


                                                                                                                         Silicone Electric Face C leansing Brush Ultra Sonic
                                                                                                                                                                                                               Shop w ith conf idence
                                                                                                                         Facial Skin Cleaner Massager
                                                                                                                                                                                                                        eBay Money Back Guarantee

                                                                                                                              Condition: New                                                                    8 Get the item you ordered or get
                                                                                                                                                                                                                  your money back.
                                                                                                                                Quantity:   EJ          More than 10 available                                          Learn more


                                                                                                                                                                                                               Seller information
                                                                                                                               Pric e :   $9.50                                Buy It Now                      acost6169 (QJ


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                                                                                                                                                    Ships from United States
                                                                                                                                                                                                                Discover related items
                                                                                                                                                                                                                113K items sold
                                                                                                                               Shipping: u s $6.45 Standard Shipping. See details
                                                                                                                                            Located in: Odessa, Texas, United States
                                                                                                                                                                                                                        lovelydeals20l2         ( Visit store )
                                                                                                                                                                                                                        In eBay Stores
                                                                                                                                Delivery: Estimat ed between Sat, Mar 11 and Thu, Mar 16 to                             Sponsored
                                         $ Have one to sell?            Sell now                                                            33133   0
                                                                                                                                 Returns: Seller does not accept returns. See details




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                                                                                                                                                    eBay Mastercard®. Learn more

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    Similar sponsored item s                                                                                                                                                                                                       Feedback on our sug~stions




    Electric Face Cleansing Brush Ultra                  Silicone Electric Face C lea nsing                       New Therabody TheraFace PRO                  Handheld Electric Facial Cleansing              Ultrasonic Silicone Elect ric Facial             s,
    Sonic Facial Skin Silicone C leaner                  Brush Sonic Facial Skin Cleaner                          Facial M assager - Black                     Brush Tool Waterproof Silicone                  C lea nsing Brush Sonic Face                     YI
    Massager                                              Heated Massager                                                                                      Cleansing New                                   C lea nser Massager                              w
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    $7.49                                                $19.98                                                   $8.50                                        $9.95                                           $12.93                                           $
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                                                         Seller 100% positive                                     + $10.00 shipping                            74sold                                          Free shipping                                    Se
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    Sponsored ite ms inspired by your v ie ws




    Facial Cleansing Brush, Sonic                        Silicone Electric Face Clea nsing                        Ultrasonic Elect ric Silicone Facial         Facial Cleansing Brush, Sonic                   Facial Cleansing Brush, Waterproof               Fe
    Silicone Scrubber, Face Vibrating                    Brush Ult ra Sonic Fac ial Skin                          C leansing Brush Sonic Face                  Silicone Scrubber, Face Vibrat ing              Sonic Vibrat ing Face Brush for                  S<
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 188 of
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            Pay wit h                                                                                                                   Subtotal (1 item)                               $9.50
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                   Add new card                                                                                                         Tax•                                            $1.12
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                                                                                                                                        Order total                                 $17.07

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            0       Special financing available.
                   Apply now. See terms
                                                                                                                                                        Pay with PayPal


            0       I G Pav l GoogtePay                                                                                                         You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: acost6169            Messag e to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                     Massager
                                     $9.50


                                     [    ~uantify




                                     Delivery
                                     Est. delivery: Mar 11 - Mar 16
                                     USPS First Class
                                     S6.45



            Gift cards, coupons, eBay Bucks



            [~_E_n_te_r _co
                          _d_e_: _ _ _ _ _ _]              -




            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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                                       517


DOE Number: 174
Seller Name: actionhousebabes
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  190 of
          v     Daily Dea ls Brend O utlet He lp & Contact
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(     8.aick t o ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Fac ial Ol ean.sing Dev ic es                                                                                                                         Shar e I Add to Watchlist


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                                              Pay over time with PayPal Credit
                                              Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                              El'lds 4/20, 11:59pm PT. Min. purchase required.




0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                           Meaningful Beauty 12 Speed Facial C leansing
                                                                                                                                                                                                               Shop w ith confidence
                                                                                                                           Massager, USB C harging, Purple NIB!
                                                                                                                                                                                                                         eBay Money Back Guarantee

                                                                                                                                Condition: New                                                                  8 Get the item you ordered or get
                                                                                                                                                                                                                  your money back.
                                                                                                                                                                                                                         Learn more
                                                                                                                                                     Buy l         Buy2             Buy3
                                                                                                                           Bulk savings:
                                                                                                                                                   $17.99/ea     $16.19/ea        $15.29/ea
                                                                                                                                                                                                               Seller information
                                                                                                                                               4 or more for $14.39/ea                                         actionhousebabes (34274 ~-t)

                                                                                                                                 Quantity:     LJ         7 available/ 2 sold
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                                                                                                                                 Price:    $1Z99/ea                             Buy It Now
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                                                                                                                               ~      Fast and reliable. Ships from United States.
                                         $ Have one to sell?             Sell no w


                                                                                                                                 Shipping: Free 2-4 day ship ping
                                                                                                                                           Get it between Thu, Apr 20 and Sat, Apr 22. See
                                                                                                                                           details
                                                                                                                                               Located in: Kennesaw, Georgia, United States


                                                                                                                                  Returns:     Seller does not accept returns. See details




                                                                                                                                               PayPa/ CREDIT
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    Electric Face Cleansing Brush Ultra                    Plum Beauty Compact Sonic                               Proactiv Pore C leansing Charcoal             Pop Sonic Leafbud Facial                      Sonic Facial Cleansing Brush                     Si
    Son ic Facial Skin Silicone C leaner                  Facial Cleansing Brush                                   Infused Brush                                 C leansing Device Orange                      YUNCHI Food Grade Silicone                       Br
    Massager                                              Rechargeable, Purple El                                                                                Waterproof Rechargeable NIB                   Waterproof BLUE WC02_B                           H,
    New                                                   New(Other)                                               New                                           New                                           New

    $7.49                                                 $13.99                                                   $11.30                                         $18.00                                       $13.95                                           $
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    Free shipping                                         Free shipping                                                                                          +shippi ng                                    Free shipping                                    Fr<
    6wat ch ers                                           £+J Top Rated Plus                                       + shipping                                    Seller with a 100% positive feedback          Sel le r with a 99.9% positive feedback          Se
                                                          Sel ler wit h a 99.3% posrtive feedback                  Seller with a 100% posit ive feedback




    Sponsored items inspired by your views                                                                                                                                                                                            Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 191 of
         el::>ay  Checkout            517
                                                                                                                                     How do you liKe our checkout? Give us feedback




            Pay wit h                                                                                                                 Subtotal (1 item)                            $17.99
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            0       Special financing available.
                   Apply now. See terms
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            0      IG Pay I Google Pay                                                                                                        You'll nnrsh checkout on PayPal


                                                                                                                                           ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf                                                                                                                                                                             ?

            Review item and shipping

            Seller: actionhouse...         Message to seller

                                     Meaningfu l Beauty 12 Speed Facial Cleansing Massager, USB
                                     Charging, Purple NIBI
                                     $17.99


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                                     Delivery
                                     Froo 2-4 day sh ipping
                                     Gel it by Apr 20 - Apr 22
                                     USPS First Class



            Gift cards, coupons, eBay Bucks



            [ Entercode                               ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refUndable and typically tax
            deductible. PPGF may Ile unable to grant funds to a charity ~ the chanty has lost tax exempt
            status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 175
Seller Name: alpha_toner
Marketplace: eBay
               Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023         Page  193 of
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0 BUY 1, GET l AT 5 % OFF (add 2 to cart)                                           Seeall eligib leitemsandte, ms                  ►


 •                                                                                                                                  Silicone Waterproof Electric Sonic Facial C leansing
                                                                                                                                    Brush USB Rech argeable Pink
                                                                                                                                                                                                                        Shop w ith conf idence

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                                                                                                                                         Condition: New                                                                 8         your money back.
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                                                                                                                                           Price:
                                                                                                                                                    $13.59                                Buy It Now                    97.3% posit ive feedback



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                                          $ Have one to sell?             Sell now                                                                                                                                                lovelydea ls2012   ( Visit store )
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                                                                                                                                                                                                                                  Sponsored
                                                                                                                                               Fast and reliable, Ships from United States.



                                                                                                                                           Shipping: Free Standard Shipping. See details
                                                                                                                                                       Located in: Rowland Heights, Cal ifornia, United States

                                                                                                                                           Delivery: Estimated between Thu, Apr 27 and Sat, Apr 29 0

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                                                                                                                                                     See details

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     6000rpm Silicone Waterproof                           Sonic Facial Cleansing Brush                                     Nano 30ML Facial Portable Mist                Silicone Electric Face C leansing             Facial Cleansing Brush                           SC
     Electric Sonic Facial Cleansing                       YUNCHI Food Grade Silicone                                       Sprayer for Disinfecting & Face               Brush Sonic Facial Skin C leaner
     Brush USB Recharging                                  Waterproof BLUE WC02_B                                           Hydration US                                  Heated Massager
     New                                                   New                                                              New                                           New                                           New

     $13.50                                                $13.95                                                           $6.50                                          $19.98                                       $14.99                                           $
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     Sl&.86 20% off                                        Free shipping                                                                                                  Free s hippi ng                               Free shipping                                    Fr,
     Free shippi ng                                        Sel ler with a 99.9% positive feedback                           + shipping                                    Seller with a 100% positive feedback          40 sold                                          Se
     ? watchers




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 194 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                       Subtotal (1 item)                            $13.59
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                    Apply now. See terms
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                                                                                                                                                ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                             See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                                   Bill
            Changf



            Review item and shipping

            Seller: alpha_toner           Message to seller

                                      Silicone waterproof Electr1c Sonic Facial Cleansing Brush USB
                                      Rechargeable PinK
                                      $13.59
                                      S¾c99


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                                      Delivery
                                      Est. delivery: A pr 27 - Apr 29
                                      USPS First Class
                                      Free



                                      Save up to 15%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 176
Seller Name: altatac
Marketplace: eBay
               Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 196 of
              v        Dai ly Deals       Brand Outle t
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                                                       Q Search for anything                                                                                                            A ll Categor ies        V

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(       8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                          Shar e I Add to Watchlist


                                                                                                                       Facial Cleansing Brush Silicone Face Scrub Brush
                                                                                                                                                                                                             Shop w ith confidence
                                                                                                                       Manual Exfoliating Brush
                                                                                                                                                                                                                     Top Rated Plus
                                                                                                                                                                                                                     Trusted seller, fast shipping, and
                                                                                                                            Condition: New
                                                                                                                                                                                                                     easy returns.

                                                                                                                             Quantity:   EJ         More than 10 available
                                                                                                                                                                                                                     Learn more

                                                                                                                                                                                                                     eBay Money Back Guarantee
                                                                                                                                                                                                                     Get the item you ordered or get
                                                                                                                             Price : $14.95                                  Buy It Now                      8       your money back.
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                                                                                                                                                                            Add to cart
                                                                                                               >                                                                                             Seller information
                                                                                                                                                                                                             altatac (720975 .~
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                                                                                                                                                                                                             99.2% posit iv e feedbac k


                                                                                                                         ~        Breathe easy. Free shipping and returns.                                   <:' Saveseller
                                                                                                                                                                                                             Contact seller
                                                                                                                         ~        Fast and reliable, Ships from United States.                               Visit store
                                                                                                                                                                                                             See other items

                                                        Hover to zoom                                                        Ship ping: Free Standard Shipping. See details
                                                                                                                                         Located in: Los Angeles, California, United States


                                                                                                                             Delivery: Estimated between Thu, Apr 20 and Mon, Apr 24 0

                                                                                                                              Returns: 30 day returns. Seller pays for return shipping.
                                           $ Have one to sell?              Sell now
                                                                                                                                       See details
                                                                                                                                                                                                             Shop a related Store
                                                                                                                                                                                                              278 K items sold
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                                                                                                                                                 Earn up to 5x points when you use your
                                                                                                                                                 eBay Mastercard®. Learn more

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    Similar sponsored items
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    Silicone Face Scrubber, Exfoliatlng                    Electric Facial C leansing Brush                    Proactiv Pore C leansing Charcoal            4 Pack Face Scrubber Soft Silic one              4 Pieces Exfoliat ing Lip Scrub                3i
    Brush Manual Handhe ld Facial                          Silicone Exfoliator Rechargeable                    Infused Brush                                Fac ial C leansing Bru sh Face                   Brush, Double-Sided Lip Scrub                  Cl
    Cleansing Brush                                        Face Scrubber                                                                                    Exfoliator Scrub                                 Silicone Brush                                 E>
    New                                                    New                                                 New                                          New                                              New                                            N,

    $10.99                                                 $15.99                                              $11.30                                       $6.09                                            $ 9.8 8                                        $
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    24 sold                                                Seller with a 100% positive feedback                + shipping                                   271 sold                                         Buy 1, get l 5 % off                           Sil
                                                                                                               Seller with a 100% positive feedback                                                                                                         14




    Sponsored ite ms inspired by your vie ws                                                                                                                                                                                    Feedback on our suggestions




                                                                                                                                                                                              ■
    Pulsaderm SONIC WASHCLOTH 2                            Electric Facial Cleansing Brush,                    Toys Importe rs Pack of 2                    Nail Boss Hoodie Hoody
    speed Silic one Face Brush PINK                        FBFL Sonic Silicone Face Brush &                    Reversible Octopus Mood Plush - l            Technician Beautician Acry lic Gel
    waterproof                                             Pink                                                x7.9in Blue                                  Art Beauty c ute
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 197 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                               Subtotal (1 item)                            $14.95
                                                                                                                                    Shipping                                        Free
                   Add new card                                                                                                     Tax•                                            S1.05
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                                                                                                                                    Order total                                 $16.00

            @      PayPa/                                                                                                              By placing your order, you agree to eBay's
                                                                                                                                       User Agreement and Prtva91: Notice.
                                                                                                                                       *We're required by law to collect sales tax and


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                                                                                                                                       applicable fees for certain tax authorities
                                                                                                                                       Learn more
            0      Special financing available.
                   Apply now. See terms
                                                                                                                                                    Pay with PayPal


            0      I G Pav l Googte Pay                                                                                                     You'll nnrsh checkout on PayPal



                                                                                                                                        ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                     See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: altatac      Message to seller 0

                                     Facial Cleansing Brush Silicone Face Scrub Brush Manual Exfoliating
                                     Brush
                                     $14.95


                                    [   ~ uaatify




                                     Delive ry

                                    @       Est. delivery: A pr 21 - Apr 24
                                            Stand ard Shipping
                                            Free

                                    0       Est. delivery Apr 21 - Apr 24
                                            Expedited Shipping
                                            S12.83

                                    O Est. delivery: Wed, Apr 19
                                            Overnight shipping
                                            S18.83




            Gift cards, coupons, eBay Bucks




            [~_E_n_ie_r _co
                          _d_e_: - - - - - - ~ ]         -




            Donate to charity (o ptional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charily if the charity has lost tax exempt



                                a
            status. has closed, or no longer accepts funds from PPGF.


            Select amount




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 198 of
                                       517


DOE Number: 177
Seller Name: alv-ala-x6hs5bo
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023         Page   199 of
          v     Daily Deals Brend O utlet He lp & Contact
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ebay                          Shop by v
                              category
                                               I      Q Search for anything                                                                                                             All Categ ories       V

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(     8-ack to ho m e page I Listed in category· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                      Shar e I Add to Watchlist


                                                                    ...                                                MEBAO Facial Cleansing Brush, Sonic Vibration
                                                                                                                       Facial Brush, Waterproof Face Brus
                                                                                                                                                                                                          Shop w ith confidence
                                                                                                                                                                                                                    eBay Money Back Guarantee
                                                                                                                           Condition: New                                                                 8 Get the item you ordered or get
                                                                                                                                                                                                            your money back.
                                                                                                                                                                                                                    Learn more

                                                                                                                            Price: $11.49                                  Buy It Now
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                                                                                                                                                                                                          alv-ala-x6hs5bo 022 * )
                                                                                                                                                                          Add to cart
                                                                                                                                                                                                          100% Posit ive feedback



                                                                                                                            Best                                                                          0       SaveSelle r
                                                                                                                                                                          Make offer
                                                                                                                           Offer:                                                                         Contact selle r
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                                                                                                                       Additional service available                                                                                           11
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                                                                                                                                               Ships from United States
                                                                                                                                                                                                           Shop a related Store
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                                                                                                                                                                                                           113K items sold
                                                                                                                            Shipping:   us $5.25 Standard Shipping. See details
                                                                                                                                        located in: Hacienda Heights, California, United States
                                                                                                                                                                                                                    lovelydeals2012      ( Shop now)
                                                                                                                                                                                                                    In eBay Stores
                                        $ Have one to sell?            Sell now
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                                                                                                                            Delivery: Estimated between Mon, Marl3 and Fri, Marl? to
                                                                                                                                        33133 0

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                                                                                                                           Payments: l~        IGPayl   § II• 1- [:';;I
                                                                                                                                        PayPal CREDIT
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    Similar sponsored items                                                                                                                                                                                                 Feedback on our suggestions




    Electric Face Cleansing Brush Ultra
    Sonic Facial Skin Silicone Cleaner
    Massager
                                       --                 Silicone Electric Face Cleansing
                                                          Brush Sonic Facial Skin Cleaner
                                                          Heated Massager
                                                                                                               ON LABS Blackhead Deep
                                                                                                               Cleansing Nose Pore Strips 6 Strips
                                                                                                               (LOTOF 3)
                                                                                                                                                           Facial Cleansing Brush, Sonic
                                                                                                                                                           Silic one Scrubber, Face Vibrat ing
                                                                                                                                                           Massager
                                                                                                                                                                                                          Sonic Facial Cleansing Brush
                                                                                                                                                                                                          YUNCHI Food Grade Silicone
                                                                                                                                                                                                          Waterproof BLUE WC02_B
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    New                                                   New                                                  New                                         New                                            New                                           N,

    $7.49                                                 $19.98                                               $0.99                                        $6.00                                         $13.95                                        $
                                                                                                               0bids
    Free shipping                                         Free shipping                                                                                     + S5.85 shipping                              Free shipping
                                                          Seller 100% positive                                 + $4.50 shipping                                                                           Seller 99.9% positive
                                                                                                               Sellerl00% positive




    Sponsored items inspired by your v iews                                                                                                                                                                                 Feedback on our suggestions




    Facial Cleansing Brush, Sonic                         Facial Cleansing Brush, Sonic                        Silicone Elect ric Face Cleansing           Ultrasonic Electric Silicone Facial            Facial Cleansing Brush, Sonic                 Fe
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 200 of
         el::>ay  Checkout            517
                                                                                                                                       How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                   Subtota l ( 1 ite m)                         $11.49
                                                                                                                                        Shipping                                        $5.25
                   Add new card                                                                                                         Tax•                                            $1.17
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                                                                                                                                        Order total                                 $17.91

            @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                           User Agreement and Prtva91: Notice.
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                                                                                                                                           applicable fees for certain tax authorities
                                                                                                                                           Learn more
            0       Special financing available.
                   Apply now. See te rms
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            0       I G Pav l GoogtePay                                                                                                         You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: alv-ala-x6h..        Message to seller

                                     MEBAO Facial Cleansing Brush, Sonic Vibration Facial Brush,
                                     Wate rproof Face Brus

                                     $11.49
                  ., _.,.            Quanmy 1


                                     Delivery
                                     Est. delive ry: Mar 13 - Mar 17
                                     USPS First Class
                                     S5.25



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


            Selec t amount      g

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                                       517


DOE Number: 178
Seller Name: anything_here
Marketplace: eBay
              Case     1:23-cv-23631-RNS                      Document 20-2 Entered on FLSD Docket 11/13/2023         Page   202 of
          v     Daily Dea ls Brend O utlet He lp & C o ntac t
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                                                                                                        Sell Watc hlistv MyeBayv
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ebay                            Shop by v
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                                                   I    Q Search for anything                                                                                                                    All Categories       V

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(      8.aick t o prev i ou s page I List ed in cat egory: H ealt h & Bec1ut y ) Skin Care ) C leansers S, Toners                                                                                                                                        Shar e I Add to Watchlist


                                                                                                                            Sil icone Facial Skin Cleansing Electric Brush Face
                                                                                                                                                                                                                  Shop w ith confidence
                                                                                                                            Massage Cleanser Deep Washing
                CLEAN SI NG LITTLE EXPERT
                                                                                                                                                                                                                                eBay Money Back Guarantee
                                                                                                                              C o ndition: New                                                                    8             Get the item you ordered or get
                                                                                                                                                                                                                                your money back.

                                                                                                                                Quantity:   EJ           3 available
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                                                                                                                                                                                                                  Seller information
                                                                                                                                Price :   $15.99                                   Buy It Now                     fillY.!hing here (2;l * l
                                                                                                                                                                                                                  79.2% p ositive f ee dback

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                                                                                                                                                                                                                  Visit store
                                                                                                                                                                                                                  See othe r item s
                                                                                                                              ~      Breat he easy. Returns accepted.



                                                                                                                                Shipping: Free Ec onomy Shipping f ro m Greater China to
                                                                                                                                          worldwide. See details
                                                                                                                                                                                                                  11
                                                                                                                                             International shipment of items may be subject to
                                                         Hov er to zoom                                                                      customs processing and additional charges. (D
                                                                                                                                             located in: Meegoda, Sri Lanka

                                                                                                                                Delivery:   Iii Estimated between Thu, Mayll and Mon, Jun 5 0                     115K items sold
                                                                                                                                            This r1:em has an extended handling t i me and a del ivery
                                           $ Have one t o sell?             Sell now                                                         estimate greater than 17 busine ss d ays.                                          lovelyd eals20 12                      ( Visit store )
                                                                                                                                                                                                                                In eBay Stores
                                                                                                                                             Please allow additional t ime if internati onal del ivery is
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                                                                                                                                             subject to customs p rocessi ng.


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                                                                                                                                          See details

                                                                                                                              Payments:     l~ IGPayl§ II 1-                         ~ I
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                                                                                                                                                     eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                                       Feedback on our suggestions




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    5 in l Deep Clean Face Skin Electric                    5 In l Face Brush Silic one Facial                      NuFACE Trinity Advanced Facial                2 Pack Face Washing Machine                     Fac ial Cleansing Silicone Skin                                         5
    Fac ial Cleaner Care Brush                              Electric Wash Face Machine Deep                         Toning Device                                 Electric Soft Silic o ne Facial Brush           Blackhead Pore Cleaner Brush                                            Fe
    Massager Sc rubbe r                                     Cleaning Pore                                                                                         Cleanser Massage                                Massager Scrub Face                                                     M
    New                                                     New                                                     New                                           New                                             New                                                                     N,

    $6.99                                                   $10.55                                                  $95.00                                         $9.99                                          $8.51                                                                   $
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    Sfr:9946%off                                            $tt:9912%off                                                                                          Fr ee s hippi ng                                Free shipping                                                           $le
    Fr ee shippi ng                                         Free shipping                                           Free shipping                                  a  Top Rated Plus                                                                                                      F,,
    55 sold                                                 6watche r s                                             Seller with a 100% positive feedback          Seller with a 99.5% positive feedback                                                                                   Se




    Relat ed sponsored items                                                                                                                                                                                                                      Feedback on our sug~stions




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 203 of
         ebay     Checkout            517
                                                                                                                          How do you like our c heckout? Give us feedback

                                                                                                                                                   To add more items, go to cart.



            Pay wi th                                                                                                           Subtotal Q item)                                 $15.99
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                   Add new card                                                                                                 Tax•                                                $1.12
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                                                                                                                                   User Agreement a nd Privacy Notice.

                   ~ ~l::¥                                                                                                         ~we 're re qu ired by law to collect sales tax
                                                                                                                                   a nd a p plicable fees for c e rta in tax
            0      Special financing available.                                                                                    aut ho rit ies. learn more
                   Apply now. See terms

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            O      IG Pay l Google Pay
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            Ship t o                                                                                                                 ebay MONEY BACK GUARANTEE
                                                                                                                                                     See details


            Miami, FL 33138-4055
            Unit ed States                                                                                                                                                                  Bill
            Chang,1



            Review item and shipping

            Seller: anything_here           Message to seller

                                    Silicone Facial Skin Cleansing Elect ric Brush Face Massage
                                    C leanser Deep Washing

                                    $15.99


                                    [   ~ uanHty   v   l
                                    Delivery
                                    Est. delivery : May 11 - Jun 5
                                    Economy Ship ping from Greater China to worldwide
                                    Free




            G ift cards, coupons, eBay Bucks



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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


            Select amount        8

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DOE Number: 179
Seller Name: anyvolume
Marketplace: eBay
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               v  Dai ly Deals Brand Outle t Hel p & Contact
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ebay                              Shop by v
                                  category
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                                                     .
                                                         Q Search for anything                                                                                                          All Categories       V

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(         8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) C le ans ers & Toners                                                                                                                    Shar e I Add to Watchlist


0 SAVE UPTO 15% WHEN YOU BUY MORE
                                                                                                                        2 Pack Face Washing Machine Electric Soft Silicone
                                                                                                                                                                                                          Shop w it h confide nce
                                                                                                                        Facial Brush Cleanser Massage
                                                                                                                                                                                                                   Top Rated Plus
                                                                                                                                                                                                                   Trusted seller, fast shipping, and
                                                                                                                          Conditio n:     New
                                                                                                                                                                                                                   easy returns.
                                                                                                                                                                                                                   Learn mo re
                                                                                                                                                Buyl          Buy 2             Buy 3
                                                                                                                        Bulk savings:
                                                                                                                                              $9.99/ea       $8.99/ea          $8.79/ea
                                                                                                                                                                                                                   eBay Money Back Guarantee

                                                                                                                                          4 or more for$8.49/ea                                           8        Get the item you ordered or get
                                                                                                                                                                                                                   your money back.

                                                                                                                            Quantity:     LJ         8 available/ 15 sold
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                                                                                                                                                                                                         Seller informat ion
                                                                                                                            Pric e: $9. 99/ea                                                            fill\fYOlume 1375282 ,~
                                                                                                                                                                             Buy It Now
                                                                                                                                                                                                         99.5% positive feedbac k

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                                                                                                                          ~        Breat he easy. Free shipping and returns.
                                                          Hover to zoom


                                                                                                                          ~        Fast a nd re liable. Ships from United States.



                                             $ Have one to sell?            Sell now                                        Shipping: Free Standard Shipping. see details
                                                                                                                                          Located in: Meadow Lands, Pennsylvania, United States           Explore a related Store
                                                                                                                            Delivery: Estimated between Thu, Apr 20 and Sat, Apr 22 0                     278K it e ms sold
                                                                                                                                      Ships today if paid within 7 hrs 24 mins See
                                                                                                                                      details                                                             ,,J='"' eaudeluxe              ( Shopnow)
                                                                                                                                                                                                                  In eBay Stores
                                                                                                                             Returns: 30 day returns. Seller pays fo r return shipping.                           Sponsored

                                                                                                                                      See details




                                                                                                                                          PayPa/ CREDIT
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                                                                                                                                          now

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    Super Face Washing Mac hine                              Super Face Washing Machine                         NEW belif Hydrators-On-The-Go 5              5 In l Face Brush Silicone Facial           5 in l Deep Clean Face Skin Electric           Sl
    Electric Soft Silicone Facial Brush                      Electric Sol t Silicone Facial Brush               Piece Moistu riz i ng Facial Ski n Care      Electric Wash Face Machine Deep             Facial C leane r Care Br u sh                  El•
    C leanser Massage                                        C lean ser Massage                                 Kit                                          C leaning Pore                              Massager Scrubbe r                             Cl
    New                                                      New                                                New                                          New                                         New                                            N,

    $8.98                                                    $8.98                                              $9.95                                         $10.55                                     $6.99                                          $
                                                                                                                0bids
    S9:9610%off                                              $9:9810% off                                                                                    S½t.9912% off                               -$t2--:9946%off                                F,,
    Free shipping                                            Free shipping                                      + $1.95 shipping                             Free shipping                               Free shipping                                  5,
    £+lTop Rated Plus                                        £+lTop Rated Plus                                  Seller withe 99.4% positive feedback         6watchers                                   53 sold




    Sponsore d items inspired by your views                                                                                                                                                                                   Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 206 of
         el::>ay  Checkout            517
                                                                                                                                     How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                 Subtotal (1 item)                               $9.99
                                                                                                                                      Shipping                                        Free
                    Add new card                                                                                                      Tax•                                            S0.70
            0       E;ll~ ~              -
                                                                                                                                      Order total                                 $10.69

            @       PayPa/                                                                                                               By placing your order, you agree to eBay's
                                                                                                                                         User Agreement and Prtva91: Notice.
                                                                                                                                         *We're required by law to collect sales tax and


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            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: anyvolume            Message to seller

                                     2 PacK Face Washing Machine Electric son Silicone Facial Brush
                                     Cleanser Massage
                                     $9.99


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                                     Delivery
                                     Froo 2-3 day sh ipping
                                     Get it by Apr 20 - Apr 21
                                     USPS First Class



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refUndable and typically tax
            deductible. PPGF may be unable to grant !unds to a charily ~ the chanty has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 180
Seller Name: armor_of_god
Marketplace: eBay
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              Case     1:23-cv-23631-RNS
                Daily Deals Brend Outlet He lp & C o ntac t
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(      Back t o ho m epag e I U sted incat egory: Health& Seavty )   Sk in C are )   Extoliators & Scrubs                                                                                                                     Share I Add to Watchlist



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                                                                                                                                                                                                         Shop with confide nce
                                                                                                                      Facial Cleansing Brush
                                                                                                                                                                                                                eBay Money Back Guarantee
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                                                                                                                         Price:    $14.99                                      Buy It Now

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                                                                                                                                   See details
                                       $ Have one to sell?           Sell now

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    Silicone Electric Facial C leansing               Electric Facial Cleansing Brush                        NEW Shiseido Bio-Performance                      4 in l Rechargeable Electric Facial       5-1 Mult ifunc t ion Elect ronic Facial           Si
    Brush Face Exfoliator Rechargeable                Silicone Extoliator Rechargeable                       Advanced Super Revitalizing Facial                C leansing Brush Set Face Body            C leansing Face Massage Brush                     Fe
    5 Modes                                           Face Scrubber                                          Cream 1.7 oz NIB                                  Exfo liati ng                             Skin care Spa                                     R<
    New                                               New                                                    New                                               New                                       New                                               N,

    $24.99                                            $15.99                                                  $20.50                                           $21.99                                    $6.55                                             $
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    Free shipping                                     Free shipping                                                                                            Free shipping                             Free shipping                                     F,,
    Seller with a 100% positive feedback              Seller withe 100% positive feedback                    + $1.95 shipping                                  37sold                                    2790sold                                          Se
                                                                                                             Seller with a 99.4% positive feedback




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            Pay wi t h                                                                                                              Subtotal 0 item)                             $14.99
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            Miami, FL 33138-4055
            United States                                                                                                                                                                    Bill
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            Review item and shipping

            Seller: armor_ot_god            Message to seller

                                     NEW Rechargeable Electric Ultrasonic Silicone Facial Cleansing
                                     Brush
                                     Color: Pink
                                     $14.99


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                                     Delivery
                                     Est. delivery: Apr 26 - Apr 28
                                     USPS First Class
                                     $5.65



            G ift card s, coupons, eBay Buc ks




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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day p rovide chi ldren facing poverty resources needed to grow up
            healthy, safe, educated 6- empowered so they can locus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and g rants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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(      8-ack t o ho m e pag e I List ed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Scrubs                                                                                                                             Shar e I Add to Watchlist


                                                                                                                      NEW Rechargeable Electric Ultrasonic Silicone
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                                                                                                                      Facial Cleansing Brush
                                                                                                                                                                                                                          eBay Money Back Guarantee

                                                                                                                        Condition: New                                                                          8 Get the item you ordered or get
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                                                                                                                           Price:   $14.99                                       Buy It Now
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                                                                                                                           Delivery: Varies                                                                      278K items sold

                                                                                                                            Returns: 30 day returns. Buyer pays for ret urn shipping.
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                                                                                                                                     See details                                                                      In eBay Stores
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    Silicone Electric Facial Cleansing                    Electric Facial Cleansing Brush                     Dermalogica PRO Special                            4 i n l Rechargeab le Electric Facial          Silicone Facial Cleansing Brush                3i
    Brush Face Exfoliator Rechargeable                    Silicone Exfoliator Rechargeable                    Cleansing Gel 32oz                                 Cleansing Brush Set Face Body                  Face Extoliator C leanser                      Cl
    5 Modes                                               Face Scr ubber                                                                                         Exfoliat ing                                   Rechargeable Electric                          E>
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    $24.99                                                $15.99                                              $70.00                                              $21.99                                        $19.99                                         $
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    Free shipping                                         Free shipping                                                                                          Free shipping                                  Free shipping                                  F,,
    Seller with a 100% positive feedback                  Seller with a 100% positive feedback                + $5.00 shipping                                   36 sold                                        Seller with a 100% positive feedback           ~
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    Electric Facial Cleansing Brush,                      Toys Importers Pack of 2                            Nail Boss Hoodie Hoody
    FBFL Sonic Silicone Face Brush &                      Reversible Octo pus Mood Plus h - l                 Technic ian Beaut ic ian Acrylic Gel
    Pink                                                  x7.9in Blue                                         Art Beauty C ute
    New                                                   New                                                 New(Other)

    $14.99                                                $16.16                                              $31.10
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 211 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                   Subtotal (1 item)                            $14.99
                                                                                                                                        Shipping                                        $5.65
                   Add new card                                                                                                         Tax•                                            $1.44
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                                                                                                                                        Order total                                 $22.08

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            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping



                                     NEW Rechargeable Electric Ultrasonic Silicone Facial Cleansing Brush
                                     Color BlacK
                                     $14.99


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                                     Delivery
                                     Est. delivery: Apr 21 - Apr 24
                                     USPS First Class
                                     S5.65



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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                                       517


DOE Number: 181
Seller Name: artf.mo0
Marketplace: eBay
            Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    213 of                                                                                                                            s,O
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(     8.aick t o ho m e page I List ed in c at egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                    Shar e I Add to Watchlist




rn                                                                                                                           Sonic Facial Brush Cleanser & Massager,
                                                                                                                             Rechargeable Silicone Face Scrub (Green)
                                                                                                                                                                                                              Shop w it h confidence
                                                                                                                                                                                                                        eBay Money Back Guarantee
                                                                                                                                  Condit ion: New                                                             8 Get the item you ordered or get
                                                                                                                                                                                                                your money back.
                                                                                                                                                                                                                        Learn more

                                                                                                                                   Price: $24.99                                  Buy It Now
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                                                                                                                                                     Ships from United States


                                                                                                                                   Ship ping: Free 3-4 d ay shi pping
                                                                                                                                              Get it between Sat, Mar 11 and Mon, Mar 13. See                  Discover related items
                                                                                                                                              det ails                                                         113K items sold
                                                                                                                                              Located in: Westminster, California, United States

                                                                                                                                                                                                                        lovelydeals2012      ( Shop now)
                                                                                                                                    Returns: Seller does not accept returns. See details                                In eBay Stores
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    Electric Face Cleansing Brush Ult ra                   Silicone Electric Face Cleansing                          7 Colors LED Light Photon Face              Ultrasonic Silicone Electric Facial          Sonic Facial Cleansing Brush                  UI
    Sonic Facial Skin Silicone Cleaner                     Brush Sonic Facial Skin Cleaner                           Neck Mask Rejuvenat io n Facial             Cleansing Brush Sonic Face                   YUNCHI Food Grade Silicone                    Cl
    Massager                                               Heated Massager                                           The rapy Wrinkle US                         Cleanser Massager                            Waterproof BLUE WC02_B                        Cl
    New                                                    New                                                       New                                         New                                          New

    $7.49                                                  $19.98                                                    $16.50                                      $12.93                                       $13.95                                        $
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    Free shipping                                          Free shipping                                                                                         S¼9-;6t 5% off                               Free shipping                                 $2
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    Sonic Facial Cleansing Brush                           FOREVER LINA T-Sonic mi ni Fac ial                        Flipping Octopus Flipping Octopus           Official Reversible Mood Colour              Electric Face Cleansing Brush                 Si
    Heated, 3 Speed Silicone Face                          Cleansing Device                                          Octopus Octopus Plush Toy                   Chang ing Octopus Plush Pre Loved            Silicone Massager Ult ra Sonic                Br
    Cleansing Brush                                                                                                  Flipping Doll Octopu                        SoftToys                                     Facial Skin Cleaner                           Cl
    New                                                    New                                                       New                                         Pre-owned                                    New

    $35.00                                                 $12.99                                                    $24.69                                      $4 .74                                       $13.98                                        $
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 214 of
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            Pay with                                                                                                            Subtotal (1 item)                            $24.99
                                                                                                                                Shipping                                        Free
                   Add new card                                                                                                 Tax•                                            S1.75
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                                                                                                                                Order total                                 $26.74

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            Ship to                                                                                                                                 See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: artf.moO       Message to seller

                                    Son ic Facial Brush Cleanser & Massager, Rechargeable Silicone Face
                                    Scrub (Green)
                                    $24.99
                                    Quanmy 1


                                    Delivery
                                    Free 2-3 day sh ipping
                                    Get it by Mar 11 - Mar 13
                                    USPS First Class




            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc
            Grrls MaKe Beats empowers the next generation or female music producers. DJs. and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a chartty
            no later than 30 days aner the end of the month 1n which the donation is made. Donations are
            non-refundable and typTCally tax deductible. PPGF may be unable to grant funds to a charity 1f
            the chanty has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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(     Back t o ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                          Share I Add to Watchlist


                                                                                                                        Silicone Facial Cleansing Brush Electric Face Clean
                                                                                                                                                                                                                Shop with confidence
                                                                                                                        Device Facial Massager Skin
                                                                                                                                                                                                                         eBay Money Back Guarantee

                                                                                                                             Condition: New                                                                     8        Get the item you ordered or get
                                                                                                                                                                                                                         your money back.
                                                                                                                                 Color:       Pink                                                                        Learn more

                                                                                                                              Quantity:   LJ            Last One
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                                                                                                                              Price :   $6.69                                    Buy It Now
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                                                                                                                              Shipping: Free Economy Shipping from Greater China to
                                        $ Have one to sell?            Sell now                                                         worldwide. See details
                                                                                                                                          International shipment of rtems may be subject to
                                                                                                                                          customs processing and additional charges. (D
                                                                                                                                          located in: Shanghai, China


                                                                                                                              Delivery:   Iii Estimated between Wed, May 3 and Thu, Jun
                                                                                                                                          290
                                                                                                                                          Please note the delivery estimate is greate r t han 17
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                                                                                                                                        see details

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    Silicone Face Cleansing Brush                       Electric Face Cleansing Brush Ultra                     Hydra Machine Water Facial Hydro                Facial Deep Cleansing Brush                     Silicone Face Cleansing Brush               El•
    Electric Facial Cleanser Washing                    Sonic Facial Skin Silicone Cleaner                      Deep Cleansing Skin Tightening                  Silicone Face Sonic Vi bration                  Electric Facial Cleanser Washing            Br
    Massager Scrubber                                   Massager                                                Dermabrasion Spa                                Remover Rechargeable                            Massager Scrubber                           M
    New                                                 New                                                     New                                             New                                             New

    $6.99                                               $ 7.12                                                  $1,126.00                                       $14.99                                          $7.59                                       $
                                                                                                                0bids
    Free shipping                                       $r.495%off                                                                                              Free shipping                                   Free shipping                               F,,
    65sold                                              Free shipping                                           + shipping                                      Seller with a 99.2% positive feedback                                                       Se
                                                        5 watchers                                              Seller with a 100% positive feedback




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         el::>ay  Checkout            517
                                                                                                                                    How do you like our checkout? Give us feedback

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            Pay with                                                                                                                 Subtotal (1 item)                              $6.69
                                                                                                                                     Shipping                                       Free
                   Add new card                                                                                                      Tax*                                           S0.47
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                    §1 ~        -      ~                                                                                             Order total                                  $7.16

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                   Apply now See terms
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            0       IG Pov l Google Pay                                                                                                     You'll finish checkout on PayPal



                                                                                                                                         ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                      See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                   Bill
            Changf



            Review item and shipping

            Seller: aseel75         Message to seller

                                     Silicone Facial Cleansing Brush Electric Face Clean Device Facial
                                     Massager Skin
                                     Coloc Pink
                                     $6.69
                                     Quantity 1


                                     Delivery
                                     Est delivery: May 3 - Jun 29
                                     Economy Shipping from Greater China to \'.rortdwide
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                                     Free



            Gift cards, coupons, eBay Bucks



            [~
             Enter_code: _ ~ ]                            -




            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & family therapy for families with Kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 217 of
                                       517


DOE Number: 183
Seller Name: baboonia
Marketplace: eBay
              Case     1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023        Page  218 of
          v     Daily Deals Brend Outlet Help & Contac t
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ebay                          Shop by v
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(     8.aick t o ho m e page I Listed in cat egory· Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es                                                                                                                         Shar e I Add to Watchlist


                                                                                                                          SUN MAY LEAF SONIC FACIAL FACE CLEANSING
                                                                                                                                                                                                                Shop w ith confidence
                                                                                                                          BRUSH - GRAY - NEW NEVER USED
                                                                                                                                                                                                                          eBay Money Back Guarantee

                                                                                                                               Condition: New                                                                    8 Get the item you ordered or get
                                                                                                                                                                                                                   your money back.
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                                                                                                                                Price:    $24.99                                Buy It Now
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                                                                                                                              ~      Fast a nd reliable. Ships from United States.



                                                                                                                                Shipping: Free 2-3 day shipping
                                                                                                                                          Get it between Thu, Ap r 20 and Fri, Apr 21. See
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                                                                                                                                              Located in: Berlin, Connecticut, United States

                                         $ Have one to sell?            Sell no w                                                Returns: Seller does not accept returns. See details

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    Hangsun Facial C leansing Brush                      Facial Cleansing Brush                                   Proactiv Pore C leansing Charcoal              Silicone Electric Face C leansing              Son ic Facial Cleansing Brush                  Pc
    Sonic Facial Brush, 3 in 1                                                                                    Infused Brush                                  Brush Sonic Facial Skin Cleaner                YUNCHI Food Grade Silicone                     Cl
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    35 sold                                              40 sold                                                  + shipping                                     Seller with a 100% positive feedback           Seller with a 99.9% positive feed back         Se
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    Sponsored items inspired by your views                                                                                                                                                                                           Feedback on our suggestions




    LUCE180 Anti-Ag ing Ultra Sonic                      Silicone Electric Face C leansing                        Electr ic Silicone Facial C leansing           Supe r Face Washing Machine                    A utomatic Waterproof Chicken                  Al
    Technology Device & Facial                           Brush Ult ra Sonic Facial Skin                           Brush Face Skin care Deep Cleane r             Elect ric Soft Silicone Facial Brush           Coop Door With Lig ht Sensor                   01
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 219 of
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                   Add new card                                                                                              Tax•                                                $1.75
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            0      Special financing available.                                                                                 aut ho rit ies. learn more
                   Apply now. See terms

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            Ship t o                                                                                                              ebay MONEY BACK GUARANTEE
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            Miami, FL 33133-2709
            United States                                                                                                                                                                Bill
            Chang,1



            Review item and shipping

            Seller: baboonia




                g                  SUNMAY LEAF SONIC FACIAL FACE CLEANSING BRUSH - GRAY -
                                   NEW NEVER USED

                                   $ 24.99
                                   Quantityl


                                   Delivery
                                   Est . delivery : Apr 21 - Apr 24
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                                   Free



            G ift card s, coupons, eBay Buc ks




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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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                                       517


DOE Number: 184
Seller Name: baozousports01
Marketplace: eBay
                  Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  221 of
              v     Daily Deals Brend O utlet He lp & Contac t
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0 BUY 1, GET 1 AT 6% OFF (add 2 to cart) Seeall el igi b le itemsandterms ►
                                                                                                                                   Silicone Facial Cleansing Brush Electric Sonic
                                                                                                                                                                                                                      Shop w ith confidence
                   Note: Battery not included                                                                                      Vibration Deep Pore Skin Cleaner
                                                                                                                                                                                                                             eBay Money Back Guarantee
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     Silicone Facial Cleansing Brush
     Electric Sonic Vibration Deep Pore
     Skin Cleaner
                                                                5 in l Deep Clean Face Skin Electric
                                                                Facial Cleaner Care Brush
                                                                Massager Scrubber
                                                                                                                        Clinique Sonic Sy stem Purifying
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 222 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                 Subtotal (1 item)                               $8.99
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                                                                                                                                        *We're required by law to collect sales tax and


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            0      Special financing available.
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            Ship to                                                                                                                                       See details




            Boca Raton, FL 33433
            United States
                                                                                                                                                                                             Bill
            Changf



            Review item and shipping

            Seller: baozousports01            Message to seller

                                     Silicone Facial Cleansing Bnush Electnc Sonic Vibration Deep Pore SKin
                                     Cleaner
                                     Item Type: A (PinK Battery Powered)
                                     $8.99


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                                     Delivery

                                     @       Est. delivery: May 5 - May 1o
                                             SpeedPAK Standard
                                             Free

                                     0       Est. delivery: May 1 - May 8
                                             Expedited Shipping from Greater China to worldwide
                                             $26.99




            Gift cards, coupons, eBay Bucks



            [ Enter code                              ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may Ile unable to grant funds to a charity ~ the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 185
Seller Name: bestowal
Marketplace: eBay
                Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023          Page     224 of
            v     Daily Dea ls Brend O utlet Help & Contact
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                                                                                                                              Pop Sonic Leaf Purple Facial C leansing Device
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                                                                                                                                    Condit io n: New                                                                                   Learn more



                                                                                                                                     Price : $ 29. 99                                                                        Seller informat ion
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                                                                                                                                                                                                                              278K items sold
                                                                                                                                   ~         Fast and reliable. Ship s from United States.

                                                                                                                                                                                                                             ..-!- eaud eluxe               ( Visit store )
                                                                                                                                                                                                                                   In eBay Stores
                                            $ Have one to sell?             Sell no w                                                Ship ping:       us $11.89 St andard Shipping. See details                                    Sponsored
                                                                                                                                                      Located in: Warren, Michigan, United States


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    Popsonic Leaf bud Sonic Facial                           Pop Sonic strawberry 3 in l.                             Proactiv Pore Cleansing Charcoal                       PMD Clean Smart Facial Cleansing                PopSonic Spade Face & Neck                     P<
    C leansing Device Soft en Wrinkles                       Cleanse, Massage, Exfoliate. Brand                       Infused Brush                                          Device BERRY New in box                         Sonic Beauty C leansing Dev ice                Cl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 225 of
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            Pay wit h                                                                                                                 Subtotal (1 item)                            $29.99
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: bestowal        Message to seller

                                     Pop Sonic Leaf Purple Facial Cleansing Device -New Box~
                                     $29.99
                                     Quant~y 1


                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS First Class
                                     $11.89




            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charfy no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity ~ the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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DOE Number: 186
Seller Name: BETA BOX
Marketplace: eBay
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(      Back t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                   Share I Add to Watchlist




                                                                                                                        Face Cleaning Pink Brush Waterproof Silicone Sonic
                                                                                                                                                                                                            Shop w ith confidence
                                                                                                                        Electric Skin Cleaner Tool

[I]                                                                                                                         Condition: New                                                                  8
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                                                                                                                                          business days.
                                                                                                                                          Please allow additional time if international delivery is
                                          $ Have one to sell?            Sell now                                                                                                                                  lovelydeals2012       ( Visit store )
                                                                                                                                          subject to customs processing.                                           In eBay Stores
                                                                                                                                                                                                                   Sponsored
                                                                                                                              Returns: 30 day returns. Buyer pays for return shipping.
                                                                                                                                       see details

                                                                                                                            Payments: l~         IG Payl §      I[      1- ~ I
                                                                                                                                          PayPal CREDIT
                                                                                                                                          Special f inanc ing available. See terms and aJJl2[¥
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                                                                                                                                                  eBay Mastercard®. Learn more

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    Similar sponsored items                           See all >                                                                                                                                                              Feedback on our suggestions




    Facial Cleansing Brush Waterproof                     Silicone Electric Face Cleansing                        Handheld Electric Facial Cleansing          Ultrasonic Silicone Electric Facial           SILICON E ELECTRIC FACE BRUSH                Si
    Silicone Sonic Face Brush                             Brush Sonic Facial Ski n Cleaner                        Brush Tool Waterproof Silicone              Cleansing Brush Sonic Face                    Facial Skin Cleaner Super Soft               El•
    Hand held Cleaning                                    Heated Massager                                         Cleansing New                               Cleanser Massager                             Sonic Cepillo Facial                         M
    New                                                   New                                                     New                                         New                                           New                                          N,

    $33.37                                                $19.98                                                  $9.95                                        $12.93                                       $10.68                                       $
    Free shipping                                         Free shipping                                           Free shipping                               sa-;6l5%off                                   Free shipping                                F"
    Seller 100% positive                                  Seller 100% positive                                    72 sold                                     Free shipping                                                                              57
                                                                                                                                                              6watchers




    Sponsored items inspired by your v ie ws                                       See all >                                                                                                                                 Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 228 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                         Subtotal (1 item)                           $39.90
                                                                                                                              Shipping                                       Free
                   Add new card                                                                                               Tax•                                           S2.79
            0      ~ ~ -             151
                                                                                                                              Order total                                $42 .69

            @      PayPa/                                                                                                       By placing your order, you agree to eBay's
                                                                                                                                User Agreement and Prtva91: Notice.
                                                                                                                                *We're required by law to collect sales tax and


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                                                                                                                                applicable fees for certain tax authorities
                                                                                                                                Learn more
            0      Special financing available.
                   Apply now. See terms
                                                                                                                                             Pay with PayPal


            0      IG Pay I Google Pay                                                                                               You'll finish checkout on PayPal



                                                                                                                                  ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                               See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                     Bill
            Changf                                                                                                                                                                    ?


            Review item and shipping

            Seller: beta-box      Message to seller

                                   Face Cleaning Pink Brush Waterproof Silicone Sonic Electnc Skin
                                   Cleaner Tool
                                   $39.90
                                   sec46
                                   auanrny 1


                                   Delivery

                                   @     Est. delivery Mar 20 - Mar 30
                                         Standard Shipping from outside us
                                         Free

                                   O Est. delivery: Mar 17 - Apr 10
                                         Economy Shipping from outside u s
                                         Free




                                   save up 106%



            Gift cards, coupons, eBay Bucks



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            _ nter_code: _ _]                          _




            Donate to charity (o ptional) 0

            Girls Make Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



                               a
            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


            Select amount




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 229 of
                                       517


DOE Number: 187
Seller Name: bk18_shop
Marketplace: eBay
               Case     1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023        Page  230 of                                                                                                                                   s,O
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ebay                           Shop by v
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 (      Back t o ho m e page I Listed in cat egory: Health & Beauty )   Sk in Care )   Fac ial C l e ans ing Dev ic es                                                                                                                     Share I Add to Watchlist


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                                                                                                                                 Electric Silicone Facial Cleansing Brush Face Skin
                                                                                                                                                                                                                      Shop w ith confidence
                                                                                                                                 Care Deep Cleaner Massager
                                                                                                                                                                                                                             eBay Money Back Guarantee
                                                                             1- 3 cleaning aO<tes                                    Condition: New                                                                   8      Get the item you ordered or get
                                                                                                                                                                                                                             your money back.
                                                                          Daily cleansing options
                                                                                                                                  Sale ends in: 20h lOm                                                                      Learn more
                                                                                   Control
                                                                        Cleansing and ■ore skin care
                                                                                                                                      Quantity:       LJ         4 available/ 3 sold
                                                                                                                                                                                                                      Seller information
                                                                                                                                                                                                                      bkl8 shoR ~ * l
                                                                             4-5 level s genil e oode                [
                                                                         Suitable for first use and                                   Price:   $9.49                                       Buy It Now
                                                                                                                                                                                                                      98.3 % posit ive feedback

                                                                                  sensitive skin                                               Was Y&-$999 0
                                                                              Gentle vibration                           )                     Save US $0.50 (5%                           Add to cart                <v Save seller
                                                                             Care and clean skin                                               off)                                                                   Contact seller
                                                                                                                                                                                                                      Visit store
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                                                                          Powerful sound pulse                                                                                             Make offer
                                                                                                                                     Offer:
                                                                             Deep Cleaning
                                                                    Up to 8000 vibrations per ■ inute
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                                                                                                                                          Fast and reliable, Ships from United States.
                                         $ Have one to sell?            Sell now                                                                                                                                             lovelydeals2012      ( Visit store )
                                                                                                                                                                                                                             In eBay Stores
                                                                                                                                                                                                                             Sponsore d
                                                                                                                                          Breat he easy. Returns accepted.



                                                                                                                                      Shipping: Free Economy Shipping. See details
                                                                                                                                                      Located in: Hicksville, New York, United States

                                                                                                                                      Delivery: Estimated between Wed, Apr 26 and Fri, Apr28 ©

                                                                                                                                       Returns: 30 day returns. Buy er pays for ret urn shipping.
                                                                                                                                                See details

                                                                                                                                     Payments: IPovPorllGPay ll visA            I ~ - 1~~ 1
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     Silicone Face C le ansing Brush                     Silicone Face C leansing Brush                                  NuFACE Trinity Advanced Facial                  Electric Face C leansing Brush Ultra         Electric Silicone Facial C leansing        Si
     Electric Facial Cleanser Washing                    Electric Facial Cleanser Washing                                Toning Devic e                                  Sonic Facial Skin Silicone C leane r         Brush Face Skin care Deep Cleaner          Br
     Massager Scrubber                                   Massager Scrubber                                                                                               Massager                                     Massager                                   H1
     New                                                 New                                                             New                                             New                                          New                                        Nt:

     $7.59                                               $6.99                                                           $95.00                                          $7.49                                        $6.99                                      $
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     Free shippi ng                                      Free shipping                                                                                                   Free s hippi ng                              Free shipping                              Frc
                                                         70sold                                                          Free shipping                                                                                Seller with a 99.4% positive feedback      Se
                                                                                                                         Seller with a 100% positive feedback




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               Facial Cleansing Brush or

                    ----...:.......
                Cleaning Ind Erlofllltlng                                                                                                                                   r.,.1 rw·~
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 231 of
         el::>ay  Checkout            517
                                                                                                                                        How do you like our checkout? Give us feedback




            Pay wit h                                                                                                                    Subtotal (1 item)                               S9.49
                                                                                                                                         Shipping                                        Free
                    Add new card                                                                                                         Tax•                                            S0.66
            0       ~ ~ -                 151
                                                                                                                                         Order total                                 $10.15

            @       PayPa/                                                                                                                  By placing your order, you agree to eBay's
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                    Apply now. See terms
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            0       IG Pay I Google Pay                                                                                                           You'll finish checkout on PayPal



                                                                                                                                              ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                           See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                 Bill
            Changf



            Review item and shipping

            Seller: bk18_shop             Message to seller

                                      Electric Silicone Facial Cleansing Brush Face Skin care Deep Cleaner
                                      Massager
                                      $9.49
                                      $499


                                      [   ~uantify




                                      Delivery
                                      Est. delivery: Apr 26 - Apr 29
                                      USPS Retail Ground
                                      Free


                                      Save upto 5%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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ebay                           Shop by v
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(      Back t o ho m e pag e I Listed in category· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                     Share I Add to Watchlist


                                                                                                                         Silicone Electric Facial Cleansing Brush Face
                                                                                                                                                                                                           Shop with conf idence
                                                                                                                         Massager Deep Clean Pores vibrate
                                                                                                                                                                                                                     eBay Money Back Guarantee

                                                                                                                             Condit ion: New                                                               8 Get the item you ordered or get
                                                                                                                                                                                                             your money back.
                                                                                                                                                                                                                     Learn mo re

                                                                                                                              Price :   $1Z49                                Buy It Now
                                                                                                                                                                                                           Seller information
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                                                                                                                                                                             Add to cart
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                                                                                Reduce clogged porM
                                                                                                                             ~      Fast and reliable. Ships from United States.



                                                                                                                              Shipping: Free Economy Shipping. See details
                                         $ Have one to sell?            Sell now                                                           Located in: Colorado, United States

                                                                                                                              Delivery:    II Estimated between Sat, Apr22 and Thu, Apr
                                                                                                                                           27 0
                                                                                                                                           Includes 10 business days handling t ime after receipt of
                                                                                                                                           cleared payment.

                                                                                                                               Returns:    Seller does not accept returns. See details


                                                                                                                             Payments:     l~ IGParl§ I[               lllil~ I
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    Electric Face Cleansing Brush Ultra                   Facial Deep Cleansing Brus h                           NEW Murad Brig hte n UP ECLAIRCIR            Elect ric Facial Cleansing Brush Set         Silicone Electric Face C leans ing             Si
    Sonic Facia l Skin S ilicone C l eaner               Silicone Face Sonic V ibration                          3 PIECE Facial Skincare Set NIB              Face Body Exfoliating Silicone               Brush Sonic Facial Skin Cleane r               Br
    Massager                                              Remover Rechargeable                                                                                Waterproof us                                Heated Massager                                c,
    New                                                  New                                                     New                                          New                                          New                                            N,

    $7.12                                                $ 14.99                                                 $ 9.95                                        $11.97                                      $19.98                                         $
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    $1=495%off                                           Free shipping                                                                                        Free shipping                                Free shipping
    Free shipping                                        Seller with a 99.2% posit ive feedback                  + $1.95 shipping                             Ei) Top Rated Plus                           Seller with a 100% positive feedback
    5 watchers                                                                                                   Seller with a 99.4% positive feedback        9wat chers




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 233 of
         el::>ay  Checkout            517
                                                                                                                                     How do you like our checkout? Give us feedback

                                                                                                                                                            To add more items, go to cart


            Pay wit h                                                                                                                 Subtotal (1 item)                            $ 17.49
                                                                                                                                      Shipping                                        Free
                    Add new card                                                                                                      Tax*                                            $1.22
            0
                    §1 ~         -      ~                                                                                             Order total                                 $18.71

            @       PayPa/                                                                                                               By placing your order, you agree to eBay's
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                    ~~l~                                                                                                                 applicable fees for certain tax authorities.
                                                                                                                                         Learn more
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                    Apply now See terms
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            0       I G Pov l Google Pay                                                                                                      You'll finish checkout on PayPal



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            Ship to                                                                                                                                        See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                     Bill
            Changf



            Review item and shipping

            Seller: imud39           Message to seller

                                       Silicone Electric Facial Cleansing Brush Face Massag er Deep Clean
                                      Pores vibrate
                                       $17.49
                                      Quantity 1


                                      Delivery
                                      Est. delivery: A pr 22 - A pr 27
                                      Economy Shipping
                                      Free




            Gift cards, coupons, eBay Bucks




            [~_E_n_te_r _co_d_e_: - - - - - - ~ ]         -




            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
            status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 188
Seller Name: black_label_sales
Marketplace: eBay
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             v  Dai ly Deals Brand Outlet Hel p & C o ntact
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(       8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Exfoliators & Sc rubs                                                                                                                    Shar e I Add to Watchlist


0 SAVE UPTO 25% WHEN YOU BUY MORE
                                                                                                                      BEST Facial Cleansing Massaging Scrubber Soft
                                                                                                                                                                                                          Shop w ith confide nce
                                                                                                                      Silicone Face Cleanser Brush
                                                                                                                      FAST SHIPPING 6- NO SALES TAX!                                                             eBay Money Back Guarantee

                                                                                                                                                                                                          e      Get the item you ordered or get




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                                                                                                                                                                                                                 your money back.
                                                                                                                           Condition: New
                                                                                                                                                                                                                 Learn more

                                                                                                                                                 Buyl         Buy2              Buy3
                                                                                                                      Bulk savings:
    •                                                                                                                                          $6.00/ea      $5.40/ea         $4.80/ea
                                                                                                                                                                                                          Seller information
••                                                                                                                                                                                                        black label sales lliZ.! * l
                                                                                                                                           4 or more for $4.50/ea
                                                                                                                                                                                                          92.3% posit ive feed back

                                                                                                                            Quantity:      LJ        More than 10 available/? sold
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                                                                                                                                                                                                          Contact seller
                                                                                                                            Price :   $6.00/ea                              Buy It Now                    See other items


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                                                    Tiny & Portable                                                     ~        Fast and reliable. Ship s from United States.                            Shop a related Store
                                       Used In Travel And Easy To Carry
                                                                                                                                                                                                          278K items sold
                                                                                                                         ~       Breathe easy. Returns accepted.
                                                                                                                                                                                                          -.!-    eaudeluxe
                                                                                                                                                                                                                  In eBay Stores
                                                                                                                                                                                                                                         ( Shop now)
                                           $ Have one to sell?            Sell now
                                                                                                                                                                                                                  Sponsored
                                                                                                                            Shipping: US $6.00 Standard Shipping. See details
                                                                                                                                           located in: Macomb, Michigan, United States

                                                                                                                            Delivery: Est imated between Fri, Apr 21 and Tue, Apr 25 <D
                                                                                                                                      Ships today if paid within 12 hrs 6 mins See details

                                                                                                                             Returns: 14 day ret urns. Buyer pays fo r return shi pping. See
                                                                                                                                      details




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    5 -1 Mu lt ifunc tion Electronic Facial                   Electric Facial C leansing Brush                Proac tiv Pore C leansing Charcoal             Silicone Electric Fac ial C leansing         4 Pack Face Scrubber Soft Silicone          5
    C leansing Face Massage Brush                             Silicone Exfoliator Rechargeable                Inf used Brush                                 Brush Face Exfoliato r Rec hargeable         Facial Cleansing Brush Face                 Fe
    Skin care Spa                                             Face Scrubber                                                                                  5 Modes                                      Exfoliator Scrub                            M
    New                                                       New                                             New                                            New                                          New                                         N,

    $6.55                                                     $15.99                                          $11.30                                         $24.99                                       $6.09                                       $
                                                                                                              0bids
    Free shipping                                             Free shipping                                                                                  Free shipping                                Free shipping
    2785sold                                                  Seller with a 100% positive feedback            + shipping                                     Seller with a 100% posit ive feedback        271 sold
                                                                                                              Seller with a 100% positive feedback




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 236 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                       Subtotal (1 item)                               $6.00
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                    Add new card                                                                                                           Tax•                                            S0.84
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                                                                                                                                           Order total                                 $12.84

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            0       Special financing available.
                    Apply now. See terms
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                                                                                                                                                ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                             See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: blacK_labeL            Message to seller

                                      BEST Facial Cleansing Massaging Scru bber Son Silicone Face
                                      Cleanser Brush
                                      $6.00


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                                      Delivery
                                      Est. delivery: Apr 21 - Apr 26
                                      USPS First Class
                                      S6.00



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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             Case    1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023         Page   237 of                                                                                                                   s,O
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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Scrubs                                                                                                               Shar e I Add to Watchlist


0 SAVE UPTO 25% WHEN YOU BUY MORE
                                                                                                                     BEST Facial Cleansing Massaging Scrubber Soft
                                                                                                                                                                                                    Shop w ith conf idence
                                                                                                                     Silicone Face Cleanser Brush
                                                                                                                     FAST SHIPPING 6- NO SALES TAX!                                                        eBay Money Back Guarantee

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                                                                                                                                                                                                           your money back.
                                                                                                                        Condition: New
                                                                                                                                                                                                           Learn more

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                                                                                                                     Bulk savings:
 •                                                                                                                                       $6.00/ea      $5.40/ea         $4.80/ea
                                                                                                                                                                                                    Seller information
••                                                                                                                                                                                                  black label sales lliZ.! * l
                                                                                                                                     4 or more for $4.50/ea
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                                              Tiny & Portable                                                          Ships from United
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                                      Used In Travel And Easy To Carry

                                                                                                                         Ship ping: US $6.0 0 Standard Shipping. See det ails
                                                                                                                                     Located in: Macomb, Michigan, United States
                                         $ Have one to sell?             Sell now
                                                                                                                          Delivery: Est imated between Mon, Mar 13 and Fri, Mar 17 0
                                                                                                                                    Ships today if paid wit hin 12 hrs 38 mins See
                                                                                                                                    details

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    Facial C leansing Brush Silicone                      Facial Cleansing Brush Face                        C leansing Nose Pore Strips 6 Strips      Silicone Exfoliator Rechargeable             C leansing Brush Face Exfoliator            Fe
    Face Wash Brush                                       Exfoliator Scr ub                                  (LOTOF3)                                  Face Sc rubber                               Scrub                                       R<
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    Seller 99.1% positive                                 246sold                                            + $4.50 shipping                          Seller 100% positive                         Free shipping                               Se
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 238 of
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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: blacK_labeL           Message to seller

                                     BEST Facial Cleansing Massaging Scrubber Son Silicone Face
                                     Cleanser Brush
                                     $6.00


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                                     Delivery
                                     Est. delivery: Mar 13 - Mar 17
                                     USPS First Class
                                     S6.00



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 239 of
                                       517


DOE Number: 189
Seller Name: blondechick55
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023         Page  240 of
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                                                                                                                                       Price:
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                                                                                                                                       Shipping: Free 2-4 d ay shipping                                                     278 K items sold
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                                            $ Have one to sell?              Sell no w                                                           details                                                                   .-!-     eaudeluxe
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                                                                                                                                                     located in: Romulus, Michigan, United States
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    C leansing Device PINK - Line &                           C leanse, Massage, Exfoliate. Brand                        Inf used Brush                                 C leansing Device                                  Brush Sonic Facial Skin C le aner                   Cl
    Wrinkle Reducer                                           new sealed.                                                                                                                                                  Heated Massager
    New(Other)                                                New                                                        New                                            New(Other)                                         New                                                 P,,

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    5249512%off                                               + $3.50 shipping                                                                                          Free shipping                                      Free shipping                                       F,,
    Free shipping                                             r:) Top Rated Plus                                         + shipping                                     Seller with a 100% positive feedback               Seller with a 100% positive feedback                Se
    r:) Top Rated Plus                                        Seller withe 100% positive feedback                        Seller with a 100% positive feedback




    Sponsored it ems customers also bought                                                                                                                                                                                                         Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 241 of
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            United States                                                                                                                                                                Bill
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            Seller: blondechick55          Message to seller




                rn
                                   Pop Sonic The Leaflet Sonic Facial Cleansing Device "Gray" NIB

                                   $119.99
                                   Quantityl


                                   Delivery
                                   Est. delivery: Apr 21 - Apr 24
                                   Expedited Shipping
                                   Free



                                   Extra 7% off


            Offer applied: Extra 7% off                                                                     -$8.40



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            Donate t o c harity (optio na l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up
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                                       517


DOE Number: 190
Seller Name: boygirlsnew-02
Marketplace: eBay
               Case      1:23-cv-23631-RNS                      Document 20-2 Entered on FLSD Docket 11/13/2023         Page   243 of
           v     Da ily Dea ls Brend O utlet He lp & C o ntac t
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(      Back t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                      Share I Add to Watchlist


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                                                                                                                          Ultrasonic Silicone Electric Facial Cleansing Brush
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                                                                                                                                         $13.19/ea                                Buy It Now                     See other items
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                                          $ Have one to sell?            Sell now
                                                                                                                              ~      Fast and reliable. Ships from United States.


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                                                                                                                                Shipping: Free Standard Shipping. See details
                                                                                                                                             Located in: New Jersey, United States


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                                                          Electric Face C leansing Brush Ultra
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    Seller with a 100% positive feedback                  Free shipping                                           + shipping                                      Free shipping                                                                             Se
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 244 of
         el::>ay  Checkout            517
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            Palm Beach, FL 33480
            United States
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            Seller: boysgi~sne...         Message to seller




                 t
                                     Ultrasonic Silicone Electnc Facial Cleansing Brush Sonic Face Cleanser
                                     Massager
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                                     $13.19
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            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
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    Massage Electric Rechargeable                        C leansing Brush Sonic Face                                     BRIGHT Foaming C leanser 10.l oz              Brush Sonic Facial Skin C leaner           Sonic Facial Skin Silicone C leaner          In:
    Exfoliate C lean                                     C leanser M assager                                             Moisturize SEALED                             Heated Massager                            Massager                                     Br
    New                                                  New                                                             New                                           New                                        New                                          NE

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    41sold                                               Free shipping                                                   Free shipping                                 Seller with a 100% positive feedback                                                    Se
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 246 of
         el::>ay  Checkout            517
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                   Add new card                                                                                                      Tax•                                           S0.92
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                                                                                                                                     Order total                                $14.11

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            Miami. FL 33133-2709
            United States
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            Review item and shipping

            Seller: boysgirtsne...        Message to seller




                 t
                                     Ultrasonic Silicone Electnc Facial Cleansing Brush Sonic Face Cleanser
                                     Massager
                                     Coloc Black
                                     $13.19
                                     52848


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                                     Delivery
                                     Est. delivery: A pr 26 - Apr 29
                                     Standard Shipping
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt



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            status. has closed. or no longer accepts funds from PPGF.


            Select amount




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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                                Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                           Ultrasonic Silicone Electric Facial Cleansing Brush
                                                                                                                                                                                                                    Shop w ith confidence
                                                                                                                           Sonic Face Cleanser Massager
                                                                                                                                                                                                                                eBay Money Back Guarantee

                                                                                                                               Condit io n: New                                                                      e          Get the item you ordered or get
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                                                                                                                                              located in: New Jersey, United States

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    Brush Sonic Facial Skin C leane r                     Brush Tool Waterproof Silicone                           dissolve C leansing Oil FULL SIZE                  C leansing Br ush Son ic Face                 Face Body Exfo liat ing Silicone                  Cl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 248 of
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            Ship to                                                                                                                                            See details




            Miami. FL 33133-2709
            United States

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            Review item and shipping

            Seller: boysgi~sne...          Message to seller




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                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Some Face Cleanser
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            Donate to charity (optional) 0

            Girls MaKe Beats Inc
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



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            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 192
Seller Name: braeana
Marketplace: eBay
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              Day and night                                                                       Day and night
              dual gear                                                                           dual gear
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               the day to release                                                                 the tiredness of the
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    Brush Ultra Sonic Facial Skin                          Silicone Exfoliator Rechargeable                          Blackhead Removal Tips                        Brush Facial Skin Cle aner Cleaning               Brush Facial Skin Cleaner Cleaning                Br
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            Boca Raton, FL 33433
            United States
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            Chang,1



            Review item and shipping

            Seller: braeana       Message to seller

                                   Ultrasonic Electric Silicone Facial Cleansing Brush Sonic Face
                                   Massager, Pink
                                   $19.99
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                        Silicone Electric Facial Cleansing Brush Face
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                                                                                                                        Exfoliator Rechargeable 5 Modes
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                                                                                                                                                                                                                      your money back.
                                                                                                                                  Color:       Blue                                                                        Learn more


                                                                                                                                                 Buy l           Buy 2              Buy3
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    Electric Silicone Facial Cleansing                     Silicone Facial Cleansing Brush                       Silicone Electric Face Cleansing             Electric Silicone Facial Cleansing                   Silicone Electric Facial Cleansing            4
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 253 of
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            Ship to                                                                                                                    ebay MONEY BACK GUARANTEE
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            Miami, FL 33138-4 0 55
            United States                                                                                                                                                                  Bill
            Chang!l



            Review item and shipping

            Seller: braeana         Message to seller

                                    Silicone Electric Facial Cleansing Brush Face Exfoliator
                                    Rechargeable 5 Modes
                                    Color: Blue
                                    $24.99




                                    Delivery
                                    Est. delivery: Apr 28 - May 3
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            G ift cards, coupons, eBay Bucks




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            D onate t o c harity (optiona l) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to chi ldren experiencing homelessness.
            Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giv ing
            Fund (PPGF) receives your donation and g rants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
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0 SAVE UPTO 20% WHEN YOU BUY MORE
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                                                                                                                    Scrubber USB Rechargeable
                                                                                                                                                                                                                     eBay Money Back Guarantee
                                                                                                                        Condition: New                                                                      8       Get the item you ordered or get
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                                                                                                                             Color:       -Se lect-                                                                  Learn more


                                                                                                                                             Buy l            Buy2                 Buy3
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    Silicone Facial C leansing Brush                      Silicone Electric Facial C leans ing                Electric Silicone Facial C leans ing          Electric Silicone Facial C leans ing            Electric Facial C leansing Brush                 Si
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            Boca Raton, FL 33433
            United States                                                                                                                                                                  Bill
            Chang!l



            Review item and shipping

            Seller: braeana         Message to seller

                                    Electric Silicone Facial Cleansing Brush Exfoliator Scrubber USB
                                    Rechargeable
                                    Color: Pink
                                    $24.99




                                    Delivery
                                    Est. delivery: Apr 28 - May 3
                                    Economy Shipping
                                    Free




            G ift cards, coupons, eBay Bucks




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            D onate t o c harity (optional) 0

            Soles4Souls, Inc .
            Donate to help Soles4Souls provide shoes to chi ldren experiencing homelessness.
            Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giv ing
            Fund (PPGF) receives your donation and g rants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                   Facial Electric Silicone Cleansing Brush Exfoliator
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                                                                                                                   Rechargeable Face Scrubber
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    Electric Silicone Facial Cleansing                  Silicone Electric Facial C leansing                 Electric Facial Cleansing Brush                 Electric Silicone Facial Cleansing                     Silic one Facial Cleansing Brush              El•
    Brush Exfol iator Scrubber USB                      Brush Face Exfo liator Rechargeable                 Silicone Exfoliator Rechargeable                Brush Face Exfoliator C leanser                        Face Exfoliator C leanser                     Br
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States
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            Review item and shipping

            Seller: braeana          Message to seller

                                      Facial Electnc Silicone Cleansing Brush Exfoliator Rechargeable Face
                                      Scrubber
                                      Coloc Pink
                                      $24.99


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                                      Delivery
                                      Est. delivery: A pr 28 - May 3
                                      Economy Shipping
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            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Soles4Souls. Inc.
            Donate to help Soles4SOuls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days aner the
            end of the month in which the donation is made. Donations are non-refundable and typically
            tax deductible. PPGF may be unable to grant funds to a charily if the charity has lost tax



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(      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Scrubs                                                                                                                           Shar e I Add to Watchlist


                                                                                                                     Silicone Facial Cleansing Brush Face Exfoliator
                                                                                                                                                                                                        Shop w ith confide nce
                                                                                                                     Cleanser Rechargeable Electric
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            Miami, FL 33133
            United States
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            Review item and shipping

            Seller: braeana

                                      Silicone Facial Cleansing Bnush Face Exfoliator Cleanser Rechargeable
                                      Electric
                                      $19.99


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                                      Delivery
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                                      Economy Shipping
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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            status, has closed, or no longer accepts funds from PPGF.


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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                   Silicone Electric Facial Cleansing Brush Face
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                                                                                                                   Exfoliator Rechargeable 5 Modes
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            Ship to                                                                                                                                            See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                  Bill
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            Review item and shipping

            Seller: braeana          Message to seller

                                      Silicone Electric Facial Cleansing Brush Face Exfoliator Rechargeable 5
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                                      $24.99


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                                      Delivery
                                      Est. delivery: A pr 22 - Apr 27
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charily rrthe charity has lost tax exempt



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            status. has closed. or no longer accepts funds from PPGF.


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                                                                                                                      Electric Silicone Facial Cleansing Brush Face
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                                                                                                                          Shipping: Free Economy Shipping. See details
                                                                                                                                       Located in: Unr1:ed States, United States
                                          $ Have one t o sell?           Sell now                                                                                                                               lovelydeals2012      (   Visit store )
                                                                                                                                                                                                                In eBay Stores
                                                                                                                          Delivery:    GI Estimated between Mon, Apr 24 and Fri, Apr                            Sponsored
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                                                                                                                                       details

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                                                                                                                                                 eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                Feedback on our suggestions



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    Silicone Facial C leansing Bru sh                     Silicone Electric Facial C le ans ing               Lavetie r B io logy Mousse C leanser         Electric Facial C leansing Brus h          4 in 1 Rechargeable Electric Fac ial            3i
    Face Ex foliator C leanser                            Brush Face Exfoliator Rechargeable                  makeup Daily Reple nish 120ml / 411.         Silicone Exfoliator Rechargeable           Clea nsing Brush Set Face Body                  Cl
    Rechargeable Electric                                 5 Modes                                                                                          Face Scru bbe r                            Exfoliating                                     E>
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    $19.99                                                $24.99                                              $29.90                                       $15.99                                     $21.99                                          $
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    Free shipping                                         Free shipping                                                                                    Free shipping                              Free shipping                                   F"
    Seller with a 100% positive feedback                  Seller withe 100% positive feedback                 + shipping                                   Seller with a 100% positive feedback       36 sold                                         r:'I
                                                                                                              Seller with a 100% positive feedback                                                                                                    14




    Sponsored items customers also bought                                                                                                                                                                                  Feedback on our suggestions




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 263 of
         el::>ay  Checkout            517
                                                                                                                                         How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                     Subtotal (1 item)                            $24.99
                                                                                                                                          Shipping                                        Free
                    Add new card                                                                                                          Tax•                                            S1.75
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                                                                                                                                          Order total                                 $26.74

            @       PayPa/                                                                                                                   By placing your order, you agree to eBay's
                                                                                                                                             User Agreement and Prtva91: Notice.
                                                                                                                                             *We're required by law to collect sales tax and


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                                                                                                                                             applicable fees for certain tax authorities
                                                                                                                                             Learn more
            0       Special financing available.
                    Apply now. See terms
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            0       I G Pav l GoogtePay                                                                                                           You'll nnrsh checkout on PayPal



                                                                                                                                               ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                            See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                  Bill
            Changf



            Review item and shipping

            Seller: braeana          Message to seller

                                      Electric Silicone Facial Cleansing Brush Face Exfoliator Cleanser
                                      Rechargeable
                                      $24.99


                                      [   ~uantify




                                      Delivery
                                      Est. delivery: Apr 22 - Apr 27
                                      Economy Shipping
                                      Free



            Gift cards, coupons, eBay Bucks



            [~_E_n_te_r _co
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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             Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  264 of
            v  Dai ly Deals Brand Outle t Hel p & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                                Shar e I Add to Watchlist


                                                                                                                           Ultrasonic Electric Silicone Facial Cleansing Brush
                                                                                                                                                                                                                 Shop w ith confidence
                                                                                                                           Sonic Face Massager, Pink
                                                                                                                                                                                                                             eBay Money Back Guarantee
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                   -0-                                                                        +~+                               Condition: New                                                                   8 Get the item you ordered or get
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                Day and night                                                                   Day and night
                                                                                                                                 Price: $19.99                                    Buy It Now
                dual gear                                                                       dual gear
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                the day to release
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                                                                                                Lift at night to relax

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                                          $ Have one to sell?            Sell now
                                                                                                                                 Shipping: Free Economy Shipping from o utside US. See




                                                                                                                                 Delivery:
                                                                                                                                           det ails
                                                                                                                                              International shipment of items may be subject to
                                                                                                                                              customs processing and additional charges.
                                                                                                                                              Located in: Shenzhen, China, China

                                                                                                                                              GI Estimated between Wed, May 10 and Fri, Jul 7 0
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                                                                                                                                                                                                                 Discover related items
                                                                                                                                                                                                                 115K items sold
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    Similar sponsored items                           Seeall >                                                                                                                                                                          Feedback on our suggestions




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    Silicone Electric Facial C leansing                   Silicone Facial C leansing Brush                         Proactiv Pore C leansing Charcoal              Elect ric Facial C leansing Brush             Super Face Washing Machine                        4
    Brush Face Exfoliator Rechargeable                    Face Exfoliator Cleanser                                 Infused Brush                                  Silicone Exfoliator Rechargeable              Electric Soft Silicone Facial Brush               Cl
    5 Modes                                               Rec hargeable Electric                                                                                  Face Scrubber                                 C lea nser Massage                                E>
    New                                                   New                                                      New                                            New                                           New                                               N,

    $24.99                                                $19.99                                                   $11.30                                          $15.99                                       $8.98                                             $
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    Free shipping                                         Free shipping                                                                                           Free shipping                                 $9:9810% off                                      F,,
    Seller with a 100% positive feedback                  Seller with a 100% positive feedback                     + shipping                                     Seller with a 100% posit ive feedback         Free shipping                                     36
                                                                                                                   Seller with a 100% positive feedback                                                         l':J
                                                                                                                                                                                                                   Top Rated Plus




    Sponsored items inspired by your v iews                                        See all >                                                                                                                                            Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 265 of
         el::>ay  Checkout            517
                                                                                                                                     How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                Subtotal (1 item)                            $19.99
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                   Add new card                                                                                                      Tax•                                            S1.40
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                                                                                                                                     Order total                                 $21.39

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                                                                                                                                        applicable fees for certain tax authorities
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            0      Special financing available.
                   Apply now. See terms
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                                                                                                                                          ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                       See details




            Miami, FL 33133
            United States

            Changf



            Review item and shipping

            Seller: braeana         Message to seller

                                     Ultrasonic Electric Silicone Facial Cleansing Brush Sonic Face
                                     Massager, Pink
                                     $19.99
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: May 10 - Jut 7
                                     Economy Shipping from outside us
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            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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              Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 266 of
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ebay                           Shop by v
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(      8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                              Shar e I Add to Watchlist




Q                                                                                                                     Ultrasonic Electric Silicone Facial Cleansing Brush
                                                                                                                      Sonic Face Massager, Pink
                                                                                                                                                                                                              Shop w ith confidence
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                                                                                                                        Condit ion: New                                                                        8          Get the item you ordered or get
                                                                                                                                                                                                                          your money back.
                                                                                                                                                                                                                          Learn more

                                                                                                                          Price:     $19.99                                 Buy It Now
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                                                                                                                          Delivery:
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                                                                                                                                       Located in: Shenzhen, China, China


                                                                                                                                       GI Estimated between Fri, Mar 31 and Thu, May 25
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                                                                                                                                               eBay Mastercard®. Learn more

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    Similar sponsored items

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    Electric Facial Cleansing Brush                       Elect ric Fac ial Cleansing Brush                   lsd in Essent ial Cleansing Oil Based         Silicone Electric Facial Cleansing                3inl Rechargeable Electric Facial                Si
    Silicone Exfoliator Rechargeable                      Silicone Exfoliato r Rechargeable                   Cleanser 20 0ml 6.76oz                        Brush Exfo1iator Scrubber Sonic                   Clea nsing Brush Set Face Body                   Br
    Face Scrubber                                         Face Scrubber                                                                                     Rechargeable                                      Exfoliating IPX6                                 M
    New                                                   New                                                 New                                           New                                               New

    $15.9 9                                               $15.99                                              $16.0 0                                       $19.99                                            $14.97                                           $
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    Free shipping                                         Free shipping                                                                                     Free shipping                                     Free shipping                                    F,,
    Seller 100% positive                                  Seller 100% positive                                + $12.00 shipping                             Seller 100% positive                              r&ITop Rated Plus
                                                                                                              Seller 100% positive                                                                            126 sold




    Sponsored it ems inspired by your v iews                                                                                                                                                                                       Feedback on our sug~stions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 267 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                   Subtotal (1 item)                            $19.99
                                                                                                                                        Shipping                                        Free
                   Add new card                                                                                                         Tax•                                            S1.40
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                                                                                                                                        Order total                                 $21.39

            @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
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            0       Special financing available.
                   Apply now. See terms
                                                                                                                                                        Pay with PayPal


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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: braeana          Message to seller

                                      Ultrasonic Electric Silicone Facial Cleansing Brush Some Face
                                      Massager, Pink
                                      $19.99
                                     Quanmy 1


                                      Delivery
                                      Est. delivery: Mar 31 - May 25
                                      Economy Shipping from outside us
                                      Free



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]             -




            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 193
Seller Name: breble66
Marketplace: eBay
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            v  Dai ly Deals Brand Outlet Hel p & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) C le ans ers & Toners                                                                                                                      Shar e I Add to Watchlist




;ii                                                                                                                 Silicone Elect ric Facial Cleaner Scrubber Massager
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cl                                                                                                                      Price:    $Z99                                   Buy It Now
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                                                                                                                      ~        Fast and re liable. Ships from Unit ed States.


                                                                                                                      ~        Breat he easy. Returns accepted.



                                                                                                                        Delivery: Varies

                                                                                                                         Returns: 30 day returns. Buyer pays for ret urn shipping.
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                                          $ Have one to sell?            Sell now
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                                                                                                                                              eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                 Feedback on our suggestions




                                                                   •
                                                                                                                                                                             Ultrasonic Facial
                                                                                                                                                                             Skin Scrubber




    5 in l Deep Clean Face Skin Electric
    Facial C leane r care Brus h
    Massager Scrubber
                                                                  •
                                                          Facial Cleansing Silicone Skin
                                                          Blackhead Pore Cleaner Brush
                                                          Massager Scru b Face
                                                                                                            NEW belif Hydrators-On-The-Go 5
                                                                                                            Piece Moistu riz i ng Facial Skin Care
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                                                                                                                                                         Skin Spa Cleaner
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    Free shipping                                                                                           + $1.95 shipping                             384sold                                       ~ lop Rated Plus                               +:
    5 3 sold                                                                                                Seller withe 99.4% positive feedback                                                       3584 sold                                      17'




    Sponsored items inspired by your views                                                                                                                                                                                  Feedback on our sug~stions




                                                                                                 ■
    Toys Importers Pack of 2                              Nail Boss Hoodie Hoody
    Reversible Octopus Mood Plush - l                     Techn ic ian Beaut ic ian Acrylic Gel
    x7.9in Blue                                           Art Beauty Cute
    New                                                   New(Other)

    $16.16                                                $31.10
    + shipping                                            +shipping
    Seller with a 100% positive feedback                  Seller with a 99.5% posr1:ive feedback
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 270 of
         el::>ay  Checkout            517
                                                                                                                                         How do you liKe our checkout? Give us reedbacK

                                                                                                                                                                To add more items, go to cart



            Pay with                                                                                                                     Subtotal (1 item)                               $7.99
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                    Add new card                                                                                                         Tax*                                            S0.91
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                    ~~r;;                                                                                                                   applicable fees for certain tax authorities.
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            0       Special financing available.
                    Apply now See terms
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                                                                                                                                              ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                           See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: breble66         Message to seller

                                      Silicone Electric Facial Cleaner Scrubber Massager Skin Care
                                      Rechargeable New
                                      $7.99
                                      Quantity 1


                                      Delivery
                                      Est delivery: A pr 21 - Apr 24
                                      USPS First Class
                                      $5.05




            Gift cards, coupons, eBay Bucks




            [~_E_n_ie_r _co_d_e_: - - - - - - ~ ]           -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 271 of
                                       517


DOE Number: 194
Seller Name: businessbezo
Marketplace: eBay
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           v     Daily Deals Brend Outlet Help & Contact
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 (      8.aick t o ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es                                                                                                                              Shar e I Add to Watchlist


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                                                                                                                             Pop Sonic Leafbud Facial Cleansing Device Orange
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                                                                                                                             Waterproof Rechargeable NIB
                                                                                                                                                                                                                                eBay Money Back Guarantee
                                                                                                                                 C ondition: New                                                                       8        Get the item you ordered or get
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                                                                                                                                  Shipping: Free Standard Shipping. See details
                                                                                                                                                   located in: Orlando, Florida, United States

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     Son ic Fac ia l S kin Silicone C le ane r             Cleansing Device o rang e                                Infused Brush                                     Cleansing Device Softe n Wrinkles               Clea nse, Massage, Exfoliate. Brand            Br
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     Free shipping                                         + shipping                                                                                                 Free s hipping                                  + $3.50 shipping                               Fr,
     6 watchers                                            Seller withe 100% positive feedback                      + shipping                                        Seller with a 99.8% positive feedback           r:JTop Rated Plus                              Se
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 273 of
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            Miami, FL 33133-2709
            United States
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            Changf



            Review item and shipping

            Seller: businessbezo            Message to seller

                                      Pop Sonic Leafbud Facial Cleansing Device Orange Waterproof
                                      Rechargeable NIB
                                      $36.10
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                                      Delivery
                                      Est. delivery: A pr 21 - Apr 24
                                      USPS First Class
                                      Free



                                      Save up to 5%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 195
Seller Name: cdpcstore
Marketplace: eBay
              Case     1:23-cv-23631-RNS                     Document 20-2 Entered on FLSD Docket 11/13/2023          Page  275 of
          v     Daily Deals Brend O utlet He lp & C o ntac t
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(      8.aick t o ho m e page I Listed in cat egory· Health & Seavty )   Sk in C are )   Fac ial C l e ans ing Dev ic es                                                                                                                     Shar e I Add to Watchlist




                                                                                               30 common heart meets for under $30
                                                                                               Save and stay heart healthy                                               ++++-++
                                                                                                                                   Silicone Facial Cleansing Brush Massage Electric
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                                                                                                                                   Rechargeable Exfoliate Clean
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                                                                                                                                        Price: $14.99                                   Buy It Now
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                                  Silicone Facial Cleansing Brush                                                                                                                                                     Contact selle r

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                                                                                                                                   O     ~l'fil!LRrotect ion glan from Allstate - $1.99



                                                                                                                                       ~     Fast and re liable. Ships from United States.


                                                                                                                                       ~     Breathe easy. Returns accepted.



                                                                                                                                         Shipping: us $5.99 Expedited Shipping. See details
                                                                                                                                                    Locate d in: Little Elm, Texas, United States
                                         $ Have one to sell?             Sell now
                                                                                                                                         Delivery: Estimated between Thu, Apr 27 and Mon, May 1 ©

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    Silicone Facial Cleansing Brush                       Ult rasonic Silicone Elect ric Facial                            facial t urmeric toner+ vc                   Silicone Electric Face Cleansing              Facial Cleansing Brush, Silicone                El•
    Massage Electric Rechargeable                         C leansing Brush Sonic Face                                                                                   Brush Sonic Facial Skin C leaner              Electric Massage Brush,                         Br
    Exfoliate Clean                                       C leanser Massager                                                                                            Heated Massager                               Rechargeable                                    S<
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 276 of
         ebay     Checkout            517
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            Pay wi th                                                                                                         Subtotal Q item)                                S14 .99
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            Ship t o                                                                                                              ebay MONEY BACK GUARANTEE
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            Palm Beach, FL 33480
            United States                                                                                                                                                               Bill
            Chang,1



            Review item and shipping

            Seller: cdpcstore

                                   Silicone Facial Cleansing Brush Massage Elect ric Rechargeable
                                   Exfoliate C lean

                                   $14.99
                                   Quantityl


                                   Delivery
                                   Est. delivery : Apr 27 - May I
                                   USPS Priority Mail
                                   $5.99




            G ift card s, coupons, eBay Buc ks




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            Donate t o c harity (optiona l) 0

            Soles4Souls, Inc .
            Donate to help Soles4Souls provide shoes to chi ldren experiencing homelessness.
            Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving
            Fund (PPGF) receives your donation and g rants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
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            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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                                       517


DOE Number: 196
Seller Name: cheerfuldays08
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  278 of
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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                                Ultrasonic Silicone Electric Facial Cleansing Brush
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                                                                                                                                  Bulk savings:
                                                                                                                                                                    $12.89/ea              $11.60/ea         $10.96/ea
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                                           $ Have one to sell?                    Sell now                                      O ~~Rrotect ion Rian from Allstate - $1.99                                                                      lovelydeals2012          ( Visit store )
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                                                                                                                                      ~            Fast and reliable. Ships from United States.


                                                                                                                                       ~           Breat he easy. Returns accepted.



                                                                                                                                          Shipping: Free Standard Shipping. See details
                                                                                                                                                                Located in: New Jersey, United States

                                                                                                                                           Delivery: Estimated between Tue, Apr 18 and Sat , Apr 22 0

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    Ultrasonic Silicone Electr ic Facial                    Electric Face C leansing Brush Ultra                     Hydra Machine Water Facial Hydro                                     Silicone Electric Face C leansing            Facial Deep Cleansing Brush                       Si
    Cleansing Brush Sonic Face                              Sonic Facial Skin Silicone C leaner                      Deep Cleansing Skin Tig htening                                      Brush Sonic Facial Skin Cleaner              Silicone Face Sonic V ibration                    El•
    C leanser Massager                                      Massager                                                 Dermabrasion Spa                                                     Heated Massager                              Remover Rechargeable                              M
    New                                                     New                                                      New                                                                  New                                          New                                               N,

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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 279 of
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            Pay wit h                                                                                                                      Subtotal (1 item)                            $12.89
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            Ship to                                                                                                                                             See details




            Palm Beach, FL 33480
            United States
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            Changf



            Review item and shipping

            Seller: cheerfuldays08           Message to seller




            [I]
                                      Ultrasonic Silicone Electric Facial Cleansing Brush Sonic Face Cleanser
                                      Massager
                                      $12.89


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                                      Delivery
                                      Est. delivery: A pr 19 - Apr 24
                                      Standard Shipping
                                      Free



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & famity therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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(     8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                                Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
[j]                                                                                                                       Ultrasonic Silicone Electric Facial Cleansing Brush
                                                                                                                          Sonic Face Cleanser Massager
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                                                                                                                          Bulk savings:
                                                                                                                                                    $12.25/ea        $11.03/ea          $10.41/ea
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                                                                                                                                              4 or more for $9,80/ea                                                    cheerfuldays08 Q8852 ..,

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                                                                                                                               Pric e :                                                                                 Contact seller
                                                                                                                                          $12.25/ea                                  Buy It Now
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                                                                                                                                          Save US $0.64 (4%                                                             See other items
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                                                                                                                          Additional service available

                                         $ Have one to sell?            Sell now                                          O     ~ ¥ear Qrotec t ion Qian from Allstate - $1.99



                                                                                                                                Ships from United States                        Returns accepted


                                                                                                                                Shipping: Free Standard Shipping. See details
                                                                                                                                              Located in: New J ersey, United States


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                                                                                                                          Pore Cleansing MD Syst em


    Hand held Electric Fac ial C leansing                Silicone Electric Face C leansing                        Rodan + Fields Pore Cleansing MD                   Ultrasonic Silicone Electric Facial                Facial Cleansing Brush, 3-ln-1               Fe
    Brush Tool Waterproof Silicone                       Brush Sonic Facial Skin Cleaner                          System Pore C leansing Ti ps                       C leansing Brush Sonic Face                        Elec tric Silicone Fac e Scrubber,           El,
    C leansing New                                       Heated Massager                                          Blackhead Removal                                  C leanser Massager                                 Vibrat ing Massag                            Vi
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    $9.95                                                $19.98                                                   $30.00                                             $12.93                                             $ 23.67                                      $
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 281 of
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            Ship to                                                                                                                                            See details




            Miami. FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: cheerfuldays08           Message to seller




            [I]
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Some Face Cleanser
                                      Massager
                                      $12.25
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                                      Delivery
                                      Est. delivery: Mar 11 - Mar 16
                                      Standard Shipping
                                      Free


                                      Save up to 5%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charrty
            no later than 30 days after the end of the month in which the donation is made_ Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charfy if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


            Select amount        g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 282 of
                                       517


DOE Number: 197
Seller Name: cnydeals315
Marketplace: eBay
             Case    1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023         Page   283 of
            v  Daily Deals Brand Outlet Help & Contact
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(      8-ack t o ho m e pag e I Listed in c at egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es ) See more POP SO NIC LEAF SONI...                                                                                       Shar e I Add to Watchlist


                                                                                                                        Pop Sonic Leaf Sonic Facial Cleansing Electric
                                                                                                                                                                                                                  Shop wit h conf idence
                                                                                                                        Device Blue Marble New Opened Box
                                                                                                                                           Be the first to write a review.                                                   eBay M o ney Back Guarantee

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                                                                                                                                                                                                                             your money back.
                                                                                                                             Condit ion: New                                                                                 Learn more



                                                                                                                              Price:     $37.50                                    Buy It Now
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                                              Sonic F.aclal Cle<1nslng Device



                                                                                                                              Ship ping:      us $ll.20 Exped ited Shipping . See details
                                                                                                                                              located in: Syrecuse, New York, United States

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    PopSonic l eafbud Sonic Facial                       Pop Sonic s trawberry 3 in 1.                         Josie Maran Nou rishing Argan O il                   Pop Sonic Leafb ud Facia l                    POP SONIC LEAFLET Sonic Facial                  Pi
    Cleansing Device Soften Wrinkles                     Cleanse, Massage, Exloliate. Brand                     Daily Facial Cleansing Oil 6oz New                  Cleansing Device Orange                       Cleansing Device PINK - Line &                  Cl
    Lavender Purple                                      new sealed.                                                                                                Waterproof Rechargeable NIB                   Wrinkle Reducer
    New                                                  New                                                   New                                                 New                                            New{Other}                                      N,

    $29.99                                               $24.00                                                 $20.00                                              $18.00                                        $21.96                                          $
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    Seller with a 99.8% positive feedback                £:3 Top Rated Plus                                    + $5.65 shipping                                     Seller with a 100% positive feedback:         Free shipping                                   Se
                                                         Seller with a 100% positive feedback                  Seller with a 100% positive feedback.                                                              f3 Top Rated Plus




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    ?PCS Upgraded Auto Honey Hive                        ?PCS Free Flowing Honey Hive                          Dolls Ki ll / Y.R.U. Nightcall Hi
    Frames+Beek:eeplng Bee hive                          Beeh ive Frames + Cedarwood                           Atlantis Holographic Platform
    Brood Cedarwood Box us                               Beehi ve House Boxs Set                               Heels UK4 EU37
    New                                                  New                                                   New
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 284 of
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            Pay wi th                                                                                                          Subtotal Q item)                            $37.50
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                   Add new card                                                                                                Tax•                                         $3.46
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            Ship t o                                                                                                               ebay MONEY BACK GUARANTEE
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            Miami, FL 33133
            United States                                                                                                                                                            Bill
            Changs1



            Review item and shipping

            Seller: cnydeals315         Message to seller

                                   Pop Sonic Leaf Sonic Facial Cleansing Electric Device Blue Marble
                                   New Opened Box

                                   $37.50
                                   Quantityl


                                   Delivery
                                   Est . delivery : Apr 20 - Apr 22
                                   USPS Priority Mail
                                   $11.95




            G if t cards, coupons, eBay Buc ks




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            D onate t o c harity (optiona l) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & family therapy for families
            with kids who have experience severe trauma & loss due to the War. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


            Select amount       8

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                                       517


DOE Number: 198
Seller Name: curbsidrandom
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023         Page   286 of
          v     Daily Dea ls Brend O utlet Help & Contact
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                                                                                                                                  Pop Sonic Leaf Sonic Facial Cleansing Electric
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                                                                                                                                  Device Hot Pink New Sealed
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                                                                                                                                                                                                                                       eBay Money Back Guarantee
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    Pop Sonic strawberry 3 in l.                              Pop Sonic Leafbud Facial                                   Proac tiv Pore C leansing Charcoal                        PopSonic Leafbud Sonic Facial              Pink pop sonic leaf let Sonic Facial        s,
    Cleanse, Massage, Exfoliate. Brand                        Cleansing Device Orange                                    Infused Brush                                             Cleansing Device Soften Wrinkles           C lea nsing Device                          YI
    new sealed .                                              Waterpro of Recharge able NIB                                                                                        Lavender Purple                                                                        w
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    a Top Roted Plus                                          Seller withe 100% positive feedback                        + shipping                                                Seller with a 99.8% positive feedback      Seller with a 100% positive feedback        Se
    Seller with a 100% positive feedback                                                                                 Seller with a 100% positive feedback




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         ebay     Checkout            517
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            Pay with                                                                                                          Subtotal Q item)                              $34.99
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            Ship t o                                                                                                              ebay MONEY BACK GUARANTEE
                                                                                                                                                  See details


            Miami, FL 33133-2709
            United States                                                                                                                                                             Bill
            Chang,1



            Review item and shipping

            Seller: curbsiderandom           Message to seller

                                   Pop Sonic Leaf Sonic Facial C leansing Electric Device Hot Pink
                                   New Sealed

                                   $34.99
                                   Quantityl


                                   Delivery
                                   Est. delivery: Apr 21 - Apr 24
                                   USPS Pa rcel Select Ground
                                   $7.87




            G ift cards, coupons, eBay Bucks




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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


            Select amount       8

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DOE Number: 199
Seller Name: cyberoutlet14
Marketplace: eBay
              Case     1:23-cv-23631-RNS                      Document 20-2 Entered on FLSD Docket 11/13/2023         Page  289 of
          v     Daily Dea ls Brend O utlet He lp & C o ntac t
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                                               Pay over time with PayPal Credit
                                               Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                               El'lds 4/20, 11:59pm PT. Min. purchase required.




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                                                                                                                             Photon Kl-1806 Sonic Facial Cleansing Device w/
                                                                                                                                                                                                             Shop with confidence
                                                                                                                             Phototherapy Modes w/ Base
                                                                                                                                                                                                                     eBay Money Back Guarantee
                                                                                                                                                                                                                     Get the item you ordered or get
                                                                                                                                 Condition: New                                                              8       your money back.
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                                                                                                                                  Price:   $Z99                                 Buy It Now
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                                                                                                                                 ~    Breathe easy. Free shipping and returns.


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                                                                                                                                                                                                              278K items sold
                                                                                                                                  Shipping: Free 2-3 day shipping
                                                                                                                                            Get it between Thu, Apr 20 and Fri, Apr 21. See                  ..! -   eaudeluxe
                                                                                                                                                                                                                     In eBay Stores
                                                                                                                                                                                                                                          ( Visit store )
                                          $ Have one to sell?             Se ll now                                                         det ails
                                                                                                                                                                                                                     Sponsored
                                                                                                                                             Located in: Mount Laurel, New Jersey, United States


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    Electric Face Cleansing Brush Ultra                    Silicone Electric Face Cleansing                         7 Colors LED Light Face Neck Mask            Photon Kl-1806 Sonic Facial                 Pure Orig inal Sonic Facial and Body        DI
    Sonic Facial Skin Silicone Cleaner                     Brush Sonic Facial Skin Cleaner                          Photon Facial Therapy Anti-Aging             C leansing Device w/ Phototherapy           C lea nsing, Exfoliating & Massaging        H1
    Massager                                               Heated Massager                                          Wrinkles Mask                                Modes w/ Base                               Brush                                       D•
    New                                                    New                                                      New (Other)                                  New                                         New                                         N,

    $7.49                                                  $19.98                                                   $26.00                                       $6.00                                       $12.99                                      $
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 290 of
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            Pay with                                                                                                                  Subtotal (1 item)                               $7.99
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: cyberoutlel14         Message l o seller

                                     Photon Kl-1806 Sonic Facial Cleansing Device wt Phototherapy Modes
                                     wt Base
                                     $7.99
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                                     Est. delivery: A pr 21 - Apr 24
                                     USPS First Class
                                     Free



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 200
Seller Name: dapperica
Marketplace: eBay
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(     Back t o ho m e page I Listed in cat egory: Health & Beauty )     Sk in Care )   Fac ial C l e ans ing Dev ic es                                                                                                               Share I Add to Watchlist



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                                             Get 5.99% APR with 12 or 24 Easy Payments on eBay.
                                             Etlds 5/1. 11:59pm PT. Mir'I. purehase required.




0 SAVE UPTO 15% WHEN YOU BUY MORE
                                                                                                                         Silicone Facial Cleansing Brush Massage Electric
                                                                                                                                                                                                               Shop with confidence
                                                                                                                         Rechargeable Exfoliate Clean
                                                                                                                         USA SELLER: Ships from Atlanta wit hin one b usiness d ay!                                   eBay Money Back Guarantee


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                                                                                                                                                 Buyl              Buy2
                                                                                                                         Bulk savings:
                                                                                                                                               $10.95/ea          $9.31/ea
                                                                                                                                                                                                               Seller information
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                                                                                                                                          2 or more for $9.31/ea
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                                       $ Have one to sell?               Sell now                                            {,    This one's trending. 41 have already sold .


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                                                                                                                              Shipping: Free Standard Shipping. See details
                                                                                                                                          located in: Atlanta, Georgia, United States

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    About t his item          Ship ping1 ret urns & payments                                                                                                                                                                                .RgP-ort this item



     Selle r assu mes all responsibilit y for this listing.                                                                                                                                                       eBay item number: 173 872277776
     Last upd ated on Mar 24, 2023 14:05:22 PDT View all revisions



          Item specifics
          Condit ion             New: A b rand-new, unused, unopened, undamaged item in its orig inal                                         Material       Silicone
                                 packaging (where packaging is applicable). Packaging should be t he same
                                 as what is found in a retail store, unless the item is handmade or was
                                 packaged by t he manufacturer in non-retail packaging, such as an unprinted
                                 box or plastic bag. See the seller's listing for full details. See all condit ion
                                 definitio ns
          Power Source            Electric                                                                                                 Type              Facial Massager
          Features                Rechargeable                                                                                                Brand          Dapperica
          UPC                     Does not apply




     Item description from the seller

     Silicone Facial Cleansing Brush from Dapperica
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 293 of
         el::>ay  Checkout            517
                                                                                                                                            How do you like our checkout? Give us feedback




            Pay with                                                                                                                         Subtotal (1 item)                            $10.95
                                                                                                                                             Shipping                                        Free
                    Add new card                                                                                                             Tax•                                            S0.77
            0       ~ ~ -                  151
                                                                                                                                             Order total                                 $11.72

            @       PayPa/                                                                                                                      By placing your order, you agree to eBay's
                                                                                                                                                User Agreement and Prtva91: Notice.
                                                                                                                                                *We're required by law to collect sales tax and


                    ·~~
                                                                                                                                                applicable fees for certain tax authorities
                                                                                                                                                Learn more
            0       Special financing available.
                    Apply now. See terms
                                                                                                                                                              Pay with PayPal


            0       IG Pay I Google Pay                                                                                                              You'll finish checkout on PayPal



                                                                                                                                                 ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                               See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                                     Bill
            Changf



            Review item and shipping

            Seller: dapperica             Message to seller

                                      Silicone Facial Cleansing Bnush Massage Electric Rechargeable
                                      Exfoliate Clean
                                       $10.95


                                      [    ~uantify




                                      Delivery

                                      @       Est. delivery Ap r 26 - Apr 28
                                              USPS First Class
                                              Free

                                      O Est. delivery: A pr 26 - Apr 27
                                              USPS Pnonty Mail
                                              S7.75




            Gift cards, coupons, eBay Bucks




            [~_E_n_te_r _co
                          _d_e_: - - - - - - ~ ]             -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the charity has lost tax exempt
            status. has closed. or no longer accepts funds from PPGF.


            Select amount        B
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 294 of
                                       517


DOE Number: 201
Seller Name: darknessseagull25
Marketplace: eBay
             Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023          Page  295 of                                                                                                                                 s,O
            v  Dai ly Deals Brand Out let Help & C o ntact
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(      8.aick t o ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                            Share I Add to Watchlist


                                                                                                                          BNIB Sealed Lacura Silicone Sensitive Skin Facial
                                                                                                                                                                                                                     Shop w ith confidence
                                                                                                                          Cleanser DUPE for Foreo
                                                                                                                                                                                                                               eBay Money Back Guarantee

                                                                                                                              Condit ion: New                                                                        8 your money
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                                                                                                                                                                                                                                           back.
                                                                                                                                                                                                                               Learn more

                                                                                                                                Price:
                                                                                                                                           $19.07                                    Buy It Now
                                                                                                                                                                                                                     Seller information
                                                                                                                                           Approximately
                                                                                                                                           us $18.93                                                                 darknessseagull25 (!lll; * )
                                                                                                                                                                                    Acldtocart
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                                                                                                                                Shipping: $11.91(approx us Sll.83) Standard Shipping. See
                                                                                                                                          details
                                                                                                                                              International shipment of rf:ems may be subject to
                                                                                                                                              customs processing and addrtional charges. (D
                                                                                                                                              located in: Doncaster, United Kjngdom


                                                                                                                                Delivery:     GI Estimated between Fri, Mar 24 and Mon, Mar
                                                                                                                                              270
                                                                                                                                              Please note the delivery estimate is greater than 12

                                          $ Have one to sell?             Sell now                                                            business days.
                                                                                                                                              Please a llow additional time if inte rnational deliv e ry is
                                                                                                                                              subject to customs proc essing.


                                                                                                                                 Returns: Seller does not accept returns. See details

                                                                                                                              Payments:       l~ IGParl§ II                   lllil
                                                                                                                                                       Earn up to 5x points when you use your
                                                                                                                                                       eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                            Feedback on our sug~stions




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    Beautederm Beaule Massage                              OVAL Sonic Facial Cleansing Brush                        Set of 4 Lacura QlO Day & Nig ht                Ultrasonic Ion Skin Scrubber EMS                 LACURA Face c are Foaming Gel                Fe
    Silicone Electric Facial C leanser +                   Silicone Face Massager Waterproof                        Cream C leansing Exfoliating Scrub,             Face Massager Facial C leansing                  C lea nser - Germany 8 .45 oz NEW            M
    FREE SHIPPING                                          Rechargeable                                             Foaming gel                                     Ion Import White                                                                              s~
    New                                                    New                                                      New                                             New                                              New                                          N,

    $15.00                                                 $32.99                                                   $29.99                                          $30.75                                           $22.00                                       $
    + $2.99 shipping                                       Free shipping                                            Free shipping                                   + S5.92 shipping                                 Free shipping                                F,,
    Seller 100% positive                                   Seller99.4% posrf:ive                                    Seller 100% positive                            18 watchers                                      Seller 100% positive                         Se




    Sponsore d ite ms inspired by your v ie ws                                                                                                                                                                                         Feedback on our suggestions



                                                                                                                        SH<,,l>COM




    Stuffed Octopus, Reversible                            40cm x 20cm Large Reversible                             Sonic Facial C leansing Brush                   FOREVER LINA T-Sonic mini Facial                 Flipping Octopus Flipping Octopus            o·
    Octopus Doll, Flip Plush Toy,                          Octopus Plushie X XL C ute Double-                       Heated, 3 Speed Silicone Face                   C leansing Device                                Octopus Octopus Plush Toy                    Cl
    Double Sided Flip Doll                                 Sided Flip Soft Toy                                      Cleansing Brush                                                                                  Flipping Doll Octopu                         s,
    New                                                    New                                                      New                                             New                                              New                                          P,,

    $32.50                                                 $10.64                                                   $35.00                                          $12.99                                           $24.69                                       $
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 296 of
         el::>ay  Checkout            517
                                                                                                                                How do you liKe our checkout? Give us reedbacK

                                                                                                                                                      To add more items, go to cart


            Pay with                                                                                                             Subtotal (1 item)                           $19 07
                                                                                                                                 Shipping                                    $11.91
                   Add new card                                                                                                  Tax*                                           $2.17
            0      §]~          -
                                                                                                                                 Order total                                 $33.15

            @      PayPa/                                                                                                        Order total in USD                         $34.30
                   current exchange rate: $1 = £0.81058
                   Change currencr                                                                                                 Current conversion rate: $1 = $0.97


                                                                                                                                   By placing your order, you agree to eBay's
                                                                                                                    V              User Agreement and PriVa~ Notice
                                                                                                                                   *We're required by Jaw to collect sales tax and
                                                                                                                                   applicable fees for certain tax authorities.
                                                                                                                                   Learn more
            0      I G Pay l Google Pay

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            Ship to
                                                                                                                                        You'll finish checkout on PayPal



            Miami, FL 33133-2709
                                                                                                                                     ebav MONEY BACK GUARANTEE
            United States

            Chang~



            Review item and shipping

            Seller: darknesssea..

                                    BNIB Sealed Lacura Silicone Sensitive SKin Facial Cleanser DUPE for
                                    Foree
                                    $19.07
                                    Quantity 1


                                    Delivery
                                    Est delivery: Mar 24 - Mar 27
                                    Royal Mail International Standard
                                    $11.51




            Gift cards, c oupons, eBay Bucks



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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 297 of
                                       517


DOE Number: 202
Seller Name: dawdigiacom0
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023          Page  298 of
          v     Daily Deals Brend O utlet He lp & Contac t
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ebay                           Shop by v
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(      8.aick t o ho m e page I Listed in cat egory· Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es ) See more Luce 180 A nt i -aging U L                                                                                       Shar e I Add to Watchlist


                                                                                                                           LUCE 180 Anti-Aging Ultra Sonic Technology Device
                                                                                                                                                                                                                      Shop w ith confidence
                                                                                                                           & Facial Cleanser BNIB black
                                                                                                                                              Be t he first to write a review.
                                                                                                                                                                                                                               eBay Money Back G u arantee

                                                                                                                                                                                                                       8 Get the item you ordered or get
                                                                                                                                                                                                                         your money back.
                                                                                                                                Condition: New                                                                                  Learn more



                                                                                                                                 Price:     $20.00                                     Buy It Now
                                                                                                                                                                                                                      Seller information
                                                                                                                                                                                                                      dawdigiacomO ~ * l
                                                                                                                                                                                                                      100% posit ive feedback
                                                                                                                                                                                      Add to cart

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                                                                                                                                  Best                                                                                Contact seller
                                                                                                                                                                                       Make offer
                                                                                                                                 Oller:                                                                               See other items


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                                                                                                                                                                                                                       Shop a related Store
                                                                                                                                                                                                                       278K items sold
                                                                                                                               ~        Fast and reliable. Ships from United States.

                                                                                                                                                                                                                       ..-!-    eaud eluxe          ( Shop now )
                                                                                                                                                                                                                                In eBay Stores
                                          $ Have one to sell?            Sell no w                                               Shipping:        us $4.00 Expedited Shipping. See details                                      Sponsored
                                                                                                                                                  Located in: aio, Michigan, United States


                                                                                                                                  Delivery: Estimated between Fri, Apr21 and Tue, Apr25 0

                                                                                                                                   Returns: Seller does not accept returns. see details

                                                                                                                                Payments: l~             IGPayl §        I[      I-      ~      I

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                                                                                                                                                          Earn up to 5x points when you use your
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    Similar sponsored items                                                                                                                                                                                                              Feedback on our suggestions




    Electric Silicone Facial Cleansing                     Electric Face Cleansing Brush Ultra                    Josie Maran Pure Argan Milk Clean                    Silicone Electric Face Cleansing               Ultrasonic Silicone Electric Facial          El•
    Brush Face Skin Care Deep Cleaner                     Sonic Facial Skin Silicone Cleaner                      Skin Niacinamade Cleanser- 4floz*                     Brush Sonic Facial Skin C leaner              C leansing Brush Sonic Face                  s,
    Massager                                              Massager                                                N EW                                                  Heated Massager                               C lea nser Massager                          M
    New                                                   New                                                     New                                                  New                                            New                                          N,

    $6.99                                                 $7.49                                                   $9.50                                                 $19.98                                        $12.93                                       $
                                                                                                                  0bids
    Fr ee shipping                                        Free shipping                                                                                                Fr ee s hippi ng                               $t9:6i5%off                                  F,,
    Seller w ith a 99.4% positive feedback                6watche rs                                              + shipping                                           Seller with a 100% positive feedback           Free shipping
                                                                                                                  Seller with a 100% positive feedback                                                                9watchers




    Sponsored items customers also bought                                                                                                                                                                                                Feedback on our sug~stions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 299 of
         el::>ay  Checkout            517
                                                                                                                                      How do you liKe our checkout? Give us feedback

                                                                                                                                                             To add more items, go to cart



            Pay with                                                                                                                   Subtotal (1 item)                             $20.00
                                                                                                                                       Shipping                                        S4.00
                   Add new card                                                                                                        Tax*                                            S168
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                    §1 ~         -     ~                                                                                               Order total                                  $25.68

            @       PayPa/                                                                                                                By placing your order, you agree to eBay's
                                                                                                                                          User Agreement and Prtva91 Notice.
                                                                                                                                          ~w e're required by law to collect sales tax and
                    ~~;;                                                                                                                  applicable fees for certain tax authorities.
                                                                                                                                          Learn more
            0       Special financing available.
                   Apply now See terms
                                                                                                                                                       Pay with PayPal


            0       I G Pov l Google Pay                                                                                                       You'll finish checkout on PayPal



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            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States                                                                                                                                                                      Bill
            Changf                                                                                                                                                                              ?

            Review item and shipping

            Seller: dawdigiacomo           Message to seller




                •
                                     LUCE 180 Anti-Aging Ultra Sonic Technology Device & Facial Cleanser
                                     BNIB black
                                     $20.00
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS Priority Mail
                                     $4.00




            Gift cards, coupons, eBay Bucks




            [~_E_n_te_r _co
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 300 of
                                       517


DOE Number: 203
Seller Name: deals4real-0
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  301 of
          v     Daily Deals Brend O utlet He lp & Contac t
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ebay                             Shop by v
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(      8.aick t o prev i ou s page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Facial C l eans ing D evices                                                                                                               Shar e I Add to Watchlist


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                                                 Pay over time with PayPal Credit
                                                 Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                                 El'lds 4/20, 11:59pm PT. Min. purchase required.



                                                                                                                                 Pink pop sonic leaflet Sonic Facial Cleansing
                                                                                                                                                                                                                   Shop with confidence
                                                                                                                                 Device
                                                                                                                                                                                                                            eBay Money Back Guarantee
                                                                                                                                                                                                                            Get the item you ordered or get
                                                                                                                                      Condition: Newother(see details)                                              8       your money back.

                                                                                                                                       Quantity:   LJ         2 available
                                                                                                                                                                                                                            Learn more



                                                                                                                                                                                                                   Seller information
                                                                                                                                       Price: $24.99                                 Buy It Now                    deals4real-0 (2)
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                                                                                                                                 Additional service available

                                                                                                                                 O      !.c¥ear rirotection Rian from Allstate - $3.99



                                                                                                                                     ;:b    Fast and reliable. Ships from United States.
                                                                                                                                                                                                                    Shop related items
                                                                                                                                                                                                                    278K items sold
                                                                                                                                       Shipping: Free Standard Shipping. See details
                                                                                                                                                   Located in: aarksvi lle, Tennessee, United States
                                                                                                                                                                                                                    ..! -   eaudeluxe
                                                                                                                                                                                                                            In eBay Stores
                                                                                                                                                                                                                                                 ( Visit store )
                                            $ Have one to sell?              Sell now                                                  Delivery: Estimated between Fri, Apr21 and Mon, Apr24 ©
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                                                                                                                                        Returns: Seller does not accept returns. See details




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                                                                                                                                                           eBay Mastercard®. Learn more

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    Similar sponsored items


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    Pop Sonic strawberry 3 in 1.                              POP SONIC LEAFLET Sonic Facial                             Proactiv Pore C leansing Charcoal            Popsonic Spade Face & Neck                   PopSonic Spade Face & Neck                    FC
    Cleanse, Massage, Exfoliate. Brand                        Cleansing Device PINK - Line &                             Infused Brush                                Sonic Beauty C leansing Device               Sonic Beauty C leansing Device                Cl
    new sealed.                                               Wrinkle Reducer                                                                                         Infuse Massage - White                       Infuse Massage - Purple
    New                                                       New(Other)                                                 New                                          New                                          New                                           P,,

    $24.00                                                    $21.96                                                     $11.30                                       $35.95                                       $39.95                                        $
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    + $3.50 shi pping                                        -$24-:9512%off                                                                                           Fr ee s hippi ng                             Free shipping                                 F,,
    a Top Rated Plus                                          Free shipping                                              + shipping                                   Seller with a 100% posit ive feedback        Selle r w ith a 100% positive feedback        Se
    Seller w ith a 100% posit ive f eedback                   a Top Rated Plus                                           Seller with a 100% positive feedback




                                                                                                                                                                                                                                      Feedback on our suggestions
    Sponsored items inspired by your views


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                                                                                POP
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 302 of
         ebay     Checkout            517
                                                                                                                          How do you like our checkout? Give us feedback

                                                                                                                                                  To add more items, go to cart.


            Pay wi th                                                                                                           Subtotal Q item)                              S24.99
                                                                                                                                Shipping                                         Free
                   Add new card                                                                                                 Tax•                                             $1.75
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                                                                                                                                Order total                                  $26.74
           @       PayPa/
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                                                                                                                                   User Agreement a nd Privacy Notice.

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                                                                                                                                   and a p plicable fees for c e rtai n tax
           0       Special financing available.                                                                                    aut ho rit ies. learn more
                   Apply now. See terms

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            Ship t o                                                                                                                 ebay MONEY BACK GUARANTEE
                                                                                                                                                    See details


            Miami, FL 33133-2709
            Unit ed States                                                                                                                                                               Bill
            Chang,1



            Review item and shipping

            Seller: deals4real-0         Message to seller

                                    Pink pop sonic leaflet Sonic Facial Cleansing Device

                                    $ 24.99

                                      Quantity




                                    Delivery
                                    Est. delivery: Apr 21 - Apr 24
                                    USPS First C lass
                                    f ree



            G ift card s, coupons, eBay Buc ks




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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day p rovide chi ldren facing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


            Select amount       8

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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 303 of
                                       517


DOE Number: 204
Seller Name: dealwithzeal
Marketplace: eBay
          v
              Case     1:23-cv-23631-RNS
                Daily Dea ls Brend O utlet Help & C o ntac t
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(      8.aick t o prev i ou s page I List ed in category: H ealt h & Bec1ut y ) Skin Care ) Facial C l eans ing D evic es                                                                                                              Shar e I Add to Watchlist


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                                                  Pay over time with PayPal Credit
                                                  Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                                  Eflds 4/20, 11:59pm PT. Min. purchase required.




0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                                Plum Beauty Compact Sonic Facial Cleansing &
                                                                                                                                                                                                              Shop w ith confidence
                                                                                                                                Refreshes Brush -
                                                                                                                                                                                                                      eBay Money Back Guarantee
                                                                                                                                     Condition: New                                                            8 Get the item you ordered or get
                                                                                                                                                                                                                 your money back.
                                                                                                                                                                                                                      Learn more
                                                                                                                                                        Buy l           Buy 2             Buy3
                                                                                                                                Bulk savings:
                                                                                                                                                      $3.99/ea        $ 3.59/ea          $3.39/ea
                                                                                                                                                                                                              Seller information
                                                                                                                                                  4 ormorefor$3.19/ea                                         dealwithzeal ~ * l

                                                                                                                                      Quantity:   LJ         6available/5sold
                                                                                                                                                                                                              99.5% positive feedback



                                                                                                                                                                                                              \ / Savese ller

                                                                                                                                      Price: $3.9 9/ea                                                        Contact seller
                                                                                                                                                                                      Buy It Now
                                                                                                                                                                                                              Visit store
                                                                                                                                                                                                              See othe r item s
                                                                                                                                                                                     Add to cart



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                                                                                                                                                                                                               Shop a related Store
                                                                                                                                                                                                               278K items sold

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                                            $ Have one to sell?              Sell now
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                                                                                                                                                                                                                      In eBay Stores
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                                                                                                                                                                                                                      Sponsored
                                                                                                                                    ~      Breat he easy. Returns accepted.



                                                                                                                                      Shipping: us $3.99 Standard Shipping. See details
                                                                                                                                                  Located in: Floral Perie., New York, United States

                                                                                                                                      Delivery: Estimated between Thu, Apr 20 and Fri, Apr 21 0

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                                                                                                                                                See details

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    Plum Beauty Thermal Sonic Facial                         Plum Beauty Purple Compact Sonic                           Proactiv Pore C leansing Charcoal             Plum Beauty Mini Sonic Facial            Plum Beauty Compact Sonic                       Pl
    Brush Cleansing System                                   Facial Cleansing Brush                                     Infused Brush                                 Brush - let                             Facial Cleansing Brush                           Br
    Rechargeable Heated                                      Rechargeable 3 Speeds                                                                                                                            Rechargeable, Purple B                           R<
    New                                                      New                                                        New                                           New                                     New{Other}                                       N,

    $10.00                                                   $10.00                                                     $11.30                                        $8.44                                   $13.99                                           $
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    Free shipping                                            Free shipping                                                                                            S¼r:9935% off                           Free shipping                                    F"
    Seller with a 99.3% posit ive feedback                   Seller with a 99.3% positive feedback                      + shipping                                    + S7.99 shipping                        EiJTop Rated Plus                                r:'I
                                                                                                                        Seller with a 100% posit ive feedback                                                 Selle r with a 99.3% positive feed back          Se
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 305 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                   Subtotal (1 item)                               $3.99
                                                                                                                                        Shipping                                        $3.99
                   Add new card                                                                                                         Tax•                                            $0.56
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            0       Special financing available.
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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                                Bill
            Changf



            Review item and shipping

            Seller: deaM<ithzeal         Message to seller

                                     Plum Beauty Compact Sonic Facial Cleansing & Refreshes Brush -
                                     $3.99


                                     [   ~uaatify




                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS First Class
                                     $3.99




            Gift cards, coupons, eBay Bucks



            [ Entercode                                ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 205
Seller Name: derel_57
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023          Page    307 of
             v  Dai ly Deals Brand Outle t Hel p & Contact
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 (      8-ack t o ho m e page I Listed in c at egory: Health & Beauty ) Sk in Oare ) Exfoliators &Sc rubs ) See more h c ial C l eansing Srvsh ...                                                                                        Shar e I Add to Watchlist


D EXTRA 5% Off WITH CODE SAVESONANYTHING Seealleligible~emsandte,ms ►

■
                                                                                                                           Electric Facial Cleansing Brush, FBFL Sonic Silicone
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                                                                                                                           Face Brush & Pink
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                                                                                                                                Payments:        l~ IGPayl§ I[• 1-                      ~ I
                                           $ Have one to sell?            Sell now                                                                                                                                 ....!.... eaud eluxe          ( Shop now)
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     Silicone Electric Facial C leansing                   4 in l Rechargeable Electric Facial                    Proactiv Pore C leansing Charcoal                    Silicone Fac ial C leansing Brush           3D Sonic Facial C leansing Brush             UI
     Brush Face Exfoliator Rechargeable                    C leansing Brush Set Face Body                         Infused Brush                                        Face Exfoliator C leanser                   Skin Rechargable Waterproof                  Cl
     5 Modes                                               Exfoliating                                                                                                 Rechargeable Electric                       Electric Face Body                           M
     New                                                   New                                                    New                                                  New                                         New

     $ 24.99                                               $21.99                                                 $11.30                                               $19.99                                      $11.99                                       $
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     Seller with a 100% positive feedback                  36sold                                                 + shipping                                           Seller with a 100% posit ive feedback       l96 sol d                                    Se
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     Sponsored items inspired by your views                                                                                                                                                                                          Feedback on our sug~stions




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     Toys Importers Pack of 2                              Nail Boss Hood ie Hoody
     Reversible Octopus Mood Plush - l                     Technic ian Beaut ic ian Acrylic Gel
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     $16.16                                                $31.10
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 308 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                   Subtotal (1 item)                            $14.99
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                    Add new card                                                                                                        Discount                                      -S0.75
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                    Apply now. See terms

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            Ship to                                                                                                                         ebay MONEY BACK GUARANTEE
                                                                                                                                                             See details


            Miami. FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: derel_ 57        Message to seller

                                     Electric Facial Cleansing Brush. FBFL Sonic Silicone Face Brush & PinK
                                     $14.99
                                     Quantny 1


                                     Delivery
                                     Est. delivery: A pr 21 - A pr 24
                                     USPS First Class
                                     $10 .65




            Gift cards, coupons, eBay Bucks

            m Discount SAVE5ONANYTHING
                   Applied : $0.75




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            O To apply a donation. you can't be using gm cards. coupons. eBay BucKs. or reward points.




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                                       517


DOE Number: 206
Seller Name: dev218
Marketplace: eBay
                Case     1:23-cv-23631-RNS                     Document 20-2 Entered on FLSD Docket 11/13/2023         Page     310 of
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(      8-ack t o ho m e pag e I Listed in c at egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es ) See more Pop Sonic l eaf Fac i al ..                                                                                       Shar e I Add to Watchlist


                                                                                                                             Pop Sonic Leaf Purple Lot (1 Unopened) New Open
                                                                                                                                                                                                                       Shop w it h conf idence
                                                                                                                             Box Facial Cleansing Device 3
                                                                                                                                                Be th e first to write a review.
                                                                                                                                                                                                                                 eBay Money Back Guarantee

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                                                                                                                                                                                                                         your money back.
                                                                                                                                 C ondit ion: Newother (see details)                                                             l earn more
                                                                                                                                                    " 2 items are new, open box and one item is new in
                                                                                                                                                    sealed box.n
                                                                                                                                                                                                                       Seller information
                                                                                                                                                                                                                       dev218 ~        * l
                                                                                                                                   Price: $59.74                                         Buy It Now
                                                                                                                                                                                                                       99.4% posit ive feed back



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                                                                                                                                                                                                                        Discover related items
                                                                                                                                                                                                                       114K items sold
                                                                                                                                   Ship ping:       us $9.6 5 Expedited Shipping. See details
                                                                                                                                                    located in: Auburn, California, United States
                                          $ Have one to sell?                Sell now                                                                                                                                            lovelydeals2012       ( Shopnow)
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                                                                                                                                    Delivery: Est imat ed between Wed, A pr 19 and Thu, Ap r 20                                  Sponsored
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    Similar sponsored it ems                                                                                                                                                                                                                Feedback on our suggestions




                         pop




    Pop Sonic st rawb erry 3 in l.                           PopSonic Leaf bud Sonic Facial                         Cliniq ue Sonic Sy stem Purifying                     PMD Clean Smart Facial Cleansing             Pink pop sonic leaf let Sonic Facial           P<
    Cleanse, Massage, Exfo liate. Brand                      C leansing Device Soften Wrinkles                      Cleansing Brush - New W/ Wand                         Devic e BERRY New in box                     C leansing Dev ice                             Cl
    new sealed.                                              Lavender Purple                                        And Charge Doc k                                                                                                                                  w
    New                                                      New                                                    New                                                  New                                           New{Other)

    $ 24.00                                                  $29.99                                                 $22.49                                               $35.98                                        $24.99                                         $
                                                                                                                    2 bids
    + $3.50 shipping                                         Free shipping                                                                                                + $6.50 shipping                             Free shipping
    a Top Rated Plus                                         Seller with a 99.8% positive feedback                  Free shipping                                        Seller with a 100% positive feedback          Seller with a 100% positive feedback
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    Sponsored it ems customers also boug ht                                                                                                                                                                                                 Feedback. on our sug~stions




                         pop




    Pop Sonic st rawb erry 3 in l.                           Sonic Facial C leansing Bru sh                         Elect r ic Silic one Facial C leansing
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 311 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                 Subtotal (1 item)                            $59.74
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            Ship to                                                                                                                                       See details




            Miami, FL 33133
            United States
                                                                                                                                                                                             Bill
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            Review item and shipping

            Seller: dev218          Message to seller

                                      Pop Sonic Lear Purple Lot (1 Unopened) New Open Box Facial
                                      Cleansing Device 3
                ii
                     •                $59.74
                                     Quanmy 1


                                      Delivery
                                      Est. delivery: Apr 19 - Apr 20
                                      USPS Priority Mail Flat Rate Envelope
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families wtth Kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 207
Seller Name: dianzi-44
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023        Page  313 of
          v     Daily Dea ls Brend O utlet He lp & Contact
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(     8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                      Shar e I Add to Watchlist


                                                                                                            Facial Cleansing Brush, Sonic Silicone Scrubber, Face
                                                                                                                                                                                                            Shop w ith confidence
                                                                                                            Vibrating Massager
                                                                                                                                                                                                                      eBay Money Back Guarantee

                                                                                                                   Condition: New                                                                           8 Get the item you ordered or get
                                                                                                                                                                                                              your money back.

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                                                                                                                                                                                                            Seller information
                                                                                                                       Price:   $6.00                                         Buy It Now                    dianzi-44 OZ    -.i
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                                                                                                                       Ships from United States                         Returns accepted
                                         Hover to zoo m                                                                                                                                                      Discover related items
                                                                                                                     Shipp ing: us $ 5.85 Standard Shipping. See details                                    113K items sold
                                                                                                                                    Located in: Pleasanton, California, United States

                                                                                                                       Delivery: Estimated between Sat, Mar 11 and Mon, Mar 13 to 33133 0                             lovelydeals2012      ( Visit store )
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                           $ Have one to sell?            Sell now
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    Elect ric Fac e Cleansing Brush Ultra                Silicone Electric Face C lea nsing                      ON LABS Blackhead Deep                         Facial C leansing Brush, Sonic              Facial Cleansing Brush, 3-ln-1                H1
    Sonic Facial Skin Silicone C leaner                  Brush Sonic Facial Skin Cleaner                         Cleansing Nose Pore St rips 6 Strips           Silicone Scrubber, Face Vibrating           Electric Silicone Face Scrubber,              Br
    Massager                                             Heated Massager                                         (LOT OF3)                                      Massager                                    Vibrat ing Massag                             Cl
    New                                                  New                                                     New                                            New                                         New                                           N,

    $7.49                                                $19.98                                                  $0.99                                          $6.00                                       $23.67                                        $
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                                                         Sel ler 100% positive                                   + $4.50 shipping                                                                           Seller 100% positive                          74
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    Sponsored it ems customers also bought                                                                                                                                                                                    Feedback on our suggestions




    Silicone Face C leansing Brush                       Silicone Elect ric Face C lea nsing                     Facial Cleansing Brush, 3-ln-1                 2inl Rechargeable Electric Facial           Foreo Luna Mini 2 Facial Cleansing            Fe
    Electric Facial C leanser Washing                    Brush Sonic Facial Skin C leaner                        Electric Silicone Face Scrubber,               Cleansing Brush Set Fac e Body              Brush ( Fuchsia) BRAND NEW WITH               Br
    Massager Sc rubber                                   Heated Massager                                         Vibrating Massag                               Exloliati ng IPX6                           CASE                                          C,
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 314 of
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: dianzi-44        Message to seller

                                     Facial Cleansing Brush, Sonic Silicone Scrub ber, Face Vibrating
                                     Massager
                                     $6.00


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                                     Delivery
                                     Est. delivery: Mar 11 - Mar 13
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                                     S5.85



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
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            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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(     8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                       Shar e I Add to Watchlist


                                                                                                            Facial Cleansing Brush, Sonic Silicone Scrubber, Face
                                                                                                                                                                                                           Shop w ith confidence
                                                                                                            Vibrating Massager
                                                                                                                                                                                                                     eBay Money Back Guarantee

                                                                                                                   Condition: New                                                                          8 Get the item you ordered or get
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                                                                                                                     Quantity:   EJ         8 available / 2 sold                                                     Learn more



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                                                                                                                       Price:   $6.00                                        Buy It Now                    dianzi-44 OZ -.i
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    Electric Face Cleansing Brush Ultra                  Silicone Electric Face C leansing                       ON LABS Blackhead Deep                      Handheld Electric Fac ial Cleansing           Facial Cleansing Brush, Sonic                   Fe
    Sonic Facial Skin Silicone C leaner                  Brush Sonic Facial Ski n Cleaner                        Cleansing Nose Pore Strips 6 Strips         Brush Tool Waterproof Silicone                Silicone Scrubber, Face Vib rating              Si
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 316 of
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: dianzi-44        Message to seller

                                     Facial Cleansing Brush, Sonic Silicone Scrub ber, Face Vibrating
                                     Massager
                                     $6.00


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                                     Delivery
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
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                                       517


DOE Number: 208
Seller Name: dmcove27
Marketplace: eBay
                Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    318 of
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(      8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                          Shar e I Add to Watchlist


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            Miami, FL 33133
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            Review item and shipping

            Seller: dmcove27

                                      POP SONIC LEAF Sonic Facial Cleansing Device MINT New




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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova UKraine to help fund group. indivKlual & family therapy for families with Kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
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            status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 209
Seller Name: dreamflywo-10
Marketplace: eBay
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                                                                                                                       Electric Silicone Facial Brush Vibration Cleaner
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    Skin Cleaner                                          Cleaner Massager                                       Skin Cleaner                                    Pore Clean Brush                                 Clea nsing Massager                              Pc
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            Boca Raton, FL 33433
            United States
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            Review item and shipping

            Seller: dreamflywo-10           Message to seller

                                    Electric Silicone Facial Brush Vibratio n Cleaner Deep Pore
                                    C leansing Massager
                                    Colors: Blue
                                    AU $20.19




                                    Delivery
                                    Est . delivery: May 18 - Jul 17
                                    Economy Shipping from Greater China to worldwide
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            Gift cards, coupons, eBay Bucks



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                                                                                                                           Silicone Face Cleansing Brush 5 Mode Electric
                                                                                                                                                                                                              Shop with conf idence
                                                                                                                           Facial Cleanser (Navy Blue)

[I]                                                                                                                          Condition: New                                                                   8
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               Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023         Page  324 of
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                                                                                                                           Sonic Face Cleanser Massager
                                                                                                                                                                                                                        eBay Money Back Guarantee
                                                                                                                                                                                                                        Get the item you ordered or get
                                                                                                                               Condition: New                                                                    8      your money back.
                                                                                                                                   Color:        - Select -                                                              Learn more


                                                                                                                                Quantity:    LJ               More than 10 available
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                                                                                                                                                                                                                 dreamfl)'l'!o-10 Q!fil> *>
                                                                                                                                                                                                                 95.7% Positive feedback
                                                                                                                                Price:   $14.16                                      Buy It Now

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                                                                                                                                                                                                                  Explore a related Store
                                                                                                                                                                                                                 113 K items sold
                                                                                                                                Shipping: Free Economy Shipping from o utside US. See
                                           $ Have one to sell?            Sell now                                                           det ails                                                                    lovelydeals2012       (   Visit store )
                                                                                                                                             located in: Shen Zhen, China                                                In eBay Stores
                                                                                                                                                                                                                         Sponsored
                                                                                                                                Delivery:    Iii Estimated between Wecl, Mar 29 and Tue, May
                                                                                                                                             23 (l)
                                                                                                                                             This item has an extended handling time and a delivery
                                                                                                                                             estimate greaterthan 18 business days.
                                                                                                                                             Please allow additional time if international delivery is
                                                                                                                                             subject to customs processing.

                                                                                                                                 Retu rns:   30 day returns. Buyer pays for return shipping.
                                                                                                                                             see details




                                                                                                                                             PayPal CREDIT
                                                                                                                                             Special financing available. See terms and BRR!¥
                                                                                                                                             now

                                                                                                                                                        Earn up to 5x points when you use you r
                                                                                                                                                        eBay Mastercard®. Learn more

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     Similar sponsored it em s                         See all >                                                                                                                                                                  Feedback on our suggestions




     Ultrasonic Silicone Elect r ic Facial                 Silicone Electric Face C leansing                       Sunday Riley C.e.o. C + E Micro-                  Handhe ld Electric Facial C leansing        Ultrasonic Silicone Electric Facial           UI
     C leansing Brush Sonic Face                           Brush Sonic Facial Skin Cleaner                         dissolve C leansing Oil FULL SIZE                 Brush Tool Waterproof Silicone              C leansing Brush Sonic Face                   Cl
     Cleanser Massager                                     Heated Massager                                         3.4oz NEW                                         C leansing New                              C leanser M assager                           Cl
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     $12.93                                                $19.98                                                  $8.50                                             $9.95                                       $13.19                                        $
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     Sla6!5% off                                           Free shipping                                                                                             Free shipping                               Free shipping                                 $2
     Free shipping                                         Seller 100% positive                                    Free shipping                                     72 sold                                                                                   Fr<
     6watchers                                                                                                     Seller99.8% positive




     Relat ed spo nsored it ems                          See all >                                                                                                                                                                Feedback on our suggestions




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 325 of
         ebay     Checkout            517
                                                                                                                        How do you like o ur checkout? Give us feedback




            Pay wi th                                                                                                         Subtotal 0 item)                               $14.16
                                                                                                                              Shipping                                        Free
                   Add new card                                                                                               Discount                                      -$0.71
            0      §]~         -       ~                                                                                      Tax•                                           S0.94


                   PayPa/                                                                                                     O rder total                                $14.39

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                                                                                                                                 User Agreement and Privacy Notice.
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            0      Special financing available.                                                                                  ~we're re qu ired by law to collect sales tax
                                                                                                                                 and ap plicable fees for ce rtain tax
                   Apply now. See terms                                                                                          autho rit ies. learn more



            O      IG Pov l Google Pay                                                                                                        Pay with PayPal

                                                                                                                                    You'll f inish checkout on Pay Pal

            Ship to
                                                                                                                                  ebay MONEY BACK GUARANTEE
                                                                                                                                                 See details
            Miami, FL 33133-2709
            United States

            Chang!l



            Review item and shipping

            Seller: dreamflywo-10          Message to seller

                                   Ultrasonic Silicone Electric Facial Cleansing Brush Sonic Face
                                   Cleanser Massager
                                   Color: Blue
                                   $14.16


                                   [   ~ uanH~     v   l
                                   Delivery
                                   Est . delivery: Mar 29 - May 23
                                   Economy Shipping from outside us
                                   Free



            G ift cards, coupons, eBay Bucks

            m Discount DEFDFDV12654682
                  Applied: $0.71




            [~_E_n_te_r_c_o_d_e_, _ _ _ _ _ _~]        -




            0 To apply a donat ion, you can't be using gift cards, coupons, eBay Bucks, or reward
                points.




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 326 of
                                       517


DOE Number: 210
Seller Name: ecffl
Marketplace: eBay
             Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023          Page   327 of
            v  Dai ly Deals Brand Outlet Hel p & Contact
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ebay                           Shop by v
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(      8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                         Shar e I Add to Watchlist


                                                                                                                          Silicone facial cleansing beauty face brush deep
                                                                                                                                                                                                                Shop w ith confidence
                                                                                                                          pore cleanser (Blue)
                                                                                                                                                                                                                          eBay Money Back Guarantee

                                                                                                                               Condit ion: New                                                                   8 Get the item you ordered or get
                                                                                                                                                                                                                   your money back.

                                                                                                                                Quantity:     EJ         More than 10 availab le
                                                                                                                                                                                                                          Learn more



                                                                                                                                                                                                                Seller information
                                                                                                                                Price:    $14.92                                    Buy It Now                  ecttl W      *l
                                                                                                                                                                                                                100% posit ive feed back

                                                                                                                                                                                    Add to cart
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                                                                                                                                                                                                                 Discover related items
                                                                                                                                                                                                                 115 K items sold
                                                                                                                              ~      Fast and reliable. Ship s from United States.
                                                                                                                                                                                                                          lovelydeals20l2       ( Shop now)
                                                                                                                                                                                                                          In eBay Stores
                                          $ Have one to sell?            Sell now
                                                                                                                                                                                                                          Sponsored
                                                                                                                                Shipping: Free Standard Shipping. See details
                                                                                                                                              Located in: Hol lywood, Florida, United States

                                                                                                                                Delivery: Est imated between Fri, Apr21 and Mon, Apr24 0

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                                                                                                                               Payments:      l~ IGPayl§ l[• l-                       ~ I
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                                                                                                                                              now

                                                                                                                                                      Earn up to 5x points wh en you use your
                                                                                                                                                      eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                          Feedback on our suggestions




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    Electric Face Cleansing Brush Ultra                   Elect ric Facial Cleansing Brush Set                    Pro activ Pore Cleansing Charcoal              Silicone Facial Cleansing Brush                Sonic Facial Cleansing Brush                   Fe
    Son ic Facial Skin Silicone C le aner                 Face Body Exfo liat ing Silicone                        Infused Brush                                  Massage Electric Rechargeable                  YUNCHI Food Grade Silicone
    Massager                                              Wat erproof US                                                                                         Exfoliate Clean                                Waterproof BLUE WC02_B
    New                                                   New                                                     New                                            New                                            New

    $ 7.49                                                $11.97                                                  $11.30                                         $10.95                                         $13.95                                         $
                                                                                                                  0bids
    Fr ee shippi ng                                       Free shipping                                                                                          Fr ee shi ppi ng                               Free shipping                                  F,,
    6watchers                                             ~ lop Rated Plus                                        + shipping                                     41 sold                                        Sel ler w ith a 99.9% positive feedback        4(
                                                          10 % off 3+ w ith coupon                                Seller with a 100% positive feedback




    Sponsored items inspired by your views                                                                                                                                                                                           Feedback on our suggestions



                Facial CINnslng Bru9h For                                                                                                                                                            ft
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 328 of
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            Pay wit h                                                                                                                    Subtotal (1 item)                            $14.92
                                                                                                                                         Shipping                                        Free
                    Add new card                                                                                                         Tax•                                            S1.04
            0       E;ll~ ~              -
                                                                                                                                         Order total                                 $15.96

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            0       Special financing available.
                    Apply now. See terms
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            0       IG Pav l Googte Pay                                                                                                          You'll nnrsh checkout on PayPal


                                                                                                                                             ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                 Bill
            Changf



            Review item and shipping

            Seller: ecffl      Message to seller

                                      Silicone racial cleansing beauty race brush deep pore cleanser (Blue)
                                      $14.92


                                     [   ~uaatify




                                      Delivery

                                     @       Free 2-3 day shipping
                                             Get it by A pr 20 - Apr 21
                                             USPS First Class

                                     0       Est. delivery: Apr 20 - Apr 21
                                             USPS Priority Mail
                                             $9.55




            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed. or no longer accepts funds from PPGF


            Select amount        g

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                                       517


DOE Number: 211
Seller Name: eclipsefastpitch2
Marketplace: eBay
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            v  Daily Deals Brand Outlet Help & Contact
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ebay                           Shop by v
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(      8-ack to ho m e page I Listed in c at egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                                            Shar e I Add t o Watchlist


                                                                                                                            Pop Sonic Leaf Facial Cleansing Device - Teal - New
                                                                                                                                                                                                                                   Sho p w it h c o nf ide nce
                                                                                                                            In Box
                                                                                                                                                                                                                                             eBay Money Back Guarantee

                                                                                                                                 Condit io n: New                                                                                  8         Get the item you ordered or get
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                                                                                                                                                                                                                                             Learn more

                                                                                                                                    Price :         $29.99                                            Buy It Now
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                                                                                                                                                                                                     Acldtocart
                                                                                                                                                                                                                                   100% positive feedback


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                                                                                                                                                                                                                                    Discover related items
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                                                                                                                                                                                                                                   114K items so ld

                                                                                                                                    Ship ping:              us $6.99 Ex pedited Shipping. See details                                        lovelydeals2012      (   Visit store )
                                                                                                                                                                                                                                             In eBay Stores
                                          $ Have one to sell?            Sell now                                                                            Located in: Olathe, Kansas, United States
                                                                                                                                                                                                                                             Sponsored

                                                                                                                                     Deliv e ry:             Estimat ed b etw een Wed, Apr 19 and Thu, Apr 20
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    Similar sponsored items                                                                                                                                                                                                                             Feedback on our suggestions



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    PopSonic Leafbud Sonic Facial                           Pop Sonic Leafbud Facial                              Josie M aran Nou rishing A rg a n O il                                Pop Sonic strawbe rry 3 in I.              Pink po p sonic leaflet Sonic Facial            FC
    C leansing Device Soft en Wrinkles                      C leans ing Device O range                            Daily Facial C leansing Oil 6oz New                                   C leanse, Massage, Exfoliat e . Brand      C leansing Devic e                              Cl
    Lavender Purple                                         Waterproof Rechargeable NIB                                                                                                 new sealed.
    New                                                     New                                                   New                                                                   New                                        New(Other}                                      N,

    $29.99                                                  $18.00                                                $20.00                                                                $24.00                                     $24.99                                          $
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    Free shipping                                           + $11.75 shipping                                                                                                           + S3.50 shipping                           Free shipping                                   +:
    Seller with a 99.8% positive feedback                   Seller with a 100% positive feedback                  + $5.65 shipping
                                                                                                                  Seller with a 100% positive feedback
                                                                                                                                                                                        a  Top Rated Plus
                                                                                                                                                                                        Seller with a 100% positive feedback
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    Sponsored it ems inspired by your views                                                                                                                                                                                                             Feedback on our suggestions


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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 331 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                              Subtotal (1 item)                            $29.99
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                   Add new card                                                                                                    Tax•                                            $2.59
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                                                                                                                                   Order total                                 $39.57

            @      PayPa/                                                                                                             By placing your order, you agree to eBay's
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            0      Special financing available.
                   Apply now. See terms
                                                                                                                                                   Pay with PayPal


            0      IG Pav l GoogtePay                                                                                                      You'll nnrsh checkout on PayPal


                                                                                                                                        ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                    See details




            Miami, FL 33133
            United States
                                                                                                                                                                                           Bill
            Changf



            Review item and shipping

            Seller: eclipsefast ..        Message to seller

                                     Pop Sonic Lear Facial Cleansing Device - Teal - New In Box
                                     $29.99
                                     Quantny 1


                                     Delivery
                                     Est. delivery: A pr 19 - A pr 22
                                     USPS Priority Mail
                                     $6.99




            Gift cards, coupons, eBay Bucks



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             Enter_code: _ ~ ]                           -




            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova UKraine to help fund group, indtvidual & family therapy for families with Kids
            who have expenence severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may Ile unable to grant funds to a charity ~ the chanty has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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DOE Number: 212
Seller Name: eufaulagirl
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023        Page   333 of                                                                                                                           s,O
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ebay                          Shop by v
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(     Back t o ho m e page I Listed in cat eg ory· Health & Beauty )   Sk in Care )   Facial C l e ansing Dev ic es                                                                                                                 Share I Add to Watchlist



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                                                                                                                              Silicone Waterproof Electric Facial Cleansing Brush
                                                                                                                                                                                                               Shop with confidence
                                                                                                                              USB Rechargeable Pink
                                                                                                                                                                                                                      eBay Money Back Guarantee
                                                                                                                                                                                                                      Get the item you ordered or get
                                                                                                                                   Condition: Newother(see detai ls)                                           8      your money back.
                                                                                                                                                                                                                      Learn more


                                                                                                                                    Price:   $12.95                               Buy It Now
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                                                                                                                                                                                  Add to cart
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                                                                                                                                 ~      Fast and reliable. Ships from Unit ed States.



                                                                                                                                    Ship ping: Free Standard Shipping. See details                              Discover related items
                                                                                                                                               located in: Eufaula, Oklahoma, United States                    115K items sold
                                                                                                                                    Delivery: Est imat ed between Wed, Apr 26 and Fri, Apr28 0
                                                                                                                                                                                                                      lovelydeals2012      ( Shop now)
                                                                                                                                                                                                                      In eBay Stores
                                        $ Have one to sell?            Sell now                                                      Returns: Seller does not accept ret urns. See details
                                                                                                                                                                                                                      Sponsored

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                                                                                                                                                        eBay Mast ercard®. Learn more

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    Similar sponsored items                         Seeall       >                                                                                                                                                              Feedback on our suggestions




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    Silicone Facial Cleansing Brush                     Facial Cleansing Brush, Si licone                             Nano 30ML Facial Portable Mist              Ultrasonic Silicone Electric Facial          Facial Cleansing Brush                     Si
    Massage Electric Rechargeable                       Electric Massage Brush,                                       Sprayer for Disinfecting & Face             C leansing Brush Sonic Face                                                             El,
    Exfoliate Clean                                     Rechargeable                                                  Hydration US                                C leanser Massager                                                                      M
    New                                                 New                                                           New                                         New                                          New

    $10.95                                              $10.99                                                        $6.50                                       $12.93                                       $14.99                                     $
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    Free shipping                                       Free shipping                                                                                             S¼9:6t 5% off                                Free shipping                              F,,
    4lsold                                              Seller withe 100% positive feedback                           + shipping                                  Free shipping                                40 sold
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    Sponsored items inspired by your views                                       See all        >                                                                                                                               Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 334 of
         el::>ay  Checkout            517
                                                                                                                                 How do you like our checkout? Give us feedback




            Pay wit h                                                                                                             Subtotal (1 item)                            $12.95
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                   Add new card                                                                                                   Tax•                                            S0.91
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                                                                                                                                  Order total                                 $1 3.86

            @      PayPa/                                                                                                            By placing your order, you agree to eBay's
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            0      Special financing available.
                   Apply now. See terms
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            0      IG Pay I Google Pay                                                                                                    You'll finish checkout on PayPal



                                                                                                                                       ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                   See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                          Bill
            Changf



            Review item and shipping

            Seller: eufaulagirl      Message to seller

                                    Silicone Waterproof Electr1c Facial Cleansing Brush USB Rechargeable
                                    Pink
                                    $1 2.95
                                    Quantity 1


                                    Delivery
                                    Est. delivery: A pr 26 - Apr 28
                                    USPS First Class
                                    Free



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charily if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount      g
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                                       517


DOE Number: 213
Seller Name: finelivingcollections
Marketplace: eBay
              Case      1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    336 of
          v     Da ily Dea ls Brend O utlet He lp & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                    Shar e I Add to Watchlist


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                                                                                                                           Rechargeable Silicone ~ H22
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                                           $ Have one to sell?             Sell now                                               Shipping: US $10.40 Expedited Shipping. See details                                   lovelydeals2012      ( Visit store )
                                                                                                                                                                                                                        In eBay Stores
                                                                                                                                               located in: Lawrencevi lle, Georgia, United States
                                                                                                                                                                                                                        Sponsored

                                                                                                                                   Delivery: Est imated between Sat, Marn and Mon, Marl3 to
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    Silic one Electric Face Cleansi ng                     Facial Cleansing Brush, 3-ln-l                            New Therabody The raFace PRO                 Facial Cleansing Brush, 3-ln-1                 Hand held Electric Facial Cleansing         El•
    Brush Sonic Fac ial Skin C leaner                      Electric Silicone Face Scrubber,                          Facial Massager - Black                      Elec t ric Silic one Face Scrubber,            Brush Tool Waterproof Silicone              Sc
    Heated Massag er                                       Vibrating Massag                                                                                       Vibrat ing Massag                              C leansing New                              M
    New                                                    New                                                       New                                          New                                            New                                         Nt:

    $19.98                                                 $23.67                                                    $8.50                                        $28.99                                         $9.95                                       $
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    Free shipping                                          Free shipping                                                                                          Free shipping                                  Free shipping                               fo
    Seller 100% positive                                   Seller 100% positive                                      + $10.00 shipping                            Seller 100% positWe                            74sol d
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            Pay wit h                                                                                                                   Subtota l ( 1 ite m)                         $17.50
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                   Add new card                                                                                                         Tax•                                            S1.95
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: finelivingc...

                                     NEW Sonic Facial Cleansing Brush Massager 3-n-1 Rechargeable
                                     Silicone ~ H22

                                     $17.50


                                     [   ~uantify




                                     Delivery
                                     Est. delivery: Mar 11 - Mar 13
                                     USPS Priority Mail Padded Flat Rate Envelope
                                     S10.40



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
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                                       517


DOE Number: 214
Seller Name: fnilleks
Marketplace: eBay
               Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023          Page   339 of                                                                                                                       s,O
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(       Back t o ho m e page I U sted in cat egory: Health & Seavty )   Sk in Care )    Extoliato rs & Scrubs                                                                                                                       Share I Add to Watchlist


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                      ....., fnilleks                                                                                                                                                                          Shop with confidence
                                                                                                                        Cleansing Brush Electric Facial
                                                                                                                                                                                                                      eBay Money Back Guarantee
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                                                                                                                        Bulk savings:
                                                                                                                                           $12.99/ea           $11.69/ea
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                                                                                                                                Pickup: Free local pickup f rom Midd letown, New York,
                                                                                                                                        United States. See details
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                                                                                                                               Returns: Seller does not accept returns. See details                            115K items sold

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    Super Face Washing Machine                           Silicone Electric Facial C leansing                    RODIAL Bee Veno m Cleansing                    HLAIESilicone Electric Face                     5-1 Mult ifunction Electronic Facial        Si
    Electric Soft Silicone Facial Brush                  Brush Face Exloliator Rechargeable                     Balm 3.4 fl oz New in Box $55 retail           Cleansing BRUSH Sonic Facial Skin               Clea nsing Face Massage Brush               Fa
    C leanser Massage                                    5 Modes                                                                                               C leaner Massager                               Skin care Spa                               Sc
    New                                                  New                                                    New                                            New                                             New

    $8.98                                                $ 24.99                                                $ 9.99                                         $19.98                                          $6.55                                       $
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    $9:9810%off                                          Free shipping                                                                                         Free shipping                                   Free shipping                               F,,
    Free shipping                                        Seller with a 100% positive feedback                   + shipping                                     a  Top Rated Plus                               2790sold
    a  Top Rated Plus                                                                                           Seller withe 100% positive feedback            Seller with a 100% positive feedback:




    Sponsored it ems customers also bought                                             See all     >                                                                                                                             Feedback on our suggestions




    Super Face Washing Machine                           Silicone Electric Facial C leansing                    Perlier Royal Elixir Youth Creator             Silicone Face C leansing Brush
    Electric Soft Silicone Facial Br ush                 Brush Face Exfoliator Rechargeable                     wit h Royal Pro Yout h Peptide - 2 oz          Facial C leanser Washing Massager
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 340 of
         el::>ay  Checkout            517
                                                                                                                                       How do you like our checkout? Give us feedback




            Pay wit h                                                                                                                   Subtotal (1 item)                            $12.99
                                                                                                                                        Shipping                                        $5.10
                    Add new card                                                                                                        Tax•                                            $1.27
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                                                                                                                                        Order total                                 $19 .36

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            Miami, FL 33138-4055
            United States
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            Review item and shipping

            Seller: fnilleks      Message to seller

                                     USB Recharge Waterproof Vibrating Silicone Face Cleansing Brush
                                     Electric Facial
                                     $12.99


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                                     @      Delivery
                                            Est. delivery Ap r 26 - Apr 29
                                            USPS First Class
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                                     O Pickup
                                            Contact seller after checkout to arrange pickup



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            Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being kids. PayPal Giving Fund (PPGF)
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 (       8-ack t o ho m e pag e I List ed in cat egory: Health & Beauty ) Sk in O are ) Exfoliators & Sc rubs                                                                                                                 Shar e I Add to Watchlist



0 SAVE UPTO 10% WHEN YO U BUY MORE
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                       ......., fnilleks                                                                                                                                                                Sho p w it h c o nfid e nce
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[i]                                                                                                                          Condit io n: Newother(see details)                                          e      Get the item you ordered or get
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     Super Face Washing Machine                             2 Pack Face Washing Machine                         Treso, Rare ULTIMATE PEARL                    3inl Rechargeable Electric Facial         5-1 Mu lt ifunc t io n Electron ic Facia l      El•
     Electric Soft Silicone Facial Brush                    Electric Solt Silicone Facial Brush                 C leansing and Revitalizing Mousse            Cleansing Brush Set Face Body             C lea nsing Face Massage Brush                  Si
     C leanser Massage                                      C leanser Massage                                   5.1oz - New                                   Exfoliati ng IPX6                         Skin care Spa                                   Fe
     New                                                    New                                                 New                                           New                                       New                                             N,

     $8.98                                                  $9.99                                               $50.00                                        $14.97                                    $6.55                                           $
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     $9:9810%off                                            Free shipping                                                                                     Free shipping                             Free shipping                                   F«
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     a  Top Rated Plus                                      Seller with a 99.5% positive feedback                                                             149sold




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     Electric Facial C leansing Brush Set                   Forever Lina M in i T Sonic Facial                  Super Face Washing Machine                    2 Pack Face Washing Machine               Facial Cleansing Brush Silicone                 Pl
     Face Body Exfoliating Sil icone                        C leansing Device                                   Electric Soft Silicone Facial Brush           Electric Soft Silicone Facial Br ush      Face Scrub Brush Manual                         sr
     Waterp roof us                                                                                             C leanser Massage                             C leanser Massage                         Exfoliating Brush                               w,
     New                                                    Pre-owned                                           New                                           New                                       New                                             N,

     $11.97                                                 $39.99                                              $9.98                                         $9.99                                     $14.95                                          $
     Free shipping                                          + $6.25 shipping                                    + shipping                                    Free shipping                             Free shipping                                   $1<
     f3 Top Rated Plus                                      Seller with a 100% positive feedback                Seller with a 100% positive feedback          a  Top ~ted Plus                          a  Top ~ated Plus                               F«
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 342 of
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                    Add new card                                                                                                        Tax•                                            $1.27
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            Miami, FL 33133
            United States
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            Review item and shipping

            Seller: fnilleKs         Message to seller

                                       USB Recharge Waterproof Vibrating Silicone Face Cleansing Brush
                                       Electric Facial
                                       $12.99


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                                       @      Delivery
                                              Est. delivery Apr 21 - Apr 24
                                              USPS First Class
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                                              Contact seller after checkout to arrange pickup



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refUndable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the chanty has lost tax exempt
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                                       517


DOE Number: 215
Seller Name: forestytore
Marketplace: eBay
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            v          Daily D ea ls     Brend O utlet
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[I]                                                                                                                               Electric Face Cleanser Rose Red Vibrate Pore Clean


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                                                                                                                                                                                                                                97.6% posit ive feedback
                                                                                                                                        Price:
                                                                                                                                                 $9.55                                          Buy It Now
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                                                                                                                                                                                                                                Regi stered as a Business Seller

                                                                                                                                      ~      Breathe easy. Returns accepted.



                                                                                                                                        Shipping: Free Economy Shipping. See details
                                                                                                                                                     International shipment of items may be subject to
                                                                                                                                                     customs processing and additional charges.          ©
                                                                                                                                                     Located in: Shenzhen, China



                                             $ Have one to sell?               Sell no w
                                                                                                                                        Delivery:   IJ Estimated between Mon, May 8 and Wed, Jul
                                                                                                                                                     50
                                                                                                                                                     Please note the del iver y esti mate is greater than 15
                                                                                                                                                     business days.
                                                                                                                                                     Please allow additional t ime if internati onal del ivery is
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    Vibrate Pore C lean Silicone                              V ibrate Pore Clean Silicone                                  Face Deep C leansing Facial Pore                 Silicone fo r Ladies Home Travel                   Mat Scrubber Facial Pore C leaner                Cl
    Cleansing Brush Mass                                      Cleansing Brush                                               Cleaner                                                                                                                                              Pc
    New                                                       New                                                           New                                              New                                                New                                              N,

    $9.73                                                     $9.56                                                         $7.43                                            $10.05                                             $7.39                                            $
    $f&.Hl0% off                                              Free shipping                                                 F ree shipping                                   Fr ee s hippi ng                                   Free shipping                                    F«
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    Ultrasonic Electric Silicone Facial                       Silicone Facial Cleansing Brush
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 345 of
         ebay     Checkout            517
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            Pay wi th                                                                                                         Subtotal Q item)                                   $9.55
                                                                                                                              Shipping                                            Free
                   Add new card                                                                                               Tax•                                               $0.67
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                                                                                                                              Order total                                      $10.22
                   PayPa/
                   Current exchange rate: $1 = £0.77324                                                                       Orde r tota l i n USD                           $10 .64
                   Change currenc)'                                                                                              current conversion rate: $1 = $0.96


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            Palm Beach, FL 33480
            United States
                                                                                                                                  ebay MONEY BACK GUARANTEE                              Bill
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            Rev iew item and s hip ping

            Seller: forestytore




                     I
                                   Electric Face C leanser Rose Red V ibrate Pore C lean Silicone
                                   Cleansing Brush
                                   Number of sets: lx
                                   $ 9.55




                                   Delivery
                                   Est . delivery: May 8 - Jul 5
                                   Economy Ship ping f rom Greater China to worldwide
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            G ift card s, cou pon s, eBay Buc ks




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 346 of
                                       517


DOE Number: 216
Seller Name: fortunately6
Marketplace: eBay
              Case     1:23-cv-23631-RNS                Document 20-2 Entered on FLSD Docket 11/13/2023         Page   347 of                                                                                                                                  s,O
          v     Daily Deals Brend Outlet Help & Contact
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(     Back t o ho m e page I Listed in c at egory: Health & Beauty )   Sk in Care )   Fac ial C l e ans ing Dev ic es                                                                                                                    Share I Add to Watchlist


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                                               REE                                                                              Sonic Face C leanser Massager
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                                        $ Have one to sell?            Sell no w                                                0     ~~ear Rrotect ion Rian from Allstate - $1.99                                 --~-    lovelydeals2012     (   Visit store )
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                                                                                                                                    ~      Fast and reliable. Ships from United States.


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                                                                                                                                     Ship ping: Free Standard Shipping. See details
                                                                                                                                                   Located in: New Jersey, United States

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    Silicone Facial C leansing Bru sh                   Silicone Electric Face C leansing                               Avon The Face Shop RICE WATER                Sonic Facial C leansing Brush                Electric Face Cleansing Brush Ultra           El,
    Massage Electric Rechargeable                       Brush Sonic Facial S k in Clean er                              BRIGHT Foaming Cleanser 10.l oz              YU NCHI Food Grade Silicone                  Son ic Facial S kin Silicone C leane r        S<
    Extoliate Clean                                     Heated Massager                                                 Moisturize SEALED                            Waterproof BLUE WC02_B                       Massager                                      M
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    $10.95                                              $19.98                                                          $7.99                                         $13.95                                      $7.49                                         $
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    Free shipping                                       Free shipping                                                                                                Free shipping                                Free shipping                                 F«
    41sold                                              Seller withe 100% positive feedback                             Free shipping                                Seller with a 99.9% positive feedback
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 348 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                      Subtotal (1 item)                            $12.93
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            Miami, FL 33133-2709
            United States
                                                                                                                                                                                                  Bill
            Changf



            Review item and shipping

            Seller: fortunately6




            [I]
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Sonic Face Cleanser
                                      Massager
                                      $12.93
                                      ~



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                                      Delivery
                                      Est. delivery: Apr 27 - May 2
                                      Standard Shipping
                                      Free


                                      Save upto 5%



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources nee<led to grow up healthy.
            safe. e<lucate<I & empowered so they can focus on being kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                     Shar e I Add to Watchlist


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                                                                                                                           Ultrasonic Silicone Electric Facial Cleansing Brush
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                                                                                                                               Ships from United
                                                                                                                                                       Returns accepted              6watchers
                                                                                                                                    States


                                                                                                                                Ship ping: Free Standard Shipping. See details
                                                                                                                                             Located in: New Jersey, United States


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    Silic one Electric Face Cleansing                     Handheld Electric Facial Cleansing                       Sunday Riley c.e.o. c + E Micro-            Ultrasonic Silicone Electric Facial              Electric Face Cleansing Brush Ultra         Fe
    Brush Sonic Facial Skin C leaner                       Brush Tool Waterproof Silicone                          dissolve Cleansing Oil FULL SIZE            C leansing Br ush Sonic Face                     Sonic Facial Skin Silicone C leaner         El,
    Heated Massager                                       Cleansing New                                            3.4oz NEW                                   C leanser Massager                               Massager                                    Vi
    New                                                   New                                                      New                                         New                                              New                                         NE

    $19.98                                                $9.95                                                    $8.50                                       $12.25                                           $Z49                                        $
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    Free shipping                                         Free shipping                                                                                        $¼z:695%off                                      Free shipping                               fo
    Seller 100% positive                                  72 sold                                                  Free shipping                               Free shipping                                                                                Se
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    Sponsored it ems customers also bought                                           See all >                                                                                                                                    Feedback on our suggestions



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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 350 of
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            Pay wit h                                                                                                                     Subtotal (1 item)                            $12.93
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                    Add new card                                                                                                          Tax•                                            S0.91
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States
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            Changf



            Review item and shipping

            Seller: fortunately6




            [I]
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Some Face Cleanser
                                      Massager
                                      $12.93
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                                      Delivery
                                      Est. delivery: Mar 11 - Mar 16
                                      Standard Shipping
                                      Free


                                      Save up to 5%



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charrty
            no later than 30 days after the end of the month in which the donation is made_ Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charfy if
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                                                                                                                          Ultrasonic Silicone Electric Facial C leansing Brush
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                                                                                                                           Sale ends in: 2d Oh                                                            96.4% posit ive feedback


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                                                                                                                                         off)


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                                                                                                                                Ship ping: Free Standard Shipping. See details
                                                                                                                                            Located in: New Jersey, United States

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    Electric Face Cleansing Brush Ultra                   Ult rasonic Silicone Electric Facial                    Hydra Machine Water Facial Hyd ro            Facial Deep Cleansing Brush                Silicone Electric Face Cleansing            R<
    Sonic Facial Skin Silicone C leaner                   C leansing Brush Sonic Face                             Deep Cleansing Skin Tig htening             Silicone Face Sonic V ibration              Brush Sonic Facial Skin Cleaner             s~
    Massager                                              C leanser Massager                                      Derm abrasion Spa                           Remover Rech argeable                       Heated Massager                             Bl
    New                                                   New                                                     New                                         New                                         New

    $7.12                                                 $12.89                                                  $1,126.00                                    $14.99                                     $19.98                                      $
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    $r.495%off                                            Free shipping                                                                                       Free shipping                               Free shipping
    Free shipping                                                                                                 + shipping                                  Seller with a 99.2% positive feedback       Seller with a 100% positive feedback
    5wat chers                                                                                                    Seller with a 100% positive feedback
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 352 of
         el::>ay  Checkout            517
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                                                                                                                                         Order total                                 $13.84

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            Ship to                                                                                                                                          See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                 Bill
            Changf



            Review item and shipping

            Seller: fortunately6




            [I]
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Sonic Face Cleanser
                                      Massager
                                      $12.93
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                                      Save upto 5%



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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine lo help fund group. individual & family therapy for families with Kids
            who have experience severe trauma & loss due to the War_ PayPal Giving Fund (PPGF)
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            month in which the donation is made. Donations are non-refundable and typically tax
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DOE Number: 217
Seller Name: Fun-Home-914
Marketplace: eBay
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                                                                                                                          Facial Cleansing Brush Waterproof Silicone Sonic
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                                                                                                                          Face Brush Handheld Cleaning
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                                                                                                                                 Color:       Blue                                                                                 Learn more


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                                                                                                                                                                                                                         100% Posit ive feedback
                                                                                                                             Price: $33.37                                            Buy It Now

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                                                                                                                                             Located in: Hong Kong, HK, Hong Kong
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                                                                                                                                             business d ays.                                                                       In eBay Stores
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                                                                                                                                             subject to customs processi ng.


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    Hand held Electric Facial Cleansing                   Silic one Electric Face Clea nsing                      Facial prickly pear seed oil anti-               Facial Cleansing Brush                                Ultrasonic Silico ne Elec t ric Facial         UI
    Brush Tool Waterproof Silicone                        Brush Sonic Facial Skin C leaner                        w rinkle se rum argan oil vitamin E                                                                    C leansing Brush Sonic Face                    Cl
    Cleansing New                                         Heated Massager                                         face neck                                                                                              Clea nser Massager                             Cl
    New                                                   New                                                     New                                              New                                                   New                                            NE

    $9.95                                                 $ 19.98                                                 $11.10                                           $14.99                                                $12.93                                         $
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    72 sol d                                              Sel ler 100% positive                                   + $12.00 shipping                                38sol d                                               Free shipping
                                                                                                                                                                                                                         6watchers




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 355 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                            Subtotal (1 item)                            $33.37
                                                                                                                                 Shipping                                        Free
                   Add new card                                                                                                  Tax•                                            S2.34
            0      ~ ~ -              151
                                                                                                                                 Order total                                 $35.71

            @      PayPa/                                                                                                           By placing your order, you agree to eBay's
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                                                                                                                                      ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                  See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                         Bill
            Changf                                                                                                                                                                        ?


            Review item and shipping

            Seller: funhome914          Message to seller

                                    Facial Cleansing Bnush Waterproof Silicone Sonic Face Bnush Handheld
                                    Cleaning
                                    Coloc Blue
                                    $33.37
                                    Quantity 1


                                    Delivery

                                    @     Est. delivery: Mar 27 - May 12
                                          Economy Shipping from Greater China to wo~dw1de
                                          Free

                                    0     Est. delivery: Mar 21 - Apr 13
                                          Stand ard Shipping from Greater China to worldwide
                                          $149.00




            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls Make Beats Inc
            Girls Make Beats empowers the next generation or female music producers. DJs. and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a chartty
            no later than 30 days aner the end of the month 1n which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the char1ty has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


            Select amount      g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 356 of
                                       517


DOE Number: 218
Seller Name: gamertechz
Marketplace: eBay
              Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023         Page     357 of
          v     Daily Dea ls Brend O utlet He lp & Contac t
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(      8.aick t o ho m e page I List ed in c at egory: Health & Seavty )     Sk in C are )   Fac ial C l e ans ing Dev ic es                                                                                                                                                  Shar e I Add to Watchlist



                                                                       Grow your money with an even greater rate.
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                                                                                                                                       New Electric Facial Cleansing Brush Silicone Sonic
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                                                                                                                                       Vibration Mini Cleaner Deep
                                                                                                                                                                                                                                                       eBay Money Bac k Guarantee
                                                                                                                                                                                                                                                       Get the item you ordered or get
                                                                                                                                            Cond it ion: New                                                                                8          your money back.
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                                                 <••' l I I \ \ I ;
                                                                                                                                             Price :   $17.95
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                                                                                                                                       Additional service available                                                                        Visit store
                                                                                                                                                                                                                                           See ot her items
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                                                                                                                                           ~      Fast and reliable. Ships from United States.


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                                           $ Have one to sell?                Sell now
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    Brush Sonic Facial Skin Cleaner                        Cleansing Brush Sonic Face                                                                                         Sonic Facial Skin Silicone C leane r                         Brush Ultra Sonic Facial Skin                            Br
    Heated Massager                                        C leanser M assager                                                                                                Massager                                                     C lea ner Massager                                       Cl
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    Seller w ith a 100% positive feedbock                  Free shipping                                                       + shipping                                     last one                                                     Seller with a 100% positive feedback                     Se
                                                           9watche rs




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    Silicone Electric Face C leansing                      Silicone Electric Facial C leansing                                 Sil ico ne Elect ric Face C leansing           Automat ic Chicken Coop Door                                 Automatic C hicken Coop Door                             NI
    Brush Ultra Sonic Facial Skin                          Brush Face Exfoliator Rechargeable                                  Brush Ult ra Sonic Facial Skin                 Opener Light Sensor Automat ic                               Opener Lig ht Sensor Control Auto                        c,
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 358 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                   Subtotal (1 item)                            $17.95
                                                                                                                                       Shipping                                     $10.65
                   Add new card                                                                                                        Tax*                                            $2.00
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                    §1 ~         -     ~                                                                                               Order total                                 $30.60

            @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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            Ship to                                                                                                                                         See details




            Boca Raton, FL 33433
            United States                                                                                                                                                                      Bill
            Changf



            Review item and shipping

            Seller: gamertechz          Message to seller

                                     New Electric Facial Cleansing Brush Silicone Sonic Vibration Mini
                                     Cleaner Deep
                                     $17.95
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 27 - Apr 29
                                     USPS Priority Mail
                                     $10 .65




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Soles4Souls, Inc
            Donate to help Soles4SOuls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days aner the
            end of the month in which the donation is made. Donations are non-refundable and typically
            tax deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax
            exempt status, has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 359 of
                                       517


DOE Number: 219
Seller Name: gladidavi2
Marketplace: eBay
           v
               Case     1:23-cv-23631-RNS
                 Daily Dea ls Brend O utlet Help & C o ntac t
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 (      8.aick t o prev i ou s page I List ed in category: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                     Shar e I Add to Watchlist


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                                                                              Pay over time with PayPal Credit
                                                                              Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                                                              Ends 4/20, 11:59pm PT. Min. purchase required.



                                                                                                                                  Pop Sonic Leafbud Facial Cleansing Device Orange
                                                                                                                                                                                                                      Shop w it h confid ence
                                                                                                                                  Waterproof Rechargeable NIB
                                                                                                                                                                                                                               eBay Money Bac k Guarantee
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                                                                                                                                                                                                                               Learn more
[l!I]                                                                                                                                    Price : $18.00                                Buy It Now
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                                                                                                                                      ~         Fast and reliable. Ships from United States.                          and unlimited 2%
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     Cleanse, Massage, Exfoliate. Brand                        C leansing Device                                          Infused Brush                                  Cleansing Device Soften Wrinkles            Clea nsing Device PINK - Line &                    YI
     new sealed.                                                                                                                                                         Lavender Purple                             Wrinkle Reducer                                    w
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     Pink pop sonic leaflet Sonic facial                       Pop Sonic The Leaflet Sonic facial                         POP SONIC LEAFLET Sonic Facial                 Plum Beauty Compact Sonic Facial            LUCE 180 Anti-Aging Ultra Sonic
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 361 of
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            Pay with                                                                                                                    Subtotal (1 item)                            $18.00
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                    §1 ~         -     ~                                                                                                Order total                                 $32.69

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            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States                                                                                                                                                                       Bill
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            Review item and shipping

            Seller: gladidavi2        Message to seller

                                     Pop Sonic Leafbud Facial Cleansing Device Orange Waterproof
                                     Rechargeable NIB
                                     $18.00
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS Priority Mail
                                     $12.55




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 220
Seller Name: gogetter8719
Marketplace: eBay
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(     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                               Shar e I Add to Watchlist


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                                                                         Pay over time with PayPal Credit
                                                                         Enjoy no interest on $99+ eBay purchases if fully paid in 6 months.
                                                                         Min. purel\ase required.




                                                                                                                           Silicone Electric Face Cleansing Brush Ultra Sonic
                                                                                                                                                                                                        Shop with confidence
                                                                                                                           Facial Skin Cleaner Massager
                                                                                                                                                                                                               eBay Money Back Guarantee
                                                                                                                                                                                                               Get the item you ordered or get
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[iJ                                                                                                                            Price: $34.99                                Buy It Now
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                                                                                                                                         United States. see details                                            lovelydeals2012           ( Visit store )
                                                                                                                                                                                                               In eBay Stores
                                         $ Have one to sell?             Sell now
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                                                                                                                               Shipping : Free Standard Shipping. see details
                                                                                                                                            Located in: Memphis, Tennessee, United States

                                                                                                                                Delivery: Estimated between Tue, Mar l 4 and Sat, Marl8 t o
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    Electric Face Cleansing Brush Ultra                   Silicone Electric Face Cleansing                         lsd in Essent ial Cleansing Oil Based      NEW Sonic Facial Cleansing Brush          Silicone Electric Face Cleansing               H,
    Sonic Facial Skin Silicone C leaner                   Brush Sonic Facial Skin C leaner                         Cleanser 200ml 6.76oz                      Massager 3-n-l Rechargeable               Brush Ult ra Sonic Facial Skin                 Br
    Massager                                              Heated Massager                                                                                     Silicone - H22                            Clea ner Massager                              Cl
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    $7.49                                                 $19.98                                                   $16.00                                     $17.50                                    $9.00                                          $
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    Free shipping                                         Free shipping                                                                                       + $10.40 shipping                         + $6.40 shipping                               F,,
                                                          Seller 100% positive                                     + $12.00 shipping                          Seller 100% positive                      Seller 100% positive                           74
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    Sponsored it ems customers also bought                                                                                                                                                                                 Feedback on our sug~stions



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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 364 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                        Subtotal (1 item)                           $34.99
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                   Add new card                                                                                              Tax•                                           S2.45
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            Ship to                                                                                                                              See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: gogetter8719       Message to seller

                                   Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                   Massager
                                   $34.99
                                   Quanmy 1


                                   @      Delivery
                                          Est delivery Mar 14 - Mar 18
                                          USPS First Class
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                                   O PicKup
                                          Contact seller after checkout to arrange pickup



            Gift cards, coupons , eBay Bucks




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            Donate to charity (optional) 0

            Girls MaKe Beats Inc
            G,rls MaKe Beats empowers the next generation or female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month 1n which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the char1ty has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 221
Seller Name: gogotop-666
Marketplace: eBay
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(     8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                            Shar e I Add to Watchlist



0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                          Ultrasonic Silicone Electric Facial Cleansing Brush
                                                                                                                                                                                                                    Shop w ith confide nce
                                                                                                                          Sonic Face Cleanser Massager
                                                                                                                                                                                                                           eBay Money Back Guarantee

                                                                                                                             Condition: New                                                                         e      Get the item you ordered or get
                                                                                                                                                                                                                           your money back.
                                                                                                                           Sale ends in: 6dlh                                                                              l earn more

                                                                                                                                 Color:        Black
                                                                                                                                                                                                                    Seller information
                                                                                                                                                  Buyl             Buy2                Buy3                         gQgotoR-666 ~ * l
                                                                                                                          Bulk savings:
                                                                                                                                                $13.39/ea        $12.05/ea           $11.38/ea
                                                                                                                                                                                                                    95.9% Posit ive f eedb ack




                                                                                                                  [           Quantity:
                                                                                                                                           4 or more for $10.71/ea


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                                                                                                                                                                                                                    Visit store

[I]                                                                                                                           Price: $13.39/ea                                  Buy It Now
                                                                                                                                                                                                                    See other items




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                                         $ Have one to sell?            Sell now


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                                                                                                                              Shipping: Free Economy Shipping from o utside us. See
                                                                                                                                        details
                                                                                                                                           Located in: Shen Zhen, China


                                                                                                                               Delivery:   II Estimated between Wed, Mar 29 and Tue, May
                                                                                                                                           23 (i)
                                                                                                                                           This item has an extended handling time and a delivery
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                                                                                                                                        See details

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    Hand held Electric Facial C leansing                 Ult rasonic Silicone Elect ric Facial                    Sunday Riley c.e.o. c + E Micro-              Ultraso nic Silicone Electric Facial                Silicone Electric Face C leansing            UI
    Brush Tool Waterproof Silicone                       C leansing Brush Sonic Face                              dissolve C leansing Oil FULL SIZE             C leansing Br ush Sonic Face                        Brush Sonic Facial Skin Cle aner             Cl
    C leansing New                                       C leanser M assager                                      3.4oz NEW                                     C leanser Massager                                  Heated Massager                              Cl
    New                                                  New                                                      New                                           New                                                 New                                          N,

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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 367 of
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            Pay with                                                                                                                      Subtotal (1 item)                            $13.39
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                    Add new card                                                                                                          Tax•                                            S0.94
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            0       Special financing available.
                    Apply now. See terms
                                                                                                                                                           Pay with PayPal


            0       I G Pav l GoogtePay                                                                                                           You'll finish checkout on PayPal



                                                                                                                                               ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States
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            Changf



            Review item and shipping

            Seller: gogotop-666           Message to seller




                  t -
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Some Face Cleanser
                                      Massager
                                      Coloc BlacK
                                      $13.39



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                                      Delivery
                                      Est. delivery: Mar 29 - May 23
                                      Economy Shipping from outside us
                                      Free



                                      save up to 5%



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charily if



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            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 368 of
                                       517


DOE Number: 222
Seller Name: goingon61
Marketplace: eBay
              Case     1:23-cv-23631-RNS                  Document 20-2 Entered on FLSD Docket 11/13/2023        Page  369 of                                                                                                                                 s,O
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(     Back t o ho m e page I Listed in cat egory: Health & Beauty )   Sk in Care )   Fac ial C l e ans ing Dev ic es                                                                                                                    Share I Add to Watchlist


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                                                                                                                               Silicone Electric Facial Cleansing Brush Vibration
                                                                                                                                                                                                                   Shop w ith conf idence
                                                                                                                               Face Cleaner Skin Care Tool
                                                                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                                    Condition: New                                                                 8       Get the item you ordered or get
                                                                                                                                                                                                                           your money back.
                                                                                                                                        Color:       Black                                                                 Learn more


                                                                                                                                                        Buyl            Buy2                Buy3
[iJ                                                                                                                            Bulk savings:
                                                                                                                                                      $12.89/ea       $11.60/ea           $10.96/ea
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                                                                                                                                                                                                                   Explore a related Store
                                                                                                                               0     slc\lll filJl rotection Qian from Allstate - $ 1.99                           115K items sold

                                       $ Have one to sell?            Sell now                                                                                                                                             lovelydeals2012     ( Shop now)
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                                                                                                                                                                                                                           Sponsore d


                                                                                                                                   ~     Breathe easy. Returns accepted.



                                                                                                                                     Ship ping: Free Standard Shipping. See details
                                                                                                                                                  Located in: New Jersey, United States

                                                                                                                                     Delivery: Estimated between Thu, Apr 27 and Tue, May 2 0

                                                                                                                                      Returns: 30 day returns. Buyer pays for ret urn shipping.
                                                                                                                                               See details

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    Ultrasonic Silicone Elect ric Facial               Silicone Electric Face Cleansing                                Nano 30ML Facial Portable Mist                Silicone Face Cleansing Brush                Electric Silicone Facial Cleansing           fl,
    Cleansing Brush Sonic Face                         Brush Sonic Facial Skin Cleaner                                 Sprayer for Disinfecting & Face               Electric Facial Cleanser Washing             Brush Face Skin care Deep Cleaner            Br
    Cleanser Massager                                  Heated Massager                                                 Hydration US                                  Massager Scrubber                            Massager                                     M
    New                                                New                                                             New                                           New                                          New                                          Nt:

    $12.93                                             $19.98                                                          $6.50                                          $6.99                                       $6.99                                        $
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    Sla6l5%off                                         Free shipping                                                                                                 Free shi ppi ng                              Free shipping                                $9
    Free shipping                                      Sel ler with a 100% positive feedback                           + shipping                                    70sold                                       Seller with a 99.4% positive feedback        Frc
    9watchers                                                                                                                                                                                                                                                  5 1




    Sponsored ite ms inspired by your views                                     See all        >                                                                                                                                    Feedback on our suggestions



       i usAm ~......._                                           FacYII Cleanslna Brush FOi'                                                                                                                        Effi"'§ f!f! a ~
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 370 of
         el::>ay  Checkout            517
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            Pay with                                                                                                          Subtotal 0 item)                               $12.89
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            0      Special financing available.                                                                                  autho rit ies. learn more
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            Miami, FL 33133-2709
            United States
                                                                                                                                                                                      Bill
            Chang!1



            Review item and shipping

            Seller: goingon61

                                   Silicone Electric Facial Cleansing Brush Vib ration Face Cleaner




                 I                 Skin Care Tool
                                   Color: Black
                                   $12.89
                                   $2&.18



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                                   Delivery
                                   Est. delivery: Apr 27 - May 2
                                   Standard Shipping
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide chi ldren facing poverty resources needed to grow up
            healthy, sate, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductib le. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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          v     Daily Deals Brend Outlet Help & Contact
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ebay                           Shop by v
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(      Back t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                       Share I Add to Watchlist



0 SAVE UPTO 23% WHEN YOU BUY MORE
                                                                                                                          Silicone Electric Facial Cleansing Brush Vibration
                                                                                                                                                                                                               Shop w ith confidence
                                                                                                                          Face Cleaner Skin Care Tool
                                                                                                                                                                                                                      eBay Money Back Guarantee

                                                                                                                              Condition: New                                                                   8      Get the item you ordered or get
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                                                                                                                                  Color:        Black                                                                  Learn more


                                                                                                                                                   Buyl             Buy2              Buy3
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                                                                                                                                                 $12.89/ea        $11.60/ea         $10.96/ea
                                                                                                                                                                                                               goingon61 (Z]fil * l
                                                                                                                                                                                                               95.4% positive feedback
                                                                                                                                            4 or more for $9,93/ea


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                                                                                                                          Additional service available

                                                                                                                          0    slc\lll filJl rotection Qian from Allstate - $ 1.99

                                          $ Have one to sell?            Sell now
                                                                                                                              ~      Fast and reliable. Ships from Uni ted Stat es.



                                                                                                                              ~      Breathe easy. Returns accept ed.



                                                                                                                               Ship ping: Free Standard Shipping. See details
                                                                                                                                            Located in: New Jersey, United States

                                                                                                                               Delivery: Estimated between Tue, A pr 18 and Sat, Apr 22 0

                                                                                                                                Returns: 30 day returns. Buyer pays for ret urn shipping.
                                                                                                                                         See details

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    Silicone Electric Face C leans ing
    Br ush Sonic Facial Skin C leaner
    Heated Massager
                                                          Electric Face C leansing Brush Ultra  --
                                                          Son ic Facial S k in Silicone C le ane r
                                                          Massager
                                                                                                                  NEW Murad Brig hten UP ECLAIRCIR
                                                                                                                  3 PIECE Facial Skincare Set NIB
                                                                                                                                                                 Elect ric Facial C leansing Brush Set
                                                                                                                                                                 Face Body Exloliating Silicone
                                                                                                                                                                 Waterproof us
                                                                                                                                                                                                               Electric Silicone Facial C leans ing
                                                                                                                                                                                                               Brush Face Skin Care Deep C leaner
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    $19.98                                                $7.12                                                   $9.95                                           $11.97                                       $6.99                                        $
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    Seller with a 100% positive feedback                  Free shipping                                           + $1.95 shipping                                a Top Rated Plus                             Seller with a 99.4% positive feedback        F,,
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    Sponsored items inspired by your vie ws                                                                                                                                                                                     Feedback on our suggestions



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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 372 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                 Subtotal (1 item)                           $12.89
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            Ship to                                                                                                                                      See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                            Bill
            Changf



            Review item and shipping

            Seller: goingon61




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                                     Silicone Electnc Facial Cleansing Brush Vibration Face Cleaner Skin
                                     Care Tool
                                     Coloc Black
                                     $12.89
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            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. Pay Pal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt



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            status. has closed. or no longer accepts funds from PPGF.


            Select amount




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                                       517


DOE Number: 223
Seller Name: gotogoodsllc
Marketplace: eBay
              Case      1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    374 of
          v     Da ily Dea ls Brend O utlet He lp & Contact
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(     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Scrubs                                                                                                                        Shar e I Add to Watchlist


                                                                                                                  Facial Cleansing Brush, Waterproof Sonic Vibrating
                                                                                                                                                                                                          Shop w ith confidence
                                                                                                                  Face Brush for Deep C leansing
                                                                                                                                                                                                                   eBay Money Back Guarantee

                                                                                                                      C ondition: New                                                                      8 Get the item you ordered or get
                                                                                                                                                                                                             your money back.

      •                                                                                                                     Color:       - Select -                                                                 Learn more


                                                                                                                       Quantity:     LJ               More than 10 available/ 1sold
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                                                                                                                                                                                                          gotogoodsllc 0
                                                                                                                                                                                                          80% Posit ive feedback
                                                                                                                       Price:   $19.99                                       Buy It Now

                                                                                                                                                                                                          0       SaveSeller
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                                                                                                                                               Ships from United States


                                                                                                                       Shipping: Free Standard Shipping. See details
                                                                                                                                     Located in: West Greenwich, Rhode Island, Unrted States
                                                      Hover to zoom
                                                                                                                        Delivery: Estimated between Sat, Marn and Wed, Marl 5 0
                                                                                                                                                                                                           Discover related items
                                                                                                                        Returns: Seller does not accept returns. see details                               113K it ems so ld

                                         $ Have one to sell?            Sell now                                      Payments:      l~ IGPayl§ l[• l-                         ~ I                                  lovelydeals2012     (    Visit store )
                                                                                                                                                                                                                    In eBay Stores
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    Sponsored it ems customers also boug ht                                                                                                                                                                                 Feedback on our suggestions


                                                                         Ii::
                                                                                                                             Ultrasonic Facial
                                                                           Pack of 4                                         Skin Scrubber



                                                                  Buy 2


                                                                                        Get 2
                                                                                       FREE!!
    5 in l Deep C lean Face Skin Elect ric               4 Pack Face Sc rubber Soft Silic one               Ultrasonic Facial Scrubber Pore                  INNERNEED Food-grade Soft                    Face Sc rubber Soft Silic one Facial
    Fac ial Cle aner c are Brush                         Facial Cleansing Brush Face                        Blackhead Remover Spatula Deep                   Silicone Body Scrubber Shower                C lea nsing Brush Face Exfoliator
    Massager Scrubbe r                                   Exfoliator Scrub                                   Skin Spa C leaner                                Brush Handheld C leans                       Scrub
    New                                                  New                                                New                                              New                                          New

    $5.99                                                $6.09                                              $14.69                                           $11.33                                       $1.65
    Free shipping                                        Free shipping                                      Free shipping                                    Free shipping                                $t.-r98%off
    4 0 sold                                             246sold                                            367sotd                                          2l sold                                      Free shipping
                                                                                                                                                                                                          54sold




    About t his item           Shipping, ret urns 6- payments                                                                                                                                                                               ~Qort this item



     Seller assumes all responsibility for this listing.                                                                                                                                                      eBay item number: 385222687568
     Last updated on Feb 08, 2023 20:18:18 PST View all revisions



          Item specifics
          Condit ion:          New: A brand-new, unused, unopened, undamaged item in its original                                    Brand:            Unbranded
                               packaging (where packaging is applicable}. Packaging should be t he same as
                               what is found in a retail store, unless the item is handmade or was packaged by
                               the manufacturer in non-retail packaging, such as an unprinted box or p lastic
                               bag. See the seller's listing for full details. See all c ondition d efinitions
          Type:                Facial Brush                                                                                          Size:             Regular
          Body Area:           Arm, Chest, Face, Fee t, Full Body, Hand, Head, leg, Neck




      Item description from the seller
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 375 of
         el::>ay  Checkout            517
                                                                                                                                     How do you liKe our checkout? Give us reedbacK

                                                                                                                                                           To add more items, go to cart


            Pay with                                                                                                                 Subtotal (1 item)                             $19.99
                                                                                                                                     Shipping                                         Free
                   Add new card                                                                                                      Tax*                                            $140
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                    §1 ~        -        ~                                                                                           Order total                                  $21.39

            @       PayPa/                                                                                                              By placing your order, you agree to eBay's
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                                                                                                                                        Learn more
            0       Special financing available.
                   Apply now See terms
                                                                                                                                                      Pay with PayPal


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            Ship to

                                                                                                                                          ebay MONEY BACK GUARANTEE
                                                                                                                                                          See details
            Miami, FL 33133-2709
            United States

            Chang~



            Review item and shipping

            Seller: gotogoodsllc         Message to seller

                                     Facial Cleansing Brush, Waterproof Sonic Vibrating Face Brush for Deep
                                     Cleansing
                                     Coloc PinK
                                     $19.99


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                                     Delive ry
                                     Est delivery: Mar 11 - Mar 16
                                     USPS First Class
                                     Free



            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls MaKe Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month ,n which the donation is made. Donations are
            non-retundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the charity has lost tax exempt status. has closed, or no longer accepts tunds from PPGF.


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 376 of
                                       517


DOE Number: 224
Seller Name: gufl8006
Marketplace: eBay
              Case     1:23-cv-23631-RNS                Document 20-2 Entered on FLSD Docket 11/13/2023         Page   377 of
          v     Daily Deals Brend Outlet Help & Contact
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                                            '::1                        Learn how to earn a $50 statement credit                                                                                    ~
                                                               •        With a new eBay Mastercard• . Ends 4/25




[I]                                                                                                                     Sonic Facial Cleansing Brush Massager: 3-in-l
                                                                                                                        Rechargeable Electric Silicone Exf
                                                                                                                                                                                                       Shop wit h confidence

                                                                                                                                                                                                              eBay Money Back Guarantee
                                                                                                                                                                                                              Get the item you ordered or get
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                                                                                                                            Price: $26.99


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                                                                                                                            Shipping: Free 2-4 d ay shipping
                                                                                                                                      Get it between Wed, Apr 26 and Fri, Apr 28. See
                                                                                                                                      details                                                           Explore a related Store
                                                                                                                                         located in: North Brunswick, New Jersey, United States
                                                                                                                                                                                                        115K items sold
                                                                                                                             Returns: 30 day returns. Buyer pays for return shipping.
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    Silicone Electric Face Cleansing                     Silicone Electric Facial Cleansing                     Elemis Pro -collagen Cleansing              USB Electric Sonic Face Cleansing          USB Electric Sonic Face Cleansing             Fe
    Brush Ultra Sonic Facial Skin                        Brush Sonic Face Cleaning Spa                          Balm - 3.05 oz                              Silic o ne Brush Facial Skin C leaner      Silicone Brus h Facial Skin C leaner          Bl
    C leaner M assager                                   Massage C lean                                                                                     Massager                                   Massager                                      M
    New                                                  New                                                    New                                         New                                        New                                           N,

    $15.69                                               $18.44                                                 $30.00                                      $9.47                                      $9.47                                         $
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    Free shipping                                        Free shipping                                                                                      99:975% off                                $9915%off                                     F,,
    33 sold                                              Seller withe 100% positive feedback                    + shipping                                  Free shipping                              Free shipping
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    Sponsored items inspired by your views                                         See all       >                                                                                                                       Feedback on our suggestions




    PleasingCare S ilicone Son ic Facial                 Facial Cleansing Brush, 3-ln-1                         S il ic o ne Electric Facial C leansing     Facia l Electric Silicone C leansing       Electric Silicone Facial C leans ing          El,
    Cleansing Brush, Rechargeable                        Electric Silicone Face Scrub ber,                      Brush Sonic Face Cleaning Spa               Brush Exfo liator Rechargeable Face        Brush Exfoliator Scrubber USB                 Si
    Electric Face                                        Vibrating Massag                                       Massage Clean                               Scrubber                                   Rec hargeable                                 Bl
    New(Other)                                           New                                                    New                                         New                                        New                                           N,
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 378 of
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            Pay wit h                                                                                                                 Subtotal (1 item)                            $26.99
                                                                                                                                      Shipping                                        Free
                   Add new card                                                                                                       Tax•                                            S1.89
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                                                                                                                                      Order total                                 $28.88

            @       PayPa/                                                                                                               By placing your order, you agree to eBay's
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            Boca Raton, FL 33433
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: gufl8006        Message to seller




              a                      Son ic Facial Cleansing Brush Massager: 3-m-1 Rechargeable Electnc
                                     Silicone Exf
                                     $26.99
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 27 - Apr 29
                                     USPS Priority Mail
                                     Free



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            Donate to charity (optional) 0

            Soles4Souls. Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid_PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
            end of the month in which the donation is made. Donations are non-refundable and typically
            lax deductible. PPGF may be unable to grant funds lo a charity if the charrty has lost lax
            exempt status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 225
Seller Name: healthiswealth-tyler
Marketplace: eBay
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(     8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                    Shar e I Add to Watchlist


                                                                                                           Super Face Washing Machine Electric Soft Silicone Facial
                                                                                                                                                                                                          Shop w ith conf idence
                                                                                                           Brush Cleanser Massage
                                                                                                                                                                                                                   eBay Money Back Guarantee

                                                                                                                  Condition: New                                                                          8 Get the item you ordered or get
                                                                                                                                                                                                            your money back.
                                                                                                                                                                                                                   Learn more

                                                                                                                      Price:   $9.98                                       Buy It Now
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                                                                                                                                                                        Add to cart
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                                                                                                                Best Offer:                                                                              0       Saveseller
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                                                                                                                ;b      Fast and reliable. Ships from United States.
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    Silicone Face C leansing Brush                       Face Washing Mac hine Electric                         NEW belif Hydrators-On-The-Go 5            Silicone Face C le ansing Brush               Su per Face Washing Machine                     Si
    Elect ric Facial Cleanser Washing                   Soft Silicone Facial Brush Cleanser                     Piece Moistu rizing Facial Skin Care       Electric Facial Cleanser Washing              Electric Sof t Silicone Fac ial Brush           M
    Massager Scrubber                                   Massage USB                                             Kit                                        Massager Sc rubber                            C lea nser Massage.                             E>
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    67 sold                                             Free shipping                                           + $1.95 shipping                                                                         Free shipping                                   41
                                                        28% off 9+ with coupon                                  Seller with a 99.4% positive feedback                                                    27% off 8+ with coupon




    Sponsored it ems inspired by your v iews                                                                                                                                                                                  Feedback on our SUQMStions




    2 Pac k Face Wash ing Machine                        Facial Cleansing Brush Silicone                        Pulsaderm SONIC WASHCLOTH 2                Elect ric Facial C leansing Brush,            Toys Importers Pack of 2                        N1
    Electric Soft Silicone Facial Brush                  Face Scrub Brush Manual                                speed Silicone Face Brush PINK             FBFL Sonic Silicone Face Brush &              Reversi ble Octopus Mood Plush - l              TE
    C leanser Massage                                    Exfoliating Brush                                      waterproof                                 Pink                                          x7.9in Blue                                     Ar
    New                                                 New                                                     New(Other)                                 New                                           New                                             N,

    $9.99                                               $14.95                                                  $9.50                                      $14.99                                        $16.16                                          $
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 381 of
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            Pay with                                                                                                                 Subtotal (1 item)                               $9.98
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            Ship to                                                                                                                                       See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: healthiswea...        Message to seller

                                     Super Face Washing Machine Electnc Son Silicone Facial Brush
                                     Cleanser Massage
                                     $9.98
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Apr 21 - Apr 24
                                     USPS First Class
                                     S5.60



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 226
Seller Name: homematecollection
Marketplace: eBay
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             v     Daily Dea ls Brend O utlet He lp & Contact
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                                                            Guarantee
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                                                                                                                         IPX-7 Electric Soft Silicone Ultrasonic Facial
                                                                                                                                                                                                                 Shop with confidence
                                                                                                                         Cleanser Washing Massage Brush
                                                                                                                                                                                                                        eBay Money Back Guarantee
                                                                                                                                                                                                                        Get the item you ordered or get
                                                                                                                           Condition: New                                                                        8      your money back.
                                                                                                                                color:    Pink                                                                          Learn more


                                                                                                                            Quantity:    LJ           5available
                                                                                                                                                                                                                 Seller information
                                                                                                                                                                                                                 homematecollection 012..5: * l

                                                                                                                            Price:   $25.99                                      Buy It Now
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                                                                                                                                      worldwide. See details
                                                                                                                                         International shipment of items may be subject to
                                                                                                                                         customs processing and additional charges.           ©
                                                          Hover to zoom                                                                  Located in: China, C hina

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                                                                                                                                         24 (i)                                                                  113K items so ld
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                                             $ Have one to sell?            Sell now                                                                                                                                    lovelydeals2012        ( Visit store )
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    Super Face Washing Mac hine                              2 Pack Face Washing Machine                       LOT of 10 CHANTECAILLE RICE &                    Super Face Washing Machi ne
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                                                                                                                                                                                                                 5-1 Mult ifunction Elect ronic Face           Fe
    Electric Soft Silicone Facial Brush                      Electric Soft Silicone Facial Brush               GERANIUM FOAMING CLEANSER                        Elect ric Soft Silicone Facial Brush             Facial Cleansing Brush Spa Skin               Si
    Cleanser Massage                                         Cleanser Massage                                  8ML/ .27oz xl0~ FULL SIZE                        Cleanser Massage                                 Care massage                                  w
    New                                                      New                                               New                                              New                                              New

    $8.98                                                    $9.99                                             $15.00                                           $8.98                                            $5.99                                         $
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    $9:96 l0%off                                             Free shipping                                                                                     $9;98l0%off                                       Free shipping
    Fr ee shippi ng                                          121 lop Rated Plus                                Free shipping                                   Fr ee s hippi ng                                  857 sold
    ISi Top Rat ed Plus                                      Sel ler 99.5% positive                            IiiTop Rated Plus                                DI Top Rated Plus
                                                                                                               Seller99.8% positive




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                                                                                                                                                              To add more items, go to cart


            Pay with                                                                                                                    Subtotal (1 item)                             $25.99
                                                                                                                                        Shipping                                         Free
                    Add new card                                                                                                        Tax*                                            $1.82
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            Miami, FL 33133-2709
            United States                                                                                                                                                                       Bill
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            Review item and shipping

            Seller: homematecoL              Message to seller

                                     IPX-7 Electric son Silicone Ultrasonic Facial Cleanser Washing
                                     Massage Brush
                                     coloc Pink
                                     $25.99


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                                      Delivery

                                     @      Est delivery Mar 30 - May 24
                                            Economy Shipping from Greater China to worldwide
                                            Free

                                     O Est delivery: Mar 23 - Mar 28
                                            SpeedPAK Standard
                                            S1.99

                                     O Est delivery: Mar 23 - Apr 24
                                            ePacket delivery from China
                                            S1.99




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            Donate to charity (optional) 0

            Girls Make Beats Inc
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a chartty
            no later than 30 days aner the end of the month ,n which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the char1ty has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 227
Seller Name: hot_sale66
Marketplace: eBay
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(     8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                   Share I Add to Watchlist


0 SAVE UPTO 18% WHEN YOU BUY MORE
                                                                                                                          Ultrasonic Silicone Electric Facial Cleansing Brush
                                                                                                                                                                                                            Shop w ith confidence
                                                                                                                          Sonic Face Cleanser Massager
                                                                                                                                                                                                                   eBay Money Back Guarantee

                                                                                                                              Condit io n: New                                                               e     Get the item you ordered or get
                                                                                                                                                                                                                   your money back.
                                                                                                                                  Color:       Black                                                               Learn more


                                                                                                                                                  Buyl             Buy2              Buy3
                                                                                                                          Bulk savings:                                                                     Seller information
                                                                                                                                                $12.85/ea        $11.82/ea         $11.1 8/ea
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                                                                                                                                                                                                            97.2 % Posit ive feed back
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[I]                                                                                                                            Price:
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                                         $ Have one to sell?            Sell now
                                                                                                                               Ships from United States                   Returns accepted


                                                                                                                               Shipping: Free Standard Shipping. See details
                                                                                                                                           located in: New Jersey, United States

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    Hand held Elect ric Facial C leansing                Silicone Electric Face C leansing                        Sunday Riley c.e.o. c + E Micro-              Ultrasonic Silicone Electric Facial         Ultrasonic Silicone Electric Facial         El•
    Brush Tool Waterproof Silicone                       Brush Sonic Facial Skin C leaner                         dissolve C leansing Oil FULL SIZE             C leansing Brush Sonic Face                 C leansing Brush Sonic Face                 Fe
    C leansing New                                       Heated Massager                                          3.4oz N EW                                    C leanser Massager                          C leanser Massager                          w
    New                                                  New                                                      New                                           New                                         New                                         N,

    $9.95                                                $19.98                                                   $8.50                                         $12.25                                      $12.93                                      $
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    Free shipping                                        Free shipping                                                                                          $¼z:695%off                                 $ffi:6i5%off                                F,,
    72 sold                                              Seller 100% positive                                     Free shipping                                 Free shipping                               Free shipping                               111
                                                                                                                  Seller99.8% positive                                                                      6 watchers                                  9,




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            Pay with                                                                                                                      Subtotal (1 item)                            $12.85
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            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States
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            Review item and shipping

            Seller: hot_sale66




                  t -
                                      Ultrasonic Silicone Electnc Facial Cleansing Brush Some Face Cleanser
                                      Massager
                                      Coloc BlacK
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                                      Est. delivery: Mar 1o - Mar 13
                                      Standard Shipping
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                                      save up to 5%



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
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            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 388 of
                                       517


DOE Number: 228
Seller Name: humble_living_sales
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  389 of                                                                                                                                       s,O
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                                                                                                                                  Silicone Electric Face Cleansing Brush Ultra Sonic
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                                                                                                                                                                                                                                 Trusted seller, fast shipping, and
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                                                  U LTRASON IC                                                                         Price:   $9.22                                       Buy It Now                           eBay Money Back Guarantee

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                                                                                                                                      ~       Breathe easy. Free returns.


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    Ultrasonic Silicone Electr ic Facial                  Silicone Electric Face C leansing                                NEW belif Hydrators-On-The-Go 5                  Electric Face Cleansing Brush Ultra        Ultrasonic Silicone Electric Facial            Si
    Cleansing Brush Sonic Face                            Brush Sonic Facial Skin Cleaner                                  Piece Moisturizing Facial Skin care              Sonic Facial Skin Silicone Cleaner         Clea nsing Brush Sonic Face                    Br
    C leanser Massager                                    Heated Massager                                                  Kit                                              Massager                                   C lea nser Massager                            M
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 390 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                  Subtotal (1 item)                               $9.22
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            Ship to                                                                                                                                        See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: humble_livi..        Message to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial Skin Cleaner
                                     Massager
                                     $9.22
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 27 - Apr 29
                                     USPS First Class
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid_PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
            end of the month in which the donation is made. Donations are non-refundable and typically
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            exempt status, has closed, or no longer accepts funds from PPGF.


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0 EXTRA 5% OFF WITH CODE 5OFFAPR23 Seealleligibleitemsandterms ►
                                                                                                                        Silicone Electric Facial Cleansing Brush Sonic Face
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                                                                                                                                  Fast and reliable. Ships from United States.

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                                                                                                                                  Breathe easy. Returns accepted.
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                                                                                                                             Shipping: Free Standard Shipping. See details
                                                                                                                                          Located in: Lexington, Tennessee, United States
                                          $ Have one to sell?             Sell now                                                                                                                              lovelydeals2012       ( Visit store )
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     5 in 1 Deep Clean Face Skin Electric                  Silicone Electric Face C leansing                    facial t urmeric toner+ VC                   Silicone Facial Cleansing Brush             Silicone Elect ric Facial C leansing           5-
     Facial Cleaner care Brush                             Brush Ult ra Sonic Facial Skin                                                                    Electric Sonic Vibrat ion Deep Pore         Brush Sonic Face Cleaning Spa                  CI
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 392 of
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                                                                                                                                                             See details


            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                Bill
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            Review item and shipping

            Seller: humble_livi..         Message to seller

                                     Silicone Electric Facial Cleansing Brush Sonic Face Cleaning Spa
                                     Massage Clean
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DOE Number: 229
Seller Name: imud39
Marketplace: eBay
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          v     Daily Deals Brend Outlet Help & Contact
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(      Back t o ho m e pag e I Listed in category· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                     Share I Add to Watchlist


                                                                                                                         Silicone Electric Facial Cleansing Brush Face
                                                                                                                                                                                                           Shop with conf idence
                                                                                                                         Massager Deep Clean Pores vibrate
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                                                                                                                              Shipping: Free Economy Shipping. See details
                                         $ Have one to sell?            Sell now                                                           Located in: Colorado, United States

                                                                                                                              Delivery:    II Estimated between Sat, Apr22 and Thu, Apr
                                                                                                                                           27 0
                                                                                                                                           Includes 10 business days handling t ime after receipt of
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    Electric Face Cleansing Brush Ultra                   Facial Deep Cleansing Brus h                           NEW Murad Brig hte n UP ECLAIRCIR            Elect ric Facial Cleansing Brush Set         Silicone Electric Face C leans ing             Si
    Sonic Facia l Skin S ilicone C l eaner               Silicone Face Sonic V ibration                          3 PIECE Facial Skincare Set NIB              Face Body Exfoliating Silicone               Brush Sonic Facial Skin Cleane r               Br
    Massager                                              Remover Rechargeable                                                                                Waterproof us                                Heated Massager                                c,
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    $7.12                                                $ 14.99                                                 $ 9.95                                        $11.97                                      $19.98                                         $
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    $1=495%off                                           Free shipping                                                                                        Free shipping                                Free shipping
    Free shipping                                        Seller with a 99.2% posit ive feedback                  + $1.95 shipping                             Ei) Top Rated Plus                           Seller with a 100% positive feedback
    5 watchers                                                                                                   Seller with a 99.4% positive feedback        9wat chers




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         el::>ay  Checkout            517
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            Pay wit h                                                                                                                 Subtotal (1 item)                            $ 17.49
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                    Add new card                                                                                                      Tax*                                            $1.22
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            Ship to                                                                                                                                        See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                     Bill
            Changf



            Review item and shipping

            Seller: imud39           Message to seller

                                       Silicone Electric Facial Cleansing Brush Face Massag er Deep Clean
                                      Pores vibrate
                                       $17.49
                                      Quantity 1


                                      Delivery
                                      Est. delivery: A pr 22 - A pr 27
                                      Economy Shipping
                                      Free




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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                                       517


DOE Number: 230
Seller Name: inthemeadow
Marketplace: eBay
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            v     Dai ly De als Brand Outlet He lp & Contact
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D EXTRA 5% OFF WITH CODE SAVEMEADOW5 See e ligible items                                              all                  a n d te,ms   ►
                                                                                                                           FBFL Silicone Facial Cleansing Brush PINK Five Level
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                                                                                                                                Price: $12. 99                                Buy It Now                              eBay Money Back Guarantee

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                                                                                                                                                                                                            Contact seller
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                                                                                                                               ~      Breathe easy. Free shipping and returns.
                                                                                                                                                                                                            See other items

                                                                                                                               ~      Fast and reliable, Ships from United States.
                                                      IW               •

                                                                                                                                Ship ping: Free Standard Shipping. See details
                                                                                                                                             Located in: Rapid City, South Dakota, United States
                                          $ Have one to sell?              Sell now
                                                                                                                                Delivery: Estimat ed b etween Thu, Apr 20 and Sat, Apr 22 to
                                                                                                                                             60305 0                                                         Discover related items
                                                                                                                                                                                                             278K items sold
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     Electric Face C leansing Brush Ult ra                 Electric Facial Cleansing Brush Set                     Murad Nutrient -Charged Water Gel            FBFL Silicone Facial Cleansing              Sonic Fac ial C leansing Brush                 UI
     Sonic Facial Skin Silicone C leaner                   Face Body Exfo liat ing Silicone                        l oz. Facial Moisturizer                     Brush New Sealed Package                    YUNCHI Food Grade Silicone                     Cl
     Massager                                              Waterproof US                                                                                                                                    Waterproof BLUE WC02_B                         Cl
     New                                                   New                                                     New                                          New                                         New

     $7.49                                                 $11.97                                                  $35.00                                       $1.25                                       $13.95                                         $
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     Free shipping                                         Free shipping                                                                                        + Sl0.20 shipping                           Free shipping                                  $t
     6watchers                                             r:1Top Rated Plus                                       + $5.00 shipping                             Seller with a 99.8% positive feedback       Sel ler with a 99.9% positive feedback         F,,
                                                           10% off 3"'- with c oup on                                                                                                                                                                      91




     Sponsored items inspired by your views                                                                                                                                                                                      Feedback on our suggestions


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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 398 of
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            Pay wit h                                                                                                                    Subtotal (1 item)                           $12.99
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                    Add new card                                                                                                         Discount                                     -S0.65
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                    Special financing available.
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                    Apply now. See terms

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            Ship to                                                                                                                          ebay MONEY BACK GUARANTEE
                                                                                                                                                             See details


            Miami. FL 33133
            United States
                                                                                                                                                                                               Bill
            Changf



            Review item and shipping

            Seller: inthemeadow           Message to seller

                                     FBFL Silicone Facial Cleansing Brush PINK Five Level Waterproof s on
                                     On Face
                                     $12.99
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Apr 21 - Apr 24
                                     USPS First Class
                                     Free



            Gift cards, coupons, eBay Bucks

            &I    Discount SAVEMEAOOW5
                  Applied : $0.65




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            O To apply a donation, you can't be using gin cards. coupons. eBay BucKs. or reward points.




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                                       517


DOE Number: 231
Seller Name: jass2965
Marketplace: eBay
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            v  Daily Deals Brand Outlet Help & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Scrubs                                                                                                                       Shar e I Add to Watchlist


                                                                                                             USB Rechargeable Waterproof Vibrating Silicone Facial
                                                                                                                                                                                                         Shop w it h conf idence
                                                                                                             Cleansing Brush
                                                                                                                                                                                                                 eBay Money Back Guarantee

                                                                                                                 Conditio n : New                                                                        8       Get the item you ordered or get
                                                                                                                                                                                                                 your money back.

                                                                                                                    Q uantity:    EJ        More than 10 available
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                                                                                                                                                                                                         Seller information
                                                                                                                     Price:   $10.00                                      Buy It Now                     jass2965 (fil


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                                                                                                                       Fast and reliable. Ships from United St at es.



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                                                                                                                                  Special f inancing available. See terms and ai;i!l[¥ now
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    2 Pack Face Wash ing Machine                          Su per Face Washing Machine                          Proac tiv Po re C leansing Charcoal          Silicone Electric Facial C leansing          Silicone Elect ric Face C leansing              El,
    Electric Sof t Silicone Facial Brush                  Electric Soft Silicone Facial Brush                  Infused Brush                                Brush Face Exfoliato r Rechargeable          Brush Ultra Sonic Facial Skin                   Si
    C leanser Massage                                     C leanser M assage                                                                                5 Modes                                      C leaner Massage r                              Fe
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    l:J Top Rated Plus                                    Free shipping                                        + shipping                                   Seller with a 100% positive feedback         Free shipping                                   Se
    Seller with a 99.5% positive feed back                l:J Top Rated Plus                                   Seller with a 100% positive feedback




    Sponsored items inspired by your views                                                                                                                                                                                    Feedback on our suggestions




    Silicone Electric Face C leansing                     Electric Facial Cleansing Brush Set                  Forever Lina Mini T Sonic Facial             Super Face Washing Mach ine                  2 Pack Face Washing Machine                     Fe
    Brush Ultra Sonic Facial Skin                         Face Body Exfoliat ing Silicone                      C leans ing Device                           Electric Soft Silicone Facial Brush          Electric Soft Silicone Facial Brush             Fe
    C leaner Massager                                     Waterproof u s                                                                                    C leanser Massage                            C leanser M assage                              E>
    New                                                   New                                                  Pre-owned                                    New                                          New                                             N,

    $19.96                                                $11.97                                               $39.99                                       $9.98                                        $9.99                                           $
    S249520%off                                           Free shipping                                        + $6.25 shipping                             + shipping                                   Free shipping                                   F"
    Free shipping                                         l:J Top Rated Plus                                   Seller with a 100% positive feedback         Seller with a 100% positive feedback         Si1 Top Rated Plus                              r:'I
                                                          10% off 3+ with coupon                                                                                                                         Seller with a 99.5% positive feedback           Se
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 401 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                    Subtotal (1 item)                           $ 10.00
                                                                                                                                         Shipping                                      $5.70
                    Add new card                                                                                                         Tax•                                          $110
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                                                                                                                                         Order total                                $16.80

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            Ship to                                                                                                                                          See details




            Miami, FL 33133
            United States
                                                                                                                                                                                               Bill
            Changf



            Review item and shipping

            Seller: jass2965         Message to seller

                                     USB Rechargeable Waterproof Vibrating Silicone Facial Cleansing
                                     Brush
                                     $10.00


                                     [   ~uantify




                                     Delivery
                                     Est. delivery: Apr 21 - Apr 24
                                     USPS First Class
                                     S5.70



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 232
Seller Name: jedigirl10
Marketplace: eBay
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(         8.aick t o prev i ous page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evices ) See more Pop Sonic Leaf Fc1c ial ...                                                                            Share I Add to Watchlist



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                                                                                                                             THE RIGHT SEAT?                                               ~INHTSA ti

[I]                                                                                                                                 NEW Pop Sonic Leaf Sonic Facial Cleansing Electric
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                                                                                                                                                                                                                           Shop with confidence

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                                                                                                                                                                                                                                  eBay Money Back Guarantee
                                                                                                                                                                                                                                  Get the item you ordered or get
                                                                                                                                         Condition: New
                                                                                                                                                                                                                           8      your money back.
                                                                                                                                                                                                                                   Learn more



                                                                                                                                           Price:       $29.50                                Buy It Now                   Seller information
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                                                                                                                                          Offer:                                                                           See other items


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    Cleanse, Massage, Exfoliate. Brand                          Cleansing Device Orange                                    Infused Brush                                        Cleansing Device                           Clea nsing Device Soften Wrinkles            Cl
    new sealed.                                                 Waterproof Rechargeable NIB                                                                                                                                Lavender Purple                              Li1
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    r:1Top Rated Plus                                           Seller with a 100% positive feedback                       + shipping                                           Seller with a 100% positive feedback       Seller with a 99.8% positive feedback        Se
    Seller with a 100% positive feedback                                                                                   Seller with a 100% positive feedback




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 404 of
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            Pay with                                                                                                                  Subtotal (1 item)                            $29.50
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            0       Special financing available.
                   Apply now. See terms
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: jedigirl10       Message lo seller

                                     NEW Pop Sonic Leaf Sonic Facial Cleansing Electnc Device PinK
                                     Design/Sealed
                                     $29.50
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                                     Est. delivery: A pr 21 - Apr 25
                                     USPS First Class
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 233
Seller Name: jekyllu.s.a
Marketplace: eBay
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               Case     1:23-cv-23631-RNS
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 (      8.aick t o prev i ou s page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                      Shar e I Add to Watchlist


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                                                    Pay over time with PayPal Credit
                                                    Get 12.99% APR with 12 or 24 Easy Payments on eBay.
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0 EX TRA 10% OFF 3+ ITEMS WITH CODE JEKYLLUSAXXX Seealleligibleitemsandte,ms ►
                                                                                                                                    Electric Facial Cleansing Brush Set Face Body
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                                                                                                                                    Exfoliating Silicone Waterproof US
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                                                                                                                                                                                                                                  Trusted seller, fast shipping, and
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                                                                                                                                         Quantity:   LJ               4 available/ 15 sold                                        eBay Money Back Guarantee

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                                                                                                                                        Price: $11.97                                        Buy It Now

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                                    ~                       Hoverto zoom
                                                                                                                                        ~    Breat he easy. Free shipping and returns.


                                                                                                                                        ~    Fast and reliable. Ships from United States.

                                              $ Have one to sell?               Sell no w

                                                                                                                                        Shipping: Free 3-4 d ay shipping
                                                                                                                                                  Get it between Mon, Apr 24 and Tue, Apr 25. See
                                                                                                                                                  details
                                                                                                                                                     located in: Orlando, Florida, United States


                                                                                                                                         Returns: 30 day returns. Seller pays for return shipping.
                                                                                                                                                  see details

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     Sonic Facial C leansing Brush                              Silicone Face C leansing Bru sh                             NuFACE Trinit y Advanced Facial                  Silicone Facial C leansing Brush             Electric Silicone Facial C leansing            FE
     Y UNCHI Food Grade Silicone                                Electric Facial Cleanser Washing                            Toning Device                                     Massage Electric Rechargeable               Brush Face Skin care Deep Cleaner              Br
     Waterproof BLUE WC02_B                                     Massager Scrubber                                                                                             Exfoliate Clean                             Massager                                       s,
     New                                                        New                                                         New                                              New                                          New                                            NE

     $13.95                                                     $6.99                                                       $95.00                                            $10.95                                      $6.99                                          $
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     Free shipping                                              Free shipping                                                                                                Free shipping                                Free shipping                                  Frc
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            Pay with                                                                                                                      Subtotal (1 item)                            $1 1.97
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                     Add new card                                                                                                         Tax•                                            S0.84
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            Ship to                                                                                                                                            See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                  Bill
            Changf



            Review item and shipping

            Seller: jeKyllu.s.a           Message to seller

                  " ·· ''
                                ,     Electric Facial Cleansing Brush Set Face Body Exfolialing Silicone
                sui..•.•f~}':         Waterproof US
                                "     Coulor: Pink
                                      $11.97


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                                      Delivery
                                      Free 2-3 day shipping
                                      Gel it by Apr 22 - Apr 24
                                      USPS First Class



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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 (     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                         Shar e I Add to Watchlist


D EXTRA 10% OFF 3+ ITEMS WITH CODE JEKYLLUSAXXX                                                                          Seeall eligibleitemsandte,ms          ►
                                                                                                                             Electric Facial Cleansing Brush Set Face Body
                                                                                                                                                                                                                  Shop w it h conf ide nce
                                                                                                                             Exfoliating Silicone Waterproof US
                                                                                                                                                                                                                            Top Rated Plus
                        CLEANSING FACE IN 3 MINUTES                                                                              Condition: New
                                                                                                                                                                                                                            Trusted seller, fast shipping, and
                                M ed.c•I grade s1hcone cleansing Instrument, high-frequency                                                                                                                                 easy returns.
                                       m icro-v,bration t echnology t o unblock cloged                                             Coulor::       - Select -                                                                l earn mo re
                                                       pores and Improve skin

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                                           $ Have one to sell?             Sell now
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                                                                                                                                  Shipping: Free Standard Shipping. See details                                   Shop related items
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                                                                                                                                              Located in: Orlando, Florida, United States                         115K it ems sold
                                                                                                                                  Delivery: Estimated between Fri, Apr21 and Mon, Apr24                  <D                 lovelydeals2012      ( Visit store )
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     Electric Face Cleansing Brush Ultra                    Silicone Facial C leansing Brush                         Proactiv Pore C leansing Charcoal                Silicone Electric Face C leansing           Silicone Face C leansing Brush                 El•
     Sonic Facial Skin Silicone C leaner                    Massage Electric Rechargeable                            Infused Brush                                    Brush Sonic Fac ial Skin Cleaner            Electric Faci al Cleanser Washing              Br
     Massager                                               Exfoliate Clean                                                                                           Heated Massager                             Massager Scrubber                              M
     New                                                    New                                                      New                                              New                                         New

     $7.49                                                  $ 10.95                                                  $11.30                                            $19.98                                     $ 6.99                                         $
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     Free shipping                                          Free shipping                                                                                             Free shipping                               Free shipping                                  fo
     6watchers                                              4lsold                                                   + shipping                                       Seller with a 100% positive feedback        67 sold                                        Se
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     Sponsored items customers also bought                                                                                                                                                                                             Feedback on our suggestions
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            Pay with                                                                                                                   Subtotal (1 item)                            $11.97
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            Ship to                                                                                                                                         See details




            Miami, FL 33133
            United States
                                                                                                                                                                                               Bill
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            Review item and shipping

            Seller: jeKyllu.s.a           Message to seller

                 "   ·· ''
                              ,       Electric Facial Cleansing Brush Set Face Body Exfolialing Silicone
                su,,..f~}':           Waterproof US
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                                      Delivery
                                      Free 2-4 day shipping
                                      Get it by Apr 20 - A pr 22
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            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]             -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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DOE Number: 234
Seller Name: jemsbyjen
Marketplace: eBay
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(      8-ack to ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                              Shar e I Add to Watchlist


D   SAVE UPTQ 5% See all e l ;g;b1e;tems andte,ms                           ►
                                                                                                            Silicone Facial Cleanser Brush Face Massager Sonic
                                                                                                                                                                                                                    Shop w ith confidence
                                                                                                            Electric Waterproof Pink
                                                                                                                                                                                                                              Top Rated Plus
                                                                                                                                                                                                                              Trusted seller, fast shipping, and
                                                                                                                   Condition: New
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                                                                                                                       Price: $11.39                                                  Buy It Now                              eBay Money Back Guarantee

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                                                                                                                               Save US $0.60 (5% off)
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                                                                                                                                                                                                                    See other items
                                                                                                                 ~       Fast and reliable. Ship s from United States.



                                                                                                                       Shipping: Free 2-4 day shipping
                                                                                                                                 Get it between Thu, Apr 20 and Sat, Apr 22. See details
                                                                                                                                    Located in: Bremen, Indiana, United States
                            $ Have o ne to sell?           Sell now
                                                                                                                       Returns: 30 day returns. Seller pays for return shipping. See
                                                                                                                                details                                                                              Discover related items
                                                                                                                                                                                                                    115K items sold
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    Pop Sonic Leaf bud Facial                            Electric Facial Cleansing Brush Set                     NEW belif Hydrators-On-The-Go 5               Silicone Electric Face C leansing                    Silicone Electric Face Cleansing                UI
    Cleansing Device Orange                              Face Body Exfoliating Silicone                          Piece Moisturizing Facial Skin care           Brush Ultra Sonic Facial Skin                        Brush Sonic Facial Skin Cleaner                 Cl
    Waterproof Rechargeable NIB                          Waterproof us                                           Kit                                           Cleaner Massager                                     Heated Massager                                 Cl
    New                                                  New                                                     New                                           New                                                  New                                             N,

    $18.0 0                                              $11.97                                                  $9.95                                         $9.0 0                                               $19.98                                          $
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    Seller with a 100% positive feedback                 r:) Top Rated Plus                                      + $1.95 shipping                              Seller with a 100% positive feedback                 Seller with a 100% positive feedback            F"
                                                         10% off 3-+- with coupon                                Seller with a 99.4% positive feedback                                                                                                              9,




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                Facial Cleansing Btush For


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    HLAIE Silicone Electric Face                         Facial C leans ing Brush, Sonic                         Silicone Electric Face C leansing             Ele c tr ic Facial C leansing Brush Set              Forever Una Mini T Sonic Facial                 Sl
    Cleansing BRUSH Sonic Facial Skin                    Silicone Scrubber, Face Vibrating                       Brush Ultra Sonic Facial Skin                 Face Body Exfoliating Silicone                       Cleansing Device                                El•
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 412 of
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            Pay with                                                                                                                     Subtotal (1 item)                           $1 1.39
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            Ship to                                                                                                                                          See details




            Miami, FL 33133
            United States
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            Review item and shipping

            Seller: jemsbyjen         Message to seller

                                     Silicone Facial Cleanser Brush Face Massager Sonic Electnc
                                     Waterproof PinK
                                     $11.39
                                     S4+99
                                     auanrny 1


                                      Delivery
                                     Est. delivery: A pr 21 - Apr 24
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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(      8-ack t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Devic es                                                                                                                         Shar e I Add to Watchlist


D   SAVE UPTQ 5 %                    See all e l ;g;b1e;tems andte,ms        ►
                                                                                                             Silicone Facial Cleanser Brush Face Massager Sonic
                                                                                                                                                                                                                Shop w ith confidenc e
                                                                                                             Electric Waterproof Pink
                                                                                                                                                                                                                         Top Rated Plus
                                                                                                                                                                                                                         Trusted seller, fast shipping, and
                                                                                                                    Condition: New
                                                                                                                                                                                                                         easy returns.
                                                                                                                                                                                                                         Learn more

                                                                                                                        Price: $11.39                                           Buy It Now                               eBay Money Back Guarantee
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                                                                                                                                                                                                                8        Get the item you ordered or get
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                                                                                                                  Best Offer:                                                                                   Seller information
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                                                                                                                        Free shipping and returns                   Ships from United States


                                                                                                                      Shipping: Free Standard Ship ping. s ee details
                                                                                                                                   Located in: Bremen, Indiana, United States
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                                                                                                                        Delivery: Estimated between Sat, Marn and Tue, Mar l 4 to 33133 0
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    Silicone Electric Face Cleansing                      Electric Face Cleansing Brush Ult ra                    DR. DENNIS G ROSS SKINCARE -                Handheld Electric Facial Cleansing                Silicone Face C leansing Brush                Fe
    Brush Sonic Facial Skin Cleaner                       Sonic Facial Skin Silicone C leaner                     FACIAL STEAMER SOLUTIONS-                   Brush Tool Waterproof Silicone                    Electric Facial C leanser Washing             Si
    Heated Massager                                       Massager                                                GREAT ITEM AT REDUCED PRICE                 Cleansing New                                     Massager Scrubber                             M
    New                                                   New                                                     New                                         New                                               New                                           N,

    $19.98                                                $7.49                                                   $4 5.00                                     $9.95                                             $7.39                                         $
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    Fr ee shipping                                        Free shipping                                                                                       Fr ee s hipping                                   Free shipping
    Seller 100% positive                                                                                          + $14.50 shipping                           74 sold                                           59 so ld




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         el::>ay  Checkout            517
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            Pay with                                                                                                                     Subtotal (1 item)                            $11.39
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            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: jemsbyjen         Message to seller

                                     Silicone Facial Cleanser Brush Face Massager Sonic Electnc
                                     Waterproof PinK
                                      $11.39
                                     S4+99
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                                      Delivery
                                      Est. delivery: Mar 11 - Mar 14
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                                      Free



                                      Save upto 5%



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
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DOE Number: 235
Seller Name: jg-trading
Marketplace: eBay
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(       8.aick t o ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                                         Shar e I Add to Watchlist


                                                                                                                            Sonic facial Cleansing Brush Massager 3 In 1
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                                                                                                                                       Price:   $1Z98                                       Buy It Now                       100% Positive feedback


                                                                                                                                                                                           Add to cart                       0       SaveSelle r
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                                                $ Have one to sell?          Sell now                                               Payments:                                                                                          lovelydeals2012      (   Visit store )
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    3-1 Multi Int erchangeable Facial                      Silicone Elect ric Facial Cleansing                 lsd in Essential Cleansing Oil Based                   Silic one Elect ric Face Cleansing                     4 in 1 Rechargeable Electric Facial             Si
    C leansing Spin Face Massage                           Brush Exfoliator Scrubber Sonic                     Cleanser 200ml 6.76oz                                  Brush Ultra Sonic Facial Skin                          C le ansing Brush Set Face Body                 Br
    Brush Skin care Spa                                    Rechargeable                                                                                               C leaner Massager                                      Exfoliating                                     Cl
    New                                                    New                                                 New                                                    New                                                    New                                             N,

    $19.99                                                 $19.99                                              $16.00                                                 $19.96                                                 $21.99                                          $
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    27 sold                                                Seller 100% positive                                + $12.00 shipping                                     Free shipping                                           31 sold                                         R
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    Son ic Facial C leansing Brush                         FOREVER LINA T-Sonic mini Facial                    Flipping Octopus Flipping Octopus                      Official Reversible Mood Colour                        Electric Face Cleansing Brush                   Si
    Heated, 3 Speed Silicone Face                          C le ansing Device                                  Octopus Octopus Plush Toy                              Changing Octopus Plush Pre Loved                       Silicone Massa ger Ultra Sonic                  Br
    Cleansing Brush                                                                                            Flipping Doll Octopu                                   SoftToys                                               Facial Skin Cleaner                             Cl
    New                                                    New                                                 New                                                    Pre-owned                                              New                                             N,

    $35.00                                                 $12.99                                              $24.69                                                 $4.74                                                  $13.98                                          $
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 417 of
         el::>ay  Checkout            517
                                                                                                                                      How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                  Subtotal (1 item)                            $17.98
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                   Add new card                                                                                                        Tax•                                            $1.82
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                                                                                                                                       Order total                                 $27.75

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            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States
                                1
            Changf



            Review item and shipping

            Seller: jg-trading       Message to seller

                                     Son ic facial Cleansing Brush Massager 3 In 1 Rechargeable Electric
                                     Slicone Blue
                                     $17.98
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Mar 13 - Mar 17
                                     USPS First Class
                                     S7.95



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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DOE Number: 236
Seller Name: jiche96
Marketplace: eBay
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                                                                                                                Moyan Silicone Electric Cleansing Brush Facial Skin
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                                                                                                                          Price:   $55.00                                       Buy It Now
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    Facial Cleaner care Brush                              Brush Face Exfoliator Rechargeable                       Toning Device                               Brush Facial Skin Cleaner Cleaning             Clea nsing Face Massage Brush                               Br
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    Paula's Choice-2% BHA Liquid                           5-1 Mult ifunction Electronic Facial                     Paulas Cho ice--Skin PERFECTING             2% Skin Perfecting BHA Liquid                  <slFacial Peeling Gel/Scrub                                 N1
    Exfoliant 41I-oz-Skin Perfectin;i - All                Cleansin;i Face Massa;ie Brush                           2% BHA Liquid Salicylic Acid                Salicylic Acid Exfoliant Gent le us            Moisturizer Exfoliater Whitenin;i                           Sc
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 420 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                  Subtotal (1 item)                            $55.00
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                   Add new card                                                                                                       Tax•                                            S3.85
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                                                                                                                                      Order total                                 $58.85

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            Miami, FL 33133-2709
            United States
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            Review item and shipping

            Seller: jiche96       Message lo seller

                                     Moyan Silicone Electnc Cleansing Brush Facial SKin Cleaner Cleaning
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
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                                       517


DOE Number: 237
Seller Name: jkatang
Marketplace: eBay
             Case    1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023         Page   422 of
            v  Daily Deals Brand Outlet Help & Contact
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[I]                                                                                                                      PopSonic Leafbud Sonic Facial Cleansing Device
                                                                                                                         Soften Wrinkles Lavender Purple
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                                                                                                                                           United States. See details

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    Son ic Fac ia l C leans ing Brush                     Pop Sonic s trawberry 3 in 1.                         Trio Lancome Crem e Mousse                           Pop Sonic Leafbud Facial                      FOREVER LINA T-Sonic mini Facial               Pc
    Y UNCHI Food Grade Silicone                           Cleanse, Massage, Exfoliate. Brand                    Contort Cleansing + Toniq ue                         Cleansing Device Orange                       C lea ns ing Dev ice                           Sc
    Waterproof BLU E WC02_B                               new seated.                                           Contort + Sugar Scrub                                Waterproof Rechargeable NIB                                                                  In
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    Son ic Facia l C leans ing Brush                      Electric Silicone Facial C leans ing
    YUNCH I Food Grade Silicone                           Brush Face Skin C are Deep Cleaner
    Waterproof BLU E WC02_B                               Massager
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 423 of
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            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: jKatang

                                      PopSonrc Leafbud Sonic Facial Cleansing Device sonen Wrinkles
                                      Lavender Purple
                                      $29.99
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            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
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            month in which the donation is made. Donations are non-refundable and typically tax
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                                       517


DOE Number: 238
Seller Name: jlmays84
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page      425 of
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    Pop Sonic st rawberry 3 in l.                            PMD C lean Smart Facial C leansing                         Dermalogica PRO Special                       POP SONIC LEAFLET Sonic Fac ial               PopSonic Leafbud Sonic Facial                     Pi
    C leanse, Massage, Exfoliate. Brand                      Device BERRY New in box                                    C leansing Gel 32oz                           C leansing Devic e PINK - Line &              C leansing Dev ice Soften Wrinkles                Cl
    new sealed.                                                                                                                                                       Wrinkle Reducer                               Lave nder Purple
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    a Top Rated Plus                                         Seller withe 100% positive feedback                        + $5.00 shipping                              Free shipping                                 Seller with a 99.8% positive feedback             Se
    Seller with a 100% positive feedback                                                                                                                              £G Top Rated Plus




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 426 of
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            Pay with                                                                                                                     Subtotal (1 item)                            $35.00
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            United States                                                                                                                                                                        Bill
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            Review item and shipping

            Seller: jlmays84

                                      Pop Sonic Leaf Facial Cleansing Device BlacK Swirl New In Box
                                      $35.00
                                     Quantity 1


                                      Delivery
                                      Est delivery: A pr 24 - Apr 28
                                      USPS First Class
                                      $4.00




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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt



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                                       517


DOE Number: 239
Seller Name: jobob-treasures
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    428 of
          v      Daily Dea ls Brend O utlet Help & Contac t
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                                                                                                                           Sonic Facial Cleanser Precision Beauty Skin Care
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    Silicone Electric Face C leansi ng                     Electric Silicone Facial C leansing                       Super Fac e Was hing Machine                Automatic Wate rproof C hic ken                Automatic C hicken Coop Door                   Al
    Brush Ultra Sonic Facial Skin                          Brush Face Skin C are Deep C leaner                       Electric Soft Silic one Facial Brush        Coop Door With Light Sensor                    Opener, Automat ic Chic ke n House             01
    C leaner Massager                                      Massager                                                  Cleanser Massage                            Poultry Gate Hen House                         Door with Lig ht S...                          Cl
    New                                                    New                                                       New                                         New                                            New                                            N,

    $9.00                                                  $6.99                                                     $8.98                                       $24.00                                         $47.84                                         $
    + shipping                                             Free shipping                                             $9.9610%off                                 Fr ee s hippi ng                               Free shipping                                  +:
    Seller w ith a 100% posit ive f eedback                Sel ler wit h a 99.4% posit ive feedback                  Free shipping                               9 watche rs                                    Selle r w ith a 99.1% positive feedback
                                                                                                                     a  Top Rated Plus




    About this item              Shipping1 returns & payments                                                                                                                                                                                   RgP-ort this item



      Seller assu mes all responsibility for this listing.                                                                                                                                                          eBay item number: 115752070882
      Last updated on Apr 11, 202312:27:50 PDT View all revisions



           Item specifics
               Condition          New other(see details)(D
               Seller Notes       "New, Old Stock. New in original box."
           Main Purpose                                      Excessive Oil, Wrinkles, Dirt, Makeup                                               Skin Type                      All Skin Types
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 429 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                 Subtotal (1 item)                               $4.99
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            0       Special financing available.
                   Apply now. See terms
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: jobob-treas..        Message to seller

                                     Son ic Facial Cleanser PrecIsIon Beauty SKin Care Solutions New
                                     $4.99
                                     Quant~y 1


                                     Delivery
                                     Est. delivery: A pr 29 - May 4
                                     USPS First Class
                                     $12 .55




            Gift cards, coupons, eBay Bucks



           [~
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charfy no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity ~ the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 430 of
                                       517


DOE Number: 240
Seller Name: kenn.johns
Marketplace: eBay
             v
                  Case     1:23-cv-23631-RNS
                    Daily Dea ls Brend O utlet Help & Contac t
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                                                                            Pay over time with PayPal Credit
                                                                            Get 5.99% APR with 12 or 24 Easy Payments on eBay.
                                                                            Ends 5/1, 11:59pm PT. Min. purchase required.



                                                                                                                            Silicone Electric Facial Cleansing Brush Sonic Face
                                                                                                                                                                                                            Shop with confidence
                                                                                                                            Cleaning Spa Massage Clean
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    Facial C leaner Care Brush                              Brush Sonic Face C leaning Spa                           Balm 3.4 fl oz New in Box S55 retail       Brush Sonic Face C leaning Spa             C leansing Face Massage Brush                 Br
    Massager Scrubber                                       Massage Clean                                                                                       Massage Clean                              Skin Care Spa                                 Cl
    New                                                     New                                                     New                                         New                                        New

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    Pleasingcare Silicone Sonic Facial                       Facial Cleansing Brush, 3-ln-l                         Silicone Electric Facial Cleansing          Facial Electric Silicone Cleansing         Electric Silicone Facial Cleansing            El•
    Cleansing Brush, Rechargeable                            Electric Silicone Face Scrubber,                       Brush Sonic Face Cleaning Spa               Brush Exfo liator Rechargeab le Face       Brush Exfoliator Scrubber USB                 Si
    Electric Face                                            Vibrating Massag                                       Massage Clean                               Scrub ber                                  Rechargeable                                  Bl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 432 of
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            Pay with                                                                                                                    Subtotal (1 item)                            $24.99
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                   Add new card                                                                                                         Tax*                                            S2.14
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                   Apply now See terms
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            0       I G Pov l Google Pay                                                                                                        You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Boca Raton, FL 33433
            United States                                                                                                                                                                       Bill
            Changf



            Review item and shipping

            Seller: Kenn.johns         Message to seller

                                     Silicone Electric Facial Cleansing Brush Sonic Face Cleaning Spa
                                     Massage Clean
                                     $24.99
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 27 - May 1
                                     USPS First Class
                                     $5.65




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Soles4Souls, Inc
            Donate to help Soles4SOuls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days aner the
            end of the month in which the donation is made. Donations are non-refundable and typically
            tax deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax
            exempt status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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                                       517


DOE Number: 241
Seller Name: kinseibeauty4
Marketplace: eBay
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                 Case     1:23-cv-23631-RNS
                   Daily Dea ls Brend O utlet Help & Contac t
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                                                                                                                       Mini Electric Facial Cleansing Brush Silicone Sonic
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                                                                                                                          Shipping: Free SpeedPAK Standard. See details
                                                         Hover to zoom                                                                 International shipment of items may be subject to
                                                                                                                                       customs processing and additional charges. (D
                                                                                                                                                                                                          Shop a related Store
                                                                                                                                       located in: Shenzhen, China
                                                                                                                                                                                                          114 K items sold
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                                            $ Have one to sell?            Sell now                                                    This item has an extended handling t i me and a del ivery                 lovelydeals2012         ( Shop now)
                                                                                                                                       estimate g reaterthan 12 business days.                                   In eBay Stores
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    HLAIE Silicone Electric Face                            Silicone Electric Face Cleansing                   NEW Murad Brig hten UPECLAIRCIR              5 in l Deep Clean Face Skin Electric          5-l Mult ifunction Elect ronic Facial      Br
    Cleansing BRUSH Sonic Facial Skin                       Brush Ultra Sonic Facial Skin                      3 PIECE Facial Skincare Set NIB              Facial Cleaner care Brush                     Clea nsing Face Massage Brush              Cl
    Cleaner Massager                                        Cleaner Massager                                                                                Massager Scrubber                             Skin Care Spa                              Si
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    r:JTop Rated Plus                                       Free shipping                                      + $1.9 5 shipping                            Free s hippi ng                               2778 sold
    Seller with a 100% positive feedback                                                                       Seller withe 99.4% positive feedback         51 sold




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         ebay     Checkout            517
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            0      Special financing available.                                                                                 autho rit ies. learn more
                   Apply now. See terms

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            Ship to                                                                                                               ebay MONEY BACKGUARANTEE
                                                                                                                                                See details


            Palm Beach, FL 33480
            United States                                                                                                                                                           Bill
            Chang,1



            Review item and shipping

            Seller: kinseibeauty4         Message to seller

                                   Mini Electric Fac ial C leansing Brush Silicone Sonic Vibration
                                   C leaner Face Brush
                                   color: blue
                                   $9.71




                                   Delivery
                                   Est. delivery: Apr 28 - May 3
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                                   Free




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            [ Entercode:                           ]   - -
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            Donate t o c harity (optio na l) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & family therapy for families
            with kids who have experience severe trauma & loss due to the War. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPG F.


            Select amount       8

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                                                                                                                     Mini Electric Facial Cleansing Brush Silicone Sonic
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                                                                                                                     Vibration Cleaner Face Brush
                                                                                                                                                                                                                      eBay Money Back Guarantee

                                                                                                                       Condition: New                                                                        8 Get the item you ordered or get
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                                                                                                                        Quantity:    LJ           5 available 17 sold
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    Silicone Facial Cleansing Brush                        Silicone Electric Face Clea nsing                 Sunday Riley c.e.o. c + E Micro-            USB Electric Sonic Face Cleansing                   Silicone Elect ric Face Cleansing             Si
    Electric Sonic V ibration Deep Pore                    Brush Facial Skin Cleane r Cleaning               dissolve Cleansing Oil FULL SIZE            Silicone Brush Facial Skin C leaner                 Brush Facial Skin Cleaner Cleaning            Br
    Skin C leaner                                          Massager US                                       3.4oz NEW                                   Massager                                            Massager                                      Cl
    New                                                    New                                               New                                         New                                                 New

    $7.59                                                  $11.99                                            $8.50                                       $9.97                                               $15.98                                        $
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                   II::
                    Pack of 4

           Buy 2


                                 Get 2
                                FREE!!
    4 Pack Face Scrubber Soft Silicone                     2x Silicone Handheld Face
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 437 of
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            Pay with                                                                                                                     Subtotal (1 item)                               $9.71
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            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States
                           1
            Changf



            Review item and shipping

            Seller: Kinseibeauty4          Message to seller

                                      Mini Electric Facial Cleansing Brush Silicone Sonic Vibration Cleaner
                                      Face Brush
                                     coloc blue
                                      $9.71


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                                      Delivery
                                      Est delivery: Mar 22 - Mar 27
                                      SpeedPAK Standard
                                      Free



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            [ Enter code                               ]   -
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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made_ Donations are
            non-refundable and typically tax deductible PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF


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DOE Number: 242
Seller Name: l3unnypink
Marketplace: eBay
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                                                                                                                    Luxsio Sonic Beauty Facial Cleansing Brush 3 in 1
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                                                                                                                    Skincare Solution New In Box
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                                                                                                                          Condition: New                                                                 8 Get the item you ordered or get
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                                                                                                                           Price:   $19.99                               Buy It Now
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                                                                                                                                     States. See d etails

                                                                                                                           Shipping: Free Standard Shipping. see details
                                                                                                                                      Located in: Brooktyn, New York, United States


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                                                                                                                            Returns: Seller does not accept returns. See details

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    3-l Multi Interchangeable Facial                     3inl Rechargeable Electric Facial                   Bluemerc ury Spring Edit Travel             5-l Multifunction Electronic Facial             5-1 Mult ifunction Elect ronic Facial                   2i
    Cleansing Spin Face Massage                          Cleansing Brush Set Face Body                       Skincare Set 12 pc                          C leansing Face Massage Brush                   Cleansing Face Massage Brush                            Cl
    Brush Skin Care Spa                                  Exfoliating IPX6                                                                                Skin Care Spa                                   Skin Care Spa                                           E>
    New                                                  New                                                 New                                         New                                             New

    $19.99                                               $14.97                                              $9.99                                       $6.55                                           $6.55                                                   $
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    27 sold                                              r&ITop Rated Plus                                   + shipping                                  2742 sold                                       67 sold
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    Sponsored ite ms inspired by your vie ws                                                                                                                                                                               Feedback on our sug~stions



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    Sonic Facial Cleansing Brush                         FOREVER LINA T-Sonic mi ni Facial                   Flipping Octopus Flipping Octopus           Official Reversible Mood Colour                 Electric Face Cleansing Brush                           Si
    Heated, 3 Speed Silicone Face                        C leansing Device                                   Octopus Octopus Plush Toy                   Chang ing Octopus Plush Pre Loved               Silicone Massager Ultra Sonic                           Br
    C leansing Brush                                                                                         Flipping Doll Octopu                        SoftToys                                        Facial Skin C leaner                                    Cl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 440 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                               Subtotal (1 item)                            $19.99
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                   Add new card                                                                                                     Tax•                                            S1.40
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            Ship to                                                                                                                                     See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: I3unnypink        Message to seller

                                     Luxs,o Sonic Beauty Facial Cleansing Brush 3 in 1 Skincare Solution
                                     New In Box
                                     $19.99
                                    Quanmy 1


                                    @      Delivery
                                           Free 3-4 day shipping
                                           Get it by Mar 13 - Mar 14
                                           USPS First Class

                                    O Picku p
                                           Contact seller aner checkout to arrange pickup



            Gift cards, coupons, eBay Bucks



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            Donate to charity (o ptional) 0

            Girls Make Beats Inc
            Girls Make Beats empowers the nex1 generation or female music producers. DJs. and audio
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            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charily if



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            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 441 of
                                       517


DOE Number: 243
Seller Name: lcmj2018au
Marketplace: eBay
               Case     1:23-cv-23631-RNS                      Document 20-2 Entered on FLSD Docket 11/13/2023         Page  442 of
           v     Daily Dea ls Brend O utlet He lp & C o ntac t
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(       8.aick t o prev i ou s page I List ed in c at egory: Healt h & Bec1ut y ) Skin Care ) C leansers S, Toners                                                                                                                         Shar e I Add to Watchlist


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                                                ~                           Learn how to earn a $50 statement credit                                                                                            ~
                                                                    •       With a new eBay Mastercard• . Ends 4/25



                                                                                                                           Silicone Facial Cleansing Brush Electric Sonic
                                                                                                                                                                                                                     Shop with confidence
                Note: Battery not included                                                                                 Vibration Deep Pore Skin Cleaner
                                                                                                                                                                                                                            eBay Money Back Guarantee
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                                                                                                                               Item Type:         A (Pink Battery Powered)
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                                                                                                                                Quantity:     LJ           More than 10 available/ 6 sold
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                                                                                                                                                                                                                     lcmj2018au QlUl! * J
                              AA battery                                                                                                                                                                             97% posit ive feedbac k
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                                                                                                                                          worldwide. See details                                                     115 K items sold
                                                                                                                                              International shipment of items may be subject to

                                            $ Have one to sell?              Sell now
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                                                                                                                                              Located in: Guangzhou, China                                                  In eBay Stores
                                                                                                                                                                                                                            Sponsored
                                                                                                                                 Delivery:    DI Estimated between Fri, May 12 and Wed, Jun 7 ©
                                                                                                                                              This item has an extended handli ng t i me and a del ivery
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    5-1 Mult ifunc tion Electric Healthy                     Silicone Electric Face C lea nsing                      Sil icone Facial C le ansing Brush             Electronic Silicone C leansing                   Silicone Elect ric Face C leansing           El,
    Face Facial Cleansing Brush Skin                         Brush Waterproof Facial Skin                            Electric Sonic Vibrat ion Deep Pore            Brush Face Sonic Vibrat ion Deep                 Brush Waterproof Facial Skin                 Br
    care Massage                                             C leaner Massager                                       Skin Cleaner                                   Pore Clean Brush                                 C lea ner Massager                           s~
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 443 of
         el::>ay  Checkout            517
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            Pay with                                                                                                                   Subtotal (1 item)                         A U $13.99
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                   Add new card                                                                                                        Tax*                                        AU $0.98
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            Boca Raton, FL 33433                                                                                                            ebay-MONEY BACK GUARANTEE
            United States                                                                                                                                   See details                         Bill
            Chang~



            Review item and shipping

            Seller: lcmj2018au           Message to seller

                                     Silicone Facial Cleansing Brush Electric Sonic Vibration Deep Pore Skin
                                     Cleaner
                                     Item Type: A (Pink Battery Powered)


                       -             AU $1 3.99


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                                     Delivery
                                     Est delivery: May 12 - Jun 7
                                     Standard Shipping from Greater China to worldwide
                                     Free



            Gift cards, coupons, eBay Bucks



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                                       517


DOE Number: 244
Seller Name: lcmj2018us
Marketplace: eBay
                Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  445 of
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 (       Back t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) C le ansers & Toners                                                                                                                            Share I Add to Watchlist


0 BUY 1, GET l AT 20% OFF (add 2 to cart)                                            Seeall eligible items andte, ms   ►
                                                                                                                    Silicone Facial Cleansing Brush Electric Sonic
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                Note: Battery not included                                                                          Vibration Deep Pore Skin Cleaner
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  .                          AA battery
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                                                                                                                       ~        Breathe easy. Free shipping and returns.


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                                                                                                                            Shipping: Free SpeedPAK Standard . See d etails
                                                                                                                                        International shipment of items may be subject to
                                                                                                                                        customs processing and additional charges.          ©
                                                                                                                                        Located in: Guangzhou, China
                                           $ Have one to sell?           Sell now

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                                                                                                                                                                                                                      Facial Skin Cleansing Brush


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     Super Face Washing Machine
     Electric Sof t Silicone Facial Brush
                                                           5 in l Deep C lean Face Skin Electric
                                                           Facial Cleaner Care Brush
                                                                                                            Hydra Machine Water Facial Hydro
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     a  Top Rated Plus                                     51 sold                                          Seller with a 100% positive feedback




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 446 of
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            Palm Beach, FL 33480
            United States
                                                                                                                                                                                             Bill
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            Review item and shipping

            Seller: lcmj2018us           Message to seller

                                     Silicone Facial Cleansing Bnush Electr1c Sonic Vibration Deep Pore Skin
                                     Cleaner
                                     Item Type: A (Pink Battery Powered)
                                     $7.99


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            Donate to Nova Ukraine to help fund group, individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
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            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 245
Seller Name: leon_gill
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  448 of
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(      8-ack to ho me page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial Cleansing Devic es                                                                                                                                Shar e I Add t o Watchlist


                                                                                                                    Silicone Facial Cleanser Brush Face Massager Sonic                                             Seller information
                                                                                                                    Electric Waterproof Pink                                                                       !film._gill ©Zll * l
                                                                                                                                                                                                                   100% Posit ive feedback
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                                                                                                                                                                                                                   0       SaveSelle r
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                                                                                                                          Price: $ 14.8 0                                       Buy It Now                         Visit store
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                                                                                                                                      located in: Rockton, Illinois, United States                                           In eBay Stores
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                                                                                                                          Delivery: Estimated between Sat, Marn and Tue, Marl4 to
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                                                                                                                                      details
                                        $ Have one to sell?           Sell now
                                                                                                                        Coverage: Read item description or contact seller for details.
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    Similar sponsored items                                                                                                                                                                                                           Feedback on our sug~stions




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    Silicone Electric Face Cleansing                    NEW Sonic Facial Cleansing Brush                      New Therabody TheraFace PRO                     Handheld Electric Facial Cleansing                   Electric Face Cleansing Brush Ultra           S<
    Brush Sonic Facial Skin Cleaner                     Massager 3-n-1Rechargeable                            Facial Massager - Black                         Brush Tool Waterproof Silicone                       Sonic Facial Skin Silicone C leaner           Al
    Heated Massager                                     Silicone ~ H22                                                                                        Cleansing New                                        Massager                                      LIi
    New                                                 New                                                   New                                             New                                                  New                                           Nt:

    $19.98                                              $17.50                                                $8.50                                           $9.95                                                $7.49                                         $
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    Seller 100% positive                                Seller 100% positive                                  + $10.00 shipping                               74 sold                                                                                            F«
                                                                                                              IITop Rated Plus                                                                                                                                   Se
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                                                                                                                                                                                                                                      Feedback on our suggestions
    Sponsored it ems customers also boug ht




    Facial Cleansing Brush, 3-ln-l                      Cerave Hydrating Facial Cleanser
    Electric Silicone Face Scrubber,                    For Normal To Dry Skin - 16oz.
    Vibrating Massag
    New                                                 New

    $23.67                                              $19.99
    Fr ee shipping                                      Free shipping
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 449 of
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: leon_gill        Message to seller

                                      Silicone Facial Cleanser Brush Face Massager Sonic Electric
                                     Waterproof PinK
                                      $14.80
                                     Quantity 1


                                      Delivery
                                      Est. delivery: Mar 11 - Mar 14
                                      USPS First Class
                                      $5.70




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            Donate to charity (optional) 0

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            Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
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            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 450 of
                                       517


DOE Number: 246
Seller Name: linsh0p
Marketplace: eBay
             Case    1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023         Page    451 of
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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                      Shar e I Add to Watchlist


                                                                                                                            Facial Cleansing Brush Sonic Vibration Mini Face
                                                                                                                                                                                                               Shop w ith conf idence
                                                                                                                            Cleaner Electric Silicone Deep
                                                                                                                                                                                                                         eBay Money Back Guarantee

                                                                                                                                Condit ion: New                                                                8         Get the item you ordered or get
                                                                                                                                                                                                                         your money back.
                                                                                                                                    Color:                                                                               Learn more


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                                                                                                                                 Price: $19.99                                   Buy It Now

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                                          $ Have one t o sell?            Sell now                                                           located in: Hong Kong, HK, Hong Kong

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    Cleansing Brush Sonic Face                             Brush Sonic Facial Skin Cleaner                          dissolve Cleansing Oil FULL SIZE             Brush Tool Waterproof Silicone                Clea nsing Brush Sonic Face                   Si
    C leanser Massager                                     Heated Massager                                          3.4 oz NEW                                   Cleansing New                                 C lea nser Massager                           Fe
    New                                                    New                                                      New                                          New                                           New                                           N,

    $12.93                                                 $19.98                                                   $8.50                                         $9.95                                        $13.19                                        $
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    Free shipping                                          Seller 100% positive                                     Free shipping                                72 sold
    6watchers                                                                                                       Seller99.8% positive




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            Pay with                                                                                                                    Subtotal (1 item)                            $19.99
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                    Add new card                                                                                                        Tax*                                            $140
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                    Apply now See terms
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            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States
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            Review item and shipping

            Seller: linsh0p




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                                     Facial Cleansing Brush Sonic Vibration Mini Face Cleaner Electric
                                     Silicone Deep
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                                     $19.99


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                                     Delivery
                                     Est delivery: Mar 27 - May 12
                                     Economy Shipping from Greater China to wo~dwide
                                     Free



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made_ Donations are
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                                       517


DOE Number: 247
Seller Name: lovinglightcandles
Marketplace: eBay
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m                                                                                                                           Pop Sonic Leaf Sonic Facial Cleansing Electric
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                                                                                                                                  Price:     $32.00                                   Buy It Now                      Seller information
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                                                                 ·~                                                               Shipping: US $6.15 Standard Shipping . See details                                  Shop a related Store
                                                                                                                                                   located in: Park Ridge, Illinois, United States
                                                                                                                                                                                                                      114K items so ld
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                                                                                                                                             10 60305 0                                                                         lovelydeals2012      (   Visit store )
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    PopSonic Leafbud Sonic Facial                          Pop Sonic strawberry 3 in 1.                            Josie Maran Nou rishing A rgan O il                 Pop Sonic Leafbud Facial                       Ultrasonic Silicone Electric Facial             Pi
    C leansing Device Soften Wrinkles                      C leanse, Massage, Exfoliate. Brand                     Daily Facial C leansing Oil 6oz New                 C leansi ng Device Orange                      C lea nsing Brush Sonic Face                    Cl
    Lavende r Pur p le                                     ne w sealed.                                                                                                Waterproof Rechargeable NIB                    C leanser Massager
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    $29.99                                                 $24.00                                                  $20.00                                              $18.00                                         $13.61                                          $
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    Seller with a 99.8% positive feedback                  r:1 Top Rated Plus                                      + $5.65 shipping                                    Seller with a 100% positive feedback           9watchers                                       Se
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    Sponsored items customers also bought                                                                                                                                                                                                  Feedback on our suggestions




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    Pop Sonic st rawberry 3 in 1.                          Son ic Facial C leansing Bru sh                         Electric Silicone Facial C leansing
    C leanse, Massage, Exfo liate. Brand                   YUNCHI Food Grade Silicone                              Brush Face Skin care Deep C leane r
    new sealed.                                            Waterproof BLUE WC02_B                                  Massager
    New                                                    New                                                     New
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 455 of
         ebay     Checkout            517
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            Pay wi t h                                                                                                      Subtotal 0 item)                          $32.00
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                                                                                                                                              See details


            Miami, FL 33133
            United States                                                                                                                                                         Bill
            Chang!l



            Review item and shipping

            Seller: lovinglight...     Message to seller

                                   Pop Sonic Leaf Sonic Facial Cleansing Electric Device Green
                                   Marble New
                                   $32.0 0
                                   Quantityl


                                   Delivery
                                   Est. delivery: Apr 20 - Apr 22
                                   USPS First Class
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            Donat e t o c harity (optio na l) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund g roup, individual & family therapy for families
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                                       517


DOE Number: 248
Seller Name: lowcost-10
Marketplace: eBay
              Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 457 of
          v         Daily D ea ls     Brend O utlet
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                                                                                                                         PleasingCare Silicone Sonic Facial Cleansing Brush,
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                                                                                                                                       Be t he first to write a review.
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                                                                                                                                       Get it between Wed, Apr 26 and Thu, Apr 27. See
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                                                                                                                                          Located in: Brooktyn, New York, United States


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    Silicone Electric Face C leansing                    Silicone Electric Facial C leansing                     Elemis Pro-collagen Cleansing                  Silicone Facial C leansing Brush                          Wom en Sonic Facial C leansing                 5-
    Brus h Ultra Sonic Facial Skin                       Brush Sonic Face Cleaning Spa                           Balm - 3.05 oz                                 Elec tric Sonic Vibration Deep Por e                      Brush Silicone Face Skin Massager              CI
    Cleaner Massager                                     Massage Clean                                                                                          Skin Cleaner                                              Skin Care                                      $)

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            Pay with                                                                                                                  Subtotal (1 item)                            $25.40
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            Ship to                                                                                                                                        See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                             Bill
            Changf



            Review item and shipping

            Seller: lowcost-10        Message to seller

                          •~         Pleasingcare Silicone Sonic Facial Cleansing Brush, Rechargeable
                                     Electric Face
                                     $25.40
                                     Quanmy 1


                                     Delivery
                                     Free 3-4 day sh ipping
                                     Gel it by Apr 27 - Apr 28
                                     USPS First Class




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            Soles4Souls, Inc.
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                                                                                                                     PleasingCare Silicone Sonic Facial Cleansing Brush,
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                                                                                                                     Rechargeable Electric Face
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                                                                                                                         Price:     $25.40                                     Buy It Now
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                                                                                                                         Free shipping and returns                       Ships from United States

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                                                                                                                         Shipping: Free 3-4 day shipping
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                                                                                                                                   Get it between Mon, Mar 13 and Tue, Mar 14 to
                                                                                                                                   33133. See details
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    Silicone Facial C leansing Brush                       USB Electric Sonic Face C leansing                lsd in Essential C leansing Oil Based             Sonic Facial C leansing Brush                     SOOCAS Sonic Facial C leansing                  Br
    Electric Sonic Vib ration Deep Pore                    Silicone Brush Facial Skin C leaner               C leanser 200ml 6.76oz                            Waterproof Silicone Mini Face                     Brush Face Scrubber Fit With 1/3/5              Cl
    Skin C leaner                                          Massager                                                                                            C lean Brush Massager                             Electric                                        Si
    New                                                    New                                               New                                               New                                               New

    $7.59                                                  $9.47                                             $16.00                                            $8.82                                             $9.29                                           $
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    Sr.995% off                                            $9:9i"5%off                                                                                         Free shipping                                     Free shipping                                   F,,
    Free shipping                                          Free shipping                                     + $12.00 shipping
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    NEW Sonic Facial C leansing Brush                      SILICONE ELECTRIC Facial Skin                     SONIC SILICONE FACE BRUSH                         Facial C leansing Brush, Sonic                    Sonic Face. Scrubber.silicone                   Fe
    Massager 3-n-1 Rechargeable                            C leaner Super Soft Sonic CEPILLO                 ANTI AGE BLACK HEADS FINE                         Silicone Scrubber, Face Vibrat ing                Facial Cleaning Brush USB                       Si
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 460 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                           Subtotal (1 item)                            $25.40
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            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: lowcost-10       Message to seller

                          •ID       PleasingCare Silicone Sonic Facial Cleansing Brush, Rechargeable
                                    Electric Face
                                    $25.40
                                    Quanmy 1


                                    Delive ry
                                    Free 3-4 day sh ipping
                                    Get it by Mar 13 - Mar 14
                                    USPS First Class




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            no later than 30 days aner the end of the month 1n which the donation is made. Donations are
            non-refundable and typTCally tax deductible. PPGF may be unable to grant funds to a charity 1f
            the chanty has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 461 of
                                       517


DOE Number: 249
Seller Name: luckylemonmarket
Marketplace: eBay
           v
               Case     1:23-cv-23631-RNS
                 Daily Deals  Brand Outlet Help & Contact
                                                          Document 20-2 Entered on FLSD Docket 11/13/2023  Sell
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(       Bac k t o h.om e p.age I Listed in cat egory: Health & Beauty )   Sk:in C are )   Fc1cial C lec1nsing Devices                                                                                                                      Share I Add to Watchlist



                                                                          Pay over time with PayPal Credit
                                                                          Get 5.99% APR with 12 or 24 Easy Payments on eBay.
                                                                          Ends 5/1. 11:59pm PT. M11•1. purchase required.




[I]                                                                                                                              Lucky Lemon 3-in-l Soft Silicone Facial Cleansing
                                                                                                                                 Brush, Waterproof Electric Vib
                                                                                                                                 19.99
                                                                                                                                                                                                                      Sho p wit h confidence

                                                                                                                                                                                                                             eBay Money Back Guarantee
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    ►
                                                                                                                                     C o nd it io n: New
                                                                                                                                                                                                                      8      your money back.
                                                                                                                                                                                                                             Learn more
                                                                                                                                         Q u antity:   LJ        More than 10 available / 2 sold

                                                                                                                                                                                                                      Seller informatio n
                                                                                                                                                                                                                      luckylemonmarket (Q)
                                                                                                                                         Price: $19.99                                    BuyltNow
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                                                                                                                                                                                                                      Visit store
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    Similar sponsored item s                           See all      >                                                                                                                                                                   Feedback on our suggestions




    U ltrason ic Silicone Electric Fac ia l                Silicone Facial Cleansing Brush                              NEW Shiseido Bio -Performanc e                    Facial Cleansing Brush, 3-ln-l              Silicone Electric Face Cleansing             Sc
    C le ansing Brush Sonic Face                           Massage Electric Rec hargeable                               Advanced Supe r Revitalizing Facial               Ele c tr ic Silicone Face Scr ubbe r,       Brush Sonic Fac ia l Skin C leane r          YI
    C leanser Massage r                                    Exfoliate Clean                                              Cream 1.7 oz NIB                                  Vibrating Massag                            Heated Massager                              w
    New                                                    New                                                          New                                               New                                         New                                          N,

    $12.93                                                 $10.95                                                       $20.50                                            $25.41                                      $19.98                                       $
                                                                                                                        7 bids
    Sffi:6t5%off                                           Free shipping                                                                                                  Free shipping                               Free shipping                                F,,
    Free shipping                                          41sold                                                       + $1.95 shipping                                  l ast one                                   Seller with a 100% positive feedback         Se
    9watchers                                                                                                           Seller with a 99.4% positive feedback




    Sponsored items inspired by y our vie ws                                         See all       >                                                                                                                                    Feedback on our suggestions



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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 463 of
         el::>ay  Checkout            517
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                                                                                                                                                                To add more items, go to cart



            Pay wit h                                                                                                                    Subtotal (1 item)                            $19.99
                                                                                                                                         Shipping                                        S5.70
                    Add new card                                                                                                         Tax*                                            $180
            0
                    §1 ~         -       ~                                                                                               Order total                                 $27.49

            @       PayPa/                                                                                                                  By placing your order, you agree to eBay's
                                                                                                                                            User Agreement and Prtva~ Notice.
                                                                                                                                            ~we're required by Jaw to collect sales tax and
                    ~~l~                                                                                                                    applicable fees for certain tax authorities.
                                                                                                                                            Learn more
            0       Special financing available.
                    Apply now See terms
                                                                                                                                                          Pay wilh PayPal


            0       I G Pov l Google Pay                                                                                                          You'll finish checkout on PayPal



                                                                                                                                              ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                           See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                        Bill
            Changf



            Review item and shipping

            Seller: luckylemonm...          Message to seller

                                      Lucky Lemon 3-in-1 son Silicone Facial Cleansing Brush, Waterproof
                                      Electric Vib
                                      $19.99


                                     [   ~uaatify




                                      Delivery

                                     @      Est. delivery: A pr 26 - Apr 28
                                            USPS Fir.;t Class
                                            $5.70

                                     0      Est. delivery Apr 26 - Apr 27
                                            USPS Priority Mail Express
                                            S38.15




            Gift cards, coupons, eBay Bucks



           [~
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                r code: _ _]                               -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount        g
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                                       517


DOE Number: 250
Seller Name: luxury.china
Marketplace: eBay
              Case     1:23-cv-23631-RNS                      Document 20-2 Entered on FLSD Docket 11/13/2023         Page    465 of
          v     Daily Dea ls Brend O utlet He lp & C o ntac t
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ebay                             Shop by v
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(      8.aick t o prev i ou s page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                       Shar e I Add to Watchlist


                                                                                                                                   Electric Soft Silicone Facial Cleansing Brush Face
                                                                                                                                                                                                                          Shop with confidence
                                                                                                                                   Spa Skin Care Massage Washing
                                                                                                                                                                                                                                    eBay Money Back Guarantee

                                                                                                                                       Condition: New                                                                      8        Get the item you ordered or get
                                                                                                                                                                                                                                    your money back.
                                                                                                                                           Color:        skyblue                                                                    Learn mo re


                                                                                                                                        Q uantity:   LJ            3 available
                                                                                                                                                                                                                          Selle r informatio n
                                                                                                                                                                                                                          luxury.china GlZZ * l

                                                                                                                                        Price:   $9.20                                        Buy It Now
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                                                           Hover to zoom                                                                                                                                                   Shop a related Store
                                                                                                                                       ~    Breathe easy. Returns accepted.
                                                                                                                                                                                                                           278K items sold

                                                                                                                                            People are checking this out. 7 have added this to their
                                                                                                                                            watchlist.                                                                     . .J~    eaudeluxe
                                                                                                                                                                                                                                    In eBay Stores
                                                                                                                                                                                                                                                           ( Shop now )
                                             $ Have one t o sell?              Sell now
                                                                                                                                                                                                                                    Sponsored
                                                                                                                                        Shipping: Free Standard Shipping from Greater China to
                                                                                                                                                  worldwide. See details
                                                                                                                                                     International shipment of items may be subject to
                                                                                                                                                     customs processing and additional charges.          ©
                                                                                                                                                     Located in: Shenzhen, China

                                                                                                                                        Delivery:    II Estimated between Wed, May 3 and Fri, May
                                                                                                                                                     26 (D
                                                                                                                                                     Please note the del iver y esti mate is greater than 11
                                                                                                                                                     business days.
                                                                                                                                                     Please allow additional t ime if internati onal del ivery is
                                                                                                                                                     subject to customs p rocessi ng.


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                                                                                                                                                  See details

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                                                                                                                                                              eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                                     Feedback on our suggestions




    Silicone Face Cleansing Brush                              Silicone Face Cleansing Brush                               NEW StriVectin Most-Loved Minis:                Elect ric Face Cleansing Brush Ultra           Silicone Elect ric Face C leansing              El,
    Electric Facial Cleanser Washing                           Electric Facial Cleanser Washing                            4 Piec e Skin care Facial Set NIB               Sonic Facial Skin Silicone C leane r           Brush Sonic Facial Skin Cleaner                 Fe
    Massager Scrubber                                          Massager Scrubber                                                                                           Massager                                       Heated Massager                                 w
    New                                                        New                                                         New                                             New                                            New                                             N,

    $7.59                                                      $6.99                                                       $9.95                                           $7.49                                          $19.98                                          $
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                                                               68 sold                                                     + $1.95 shipping                                6 watchers                                     Selle r w ith a 100% positive feedback          r:'I
                                                                                                                           Seller with a 99.4% positive feedback                                                                                                          10




    Sponsored items inspired by your views                                                                                                                                                                                                      Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 466 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                Subtotal (1 item)                               $9.20
                                                                                                                                     Shipping                                        Free
                   Add new card                                                                                                      Tax•                                            $0.64
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                   ~~~-                                                                                                              Order total                                   $9.84

            @      PayPa/                                                                                                               By placing your order, you agree to eBay's
                                                                                                                                        User Agreement and Prtva91: Notice.
                                                                                                                                        *We're required by law to collect sales tax and


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                                                                                                                                        applicable fees for certain tax authorities
                                                                                                                                        Learn more
            0      Special financing available.
                   Apply now. See terms
                                                                                                                                                      Pay with PayPal


            0      IG Pay I Google Pay                                                                                                       You'll nnrsh checkout on PayPal



                                                                                                                                          ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                       See details




            Boca Raton, FL 33433
            United States
                                                                                                                                                                                             Bill
            Changf



            Review item and shipping

            Seller: luxury.china         Message to seller

                                     Electric Son Silicone Facial Cleansing Brush Face Spa SKin Care
                                     Massage Washing
                                     Coloc sKyblue
                                     $9.20


                                     [   ~ uantify




                                     Delivery

                                     @       Est. delivery: May 3 - May 26
                                             Standard Shipping from Greater China to worldwide
                                             Free

                                     0       Est. delivery: May 2 - May 5
                                             SpeedPAK Standard
                                             $2.50




            Gift cards, coupons, eBay Bucks



            [ Entercode                               ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may Ile unable to grant funds to a charity ~ the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


            Select amount       g
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                                       517


DOE Number: 251
Seller Name: mastertoner
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023        Page  468 of
           v     Daily Deals Brend O utlet He lp & Contac t
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 (      8.aick t o ho m e page I Listed in cat egory: Health & Seavty )   Sk in C are )   Fac ial C l e ans ing Dev ic es                                                                                                                      Shar e I Add to Watchlist


0 BUY 1, GET l AT 5% OFF (add 2 to cart)                                            Seeall eligib leitemsandte, ms                   ►
                                                                                                                                     6000rpm Silicone Waterproof Electric Sonic Facial
                                                                                                                                                                                                                          Shop w ith confidence
                                                                                                                                     Cleansing Brush USS Recharging
                                                                                                                                                                                                                                 eBay Money Back Guarantee

                                                                                                                                         Condition: New                                                                   8      Get the item you ordered or get
                                                                                                                                                                                                                                 your money back.

                                                                                                                                          Quantity:   LJ            4 available / 5 sold
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                                                                                                                                                                                                                          Seller information
                                                                                                                                         Price:
                                                                                                                                                  $13.50                                       Buy It Now                 mastertoner 02399 "l
                                                                                                                                                  Was \ffi--$l6c88 0                                                      98.2% p ositive feedback



                                                                                                                       [                  Best
                                                                                                                                                  save us $3.38
                                                                                                                                                  (20% off)
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                                          $ Have one to sell?             Sell now                                                                                                                                               lovelydeals2012       ( Shop now)
                                                                                                                                              Breathe easy. Returns accepted.                                                    In eBay Stores
                                                                                                                                                                                                                                 Sponsored


                                                                                                                                          Shipping: Free Standard Shipping. See details
                                                                                                                                                      located in: Rowland Heights, Cal ifornia, United States

                                                                                                                                          Delivery: Est imated between Thu, Apr 27 and Sat, Apr 29 0

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                                                                                                                                                                   eBay Mastercard®. Learn more

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     Silicone Electric Face Cleansing                      Ult rasonic Silicone Electric Facial                             RODIAL Bee Venom Cleansing                      Elect ric Face Cleansing Brush Ultra          Facial Cleansing Brush Sonic                Si
     Brush Sonic Facial Skin Cleaner                       C leansing Brush Sonic Face                                      Balm 3.4 fl oz New in Box $55 retail            Sonic Facial Skin Silicone C leane r          Waterproof Adjustable Speeds                El,
     Heated Massager                                       C leanser Massager                                                                                               Massager                                      C lea nsing Brush                           M
     New                                                   New                                                              New                                             New                                           New                                         N,

     $19.98                                                $12.93                                                           $ 9.99                                          $7.49                                         $ 9.99                                      $
                                                                                                                            0 bids                                                                                                                                    F,,
     Fr ee shipping                                       $¼&.615%off                                                                                                       Fr ee s hippi ng                              Free shipping
     Seller w ith a 100% posit ive f eedback              Free shipping                                                     + shipping                                                                                                                                70
                                                          9watchers                                                         Seller with a 100% positive feedback




     Sponsored items inspired by your vie ws                                         See all >                                                                                                                                              Feedback on our suggestions




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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 469 of
         ebay     Checkout            517
                                                                                                                        How do you like o ur checkout ? Give us feedback




            Pay with                                                                                                          Subtotal 0 item)                               $13.50
                                                                                                                              Shipping                                          Free
                   Add new card                                                                                               Tax·                                            $0.95
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            @      PayPa/
                                                                                                                                 By p lac ing your o rd e r, you ag ree to e Bay's
                                                                                                                                 U ser Agreement a nd Privacy Notice.



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                   Special financing available.
                                                                                                                                 *We're re qu ire d by law to collect sales tax
                                                                                                                                 and a p plic ab le fe es for certai n tax
                                                                                                                                 aut ho rit ies. learn more
                   Apply now. See terms

                                                                                                                                               Pay with PayPal
            O      IGPoy l Google Pay
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            Ship t o                                                                                                              ebay MONEY BACK GUARANTEE
                                                                                                                                                  See details


            Palm Beach, FL 33480
            Unit ed States                                                                                                                                                             Bill
            Chang!l



            Review item and shipping

            Seller: mastertoner          Message to seller

                                   6000rpm Silicone Waterproof Electric Sonic Facial Cleansing
                                   Brush USB Recharg ing
                                   $13.50
                                   $Mc88




                                   Delivery
                                   Est . delivery: Apr 27 - Apr 29
                                   USPS First Class
                                   Free



                                   Save up to 20%



            Gift cards, coupons, eBay Bucks



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            Donate t o c harity (optio na l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children lacing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


            Select amount          8

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DOE Number: 252
Seller Name: maxam78
Marketplace: eBay
               Case     1:23-cv-23631-RNS                Document 20-2 Entered on FLSD Docket 11/13/2023        Page   471 of                                                                                                                                s,O
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                                                                                                                   FIND OUT IF YOUR KIDS                                          CHECK NOW
                                                                                                                 ARE IN THE RIGHT CAR SEAT.
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0 SAVE UPTO 20% Seeallelia ible a emsandte rm s ►
                                                                                                                           Silicone Electric Face Cleansing Brush Ultra Sonic
                                                                                                                                                                                                                 Shop with confidence
                                                                                                                           Facial Skin Cleaner Massager
                                                                                                                                                                                                                         eBay Money Back G uarantee
                                                                                                                             Condition: New                                                                      8 Get the item you ordered or get
                                                                                                                                                                                                                   your money back.

                                                                                                                              Quantity:     LJ            More t han 10 available
                                                                                                                                                                                                                         Learn more



                                                                                                                                                                                                                 Seller information
                                                                                                                              Price:    $19.96                                    Buy It Now                     maxam78 (26035 ,-,
                                                                                                                                       W a s ~ (D                                                                99.2% positive feedback
                                                                                                                                       Save US $4.99
                                                                                          Face                                                                                   Add to cart
                                                                                         massage                  >                    (20% off)
                                                                                                                                                                                                                 \ / Save se ller
                                                                                                                                                                                                                 Contact seller
                                                                                                                               Best                                                                              Visit store
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                                                                                                                             ~       Breathe easy. Returns accepted.




                                         $ Have one to sell?            Sell no w
                                                                                                                              Ship ping : Free Standard Shipping. See details
                                                                                                                                            located in: Chicago, Illinois, United States
                                                                                                                                                                                                                   0
                                                                                                                                                                                                                    ..            VISA
                                                                                                                               Delivery: Est imat ed between Tue, Apr 25 and Fri, Apr 28 0

                                                                                                                               Retu rns:    14 day ret u rns. Buyer p ays for return ship p ing . See
                                                                                                                                            details

                                                                                                                             Payments:      I I PayPaf         II I~ • 1~':.::.ii
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                                                                                                                                                         Earn up to 5x points when you use your
                                                                                                                                                         eBay Mast ercard®. Learn m o re

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     Similar sponsored items                         See a ll     >                                                                                                                                                                 Feedback on our suggestions




     Silicone Electric Facial Cleansing                  Silicone Electric Face Cleansing                         NEW Shiseido Bio-Performance                    Ultrasonic Electric Sil icone Facial           Electric Silicone Facial Cleansing           Si
     Br ush Face Exfo liator Rechargeable                Brush Facial Skin C leaner Cleaning                      Advanced Super Revit a lizing Facial            C leansing Br ush Sonic Face                   Brush Face Exfoliator Clean ser              Fe
     5 Modes                                             Massager                                                 Cream 1.7 oz NIB                                Massager, Pink                                 Rechargeable                                 R<
     New                                                 New                                                      New                                             New                                            New                                          N,

     $ 24.99                                             $15.98                                                   $20.50                                          $19.99                                         $24.99                                       $
                                                                                                                  7 bids
     Free shipping                                       Free shipping                                                                                            Free shipping                                  Free shipping                                F,,
     Seller with a 100% positive feedback                                                                         + $1.95 shipping                                Seller with a 100% positive feedback           Seller with a 100% positive feedback         Se
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     Sponsored items customers also bought                                             See all     >                                                                                                                                Feedback on our sug~stions
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 472 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                    Subtotal (1 item)                            $19.96
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                                                                                                                                              ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                           See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                                 Bill
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            Review item and shipping

            Seller: maxam78               Message to seller

                                      Silicone Electnc Face Cleansing Brush Ultra Sonic Facial Skin Cleaner
                                      Massager
                                      $19.96
                                      S24c96


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                                      Dolivory
                                      Est. delivery: Apr 26 - Apr 28
                                      UPS Ground
                                      Free


                                      Save up to 20%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources nee<led to grow up healthy.
            safe. e<lucate<I & empowered so they can focus on being kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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D SAVE UPTQ 20% See all eligible items and te,ms ►
                                                                                                                        Silicone Electric Face Cleansing Brush Ultra Sonic
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                                                                                                                        Facial Skin Cleaner Massager
rJ                    Skincare Effect Increased                                                                                                                                                                       eBay Money Bac k Guarantee


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     HLAIE Silicone Electric Face                           Silicon e Electric Face C leans i ng                Proactiv Pore C l eansi ng Charcoal              Silicone Ele c t ric Face C l eansin g       Super Face Washing Machine                     Si
     C leansing BRUSH Sonic Facial Skin                     Brush Fac i al Sk in C leane r C lean ing           Inf used Brush                                   Brush Fac ial Skin C leaner C leaning        Electric Sol t Silicone Facial Brush           Br
     C lean er Massager                                     Massager                                                                                             Massager us                                  C leanser M assage                             5
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     a  Top Rated Plus                                                                                          + shipping                                                                                    Free shipping                                  Se
     Seller w ith a 100% positive feedback                                                                      Seller with a 100% positive feedback                                                          a  Top Rated Plus




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         el::>ay  Checkout            517
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            Ship to                                                                                                                                           See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                 Bill
            Changf



            Review item and shipping

            Seller: maxam78              Message to seller

                                      Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                      Massager
                                     $19.96
                                     S24c96


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                                      Delivery
                                      Est. delivery: Apr 21 - Apr 24
                                      UPS Ground
                                      Free


                                      Save up to 20%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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           v     Daily Dea ls Brend O utlet Help & C o ntac t
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D SAVE UPTQ 20 % See all eligible items and te,ms ►
                                                                                                                    Silicone Electric Face Cleansing Brush Ult ra Sonic
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                                                                                                                    Facial Skin Cleaner Massager
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                                                                                                                           Quantity:   LJ         More than 10 available
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                                                                                         massage              >                     Save US $4.99                        Add to cart                   <::;i SaveSeller
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                                                •                      Facial Cleansing Brush For

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     Silicone Electric Face C leansi ng                    HLAIE Silicone Elect ric Face                      New Therabody TheraFace PRO                  SILICONE ELECTRIC Fac ial Skin              Silicone Electric Face C leansing          5-
     Brush Facial Skin C leaner C leaning                  C leansing BRUSH Sonic Facial Skin                 Facial Massager - Black                      C leaner Super Soft Sonic C EPILLO          Brush Facial Skin C leaner C leaning       Cl
     Massager                                              C leaner Massager                                                                               FACIA FACE BRUSH                            Massager US                                s~
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     $15.98                                                $ 19 .98                                           $ 8.50                                       $12.9 9                                     $ 11.9 9                                   $
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     Free shipping                                         Free shipping                                                                                   + $5.85 shipping                            Free shipping                              F,,
                                                           II Top Rated Plus                                  + $10.00 shipping                            Seller 99.7% positive                                                                  27
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            Pay wit h                                                                                                                Subtotal (1 item)                           $19.96
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            0       Special financing available.
                   Apply now. See terms
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                                                                                                                                         ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                      See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: maxam78              Message to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                     Massager
                                     $19.96
                                     S24c96


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                                     Delivery
                                     Froo 2-4 day sh ipping
                                     Get it by Mar 11 - Mar 14
                                     UPS Ground



                                     Save up lo 20%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc
            G,rls MaKe Beats empowers the next generation or female music producers. DJs. and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month 1n which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the char1ty has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 253
Seller Name: mbz-24*de
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  478 of
          v     Daily Deals Brend O utlet He lp & Contac t
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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                                    Silicone Facial Cleansing Brush Massage Electric
                                                                                                                                                                                                                          Shop w it h confidence
                                                                                                                                    Rechargeable Exfoliate Clean
                                                                                                                                                                                                                                 eBay Money Back Guarantee
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                                                                                                                                                            Buyl                Buy 2             Buy3
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                                                                                                                                                                                                                          See other ite m s
                                                                                                                                        Price:   $19.99/ea                                 Buy It Now


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                                                                                                                                                                                                                                 lovelydeals2012       ( Visit store )
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                                                                                                                                                     International shipment of items may be subject to
                                                                                                                                                     customs processing and additional charges.         ©
                                                                                                                                                     Located in: china, China

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    Silicone Facial Cleansing Brush                      Silicone Electric Face Cleansing                                  NEW Shiseido Bio -Performance                      Electric Facial Deep Cleansing              Facial Cleansing Brush, Silico ne           Si
    Massage Electric Rechargeable                        Brush Sonic Facial Skin Cleaner                                   Advanced Super Revitalizing Facial                 Brush Exfo liator Waterp roof Face          Electric Massage Brush,                     El•
    Exfoliate Clean                                      Heated Massager                                                   Cream 1.7 oz NIB                                   Scrub ber Massage                           Rechargeable                                M
    New                                                  New                                                               New                                               New                                          New                                         N,

    $10.95                                               $19.98                                                            $20.50                                             $20.89                                      $10.99                                      $
                                                                                                                           7 bids
    Free shipping                                        Free shipping                                                                                                       S2&.9628%off                                 Free shipping                               F"
    4l sold                                              Seller with a 100% positive feedback                              + $1.9 5 shipping                                 Free shipping                                Seller with a 100% positive feedback        70
                                                                                                                           Seller with a 99.4% positive feedback              £:1
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 479 of
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            Pay with                                                                                                                      Subtotal (1 item)                            $19.99
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                    Add new card                                                                                                          Tax•                                            S1.40
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            Ship to                                                                                                                                            See details




            Boca Raton, FL 33433
            United States
                                                                                                                                                                                                  Bill
            Changf                                                                                                                                                                                 ?

            Review item and shipping

            Seller: mbz-24'de             Message lo seller

                                      Silicone Facial Cleansing Bnush Massage Electric Rechargeable

                         ......
                           +          Exfoliate Clean
                                      Coloc Yellow
                                      $19.99


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                                      Delivery
                                      Est. delivery: May 2 - May 5
                                      SpeedPAK Standard
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            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rrthe charity has lost tax exempt



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            status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 254 Seller
Name: mbz-24*de
Marketplace: eBay
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          v         Daily D ea ls     Brend Outlet
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(      Back to ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                            Share I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                         Electric Silicone Facial Brush Cleansing Skin
                                                                                                                                                                                                                 Shop w ith confidence
                                                                                                                         Massager Face Brush Vibration
                                                                                                                                                                                                                        eBay Money Back Guarantee
                                                                                                                             Condition: New                                                                      8      Get the item you ordered or get
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                                                                                                                                                Buyl             Buy2              Buy3
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                                                                                                                                              $19.99/ea        $17.99/ea         $16.99/ea
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                                                                                                                                                                                                                 97.3% posit ive feedback
                                                                                                                                          4 or more for $15.99/ea

              <                                                                                                               Quantity:   LJ          4 available                                                <v Save seller
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                                                                                                                              Price: $19.99/ea                                Buy It Now




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                                         $ Have one to sell?            Sell now
                                                                                                                              Shipping: Free SpeedPAK Standard . See details
                                                                                                                                          International shipment of items may be s ubject to
                                                                                                                                          customs processing end additional charges.       ©
                                                                                                                                          Located in: montreal, Canada


                                                                                                                              Delivery:   II Estimated between Mon, Apr 24 and Tue, May
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                                                                                                                                          business days.
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                                                                                                                              Returns: Seller does not accept returns. See details

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    Similar sponsored items                                                                                                                                                                                                        Feedback on our sug~stions




    Facial Deep Cleansing Brush                          Silicone Electric Face Cleansing                        Bolero Beverly Hills Sparkling Pear          Silicone Electric Facial Cleansing                 Silicone Elect ric Facial Cleansing           El•
    Silicone Face Sonic Vibration                        Brush Sonic Facial Skin Cleaner                         + Honey Facial Skin Care Set Lot of          Brush Vibration Face Cleaner Skin                  Brush Face Massager Deep Clean                s,
    Remover Rechargeable                                 Heated Massager                                         5                                            care Tool                                          Pores vibrate                                 M
    New                                                  New                                                     New                                          New                                                New                                           N,

    $14.99                                               $19.98                                                  $12.00                                        $12.89                                            $17.49                                        $
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    Free shipping                                        Free shipping                                                                                        Free shipping                                      Free shipping                                 $,
    Seller with a 99.2% positive feedback                Seller withe 100% positive feedback                     +shipping                                                                                       Seller with a 100% positive feedback          F,,
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    Sponsored it ems inspired by your views

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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 482 of
         el::>ay  Checkout            517
                                                                                                                                    How do you like our checkout? Give us feedback




            Pay with                                                                                                                 Subtotal (1 item)                           $19.99
                                                                                                                                     Shipping                                       Free
                    Add new card                                                                                                     Tax•                                           S1.40
            0       ~ ~ -                151
                                                                                                                                     Order total                                $21.39

            @       PayPa/                                                                                                             By placing your order, you agree to eBay's
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            0       Special financing available.
                    Apply now. See terms
                                                                                                                                                     Pay with PayPal


            0       IG Pay I Google Pay                                                                                                     You'll finish checkout on PayPal



                                                                                                                                         ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                      See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                            Bill
            Changf



            Review item and shipping

            Seller: mbz-24'de            Message to seller

                                     Electric Silicone Facial Brush Cleansing Skin Massager Face Brush
                                     Vibration
                                     Coloc Blue
                                     $19.99
             • •-        &w

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                                     Delivery
                                     Est. delivery: A pr 25 - May 2
                                     SpeedPAK Standard
                                     Free




            Gift cards, coupons, eBay Bucks



            [~_E_n_te_r_c_o_d e_,_ _ _ _ _ _~ ]           -




            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rrthe charity has lost tax exempt



                                a
            status. has closed. or no longer accepts funds from PPGF.


            Select amount




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 483 of
                                       517


DOE Number: 255
Seller Name: mcenterprises_llc
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page  484 of
           v     Daily Dea ls Brend O utlet He lp & Contact
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 (      8-ack t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) C le ansers & Toners                                                                                                                             Shar e I Add t o Watchlist



D EXTRA 10% OFF $25+ WITH CODE l0OFFKYBB See eligible items                                                a ll               a nd tenns   ►
                                                                                                                          *SALE* SONIC FACIAL CLEANSING BRUSH Electric
                                                                                                                                                                                                               Shop w ith confide nce
                                                                                                                          Face Scrubber Massager Skin Care
                                                                                                                                                                                                                      eBay Money Back Guarantee
                                                                                                                          II, last it em available
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                                                                                                                             Condition: New                                                                           Learn more

                                                                                                                               Quantity:       LJ         Last One / 3 sold
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                                                                                                                               Price: $ 12.5 8                                    Buy It Now                   10 0% Posit ive feedback



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                                                                                                                                               Located in: Fort Mitchell, Kentucky, United States

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     Similar sp onsored it em s                                                                                                                                                                                                 Feedback on our suggestions




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     5 inl Electric Face Facial Cleansing                 5 in l Deep Clean Face Skin Electric                    cosmetic spa Hermet ise f ull body              5 in l Deep Clean Face Skin Electric         5-1 Mult ifunction Electronic Face          21
     Brush Spa Massage Mult ifunction                     Facial Cleaner Care Brush                               scrub face c leanser                            Facial Cleaner Care Brus h                   Facial Cleansing Brush Spa Skin             El,
     Clean Brush                                          Massager Scrubber                                                                                       Massager Scrubber                            care massage                                Cl
     New                                                  New                                                     New                                             New                                          New                                         N,
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     Sponsored it ems customers also boug ht




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     5 inl Electric Face Facial Cleansing                 5 in l Deep Clean Face Skin Electric                    5 in l Deep Clean Face Skin Electric            Under Eye Cream Gel Remove Dark              Biossance Your Clean Routine                21
     Brush Spa Massage Mult ifunction                     Facial Cleaner Care Brush                               Facial Cleaner Care Brush                       Circ les Crows Feet Bags Lift Firm           Overachievers Se Beauty Face                El,
     Clean Brush                                          Massager Scrubber                                       Massager Scrubber                               Anti Aging                                   Cleaning Items                              Cl
     New                                                  New                                                     New                                             New                                          New
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 485 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                   Subtotal (1 item)                            $12.58
                                                                                                                                        Shipping                                     $10.65
                   Add new card                                                                                                         Tax•                                            S1.63
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                                                                                                                                        Order total                                 $24.86

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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: mcenterpris..




             ~
                                     "SALE" SONIC FACIAL CLEANSING BRUSH Electric Face Scrubber
                                     Massager Skin Care
                                     $12.58
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Mar 15 - Mar 20
                                     USPS First Class
                                     S10.65



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 486 of
                                       517


DOE Number: 256
Seller Name: Mg fashion love
Marketplace: eBay
              Case     1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023        Page  487 of
          v     Daily Deals Brend Outlet Help & Co ntact
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(     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                            Shar e I Add to Watchlist




•                                                                                                                  SILICONE ELECTRIC Facial Skin Cleaner Super Soft
                                                                                                                   Sonic CEPILLO FACIA FACE BRUSH
                                                                                                                                                                                                           Shop w ith confidence

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                                                                                                                            Price: $12.99                                    Buy It Now
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                                                                                                                                                                             Acldtocart
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                                SUPER COOL
                                WASHING MACHINE                                                                                                               ( __ _o_A
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                                                                                                                            Ships from United States                   Returns accepted


                                                                                                                            Shipping : us $5.85 Standard Shipping. See details
                                                                                                                                         Located in: Anaheim, California, United States
                                                                                                                                                                                                           ~            -        I'      ~          ......
                                                                                                                            Delivery:    GI Estimated between Sat , Mar 11 and Wecl, Mar                    Discover related items
                                                                                                                                         151033133 0
                                                                                                                                         Includes 4 business days handling time after receipt of           113K items sold
                                                                                                                                         cleared payment.
                                         $ Have one to sell?            Sell now                                                                                                                                     lovelydeals2012         (   Visit store )
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    Similar sponsored items                                                                                                                                                                                                   Feedback on our suggestions




    Silicone Electric Face C leansing                    SILICONE ELECTRIC FACE BRUSH                        Sil icone Elect ric Face Cleansing              Silicone Electric Face C leansing             Ultrasonic Electric Silicone Facial                HI
    Brush Ultra Sonic Facial Skin                        Facial C EPILLO FACIAL Skin                         Brush Ultra Sonic Facial Skin                   Brush Facial Skin Cleaner C leaning           C leansing Brush Sonic Face                        Cl
    C leaner Massager                                    C leaner                                            Cleane r Massager                               Massager                                      Massager, Pink                                     Cl
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    $19.96                                               $9.99                                               $7.50                                           $15.98                                        $19.99                                             $
    5249520%off                                          Free shipping                                       + $5.04 shipping                                Free shipping                                 Free shipping                                      F"
    Free shipping                                        IllTop Rated Plus                                   II Top Rated Plus                                                                             Seller 100% positive                               R
                                                         99sold                                              Seller99.1% positive                                                                                                                             Se




    Sponsored ite ms inspired by your v iews                                                                                                                                                                                  Feedback on our suggestions




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    SONIC SILICONE FACE BRUSH                            Facial C leansing Brush, Sonic                      Sonic Face. Scrubber.silicone                   Facia l C leansing Brush, Sonic               Facial C leansing Brush, Sonic                     Si
    ANTI AGE BLACK HEADS FINE                            Silicone Scrubber, Face Vibrating                   Facial C leaning Brush USB                      Silic one Scrubber, Face Vibrat ing           Silicone Scrubber, Face Vib rat ing                Br
    LINES DEEP C LEAN ACNE                               Massager                                            Rechargable,for Face Ex!                        Massager                                      Massager NEW                                       Cl
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 488 of
         el::>ay  Checkout            517
                                                                                                                                       How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                   Subtota l ( 1 ite m)                         $12.99
                                                                                                                                        Shipping                                        $5.85
                   Add new card                                                                                                         Tax•                                            $1.32
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                                                                                                                                        Order total                                 $20.16

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            0       Special financing available.
                   Apply now. See te rms
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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                            See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: mgfashionlove          Message to seller

                                     SILICONE ELECTRIC Facial SKin Cleaner Super Son Sonic CEPILLO
                                     FAC IA FACE BRUSH

                                     $12.99
                                     Quanmy 1


                                     Delivery
                                     Est. delive ry: Mar 11 - Mar 15
                                     USPS First Class
                                     S5.85



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]             -




            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


            Selec t amount      g
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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 489 of
                                       517


DOE Number: 257
Seller Name: mhstore77
Marketplace: eBay
              Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page    490 of
          v     Daily Dea ls Brend O utlet He lp & Contact
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(      Back to ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Fac ial Ol ean.sing Dev ic es                                                                                                                           Shar e I Add to Watchlist


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                                             '::v                      Learn how to earn a $30 statement credit                                                                                              ~
                                                                •       With a new eBay Mastercard• . Ends 3/15.



0 SAVE UPTO 15% WHEN YOU BUY MORE
                                                                                                                       Limpiador Facial Electrico De Silicons Impermeable
                                                                                                                                                                                                                  Shop w ith confidence
                                                                                                                       Limpia Tu Cara Facilmente
                                                                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                           Condition: New                                                                         8 Get the item you ordered or get
                                                                                                                                                                                                                    your money back.




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                                                                                                                                 Color:       Rosado                                                                        Learn more


                                                                                                                                                Buy l              Buy 2                Buy3
                                                                                                    35mm                Bulk savings:         $17.97/ea         $16.17/ea            $15.27/ea
                                                                                                                                                                                                                  Seller information
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                                                                                                                            Shipping: Free Standard Shipping from G reater C hina to
                                         $ Have one to sell?            Sell no w                                                                                                                                  -·'!-    lovelydeals2012     ( Visit store )
                                                                                                                                      worldwide. See details                                                                In eBay Stores
                                                                                                                                          Internatio nal shipment of items may be subject to                                Sponsored
                                                                                                                                          customs processing and addit ional charges.          ©
                                                                                                                                          Located in: Hong Kong, China

                                                                                                                             Delivery:    11 Estimated between Tue, Mar 28 and Thu, Apr
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    Similar sponsored items                                                                                                                                                                                                           Feedback on our suggestions




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    Facial Profunda ELIMINA lmpurezas
    De Tu Rostro US
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    l a st one                                           l!ITop Rated Plus                                       5 w atche rs                                                                                     Seller 100% positive                          F,,
                                                         27 sold                                                                                                                                                                                                6,
Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 491 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                       Subtotal (1 item)                            $17.97
                                                                                                                                            Shipping                                        Free
                    Add new card                                                                                                            Tax•                                            S1.26
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            Ship to                                                                                                                                              See details




            Miami. FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: mhstore77             Message to seller

                                      Limpiador Facial Electnco De Sillcona Impermeable Limpia Tu Cara
                                      Facilmente
                                      Coloc Rosado
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                                      Delivery
                                      Est. delivery: Mar 28 - Apr 20
                                      Standard Shipping from Greater China to worldwide
                                      Free




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Girls Make Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



                                 a
            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


            Select amount




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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 492 of
                                       517


DOE Number: 258
Seller Name: migasol
Marketplace: eBay
               Case      1:23-cv-23631-RNS                     Document 20-2 Entered on FLSD Docket 11/13/2023         Page   493 of
           v     Da ily Dea ls Brend O utlet Help & C o ntac t
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 (      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                      Shar e I Add to Watchlist


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     Silic one Scrubber, Face Vibrat ing                    Brush Sonic Facial Skin C leaner                          ACNE OILY SENSITIVE skin FULL                 Sonic Facial Skin Silicone C leane r         C leansing Brush Sonic Face                   Cl
     Massager                                               Heated Massager                                           SIZE                                          Massager                                     C leanser Massager                            Cl
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     $6.00                                                  $19.98                                                    $0.99                                         $7.49                                        $12.93                                        $
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     + $5.85 shipping                                       Free shipping                                                                                           Free shipping                                $t9:6½5% off
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                                                                                                                                               ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                              See details




            Miami, FL 33133-2709
            United States

            Changf




            Review item and shipping

            Seller: migasol          Message to seller

                                      SONIC SILICONE FACE BRUSH A NTI AG E BLACK HEADS FINE
                                      LI NES DEEP CLEAN ACNE

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                                      Delivery
                                      Est. delive ry: Mar 11 - Mar 16
                                      USPS Priority Mail Padded Flat Rate Envelope
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                                      Save up lo 25%




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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charrty
            no later than 30 days after the end of the month in which the donation is made_ Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charfy if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 259
Seller Name: mimocompr
Marketplace: eBay
             Case    1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023        Page  496 of
            v  Daily Deals Brand Outlet Help & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es ) See more Pop Sonic l eaf Fac i al ..                                                                                      Shar e I Add to Watchlist


                                                                                                                            Pop Sonic Leaf Sonic Facial Cleansing Electric
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                                                                                                                            Device Green Marble New Sealed
                                                                                                                           ** ** *               I p roduct rafog
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                                                                                                                                                                                                                            easy returns.
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                                                                                                                                  Pric e :       $40.50                                   Buy It Now                        Learn mo re


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                                                                                                                                   Delivery: Estimat ed between Fri, Apr21 and Mon, Apr24 0                          278K items sold
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    Popsonic Leaf bud Sonic Facial                         Pop Sonic strawberry 3 in l.                            Proactiv Pore C leansing Charcoal                   New Pop Sonic Face & Body                    PopSonic Spade Face & Neck                       Pc
    C leansing Device Soft en Wrinkles                     C leanse, Massage, Ex fo liate. Brand                   Inf used Brush                                      C leansing Too l Green- Unisex New           Son ic Beauty C leansing Device                  Sc
    Lavender Purple                                        ne w seate d .                                                                                              Lite green rechargeb le                      Infuse Massage - White                           In
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    Sponsored items inspired by your views                                                                                                                                                                                             Feedback on our suggestions




    Forever Lina Mini T Sonic Facial                       Super Face Washing Machine                              2 Pack Face Washing Machine                         Facial Cleansing Brush Silicone              Pulsaderm SONIC WASHCLOTH 2                      El•
    C leansing Device                                      Electric Soft Silicone Facial Brush                     Electric Soft Silicone Facial Brush                  Face Scru b Brush Manual                    speed Silicone Face Brush PINK                   FE
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 497 of
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: mimocompr            Message to seller

                                     Pop Sonic Lear Sonic Facial Cleansing Electnc Device G reen Marble
                                     New Sealed
                                     $40.50


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                                     Delivery
                                     Free 3-4 day sh ipping
                                     Get it by Apr 21 - Apr 22
                                     USPS First Class




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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charily no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refUndable and typically tax
            deductible. PPGF may Ile unable to grant !unds to a charily ~ the chanty has lost tax exempt
            status. has closed. or no longer accepts funds from PPGF.


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                                       517


DOE Number: 260
Seller Name: nadalghait0
Marketplace: eBay
              Case     1:23-cv-23631-RNS                 Document 20-2 Entered on FLSD Docket 11/13/2023         Page  499 of
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(     8-ack to ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                 Shar e I Add to Watchlist


                                                                                                                         MyShinyFace - T-Sonic Facial Cleansing device -
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                                                                                                                         Silicon Face brush
                                                                                                                                                                                                                 eBay Money Back G uarantee

                                                                                                                             Condition: New                                                             8 Get the item you ordered or get
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                                         $ Have one to sell?            Sell now                                              Shipping: Free Standard Shipping. See details
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                                                                                                                                          Located in: Mesa, Arizona, United States


                                                                                                                              Delivery: Estimated between Sat, Marn and Wed, Mar 15 t o
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    Electric Face Cleansing Brush Ultra                  Silicone Electric Face C lea nsing                      O N LABS Blackhead Deep                     Facial C leansing Brush, Sonic             Facial Cleansing Brush, 3-ln-1               H1
    Sonic Facial Skin Silicone C leaner                  Brush Sonic Facial Skin Cleaner                         Cleansing Nose Pore Strips 6 St rips        Silicone Scrubber, Face Vibrat ing         Electric Silicone Face Scrubber,             Br
    Massager                                             Heated Massager                                         (LOT O F3)                                  Massager                                   Vib rat ing Massag                           Cl
    New                                                  New                                                     New                                         New                                        New                                          N,

    $7.49                                                $19.98                                                  $0.99                                       $6.00                                      $28.99                                       $
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    Free shipping                                        Free shipping                                                                                       + S5.85 shipping                           Free shipping                                F«
                                                         Seller 100% positive                                    + $4.50 shipping                                                                       Seller 100% positive                         74
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         el::>ay  Checkout            517
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            Pay wit h                                                                                                                Subtotal (1 item)                            $15.00
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            Ship to                                                                                                                                       See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: nadalghailO          Message to seller

                                     MyShinyFace - T-Sonic Facial Cleansing device - Silicon Face brush
                                     $15.00


                                     [   ~uaatify




                                     Delivery
                                     Est. delivery: Mar 11 - Mar 15
                                     USPS First Class
                                     Free



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Gtrls MaKe Beats empowers the next generation or female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity 1f
            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 261
Seller Name: nannyrocks120
Marketplace: eBay
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          v     Daily Deals Brend O utlet He lp & C o ntac t
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(      8.aick t o prev i ous page I List ed in cat egory: H ealt h & Bec1ut y ) Skin C are ) Fac ial C l eans ing D evices                                                                                                                    Share I Add to Watchlist


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                                                 Pay over time with PayPal Credit
                                                 Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                                 El'lds 4/20, 11:59pm PT. Min. purchase required.




                                                                                                                                 POP SONIC LEAF Sonic Facial Cleansing Device
                                                                                                                                                                                                                        Shop with confidence
                                                                                                                                 tEAL ~ NEW IN OPENED PACKAGE~
                                                                                                                                 *****               l p roduct rati ng I Writee review
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    Sonic Facial Cleansing Brush                              FOREVER LINA T-Sonic mini Facial                           Proactiv Pore Cleansing Charcoal                   Pop Sonic strawberry 3 in 1.                Silicone Elect ric Face Cleansing             Pc
    YUNCH I Food G rade Silicone                              Cleansing Device                                           Infused Brush                                      Cleanse, Massage, Exloliate. Brand          Brush Sonic Facial Skin Cleaner               Cl
    Waterproof BLUE WC02_B                                                                                                                                                  new sealed.                                 Heated Massager                               La
    New                                                       New                                                        New                                                New                                         New                                           N,

    $13.95                                                    $12.99                                                         $11.30                                         $24.00                                      $19.98                                        $
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    Fr ee shipping                                            +shipping                                                                                                     + S3.50 shipping                            Free shipping                                 F,,
    Seller with a 99.9% posit ive feedback                    Sel ler with a 100% posit ive feedback                     + shipping                                         r:3Top Rated Plus                           Sel ler w ith a 100% positive feedback        Se
                                                                                                                         Seller with a 100% posit ive feedback              Seller with a 100% positive feedback




    Sponsored it ems customers also bought                                                                                                                                                                                                 Feedback on our suggestions



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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 503 of
         el::>ay  Checkout            517
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                                                                                                                                                             To add more items, go to cart



            Pay with                                                                                                                   Subtotal (1 item)                            $12.99
                                                                                                                                       Shipping                                        S6.40
                   Add new card                                                                                                        Tax*                                            S1.36
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            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States                                                                                                                                                                      Bill
            Changf                                                                                                                                                                              ?

            Review item and shipping

            Seller: nannyrocKs120           Message to seller

                                     POP SONIC LEAF Sonic Facial Cleansing Device IEAL - NEW IN
                                     OPENED PACKAGE~
                                     $12.99
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 20 - Apr 22
                                     USPS First Class
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            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
            status. has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 504 of
                                       517


DOE Number: 262
Seller Name: nare8196
Marketplace: eBay
                  Case     1:23-cv-23631-RNS                    Document 20-2 Entered on FLSD Docket 11/13/2023         Page  505 of
              v     Daily Dea ls Brend O utlet Help & C o ntact
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(        8.aick t o ho me page I Listed in cat egory: Health & Seavty ) Sk in C are )    Clean sers & To ners                                                                                                             Shar e I Add to Watchlist



                                               Pay over time with PayPal Credit
                                               Get 5.99% APR with 12 or 24 Easy Payments on eBay.
                                               El'lds 5/1. 11:59pm PT. Mir\. purehase required.




                                                                                                                        Facial Silicone Electric Face Cleansing Brush
                                                                                                                                                                                                     Shop with confidence
                                                                                                                        Rechargeable Cleanser Skin Care
                                                                                                                                                                                                            eBay Money Back Guarantee
                                                                                                                                                                                                            Get the item you ordered or get
                                                                                                                          Condition: New                                                             8      your money back.
                                                                                                                                                                                                            Learn more

                                                                                                                            Price:   $6.99                              Buy It Now
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    Electric Soft Silicone Facial Brush                    Electric Soft Silicone Facial Brush                  Skin Niacinamade Cleanser-4floz*          Brush Sonic Face C leaning Spa             Blackhead Pore Cleaner Brush                Br
    Cleanser Massage                                       Cleanser Massage                                     NEW                                       Massage Clean                              Massager Scrub Face                         Cl
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    $9:9610%off                                            Free shipping                                                                                  Fr ee shi ppi ng                           Free shipping                               F,,
    Fr ee shippi ng                                        5watchers                                            + shipping                                Seller with a 100% positive feedback                                                   33
    a   Top Rated Plus                                                                                          Seller with a 100% positive feedback




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    Pleasingcare Silicone Sonic Facial                     Facial Cleansing Brush, 3-ln-l                       Silicone Electric Facial Cleansing        Facial Electric Silicone Cleansing         Electric Silicone Facial Cleansing          El•
    Cleansing Brush, Rechargeable                          Electric Silicone Face Scrubber,                     Brush Sonic Face Cleaning Spa             Brush Exfo liator Rechargeab le Face       Brush Exfoliator Scrubber USB               Si
    Electric Face                                          Vibrating Massag                                     Massage Clean                             Scrubber                                   Rec hargeable                               Bl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 506 of
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
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            Changf



            Review item and shipping

            Seller: nare8196




                 •                   Facial Silicone Electric Face Cleansing Brush Rechargeable Cleanser
                                     Skin Care
                                     $6.99
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 27 - May 1
                                     USPS First Class
                                     S8.05



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]            -




            Donate to charity (optional) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid_PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
            end of the month in which the donation is made. Donations are non-refundable and typically
            lax deductible. PPGF may be unable to grant funds lo a charity if the charrty has lost lax
            exempt status, has closed, or no longer accepts funds from PPGF.


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                                                                                                                    Facial Silicone Electric Face Cleansing Brush
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                                                                                                                          Price:    $6.99                                 Buy It Now
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                                                                                                                                                                                                     81.8% positive feedback



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    Super Face Washing Machine                            Facial Cleansing Silicone Skin                    Proactiv Pore Cleansing Charcoal              Super Face Washing Machi ne                Electric Face Cleansing Silicone                Si
    Electric Soft Silicone Facial Brush                   Blackhead Pore Cleaner Brush                      Infused Brush                                 Elect ric Soft Silicone Facial Brush       Brush Facial Skin Cleaner Cleaning              El•
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    Sonic Facial Cleansing Brush                          Super Face Washing Machine                        Electric Silicone Facial Cleansing            Silic one Electric Facial Cleansing        Sonic Fac ial Cleansing Brush                   Sl
    e lectric, Waterproof~ Skin                           Electric Soft Silico ne Facial Brush              Bru sh Face Exfoliator C leanser              Brush Face Exfoliator Recha rgeable        YUNCHI Food Grade Silicone                      El•
    Massager, Heating mode                                C leanse r Massage                                Rechargeable                                  5 Modes                                    Waterproof BLUE WC02_B                          Cl
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 508 of
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            Ship to                                                                                                                                       See details




            Miami, FL 33133
            United States
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            Review item and shipping

            Seller: nare8196




                •                    Facial Silicone Elect11c Face Cleansing Brush Rechargeable Cleanser
                                     SKin Care
                                     $6.99
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                                     Delivery
                                     Est. delivery: Apr 21 - Apr 24
                                     USPS First Class
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       517


DOE Number: 263
Seller Name: nycunitedgoods
Marketplace: eBay
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            v  Dai ly Deals Brand Outle t Hel p & Contact
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(      8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                              Shar e I Add to Watchlist


0 SAVE UPTO 7% WHEN YOU BUY MORE
                                                                                                                             Waterproof Sonic Vibrating Face Brush for Deep
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                                                                                                                             Cleansing, Gentle Exfoliating and




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G.                                                                                                                                  Quantity:
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                                                                                                                                   Shipping: Free Standard Shipping. See details
                                                                                                                                                     located in: Los Alamitos, California, United States

                                                                                                                                     Delivery: Est imat ed between Fri, Apr 21 and Mon, Apr 24 0
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    Sonic Facial C leansing Brush                          Silicone Electric Face C leansing                         Proactiv Pore C leansing Charcoal                    Facial C leansing Brush, Sonic             Silicone Facial C leansing Brush                 w
    YUNCH I Food Grade Silicone                            Brush Sonic Facial Skin Cleaner                           Infused Brush                                        Silic one Scrubber, Face Vibrat ing        Massage Electric Rechargeable                    IP.
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         el::>ay  Checkout            517
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            Pay wit h                                                                                                                  Subtotal (1 item)                            $13.10
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            Ship to                                                                                                                                         See details




            Miami, FL 33133
            United States
                                                                                                                                                                                               Bill
            Changf



            Review item and shipping

            Seller: nycunitedgoods           Message to seller

                                     Waterproof Sonic Vibrating Face Brush for Deep Cleansing, Gentle
                                     Exfoliating and
                                     $13.10


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                                     Delivery

                                     @      Est. delivery Apr 21 - Apr 24
                                            USPS First Class
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                                     O Est. delivery: Apr 20 - Apr 21
                                            USPS Pnonty Mail Padded Flat Rate Envelope
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non.refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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 (     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                    Shar e I Add to Watchlist


0 SAVE UPTO 7% WHEN YOU BUY MORE
                                                                                                                             Waterproof Sonic Vibrating Face Brush for Deep
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                                           $ Have one to sell?             Sell now                                                                                                                                     lovelydeals2012      (   Shop now)
                                                                                                                                                                                                                        In eBay Stores
                                                                                                                                  Shipping: Free Standard Shipping. See details                                         Sponsored
                                                                                                                                              Located in: Los Alamitos, California, United States

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     Silicone Scrubber, Face Vibrat ing                    Brush Sonic Facial Skin Cleaner                           Cleansing Nose Pore Strips 6 Strips         Sonic Facial Skin Silicone C leane r         Face Body Exfo liat ing Silicone              Fe
     Massage r                                             Heated Massager                                           (LOTOF3)                                    Massager                                     Waterproof US                                 w
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     $ 6.00                                                $19.98                                                    $0.99                                       $7.49                                        $10.99                                        $
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     + $5.85 shipping                                      Free shipping                                                                                         Free shipping                                Free shipping                                 Fr<
                                                           Seller 100% positive                                      + $4.50 shipping                                                                         II Top Rated Plus                             R
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Case 1:23-cv-23631-RNS Document 20-2 Entered on FLSD Docket 11/13/2023 Page 513 of
         el::>ay  Checkout            517
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            Pay wit h                                                                                                                 Subtotal (1 item)                            $13.10
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                    Add new card                                                                                                      Tax•                                            S0.92
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            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: nycunitedgoods           Message to seller

                                     Waterproof Sonic Vibrating Face Brush for Deep Cleansing, Gentle
                                     Exfoliating and
                                     $13.10


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                                     Delivery

                                     @      Est. delivery Mar 11 - Mar 15
                                            USPS First Class
                                            Free

                                     O Est. delivery: Mar 11 - Mar 13
                                            USPS Pnonty Mall Padded Flat Rate Envelope
                                            $9.00

                                     0      Est. delivery: Mar 11 - Mar 13
                                            USPS Priority Mail Express Flat Rate Envelope
                                            $32.00




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            Girls MaKe Beats Inc.
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            engineers. PayPal GiVlng Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
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                                       517


DOE Number: 264
Seller Name: oakey_27
Marketplace: eBay
             Case     1:23-cv-23631-RNS                   Document 20-2 Entered on FLSD Docket 11/13/2023         Page   515 of
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                                                                                                                    Vibration Deep Pore Cleaning
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EJ                                                                                                                     Quantity:    LJ           Last One / JO sold
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     5-1 Multifunc tion Electronic Face                   5 in l Deep C lean Face Skin Electric             Sunday Riley C.e .o. C + E Micro-            5 In l Face Brush Silicone Facial             Silicone Facial C leansing Brush                        5i
     Facial Cleansing Brush Spa Skin                      Facial Cleaner Care Brush                         dissolve Cleansing Oil FULL SIZE             Ele ctric Wash Face Machine Deep              Electric Sonic Vibration Deep Pore                      Vi
     care massage                                         Massager Scrubber                                 3.4oz NEW                                    Cleaning Pore                                 Skin Cleaner                                            Cl
     New                                                  New                                               New                                          New                                           New                                                     N,

     $5.99                                                $5.99                                             $8.50                                        $10.79                                        $7.59                                                   $
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     Free shipping                                        Free shipping                                                                                  SH:9910%off                                   $r.995%off                                              Fe,
     857 sol d                                            42 sold                                           Free shipping                                Free shipping                                 Free shipping                                           33
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         el::>ay  Checkout            517
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            Pay wit h                                                                                                                  Subtotal (1 item)                            $17.97
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            Miami, FL 33133-2709
            United States
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            Changf



            Review item and shipping

            Seller: oaKey_27         Message to seller

                                     Electric Facial Cleansing Brush Face Cleaner Sonic Vibration Deep Pore
                                     Cleaning




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                                     Coloc Rose
                                     $1 7.97

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                                     Delivery
                                     Est. delivery: Mar 16 - Apr 12
                                     Standard Shipping from outside us
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                                     save up to 10%



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            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



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            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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DOE Number: 265
Seller Name: oebristol
Marketplace: eBay
